FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                      INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO. 1:24-cv-04939-VMS
                 1                Document 1-1 Filed 07/16/24 Page 1 ofRECEIVED
                                                                        122 PageID #: 10 01/25/2021
                                                                                NYSCEF:




          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF RICHMOND
          GGP STATEN ISLAND MALL, LLC; ACE      :
          AMERICAN INSURANCE COMPANY            : Index No.:
          a/s/o GGP STATEN ISLAND MALL;         :
          CERTAIN UNDERWRITERS AT LLOYD’S       :
          LONDON SUBSCRIBING TO POLICY          :
          NO. BOWPN1800272/091/270/274 a/s/o    : SUMMONS
          GGP STATEN ISLAND MALL;               :
          ENDURANCE AMERICAN SPECIALTY          :
          INSURANCE COMPANY a/s/o GGP           :
          STATEN ISLAND MALL; WESTPORT          :
          INSURANCE CORPORATION a/s/o GGP       :
          STATEN ISLAND MALL; LIBERTY           :
          MUTUAL FIRE INSURANCE COMPANY         :
          a/s/o GGP STATEN ISLAND MALL;         :
          AMERICAN INTERNATIONAL GROUP          :
          UK LIMITED F/K/A LEXINGTON            :
          LONDON, A DIVISION OF AIG EUROPE,     :
          LTD. a/s/o GGP STATEN ISLAND MALL;    :
          CHUBB CUSTOM INSURANCE                :
          COMPANY a/s/o GGP STATEN ISLAND       :
          MALL; ALLIANZ GLOBAL                  :
          CORPORATION & SPECIALTY SE a/s/o      :
          GGP STATEN ISLAND MALL                :
                                    Plaintiffs, :
                         v.                     :
                                                :
          AURORA CONTRACTORS, INC.,             :
          BARNETTE CONSULTING SERVICES,         :
          LLC; INDUSTRIAL CONNECTIONS &         :
          SOLUTIONS, LLC; ABB, INC; REXEL,      :
          USA, INC. d/b/a GEXPRO;               :
                                    Defendants. :
                                                :


          TO THE ABOVE NAMED DEFENDANTS:

                 YOU ARE HEREBY SUMMONED to answer the Complaint in this action and to
          serve a copy of your Answer, or if the Complaint is not served with a Summons, to
          serve a Notice of Appearance on the plaintiff’s attorney(s), within twenty (20) days
          after service of this summons, exclusive of the date of service, or within thirty (30)
          days after completion of service where service is made in any other manner than by
          personal delivery within the State. In case of your failure to appear or answer, judgment
          may be taken against you by default for the relief demanded in the Complaint.


          {S2716944; 1}


                                                  1 of 19
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                               INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO. 1:24-cv-04939-VMS
                 1                Document 1-1 Filed 07/16/24 Page 2 ofRECEIVED
                                                                        122 PageID #: 11 01/25/2021
                                                                                NYSCEF:




                Richmond County is designated as the place of trial because the facts and
          circumstances giving rise to this action occurred in Richmond County.

          Dated: New York, New York
                 January 25, 2021


                                              SULLIVAN & WORCESTER LLP



                                              By:/s/George O. Richardson, III____
                                              George O. Richardson, III
                                              1633 Broadway
                                              New York, New York 10019
                                              (212) 660-3000
                                              grichardson@sullivanlaw.com
                                              Attorneys for Plaintiff
                                              GGP Staten Island Mall, LLC


                                              FLEISCHNER POTASH LLP




                                              By:
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                                              Counsel
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                                              New York, New York 10005
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                                              Attorneys for Plaintiffs ACE AMERICAN
                                              INSURANCE COMPANY a/s/o GGP STATEN
                                              ISLAND MALL; CERTAIN UNDERWRITERS
                                              AT LLOYD’S LONDON SUBSCRIBING TO
                                              POLICY NO. BOWPN1800272/091/270/274
                                              a/s/o  GGP    STATEN     ISLAND   MALL;
                                              ENDURANCE      AMERICAN       SPECIALTY
                                              INSURANCE COMPANY a/s/o GGP STATEN
                                              ISLAND MALL; WESTPORT INSURANCE
                                              CORPORATION a/s/o GGP STATEN ISLAND
                                              MALL; LIBERTY MUTUAL FIRE INSURANCE


          {S2716944; 1}                         2

                                             2 of 19
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                             INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO. 1:24-cv-04939-VMS
                 1                Document 1-1 Filed 07/16/24 Page 3 ofRECEIVED
                                                                        122 PageID #: 12 01/25/2021
                                                                                NYSCEF:




                                               COMPANY a/s/o GGP STATEN ISLAND
                                               MALL; AMERICAN INTERNATIONAL GROUP
                                               UK LIMITED F/K/A LEXINGTON LONDON, A
                                               DIVISION OF AIG EUROPE, LTD. a/s/o GGP
                                               STATEN ISLAND MALL; CHUBB CUSTOM
                                               INSURANCE COMPANY a/s/o GGP STATEN
                                               ISLAND    MALL;     ALLIANZ    GLOBAL
                                               CORPORATION & SPECIALTY SE a/s/o GGP
                                               STATEN ISLAND MALL




          To Defendants:

          AURORA CONTRACTORS, INC.
          100 Raynor Avenue
          Ronkonkoma, New York 11779

          ABB, INC.
          305 Gregson Drive
          Cary, North Carolina 27511

          BARNETTE CONSULTING SERVICES, LLC
          C/O United States Corporation Agents, Inc.
          9900 Spectrum Drive
          Austin, Texas 78717

          INDUSTRIAL CONNECTIONS & SOLUTIONS, LLC
          C/O The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801

          REXEL, USA INC. d/b/a GEXPRO
          C/O Corporation Service Company
          251 Little Falls Drive
          Wilmington, Delaware 19808
          And
          700 Broadhollow Road
          Farmingdale New York 11735




          {S2716944; 1}                          3

                                              3 of 19
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                      INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO. 1:24-cv-04939-VMS
                 1                Document 1-1 Filed 07/16/24 Page 4 ofRECEIVED
                                                                        122 PageID #: 13 01/25/2021
                                                                                NYSCEF:




          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF RICHMOND
          GGP STATEN ISLAND MALL, LLC; ACE       :
          AMERICAN INSURANCE COMPANY             : Index No.:
          a/s/o GGP STATEN ISLAND MALL;          :
          CERTAIN UNDERWRITERS AT LLOYD’S        :
          LONDON SUBSCRIBING TO POLICY           :
          NO. BOWPN1800272/091/270/274 a/s/o     : COMPLAINT
          GGP STATEN ISLAND MALL;                :
          ENDURANCE AMERICAN SPECIALTY           :
          INSURANCE COMPANY a/s/o GGP            :
          STATEN ISLAND MALL; WESTPORT           :
          INSURANCE CORPORATION a/s/o GGP        :
          STATEN ISLAND MALL; LIBERTY            :
          MUTUAL FIRE INSURANCE COMPANY          :
          a/s/o GGP STATEN ISLAND MALL;          :
          AMERICAN INTERNATIONAL GROUP           :
          UK LIMITED F/K/A LEXINGTON             :
          LONDON, A DIVISION OF AIG EUROPE,      :
          LTD. a/s/o GGP STATEN ISLAND MALL;     :
          CHUBB CUSTOM INSURANCE                 :
          COMPANY a/s/o GGP STATEN ISLAND        :
          MALL; ALLIANZ GLOBAL                   :
          CORPORATION & SPECIALTY SE a/s/o       :
          GGP STATEN ISLAND MALL                 :
                                    Plaintiffs,  :
                         v.                      :
                                                 :
          AURORA CONTRACTORS, INC.,              :
          BARNETTE CONSULTING SERVICES,          :
          LLC; INDUSTRIAL CONNECTIONS &          :
          SOLUTIONS, LLC; ABB, Inc.; REXEL,      :
          USA, INC. d/b/a GEXPRO;                :
                                     Defendants. :
                                                 :

                   Plaintiffs GGP Staten Island Mall, LLC (“GGP”), by its attorneys, Sullivan &
          Worcester LLP, Ace American Insurance Company as subrogee of GGP (“ACE”),
          Certain         Underwriters   at   Lloyd’s     London   subscribing   to   Policy   No.
          BOWPN1800272/091/270/274 as subrogee of GGP (“Lloyds”), Endurance American
          Specialty Insurance Company as subrogee of GGP (“Endurance”), Westport Insurance
          Corporation as subrogee of GGP (‘Westport”), Liberty Mutual Fire Insurance Company
          as subrogee of GGP (“Liberty”), American International Group UK Limited formerly


          {S2716944; 1}


                                                        4 of 19
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                         INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO. 1:24-cv-04939-VMS
                 1                Document 1-1 Filed 07/16/24 Page 5 ofRECEIVED
                                                                        122 PageID #: 14 01/25/2021
                                                                                NYSCEF:




          known as Lexington London, a division of AIG Europe as subrogee of GGP (“Lex
          London”), Chubb Custom Insurance Company as subrogee of GGP (“Chubb”), and
          Allianz Global Corporation & Specialty SE as subrogee of GGP (“Allianz”), by their
          attorneys, Fleischner Potash LLP , for their complaint against defendants, Aurora
          Contractors, Inc. (“Aurora”), Barnette Consulting Services LLC (“Barnette”). Industrial
          Connections & Solutions, LLC formerly known as GE Industrial Solutions (“Industrial
          Connections”), ABB, Inc. (“ABB), and Rexel, USA, Inc. d/b/a Gexpro (“Gexpro”), state
          as follows:
                   1.     Plaintiff GGP is a Delaware limited liability company with a principal place
          of business at 110 N. Wacker Drive, Chicago, Illinois. GGP brings this action in its own
          name to enforce its rights and claims with respect to losses incurred and sustained that
          currently are not subject to any insurance commitment or payment.
                   2.     Plaintiff ACE is a Pennsylvania corporation with a principal place of
          business in Philadelphia, Pennsylvania. At all times relevant hereto, ACE provided all
          risk property insurance to GGP under Policy No.CX D37417919 005 and is subrogated
          to certain rights and claims of GGP against third parties responsible for an insured loss
          to the extent of ACE’s payments.
                   3.     Plaintiff Lloyds is a group of insurance underwriters with a principal place
          of business outside the United States. At all times relevant hereto, Lloyds provided all
          risk property insurance to GGP under Policy No. BOWPN1800272/270/274 and is
          subrogated to certain rights and claims of GGP against third parties responsible for an
          insured loss to the extent of Lloyds’ payments.
                   4.     Plaintiff Endurance is a Delaware corporation with a principal place of
          business in Purchase, New York. At all times relevant hereto, Endurance provided all
          risk property insurance to GGP under Policy No. GPR10010887801 and is subrogated
          to certain rights and claims of GGP against third parties responsible for an insured loss
          to the extent of Endurance’s payments.
                   5.     Plaintiff Westport is a Missouri corporation with a principal place of
          business in Kansas City, Missouri. At all times relevant hereto, Westport provided all
          risk property insurance to GGP under Policy No. NAP 0451276 05 and is subrogated to




          {S2716944; 1}                                 2

                                                     5 of 19
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                         INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO. 1:24-cv-04939-VMS
                 1                Document 1-1 Filed 07/16/24 Page 6 ofRECEIVED
                                                                        122 PageID #: 15 01/25/2021
                                                                                NYSCEF:




          certain rights and claims of GGP against third parties responsible for an insured loss to
          the extent of Westport’s payments.
                   6.     Plaintiff Liberty is a Wisconsin corporation with a principal place of
          business in Boston, Massachusetts. At all times relevant hereto, Liberty provided all
          risk property insurance to GGP under Policy No.              YS2-L9L-430466-068 and is
          subrogated to certain rights and claims of GGP against third parties responsible for an
          insured loss to the extent of Liberty’s payments.
                   7.     Plaintiff American International Group UK Limited f/k/a Lexington London
          is a division of AIG Europe, LTD. with a principal place of business outside the United
          States. At all times relevant hereto, Lex London provided all risk property insurance to
          GGP under Policy No. BOWPN1800085 and is subrogated to certain rights and claims
          of GGP against third parties responsible for an insured loss to the extent of Lex
          London’s payments.
                   8.     Plaintiff Chubb is a Delaware corporation with a principal place of
          business in Philadelphia, Pennsylvania. At all times relevant hereto, Chubb provided all
          risk property insurance to GGP under Policy No. 44734993-01 and is subrogated to
          certain rights and claims of GGP against third parties responsible for an insured loss to
          the extent of Chubb’s payments.
                   9.     Plaintiff Allianz is an insurance company with a principal place of business
          outside the United States. At all times relevant hereto, Allianz provided all risk property
          insurance to GGP under Policy No. BOWPN18000275 and is subrogated to certain
          rights and claims of GGP against third parties responsible for an insured loss to the
          extent of Allianz’s payments.
                   10.    On information and belief, defendant Aurora is a New York corporation
          with a principal place of business at 100 Raynor Avenue, Ronkonkoma, New York.
                   11.    On information and belief, defendant Barnette is a Texas corporation with
          a principal place of business at 7835 Atlantic Breeze Lane, Richmond, Texas. At all
          times relevant hereto, Barnette was the agent or authorized representative of defendant
          Industrial Connections or defendant Gexpro.




          {S2716944; 1}                                 3

                                                     6 of 19
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                             INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO. 1:24-cv-04939-VMS
                 1                Document 1-1 Filed 07/16/24 Page 7 ofRECEIVED
                                                                        122 PageID #: 16 01/25/2021
                                                                                NYSCEF:




                   12.    On information and belief, defendant Industrial Connections is a Delaware
          limited liability company with a principal place of business at 305 Gregson Drive, Cary,
          North Carolina.
                   13.    On information and belief, defendant ABB is a Delaware limited liability
          company with a principal place of business at 305 Gregson Drive, Cary, North Carolina.
                   14.    On information and belief, Gexpro is a Delaware corporation with a
          principal place of business at 14951 Dallas Parkway, Dallas, Texas.

                                         JURISDICTION AND VENUE
                   15.    This Court has personal jurisdiction over defendants pursuant to CPLR
          section 301 or 302 because defendants are found in the State or, as more fully
          described below, directly, or through an intermediary or agent, transacted business in
          New York or contracted to supply goods or services in New York or committed a tortious
          act without New York which caused injury within New York and the defendants, and
          each of them, regularly does or solicits business, or engage in a persistent course of
          conduct, or derive substantial revenue from goods used or consumed or services
          rendered, in New York or expect or should reasonably expect the act to have
          consequences in New York and derive substantial revenue from interstate or
          international commerce.
                   16.    Venue   is   proper   in   Richmond   County    because      the    facts   and
          circumstances giving rise to this action occurred in Richmond County.
                                            STATEMENT OF FACTS
                   17.    GGP owns and operates the Staten Island Mall located at 2655 Richmond
          Avenue on Staten Island.
                   18.    In 2016, the Mall began an expansion project (“the Project”).
                   19.    GGP hired Aurora as the general contractor of the Project. A copy of the
          contract between GGP and Aurora is attached as Exhibit 1 (“the Contract”).
                   20.    Part of the Project required the procurement and installation of three new
          electrical feeders, or “cores,” on the roof of one of the buildings at the Mall. Each core
          is made up of a system of electrical parts collectively called a “busway.”




          {S2716944; 1}                                 4

                                                     7 of 19
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                        INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO. 1:24-cv-04939-VMS
                 1                Document 1-1 Filed 07/16/24 Page 8 ofRECEIVED
                                                                        122 PageID #: 17 01/25/2021
                                                                                NYSCEF:




                   21.    Prior to the start of the Project, there was a single core on the roof that
          supplied electrical power to a significant portion of the Mall, including a number of
          plaintiff GGP’s tenants.
                   22.    As part of its work as general contractor, Aurora, either itself or through
          one of the subcontractors it hired, procured three new busways (“the Busways”). In the
          course of the Project and the events described below, the three new Busways came to
          be referred to as Cores 1, 3, and 4. The busway existent prior to the commencement of
          the Project is referred to as Core 2.
                   23.    On information and belief, the Busways were procured from defendant
          Gexpro.
                   24.    Upon information and belief, Industrial Connections, ABB, and/or Gexpro
          designed, manufactured, assembled, tested, inspected, sold and/or distributed the
          Busways.
                   25.    Core 1 was installed by defendant Aurora or its subcontractor in the late
          Summer or Fall of 2017.
                   26.    Almost immediately, problems arose with Core 1.
                   27.    In response to inquiries about these problems, on or about November 21,
          2017, defendant Industrial Connections, ABB, Inc., and/or Gexpro sent one of its
          employees to the Mall to inspect and test Core 1. The employee discovered water
          within it.
                   28.    The employee determined that the water condition was a result of a
          “manufacturing defect.”
                   29.    Despite this manufacturing defect, Industrial Connections, ABB and/or
          Gexpro certified Core 1 as fit to operate.
                   30.    In response to continuing concerns with Core 1, on or about March 31,
          2018, Industrial Connections, ABB and/or Gexpro, sent Jerrith Barnette, a principal of
          defendant Barnette, to the Mall to inspect and test Core 1.
                   31.    Barnette discovered certain characteristics, including characteristics
          consistent with the depletion of Core 1’s electrical insulation.




          {S2716944; 1}                                 5

                                                    8 of 19
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                         INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO. 1:24-cv-04939-VMS
                 1                Document 1-1 Filed 07/16/24 Page 9 ofRECEIVED
                                                                        122 PageID #: 18 01/25/2021
                                                                                NYSCEF:




                   32.    Despite the results of his inspection and tests, Barnette, on behalf of
          defendant Industrial Connections, ABB and/or Gexpro, determined that Core 1 was fit to
          operate.
                   33.    In reliance on Barnette’s determination, Core 1 was energized.
                   34.    On or about July 17, 2018, Core 1 failed catastrophically causing its
          destruction.
                   35.    Not only was Core 1 destroyed, but its failure also destroyed Core 2 and
          other property of plaintiff GGP at the Mall.
                   36.    The loss of Cores 1 and 2 immediately rendered a significant portion of
          the Mall without electricity. In order to mitigate this disaster, emergency generators
          were obtained at considerable cost in time, labor, and material to supply electrical
          power to the Mall and its tenants throughout the prolonged period of remediation.
                   37.    In investigating the cause of the failure of Core 1, GGP learned that Core
          1 was either designed or manufactured defectively or was not fit for the particular use to
          which it was put.
                   38.    Cores 1 and 2 were removed and replaced with new busways
          manufactured by Square D at considerable cost in time, labor, and material.
                   39.    Based on the investigation referred to above, it was determined not to
          install the busways procured from defendants Industrial Connections, ABB and/or
          Gexpro for use in Cores 3 and 4. Instead, at considerable additional cost in time, labor,
          and material, busways manufactured by Square D were obtained and installed in Cores
          3 and 4.
                   40.    Subject to adjustment, supplementation, amendment and/or modification,
          Plaintiffs incurred or expect to incur no less than $2,500,000 million in repair costs, plus
          and not including lost profits.
                   41.    Plaintiffs Ace, Lloyds, Endurance, Westport, Liberty, Lex London, Chubb,
          Allianz made insurance payments to GGP for a portion of the damages and are
          therefore, to the extent of their payments and any future payments, are subrogated to
          GGP’s rights and claims against the defendants.




          {S2716944; 1}                                  6

                                                    9 of 19
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                       INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                1                Document 1-1 Filed 07/16/24 Page 10 of 122 PageID
                                                                     RECEIVED      #: 1901/25/2021
                                                                               NYSCEF:




                      FIRST CAUSE OF ACTION – BREACH OF CONTRACT (AURORA)
                   42.    The Plaintiffs repeat, reiterate and reallege each and every allegation as
          contained in paragraphs 1 through 41 with the same force and effect as though each
          were more fully set forth at length herein.
                   43.    The Contract provided that defendant Aurora “warrants to [GGP] that: (i)
          all materials and equipment uses in connection with the Work and the Project will be of
          good equality and new free from faults and defects unless the Contract Documents
          require or permit otherwise; (ii) the Work will comply with all applicable laws, rules,
          regulations, ordinances and permits and all of the requirements of the Contract
          Documents; and the Work will be free from defects and any Work, materials or
          equipment not conforming to these requirements, including substitutions not properly
          approved by [GGP], may be considered defective.” Contract § 3.2.
                   44.    The Contract provided that Aurora “shall be responsible to [GGP] for the
          acts and omissions of [Aurora’s] employees, Vendors, Subcontractors and any of their
          agents and employees, and any other persons performing or supplying any of the labor,
          materials or services constituting the Work including but not limited to Subcontractors,
          suppliers, and/or materialmen.” Contract § 3.11.
                   45.    The Contract provided that Aurora “shall be responsible for the
          performance of Subcontractors and Vendors of every tier to the same extent as if
          performed by [Aurora] on a direct basis, including coordination of those portions of the
          Work performed by Subcontractors and Vendors.” Contract § 9.1.
                   46.    Aurora breached its duties owed to GGP under the Contract.
                   47.    Aurora’s breach of its contractual obligations was a direct and proximate
          cause of plaintiffs’ damages.
                   WHEREFORE, plaintiffs demand judgment against Aurora for damages
          exceeding $2,500,000 together with costs, interest, attorney’s fees, and such other and
          further relief as to the Court appears just and proper.
                          SECOND CAUSE OF ACTION – NEGLIGENCE (BARNETTE)
                   48.    The Plaintiffs repeat, reiterate and reallege each and every allegation as
          contained in paragraphs 1 through 47 with the same force and effect as though each
          were more fully set forth at length herein



          {S2716944; 1}                                 7

                                                   10 of 19
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                               INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                1                Document 1-1 Filed 07/16/24 Page 11 of 122 PageID
                                                                     RECEIVED      #: 2001/25/2021
                                                                               NYSCEF:




                   49.    Barnette owed a duty to GGP and plaintiffs to exercise due and
          reasonable care in the inspection, testing and/or certification of the Busway.
                   50.    Barnette owed a duty imposed by common law, applicable industry
          customs, regulations, standards of practice codes and/or ordinances to exercise due
          care in the performance of its work and/or obligations at the subject location.
                   51.    Barnette knew or should have known that its failure to exercise due and
         reasonable care would result in unreasonable risk of damage and/or harm to the subject
         property.
                   52.    Barnette breached the duty of care in one or more of the following ways:
                          a. Failing to adequately supervise its agents, employees, workmen,
                             representatives, contractors, subcontractors, servants and/or officers
                             to ensure that the work did not harm or otherwise damage the property
                             of GGP;
                          b. Failing to properly inspect and test the Busway in accordance with
                             manufacturer guidelines, and applicable standards and codes.
                          c. Failing to take adequate remedial action upon discovery of deficiencies
                             in the Busway system;
                          d. Failing to warn of the dangerous and defective condition of the
                             Busway;
                          e. Failing to ensure the Busway was fit for operation before certifying the
                             system fit for use;
                          f. Otherwise failing to use reasonable care and act reasonably under the
                             circumstances.
                          g. Plaintiffs will also rely on the doctrine of res ipsa loquitor.
                   53.    Barnette’s breach of duty was a direct and proximate cause of plaintiffs’
         damages.
                   WHEREFORE, plaintiffs demand judgment against defendant Barnette for
         damages no less than $2,500,000 together with costs, interest, attorney’s fees, and
         such other and further relief as to the Court appears just and proper.

                THIRD CAUSE OF ACTION – NEGLIGENCE (INDUSTRIAL CONNECTIONS)




          {S2716944; 1}                                   8

                                                      11 of 19
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                       INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                1                Document 1-1 Filed 07/16/24 Page 12 of 122 PageID
                                                                     RECEIVED      #: 2101/25/2021
                                                                               NYSCEF:




                   54.    The Plaintiffs repeat, reiterate and reallege each and every allegation as
          contained in paragraphs 1 through 53 with the same force and effect as though each
          were more fully set forth at length herein.
                   55.    Industrial Connections owed a duty to GGP and plaintiffs to exercise due
          and reasonable care in the design, manufacture, inspection, testing and/or certification
          of the Busways.
                   56.    Industrial Connections owed a duty imposed by common law, applicable
          industry customs, regulations, standards of practice codes and/or ordinances to
          exercise due care in the performance of its work and/or obligations at the subject
          location.
                   57.    Industrial Connections knew or should have known that its failure to
          exercise due and reasonable care would result in unreasonable risk of damage and/or
          harm to the subject property.
                   58.    Industrial Connections breached the duty of care in one or more of the
          following ways:
                          a. Negligently designing and manufacturing the Busways;
                          b. Failing to ensure the design and manufacture of the Busways complied
                             with applicable standards and codes;
                          c. Failing to warn of the dangerous and defective condition of the
                             Busways;
                          d. Failing to adequately supervise its agents, employees, workmen,
                             representatives, contractors, subcontractors, servants and/or officers
                             to ensure that the work did not harm or otherwise damage the property
                             of GGP;
                          e. Failing to properly inspect and test the Busways in accordance with
                             manufacturer guidelines, and applicable standards and codes;
                          f. Failing to take adequate remedial action upon discovery of deficiencies
                             in the Busways system;
                          g. Failing to ensure the Busways were fit for operation before certifying
                             the system fit for use;




          {S2716944; 1}                                   9

                                                       12 of 19
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                 INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                1                Document 1-1 Filed 07/16/24 Page 13 of 122 PageID
                                                                     RECEIVED      #: 2201/25/2021
                                                                               NYSCEF:




                          h. Otherwise failing to use reasonable care and act reasonably under the
                               circumstances.
                          i.   Plaintiffs will also rely on the doctrine of res ipsa loquitor.
                   59.    Industrial Connections’ breach of duty was a direct and proximate cause
          of plaintiffs’ damages.
                   WHEREFORE,          plaintiffs   demand      judgment   against    defendant    Industrial
          Connections for damages no less than $2,500,000 together with costs, interest,
          attorney’s fees, and such other and further relief as to the Court appears just and
          proper.

           FOURTH CAUSE OF ACTION – STRICT LIABILITY (INDUSTRIAL CONNECTIONS)
                   60.    The Plaintiffs repeat, reiterate and reallege each and every allegation as
          contained in paragraphs 1 through 59 with the same force and effect as though each
          were more fully set forth at length herein
                   61.    Industrial Connections was engaged in the business of the design,
          manufacture, marketing, sale, and/or distribution of Busways.
                   62.    Upon info and belief Industrial Connections manufactured, sold, marketed,
          distributed, monitored, inspected , tested and/or placed into the stream of commerce an
          unreasonably dangerous and/or defective product which was unsafe at the time it left its
          control.
                   63.    Industrial Connections designed, manufactured, and sold the Busways in
          a dangerous and defective condition.
                   64.    The Busways and their component parts were defective as to design,
          manufacturer, and warnings, causing the Busways and its component parts to be in a
          dangerous and defective condition that made them unsafe for its intended use.
                   65.    The dangerous and defective condition of the Busways existed upon
          delivery of the Busways to the Mall.
                   66.    The dangerous and defective condition of the Busways was a direct and
          proximate cause of plaintiffs’ damages.
                   67.    Industrial Connections is strictly liable for plaintiffs’ damages for designing,
          manufacturing, and selling the Busways in a dangerous and defective condition.




          {S2716944; 1}                                    10

                                                        13 of 19
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                          INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                1                Document 1-1 Filed 07/16/24 Page 14 of 122 PageID
                                                                     RECEIVED      #: 2301/25/2021
                                                                               NYSCEF:




                   WHEREFORE,       plaintiffs   demand      judgment   against   defendant   Industrial
          Connections for damages no less than $2,500,000 together with costs, interest,
          attorney’s fees, and such other and further relief as to the Court appears just and
          proper.

                           FIFTH CAUSE OF ACTION – NEGLIGENCE (ABB, INC.)
                   68.    The Plaintiffs repeat, reiterate and reallege each and every allegation as
          contained in paragraphs 1 through 67 with the same force and effect as though each
          were more fully set forth at length herein.
                   69.    ABB owed a duty to GGP and plaintiffs to exercise due and reasonable
          care in the design, manufacture, inspection, testing and/or certification of the Busways.
                   70.    ABB owed a duty imposed by common law, applicable industry customs,
          regulations, standards of practice codes and/or ordinances to exercise due care in the
          performance of its work and/or obligations at the subject location.
                   71.    ABB knew or should have known that its failure to exercise due and
          reasonable care would result in unreasonable risk of damage and/or harm to the subject
          property.
                   72.    ABB breached the duty of care in one or more of the following ways:
                          a. Negligently designing and manufacturing the Busways;
                          b. Failing to ensure the design and manufacture of the Busways complied
                             with applicable standards and codes;
                          c. Failing to warn of the dangerous and defective condition of the
                             Busways;
                          d. Failing to adequately supervise its agents, employees, workmen,
                             representatives, contractors, subcontractors, servants and/or officers
                             to ensure that the work did not harm or otherwise damage the property
                             of GGP;
                          e. Failing to properly inspect and test the Busways in accordance with
                             manufacturer guidelines, and applicable standards and codes.
                          f. Failing to take adequate remedial action upon discovery of deficiencies
                             in the Busways system;




          {S2716944; 1}                                 11

                                                    14 of 19
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                 INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                1                Document 1-1 Filed 07/16/24 Page 15 of 122 PageID
                                                                     RECEIVED      #: 2401/25/2021
                                                                               NYSCEF:




                          g. Failing to ensure the Busways were fit for operation before certifying
                               the system fit for use;
                          h. Otherwise failing to use reasonable care and act reasonably under the
                               circumstances;
                          i.   Plaintiffs will also rely on the doctrine of res ipsa loquitor.
                   73.    ABB’s breach of duty was a direct and proximate cause of plaintiffs’
          damages.
                   WHEREFORE, plaintiffs demand judgment against defendant ABB for damages
          no less than $2,500,000 together with costs, interest, attorney’s fees, and such other
          and further relief as to the Court appears just and proper.

                          SIXTH CAUSE OF ACTION – STRICT LIABILITY (ABB, INC.)

                   74.    The Plaintiffs repeat, reiterate and reallege each and every allegation as
          contained in paragraphs 1 through 73 with the same force and effect as though each
          were more fully set forth at length herein.
                   75.    ABB was engaged in the business of the design, manufacture, marketing,
          sale, and/or distribution of the Busways.
                   76.    Upon info and belief, ABB manufactured, sold, marketed, distributed,
          monitored, inspected, tested and/or placed into the stream of commerce an
          unreasonably dangerous and/or defective product which was unsafe at the time it left its
          control.
                   77.    ABB designed, manufactured, and sold the Busways in a dangerous and
          defective condition.
                   78.    The Busways and their component parts were defective as to design,
          manufacturer, and warnings, causing the Busways and its component parts to be in a
          dangerous and defective condition that made them unsafe for its intended use.
                   79.    The dangerous and defective condition of the Busways existed upon
          delivery of the Busways to the Mall.
                   80.    The dangerous and defective condition of the Busways was a direct and
          proximate cause of plaintiffs’ damages.
                   81.    ABB is strictly liable for plaintiffs’ damages for designing, manufacturing,
          and selling the Busways in a dangerous and defective condition.


          {S2716944; 1}                                    12

                                                         15 of 19
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                        INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                1                Document 1-1 Filed 07/16/24 Page 16 of 122 PageID
                                                                     RECEIVED      #: 2501/25/2021
                                                                               NYSCEF:




                   WHEREFORE, plaintiffs demand judgment against defendant ABB for damages
          no less than $2,500,000 together with costs, interest, attorney’s fees, and such other
          and further relief as to the Court appears just and proper.

                          SEVENTH CAUSE OF ACTION – NEGLIGENCE (GEXPRO)

                   82.    The Plaintiffs repeat, reiterate and reallege each and every allegation as
          contained in paragraphs 1 through 81 with the same force and effect as though each
          were more fully set forth at length herein.
                   83.    GEXPRO owed a duty to GGP and plaintiffs to exercise due and
          reasonable care in the sale, design, manufacture, inspection, testing and/or certification
          of the Busways.
                   84.    GEXPRO owed a duty imposed by common law, applicable industry
          customs, regulations, standards of practice codes and/or ordinances to exercise due
          care in the performance of its work and/or obligations at the subject location.
                   85.    GEXPRO knew or should have known that its failure to exercise due and
         reasonable care would result in unreasonable risk of damage and/or harm to the subject
         property.
                   86.    GEXPRO breached the duty of care in one or more of the following ways:
                          a. Negligently designing and manufacturing the Busways;
                          b. Failing to ensure the design and manufacture of the Busways complied
                             with applicable standards and codes;
                          c. Failing to warn of the dangerous and defective condition of the
                             Busways;
                          d. Failing to adequately supervise its agents, employees, workmen,
                             representatives, contractors, subcontractors, servants and/or officers
                             to ensure that the work did not harm or otherwise damage the property
                             of GGP;
                          e. Failing to properly inspect and test the Busways in accordance with
                             manufacturer guidelines, and applicable standards and codes.
                          f. Failing to take adequate remedial action upon discovery of deficiencies
                             in the Busways system;



          {S2716944; 1}                                 13

                                                   16 of 19
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                  INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                1                Document 1-1 Filed 07/16/24 Page 17 of 122 PageID
                                                                     RECEIVED      #: 2601/25/2021
                                                                               NYSCEF:




                           g. Failing to ensure the Busways were fit for operation before certifying
                                the system fit for use;
                           h. Otherwise failing to use reasonable care and act reasonably under the
                                circumstances;
                           i.   Plaintiffs will also rely on the doctrine of res ipsa loquitor.
                   87.     GEXPRO’s breach of duty was a direct and proximate cause of plaintiffs’
          damages.
                   WHEREFORE, plaintiffs demand judgment against defendant GEXPRO for
          damages no less than $2,500,000 together with costs, interest, attorney’s fees, and
          such other and further relief as to the Court appears just and proper.

                          EIGHTH CAUSE OF ACTION – STRICT LIABILITY (GEXPRO)

                   88.     The Plaintiffs repeat, reiterate and reallege each and every allegation as
          contained in paragraphs 1 through 87 with the same force and effect as though each
          were more fully set forth at length herein.
                   89.     Gexpro sold the Busways in a dangerous and defective condition.
                   90.     Gexpro was engaged in the business of the design, manufacture,
          marketing, sale, and/or distribution of the Busways.
                   91.     Upon info and belief, Gexpro manufactured, sold, marketed, distributed,
          monitored, inspected, tested and/or placed into the stream of commerce an
          unreasonably dangerous and/or defective product which was unsafe at the time it left its
          control.
                   92.     The Busways and their component parts were defective as to design,
          manufacturer, and warnings, causing the Busways and their component parts to be in a
          dangerous and defective condition that made them unsafe for its intended use.
                   93.     The dangerous and defective condition of the Busways existed upon
          delivery of the Busways to the Mall.
                   94.     The dangerous and defective condition of the Busways was a direct and
          proximate cause of plaintiffs’ damages.
                   95.     Gexpro is strictly liable for plaintiffs’ damages for selling the Busways in a
          dangerous and defective condition.



          {S2716944; 1}                                     14

                                                          17 of 19
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                    INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                1                Document 1-1 Filed 07/16/24 Page 18 of 122 PageID
                                                                     RECEIVED      #: 2701/25/2021
                                                                               NYSCEF:




                   WHEREFORE, plaintiffs demand judgment against defendant Gexpro for
          damages exceeding $2,500,000 together with costs, interest, attorney’s fees, and any
          other relief the Court deems appropriate.

          Dated: New York, New York
                 January 25, 2021
                                                  Respectfully submitted,

                                                  SULLIVAN & WORCESTER LLP

                                                  By:/s/ George O. Richardson, III____
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                                                  New York, New York 10019
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                                                  GGP Staten Island Mall, LLC


                                                  FLEISCHNER POTASH LLP




                                                  By:
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                                                  Suite 5C
                                                  New York, New York 10005
                                                  (646)520-4200
                                                  rberman@fp.law

                                                  Attorneys for Plaintiffs ACE AMERICAN
                                                  INSURANCE COMPANY a/s/o GGP STATEN
                                                  ISLAND MALL; CERTAIN UNDERWRITERS
                                                  AT LLOYD’S LONDON SUBSCRIBING TO
                                                  POLICY NO. BOWPN1800272/091/270/274
                                                  a/s/o  GGP    STATEN     ISLAND   MALL;
                                                  ENDURANCE      AMERICAN       SPECIALTY
                                                  INSURANCE COMPANY a/s/o GGP STATEN
                                                  ISLAND MALL; WESTPORT INSURANCE
                                                  CORPORATION a/s/o GGP STATEN ISLAND
                                                  MALL; LIBERTY MUTUAL FIRE INSURANCE
                                                  COMPANY a/s/o GGP STATEN ISLAND


          {S2716944; 1}                               15

                                                 18 of 19
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                             INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                1                Document 1-1 Filed 07/16/24 Page 19 of 122 PageID
                                                                     RECEIVED      #: 2801/25/2021
                                                                               NYSCEF:




                                              MALL; AMERICAN INTERNATIONAL GROUP
                                              UK LIMITED F/K/A LEXINGTON LONDON, A
                                              DIVISION OF AIG EUROPE, LTD. a/s/o GGP
                                              STATEN ISLAND MALL; CHUBB CUSTOM
                                              INSURANCE COMPANY a/s/o GGP STATEN
                                              ISLAND    MALL;     ALLIANZ    GLOBAL
                                              CORPORATION & SPECIALTY SE a/s/o GGP
                                              STATEN ISLAND MALL




          {S2716944; 1}                        16

                                             19 of 19
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                             INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 20 of 122 PageID
                                                                     RECEIVED      #: 2901/25/2021
                                                                               NYSCEF:




                                 EXHIBIT                      1
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                            INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 21 of 122 PageID
                                                                     RECEIVED      #: 3001/25/2021
                                                                               NYSCEF:

             Project      Name:                  Staten           Island         Mall - Seed            Money      Macys
             Located       in:                   Staten           island,         New York
             Project      #:                     418098878
             Contractor:                         Aurora            Contractors,            inc.
             FEIN#;                               112638171
             Amount:                             $93,341,302.00
             Contract         #:                 019




                                                                         CONSTRUCTION                                           AGREEMENT
                                                                                                                (GMP)


                              THIS               CONSTRUCTION                                      AGREEMENT                              (the         "Agreement"),                            effective              as      of
             the       date             electronically                           uploaded                and        approved                    in     Proliance®,                        is        made       by           and
             between                    GGP            Staten               Island            Mall,             LLC,         a Delaware                        limited              liability              company
             (the      "Owner")                   and         Aurora            Contractors,                            inc.       (the        "Contractor")                      for      the       construction
             of     Staten                island              Mall           - Seed                                    Macys              in        Staten                                     New         York             (the
                                                                                        Money                                                                          Island,

             "Project"),                  as      more             fully          described                in    the         Scope             of    Work            set      forth            in    the     attached
             Exhibit               A.




                                                                                                        AGREEMENT:


                               For         and         in    consideration                         of     the      mutual            covenants                   and          conditions                   contained
             in this       Agreement,                              and       for     other          good           and         valuable               consideration,                           the     receipt              and

             sufficiency                    of    which              is      hereby               acknowledged,                          the         parties           hereto,                 intending               to     be

             legally           bound,              do         hereby               covenant                and          agree         as       follows:


                                                                                                           ARTICLE                   I
                                                                           DEFINITIONS                           AND           ATTACHMENTS


             Section                 1.1          Certain                  Defined                Terms.                As     used            herein,           the        term:


                                                  "Agreement"
                               1.1.1                                                         means                 this            Agreement                           between                       Owner                  and

             Contractor,                       including                   all     schedules,                    exhibits,               attachments                        and         other          documents
             annexed                    hereto              and      made             part        hereof           or     incorporated                       herein           by        reference,                as        well

             as     any        addenda                      hereto           or     modifications                       made          and           entered            into        as      provided               herein.
             No      other              documents                     are          part      of    this         Agreement.

                                                                                    Amounts"
                               1.1.2              "Allowance                                                     has         the    meaning                  ascribed                to        it in Section                5.6.


                                                                                     Item_s"
                               1.1.3              "Allowance                                             has      the        meaning                 ascribed                to    it in        Section           5.6.


                                                                                                  Payment"
                               1.1.4              "Application                        for                                    means             a written               or    electronically                    request
             submitted                     via        Proliance®                     for      compensation                           by        Contractor                    to     the          Owner            for        the
             Project                for          the         Work                 performed,                     goods             delivered                    or          services                 rendered                      in
             accordance                        with          the      guidelines                   set     forth          in Section                 10.1.
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                  INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 22 of 122 PageID
                                                                     RECEIVED      #: 3101/25/2021
                                                                               NYSCEF:

                                                                                                                                                           Staten            Island           Mall         - Seed                          Macys
                                                                                                                                                                                                                        Money
                                                                                                                                                                                                                       Contract              # 019
                                                                                                                                                                                                    Aurora          Contractors,                  Inc.
                                                  "Architect"
                               1.1.5                                                      means                 that         certain                person                lawfully                   licensed                to     practice
             architecture                         or     an          entity                 lawfully                   practicing                        architecture                          and           having                a       direct
             agreement                      with             the           Owner                    to        perforrn                  all     of         the           necessary                         architectural                         and

             engineering                     services,                     including                      but         not     limited               to     architectural,                            structural                (including
             foundation                  design),                     electrical,                        mechanical,                          plumbing,                       lighting                and         fire        protection
             design             required                 for        all        or        a portion                of        the        design              of     the         Project.


                                                  "Change"
                               1.1.6                                                 has         the          meaning                   ascribed                  to     it in       Section                 6.1.


                                                                                Order"
                               1.1.7              "Change                                                has          the     meaning                      ascribed                  to        in     in    Section                6.3.


                                                                                     Amendment"
                               1.1.8              "Contract                                                                       has         the         meaning                    ascribed                    to      it in       Section

             62

                                                                                          Documents"
                               1.1.9              "Contract                                                                            means                     this              Agreement                           all         exhibits,
             schedules,                  attachments                                 and         documents                         attached                     hereto;              the        Project               Schedule                   (as
             defined             in     Section                4.1             herein);                  the      General                     Conditions                      of     the            Agreement                      attached
             hereto            as      Exhibit                 B,         and            any        special                 conditions;                     the         Drawings;                      the       Specifications;
             all    contracts                 and            purchase                       orders              with          Subcontractors                                  and         Vendors;                    the         Schedule
             of     Values;                 all         documents                           incorporated                               by      reference                       into            any          of        the         foregoing
             documents;                      and         all       other                 documents,                         if any,           set     forth            in the            Scope              of Work                attached
             hereto             as     Exhibit                 A.


                                                                                                 Fee"
                               1.1.10             "Contractor's                                                 has          the        meaning                    ascribed                    to      it in     Section                  5.1.


                                                                                                 Representative"
                               1.1.11             "Contractor's                                                                                      means                   the         person              designated                      from
             time         to    time         by         the        Contractor                            as     its     representative                              in       a written                 notice               delivered               to
             the      Owner              as        provided                         in    this      Agreement.


                                                                                     Time"
                                1.1.12            "Contract                                              means,               unless                otherwise                      set        forth        in this           Agreement
             or     any        Contract                  Document,                          the          period              of time            between                      the      Date            of Commencement

             and          the         Final             Completion,                               during                which                 Contractor                        shall               achieve                  Substantial
             Completion                      of        the     Work                  in    its      entirety                 in accordance                              with         Section                 4.3.


                                                                                           Work"
                                1.1.13            "Cost              of        the                               has         the         meaning                   ascribed                     to     it in      Section                 7.1.


                                                                                     Commencement"
                                1.1.14             "Date                  of                                                                  means                    the         date              upon             which               Owner
             requests                 Contractor                      to        begin               the        Work               on     the         Project.


                                                  "Drawings"
                                1.1.15                                                     mean,                collectively,                       (i)    the          drawings                      listed           in     Exhibit               A
                    such             additional                                                                                                typical                                                            general                 cross-
             (ii)                                                  plats,                drawings,                     profiles,                                   cross-sections,
             sections,                 working                 drawings                          and           supplemental                               drawings                   conceming                          the        Work             as

             may          hereafter                     be     issued                     and            approved                      by      the         Owner's                   Representative,                                   and        (iii)
             such          amendments                                to         any            of        the          foregoing                     documents                            as         may          be          issued              and
             approved                  by         the        Owner's                      Representative.




             GMP_10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                   INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 23 of 122 PageID
                                                                     RECEIVED      #: 3201/25/2021
                                                                               NYSCEF:

                                                                                                                                                         Staten               Island           MaH - Seed                 Money                 Macys
                                                                                                                                                                                                                         Contract                # 019
                                                                                                                                                                                                    Aurora          Contractors,                          Inc.
                                                                       Completion"
                              1.1.16              "Final                                                             means                the           Work              as            described                     in       Exhibit                      A
             (Scope             of    Work)                 has         been           completed                            in accordance                            with               the         Contract                 Documents
             and       in accordance                             with        Section                   8.6           of the            General                Conditions,                            that         punch             list        items
             are      satisfied              and            completed                      and             close            out        documentation                                    has         been           provided                     to the
             Owner.

                                                                   Payment"
                              1.1.17              "Final                                              has            the         meaning                 ascribed                        to     it in       Section                 11.1.


                                                                                 Conditions"
                           1.1.18                 "General                                                                   means                      the              General                         Conditions                        of         the
             Agreement                      for         Construction                         of       the        Project,                 attached                   hereto                   as         Exhibit              B.

                                                                                                                                                               Completion"
                              1.1.19              "Guaranteed                              Date                 of      Substantial                                                                         has         the         meaning
             ascribed                to     it in        Section               4.3.


                                                                                                                                 Price"
                              1.1.20              "Guaranteed                              Maximum                                                   has           the             meaning                    ascribed                     to        it     in
             Section            5.2.


                                                                                       Materials"
                              1.1.21              "Hazardous                                                                 means                any              hazardous,                            radioactive                   or        toxic

             substance,                     material                    or       waste,                    including,                    but            not         limited                   to,        those             substances,
             materials                and           wastes                (whether                         or    not         mixed,             commingled                                or        otherwise                      combined
             with      other              substances,                        materials                      or wastes)                     listed             in the               United                States              Department
             of     Transportation                             Hazardous                          Materials                      Table          (49           C.F.R.                Section                  172.101,                  as            may
             be       amended                      from           time           to        time)                or     by         the      Environmental                                       Protection                     Agency                       as
             hazardous                      substances                           (40         C.F.R.                   Part         302,           as          may              be         amended                       from           time                 to

             time),        or        substances,                         materials                     and             wastes              which               are            or        become                   regulated                      under

             any       applicable                        local,           state,                or     federal                   law,       rule              or     regulation,                            including,                 without

             limitation,              any           material,                 waste                  or substance                         which                is (i)         a petroleum                          product,                     crude
             oil      or      any            faction                   thereof,                      (ii)   asbestos,                           (iii)          polychlorinated                                     biphenyls,                             (iv)
                                                                                                      substance"
             designated                      as         a      "hazardous                                                               pursuant                     to        Section                     311          of     the              Clean
             Water         Act,             or      listed    pursuant       to                             Section                307          of       the         Clean                Water               Act,,           (v)      defined
                                                          waste"
             as       a "hazardous                                   pursuant                                    to        Section           1004                   of     the           Resource                       Conservation
                                                                                                                                          substance"
             and       Recovery                     Act,          or      (vi)        as        a "hazardous                                                                   pursuant                     to     Section                  101             of
             the       Comprehensive                                    Environmental                                  Response,                         Compensation,                                       and           Liability                 Act.
             Hazardous                      Material                   does            not           include                any          materials                       used             in        compliance                      with             any
             environmental                              law,       rule          or     regulation                          in    the       ordinary                      course                    of     business                  or         in        the
             development                           or       construction                         of the               Project.


                                                   "Jobsite"
                              1.1.22                                           means                   the           area          designated                            by        the         Owner               as        the       area                on
             which         the            Work              is    to      be          performed                         hereunder                        and             such             other             areas             as       may                 be
             designated                      by         the       Owner's                    Representative,                                    from               time            to     time,             for     access                  to            the
             Project            and          for        the       storage                  of        the        Contractor's                         materials                      and             equipment.


                                                                                                                                          Work"
                              1.1.23              "Non-allowable                                      Cost             of        the                               has         the            meaning                   ascribed                     to          it
             in     Section               5.10.




             GMP_10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                             INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 24 of 122 PageID
                                                                     RECEIVED      #: 3301/25/2021
                                                                               NYSCEF:

                                                                                                                                                          Staten           Island            Man     - Seed                            Macys
                                                                                                                                                                                                                      Money
                                                                                                                                                                                                                     Contract              # 019
                                                                                                                                                                                               Aurora          Contractors,                     Inc.
                                                                                    Proceed"
                             1.1.24                "Notice               to                                         means                a written                   notice             given      by the  Owner                                  to
                                                                                                                                                                                               Commencement"
             the     Contractor                         in which               the         Contractor                       is provided                        a "Date                  of                                                       on
             which          Contractor                        is instructed                         to proceed                     with        the         Work            or      a specific                  portion            hereof.


                                                                               Representative"
                             1.1.25                "Owner's                                                                            means               the        person                 designated                     from           time
             to     time          by         the          Owner               as         its         representative                             in        a    written                 notice            delivered                    to        the
             Contractor                      as     provided                  in this               Agreement.


                                                   "Project"
                             1.1.26                                            has             the         meaning                      ascribed                     to     it     in        the        preamble                   and            in
             Exhibit              A.


                                                                          Schedule"
                             1.1.27                "Project                                                   has       the             meaning                     ascribed                  to    it in      Section                4.1.

                                                                                                                Update"
                             1.1.28                "Project                   Schedule                                                        has             the         meaning                       ascribed                 to        it     in
             Section              4.2.


                                                   "Proliance®"
                             1.1.29                                                             means                   the                  Owner's                       computer                           based                project
             management                                 system                that              is         required                     to      be             used              by          the         Contractor,                         and
             Subcontractors                                 when               deemed                        appropriate                             by          the             Owner,                  to         manage                      the
             documentation                                and          communication                                  for          the         Project,                   including                  without                limitation,
             Change                    Orders,                    Change                   Amendments,                                   Applications                             for          Payment                     and          other
             information                      Owner                requires                    to     be       uploaded                       into         the        project                 management                          system
             in     order              to      manage                   the           Project.                      Additional                        information                            regarding                 the         project
             management                             system               is        set         forth           in    Exhibit                   G          attached                    hereto,             entitled               "Project
             Management                             System".


                                                                                     Plan"
                             1.1.30                "Recovery                                               means                   a      detailed                   narrative                     explanation                        clearly
             stating             the        scope             and       extent                 of any           and          all        resource                    loading,                 activity          re-sequencing
             and         other              acceleration                      activities                    required                   for     all        affected                 elements                    of     the        Work             to
             enable              Contractor                       to    either:                (a)     complete                        the      respective                        interim               milestones                    by        the
             respective                      interim               milestone                        dates;            or          (b)        obtain              Substantial                        Completion                        of        the
             Work           in     its       entirety              within            the            Contract                Time.


                                                                                                     Values"
                             1.1.31                "Schedule                          of                                       means                       a         schedule,                      prepared                      by            the
             Contractor                      and         approved                    by        the         Owner's                 Representative,                                 allocating                  values              among
             all    categories                      or      portions                of the            Work,            including                      the        Contractor's                        Fee        as      a separate
             line        item.           The            initial        Schedule                       of    Values                 shall             be        set        forth         on         Exhibit             A     attached

             hereto;               and             shall           be         in     a         format                specified                       or        approved                       by        Owner,               with               any
             subsequent                           schedules                        prepared                    in     such                form             and            supported                      by         such          data            to
             substantiate                         its     accuracy                  as     the          Owner's                    Representative                                 or     Owner's                lender(s)                   may
             require,              and            shall           be     used              as        a basis                for         reviewing                    the          Contractor's                       Applications
             for     Payment.


                                                                                   Work"
                             1.1.32                "Scope               of                             shall         mean                the         description                        of the          Project             and         Work
             to     be     performed                       to     produce                  the         building(s),                      structure(s),                       improvements                              and         related
             facilities            as         described                  on         Exhibit                  A and                in the             Contract                Documents.




             GMP_10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                          INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 25 of 122 PageID
                                                                     RECEIVED      #: 3401/25/2021
                                                                               NYSCEF:

                                                                                                                                                             Staten             Island              Mall         - Seed                            Macys
                                                                                                                                                                                                                                  Money
                                                                                                                                                                                                                                 Contract             # 019
                                                                                                                                                                                                          Aurora            Contractors,                Inc.
                                                    "Smcifications"
                               1.1.33                                                                    means                 the       specifications                                  listed            in Exhibit                     A and             all
             additions                   thereto                hereafter                      issued              by        the     Architect                        and           approved                        by       the      Owner.


                                                    "Subcontractors"
                               1.1.34                                                                           means                those                   persons                      or         other                entities,              which
             contract       directly                            with          Contractor                           to        furnish               any            portion                     of        the         Work.             The             term
             "Subcontractors"
                                                                 does            not            include                  any         person                     or       other                 entity               solely            furnishing
             materials                   for        the         Project.


                                                                                               Completion"                                                                                      Complete"
                         1.1.35                     "Substantial                                                                       or        "Substantially                                                                     means              that
                     "Work"
             the                               referred                to     in Exhibit                       A     has           been            sufficiently                        completed                           in      accordance
             with        the        Contract                      Documents                            so       that          the        Owner                    may           occupy                     or       utilize           the        Work,
             Jobsite               and/or                  Project                  for         its       intended                     purpose                        and            use,                and          a         temporary                   or
             permanent                         Certificate                     of         Occupancy                           has           been                issued               by            the          applicable                      issuing
             government                          agency                 and          as         set       forth              in Section                     8.4         of     the          General                    Conditions.


                                                                                                      Delay"
                               1.1.36                     "Unavoidable                                                       means                 delays               due            to      strike,                lockout,              or     other
             labor            or         industrial                    disturbance                             (whether                     or            not         on           the             part          of        employees                        or
             Subcontractors                                or        Vendors);                        civil        disturbance;                             order             of     any             government,                            court           or

             regulatory                    body                claiming                  jurisdiction;                        terrorism;                     war;             act        of        the         public             enemy;               riot;
             sabotage;                     blockade;                        embargo;                      lightning;                   earthquake;                             fire;           storm;                 hurricane;                   flood;
             explosion;                     act           of      God;              or         any            cause             similar                 to        any          of        the             causes                  hereinabove
             stated.


                                                                             Engineering"
                               1.1.37                "Value                                                                  means                 a        process                    in          which               the          Contractor,

             utilizing             its     professional                         skills,               knowledge                        and             expertise,                    reviews                     the         Drawings                  and
             Specifications                               for         the        Work                    and             construction                             methods                           to         be         utilized               in     the
             performance                             of        the      Work                  and             recommends                               to       the           Owner:                     (i)     changes                    that        will
             improve                the             quality             of     the             workmanship                             or        materials                         incorporated                              into         the      Work
             without               increasing                        the       Cost              of       the        Work,               or        (ii)      upon               request                    of       Owner,                 changes
             that      will        reduce                  to     Cost          of the                Work              without               decreasing                            the        quality                 of workmanship
             or     materials.


                                                     "Vendor"
                               1.1.38                                           means                     any           person                or        entity               (including                        employees,                       agents
             and         representatives                                    thereof)                  which              has         a      purchase                          order                or      other                agreement                    to
             provide                materials,                         supplies,                      equipment                        and/or                   related                   services                        for       the         Project
             and/or            provide                    installation                        services                  at    the      Jobsite                    for        the       Work,                   through               a contract,
             purchase                    order             or        other          arrangement                               with          Contractor                         or        any             Subcontractor                           at    any
             level


                                                                                      Period"
                               1.1.39                "Warranty                                                  means                the           later           of        one          (1)           year          after         the         date         of
             Substantial                         Completion                              of     the           Work              or       designated                                portion                     thereof              solely             with
             respect               to the             repair            and          correction                         warranty                 or the               date           such                item         is removed                      from
             the      punch                list.


                                                     "Work"
                               1.1.40                                          means                      the            totality                  of           the            obligations                               imposed                      upon
             Contractor                        by    the         Contract                     Documents,                           including,                     without                   limitation,                    the      supply             and




             GMP_10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                               INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 26 of 122 PageID
                                                                     RECEIVED      #: 3501/25/2021
                                                                               NYSCEF:

                                                                                                                                                   Staten              Island            Mall        - Seed                            Macys
                                                                                                                                                                                                                     Money
                                                                                                                                                                                                                    Contract              # 019
                                                                                                                                                                                           Aurora             Contractors,                    Inc.

             performance                        by      Contractor,                      directly           and               through                   Subcontractors                                 and           Vendors,                       of
             all     things          necessary                     and/or            reasonably                          inferable                  from              the        Contract                     Documents                         as

             being            required                  or        necessary                     to     fully               complete                            the         tasks            and               improvements
             described                 in      Exhibit              A       (Scope              of    Work)                   for        the       full         completion                       of     the              Project             and

             in accordance                          with      the       requirements                         of the                  Contract                   Documents,                            including,                   but        not
             limited          to,      all      labor,            services,            supervision,                                 materials,                       equipment,                       tools,               machinery
                                                                                     "Work"
             and        fabrication.                       The          term                               may                constitute                       the         whole                or     a      portion                of       the
             Project.


             Section                1.2         Additional                      Defined                    Terms.                          Terms                 used               in     this         Agreement                             not
             otherwise                 defined                herein               and        which              are           defined                    in     the           General                 Conditions                           shall
             have        the         meanings                    ascribed                to     them         in the                   General                   Conditions.



             Section                1.3         Attachments.                             Attached                  hereto                   and          forming                  a part             of this             Agreement
             are       the          following                 Exhibits,              which,                for           the             purpose                     of        identification,                           have           been
             signed            or     initialed              by     the        parties             hereto                or     their            attorneys:


                              1.3.1             Exhibit                 A      -         Scope              of           Work,                   List           of        Contract                    Documents                              and
                                                Schedule                    of Values
                              1.3.2             Exhibit              B - General                       Conditions                           of      the          Construction                          Agreement
                              1.3.3             Exhibit              C -        Guaranteed                         Maximum                              Price             Premises                    & Assumptions
                              1.3.4             Exhibit              D - General                       Condition                           Costs
                              1.3,5             Exhibit              E -        Insurance                   Requirements
                              1.3.6             Exhibit              F - Proliance®


                                                                                                           ARTICLE                          2
                                                                                                       THE               WORK

             Section                2.1         Performance                          of       the      Work.                    The            Contractor                        shall          perform                   and       supply
             the       Work,              including,                without               limitation                 (i)        all        necessary                           scheduling,                     procurement,
             supervision,                      construction                    and         construction                             management                                 services;               (ii)        all     necessary
             labor,           materials,                   equipment,                      scaffolding,                          supervision,                              tools,           supplies,                          insurance
             and        related                work          and        services;                    and         (iii)         all       things                 reasonably                        inferable                     from          the
             Contract                Documents                      as       being            necessary                         to       fully          complete                    the         Work,                produce                  the

             buildings,                structures,                   improvements                            and               obtain               the          intended                   results                 described                       in
             Exhibit            A         attached                 hereto,               including,                  but             not         fimited                  to     the        requirements                               of      the
             Project            Schedule                     and        the         Guaranteed                           Maximum                           Price                requirements                              set      forth            in
             Articles               4 and             5 below.               The           enumeration                              of     particular                      items           in the              Specifications
             or      Drawings                  or     other         Contract                  Documents                             shall          not          be        construed                    to      exclude                   other

             items;            provided                    however,                 that           excluded                      items                  shall             be      specifically                           set       forth            in
             Exhibit            A.        The         Contract                 Documents                         are          complementary,                                      and           what           is        required               by
             or      reasonably                     inferable               from          any        one          of       the           Contract                     Documents                         (including                     either
             a     Drawing                or        Specification)                       as        being           necessary                             to      produce                   the         intended                     results
             shall       be         binding                and      required                  as      a part               of        the        Work                 as        if required                    by         all     Contract
             Documents.




             GMP        10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                     INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 27 of 122 PageID
                                                                     RECEIVED      #: 3601/25/2021
                                                                               NYSCEF:

                                                                                                                                                          Staten            Island            Mall        - Seed                                 Macys
                                                                                                                                                                                                                            Money
                                                                                                                                                                                                                           Contract                # 019
                                                                                                                                                                                                   Aurora              Contractors,                    Inc.

             Section                  2.2                Order                   of          Precedence.                                    In           the           event                  of          any                conflicts                     or
             inconsistencies                           which              cannot               be        resolved                      by         reading                 the         Contract                       Documents                          as
             a       whole,           the             provisions                       of        the          Contract                           Documents                              shall             be           controlling                           in
             accordance                        with       the         following                     order                of       precedence:                                (i)     this            Agreement;                             (ii)       the

             Drawings;                 (iii)      the      Specifications;                               and             (iv)         other              Contract                  Documents                              incorporated

             by      reference.


             Section               2.3           inspections                           by        Public              Authority.                                If any           of      the          Work               is      required                   to
             be      inspected                   or approved                       by        any         public                 authority,                     the        Contractor                           shall           cause               such
             inspection                  or           approval                   to         be         performed.                                      No        inspection                          performed                             (or         not

             performed)                     by     the         Owner                  hereunder,                         shall               be         considered                         a waiver                       of        any         of     the
             Contractor's                      obligations                   hereunder                         or be              construed                          as       an        approval                     or        acceptance
             of    the      Work            or any             part         thereof.



             Section               2.4         Materials                    Off-Site.                   All     materials                          which               are         or        shall             be      the           subject               of
             an      Application                   for     Payment                      shall           be         stored                  at      all      times             at     the           Jobsite,                    in    a bonded
             warehouse                   or       such          other            secured                  facility               satisfactory                          to     Owner,                     or,        at the            premises
             of       the          manufacturer                             or         fabricator                        (in           which                    event                the             materials                        shall              be

             appropriately                        marked                  and           identified                   with              the              applicable                      purchase                          contract                    and

             physically               segregated                       in an            area            with         access                       to     a public                  street),               until           the         materials
             are       incorporated                      into         the         Project;                provided                     that              if the         materials                       are         stored                with         the
             manufacturer                        or fabricator,                        Owner                  must              receive                   evidence                      satisfactory                           to     Owner                  of
             the       creditworthiness                              of      the            manufacturer                               or        fabricator.                         Furthermore,                                   Contractor
             shall        and        shall         cause              its        Subcontractors                                 to         (if    applicable):


                                                 2.4.1          use         the         materials                    only              for         construction                            of      the           Project,                  and         not
                              make               any       transfer                    thereof                or         permit                   any           claim              or         lien          to       attach                thereto
                              which              could          materially                       impair             the           ability                of     Owner                   to        use          the         materials                    for
                              such          purpose;


                                                 2.4.2            take            or        cause             to     be           taken                  all     actions                 necessary                             to     maintain,
                              preserve                   and         protect                 the        materials                          and           keep             them               in      good              condition                      and

                              repair,             and           to        comply                   with            all          laws,                  rules,             regulations                            and            ordinances

                              relating             to     the        ownership,                         storage                   or        use          of      the        materials;


                                                 2.4.3            cause                 to         be         delivered                           to           Owner                 the             original                   warehouse
                              receipt              (and           any            bailee                waivers                   where                    bailee               rights                exist)               covering                    any
                              stored             materials,                      and         ensure                that           such                 stored               materials                       have               been             stored
                              in     such             a way           as         to     eliminate                    the              possibility                      that          they            will        be          commingled
                              with          other          materials                    or       projects;                    and


                                                 2.4.4          ensure                  that            Owner                    may               enter             upon               any              property                     on         within
                              which             the      materials                     may          be        stored                  to         inspect             them               at      any            reasonable                          time.


             If Contractor                      shall      fail        to        perform                any          of         its        obligations                       under                this          Section                   2.4        after
             Owner              has         made           payment                      to       Contractor                           for         the          materials,                       Owner                  may,            but           shall




             GMP         10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                        INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 28 of 122 PageID
                                                                     RECEIVED      #: 3701/25/2021
                                                                               NYSCEF:

                                                                                                                                                              Staten             Island           MaH - Seed                     Money           Macys
                                                                                                                                                                                                                                Contract         # 019
                                                                                                                                                                                                     Aurora                Contractors,               Inc.

             not      be      obligated                       to,      after         written                notice               and           after              reasonable                        opportunity                           to     cure
             to    Contractor,                          take           such            actions                 and           expend                   such               sums            as         may              be         necessary                 in
             its    judgment                       to       protect                and          preserve                     Owner's                      title         in     such           materials,                        and       all     such
                                                                                                                                                                                                attorneys'
             expenditures                               so            incurred                   (including,                           without                     limitation,                                                        fees         and

             disbursements)                                   shall         be      repayable                         by     Contractor                           promptly                 on       demand                       with      interest
             thereon              per             annum                 at       the          prime              rate           (as         then            published                      daily              by      the         Wall          Street

             Journal)             plus              two          percent                  (2%)             from            the         date           of     demand                    until         paid.



             Section              2.5             Materials                      On-Site.                    Within                   fifteen              (15)         days           after         the            execution                   of this

             Agreement,                       the            Contractor                       will      prepare                   for       the       Owner's                    review              and             the        Contractor's

             use,        a plan              for         efficient                 and          effective                   use         of the              Project               site        and             for        secure           storage
             of     materials                       and             equipment                          by        the            Contractor                         and           all       Subcontractors.                                       Once
             approved                   by              the         Owner                 this             plan            must                be          approved                      by         the             authority                  having
             jurisdiction                    (if        required).                        In         addition,                   it     will        be        the             Contractor's                           responsibility                       to
             assist             the          Owner                     in        obtaining                       agreements                                from               adjacent                    landowners                            where

             necessary                      for         the      construction                              of the           Project                 (including                   but          not        limited                to     approvals

             necessary                      for         operation                    of       project                 related               equipment                          if required).



             Section              2.6            Contractor                          Signs.                  The           Contractor                        and             Subcontractors                                shall         not     erect

             any         sign         on          the          Project               site            without               the          prior           written                consent                   of         the         Owner.             Any
             such          sign         must                  comply                with             the         Construction                              Documents                          and             with          all       applicable

             laws,         rules,          codes                      and          regulations,                        at the               sole           cost          of     the        Contractor                           and      shall        not
                                               4'
             be      larger            than                     x 8'.


             Section              2.7             Utility             Service.                       Except                 as        set         forth            in        Exhibit              A the              Contractor                   shall
             not      interrupt                    utility          service               to         the     Jobsite                    or to         adjacent                   buildings.                          If the           Contractor
             is required                    to       interrupt                 utility           services                   to        perform                its        Work,            Contractor                         shall        provide
             Owner               with               seven                (7)        days               prior               notice                 and             coordinate                      such               interruption                  with
             the         Owner                   and            any           affected                     adjacent                      owners                    or         tenants                so             as      to        avoid         any
             business                  interruption                           to       tenants                   of     the           Project,                    adjacent                 owners                    and             damage               or

             liability            to          the              Owner.                          Except                      as           otherwise                             noted                 in         this               Agreement
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             Contractor                      shall             not          interrupt                  utility          service                   during                business                    hours                 for     any         reason
             and         Contractor                           shall          pay          any          outage                   fee         and/or                 premium                    or         overtime                     charges             in
             connection                      with             any        such             interruption                           in     utility          service.




                                                                                                                       ARTICLE                        3
                                                                            THE           CONTRACTOR'S                                               OBLIGATIONS


             Section                  3.1           Covenants                            of      Performance.                                     Contractor                      covenants                           and            agrees         that
             all    Work              performed                         by         any         Subcontractor                                or      Vendor,                    and          all     Work                  performed                 and
             supervised                       by         Contractor,                          shall          be         carried                   out:        (a)        with          a      proper                  supply             of      labor,
             materials                 and              equipment;                        (b)         in full          compliance                          with          the       requirements                                 contained                in,
             indicated                  on               and            reasonably                           inferable                         from               the          Contract                       Documents                          given
             Contractor's                           experience                            with             construction                             projects                    similar                  in        size,             scope          and




             GMP_10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                                 INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 29 of 122 PageID
                                                                     RECEIVED      #: 3801/25/2021
                                                                               NYSCEF:
                                                                                                                                                                       Staten           Island          Man            - Seed                             Macys
                                                                                                                                                                                                                                       Money
                                                                                                                                                                                                                                      Contract              # 019
                                                                                                                                                                                                              Aurora             Contractors,                    Inc.

            complexity                        to       the             Work             being              performed                           for        the          Project;              and            (c)        diligently                   and         in a
            manner                    designed                           to       assure                    completion                              on           or     before                 the           Guaranteed                              Date           of
            Substantial                          Completion.


            Section                   3.2             General                      Warranty.


                               3.2.1                  Contractor                             warrants                        to        Owner                  that:           (i)    all       materials                      and            equipment
            used          in       connection                            with           the          Work                and            the          Project                 will     be         of     good              quality               and          new,
            free         from             faults                   and            defects                    unless                    the          Contract                        Documents                            require               or      permit

            otherwise;                        (ii)          the          Work                 will         comply                      with           all         applicable                      laws,                rules,                regulations
            ordinances                           and              permits                    and           all      of        the          requirements                               of     the            Contract                    Documents;
            and         the        Work                    will        be        free          from              defects                  and            any           Work,               materials                     or     equipment                        not

            conforming                           to        these                 requirements,                                    including                      substitutions                         not          properly                   approved

            by      Owner,                    may                 be        considered                            defective.                          This             warranty                   obligation                       is        cumulative
            and         shall            not          serve                 to     exclude                       other             remedies                       of     the         Owner                  under               the      Agreement

            or     applicable                         law,             or change                          applicable                         statutes                  of      limitations.                       At       the        option              of     the

            Owner,                 the           Owner               may elect     to                                  accept                 defective                      Work              and           take             a credit               against
            the      Guaranteed                                   Maximum      Price                                    in        an       amount                     that          reasonably                           compensates                             the
             Owner              for       the              diminution                        of      value              and             utility          of      the         Project              but         said              arnount                not         to
            exceed                  the               reasonable                                   cost           to          repair                 the           defective                      work.                  The            Contractor's

            warranty                    excludes                         any          remedy                      for        damage                      or       defects               caused                    by       abuse,               improper
            or     insufficient                            maintenance,                                   improper                        operation,                         or      normal                 wear               and           tear         under
             normal                usage;                   provided,                        however,                        that          modifications,                              extensions,                            attachments                         to,
             completion                          of        or      repair               to         systems                    in the              Work                 by        others            (including                      the          Owner               or
            tenants                   performing                                 tenant                   improvement                                 work),                   including,                     without                    limiting                the

             generality                     of        the          foregoing,                        the          electrical,                       HVAC,                    plumbing,                      security                  and        sprinkler

             systems,                    shall              not         void          the           Contractor's                             warranty                       so       long         as        the          same            are         done              in
             accordance                            with            the           original                 design                   and         installation                         standards                       of     the        building                  and
             Manufacturer's.                                            If required                         by          the            Owner                or        the         Architect,                  the             Contractor                       shall
            furnish             satisfactory                             evidence                         as       to        the         kind         and             quality              of materials                         and           equipment

             to    be     used                in connection                                  with          the          performance                               of the             Work.              All         warranties                       shall        be
             delivered                   to        the            Owner                 with              copies                  to     the         Architect                      upon          completion                            of     the        Work.
            At     the        time            of           Final            Completion                            of      the           Work,               the         Contractor                      agrees                  to transfer                     and
                                                                                                                                                                                                                                manufacturers'
             assign                to         the               Owner                   (whether                         specified                          or         not)          any           and              all
             warranties                       relating                   to        materials                       and             labor             used              in     the       Work                and           further              agrees                  to
             perform        the                            Work                  in       such                   manner                        so           as          to          preserve                      any            and             all         such
             manufacturers'
                                                                warranties.                           The           Owner                    reserves                       the       right,           in     its        sole         discretion,                      to
             assign                all        and                 any            of          its      rights                  to        any           warranties                            given              under                  the           Contract
             Documents.


                               3.2.2                  Repair                     Warranty.                              If, within                  the          Warranty                    Period,                 any         of      the         Work              is
             found            to        be         not            in    accordance                               with             the        requirements                              of        the        Contract                    Documents,
             the        Contractor                              shall             correct                   it     promptly                       after               receipt               of        written                 notice             from            the
             Owner              to        do           so          unless                the          Owner                       has          previously                         given           the         Contractor                         a written

             acceptance                               of          such             condition.                                To          the          extent                  any           repair                or          correction                     work
             performed                        by           the          Contractor                          is      not            accepted                       by         the       Owner,                  the            Contractor                       shall




             GMP_10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                   INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 30 of 122 PageID
                                                                     RECEIVED      #: 3901/25/2021
                                                                               NYSCEF:

                                                                                                                                    Staten         Island              Mall     - Seed                    Macys
                                                                                                                                                                                            Money
                                                                                                                                                                                           Contract        # 019
                                                                                                                                                                         Aurora          Contractors,           Inc.

             continue              to        repair         the         Work          until           such             Work           is        finally                accepted               by       Owner,
             regardless                 of   whether              the     Warranty                Period               has         run.



             Nothing             contained              in this          Section            3.2.2            shan        be        construed                      to     establish            a period            of
             limitation            with       respect          to       the    General            Warranty                    referenced                      in Section                  3.2.1       or other
             obligations                  which         the         Contractor                   might             have             under              the             Contract             Documents.
             Establishment                     of     the     Warranty                Period               relates           only         to     the         specific               obligation            of    the
             Contractor                 to   correct          the       Work          under           this        Section             3.2.2,           and             has        no     relationship             to
             the     time        within         which         the        obligation              to        comply            with         the      Contract                     Documents                as      set
             forth        in    3.2.1         hereof          may         be    sought                to     be        enforced,                 nor         to        the      time       within        which
             proceedings                     may       be     commenced                     to    establish                  the      Contractor's                           liability      with       respect
             to    the      Contractor's                other           than     specifically                     to    correct            the         Work.



             Section-34-Presenstmetion-Sewiees-Gentreeter-shall-es-a-Gest-of4he-Werk

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                               344-Search-for--and--timely--resemmend-to--Qwner--various-Value

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             Work-



                               344--Timely4evi                                                                                     r-an                                                                        -net

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             Assumptions--and-P4eject-+equirementer-advise--en-the-Jobsite-use¬and

             improvementerselectienef-materiaisrP-rojestand-Jebsitesystemsandequipmenty
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             of44ejeet4envery÷provide+ecommendations-en-relative-feasibility-of-eenstrustion

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             scheduie-and-Jebsitesystems-an4fastere+elate4te-cest-includingebuteet4imited
             to--eests-of-attemative-designs-er-materials-prenminaFy-budget&4nd-possible
             eeenemice.



                               344-Advise-Qwner-in-writing-promptly-epen-discovery4f34n4he-judgment
             of-centracterr4ha-issuanee-of-arehitectural-er                                                                                                                                   s-dees-not
             meet--scheduie4equ*ements-er-if4he-information-previded-easuch-decuments-is
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             ary4                                                                                                                                                                                 4")-to-the
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             GMP         10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                   INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 31 of 122 PageID
                                                                     RECEIVED      #: 4001/25/2021
                                                                               NYSCEF:

                                                                                                                                                         Staten           Island          Mall         - Seed                                   Macys
                                                                                                                                                                                                                         Money
                                                                                                                                                                                                                        Contract                    # 019
                                                                                                                                                                                                Aurora            Contractors,                           Inc.



                              3.3.4              Review                the            Contract                    Documents,                             as      the         same                are          being                prepared
             and        check              the         same            for         (a)        obvious                    conflicts,                  discrepancies                               and            omissions,                               and

             (b)      variations                  from             customary                         construction                             practices                   and           methods                     which,                     in        the
             opinion            of    Contractor,                       may              cause              difficulties                      or     occasion                     delay              in the             performance
             of the       Work               and         timely              advise                 Owner                and          the          Architect                promptly,                      in writing,                         of        any
             such        observed                      issues.               Coordinate                        Contract                       Documents                       by         consulting                       with             Owner
             and        the          Architect                      regarding                        Drawings                       and             Specifications                                as        they               are              being
             prepared,                and          recommending                                     alternative                     solutions                   whenever                         design                 details                 affect
             construction                    feasibility,                    cost             or    schedule.                       Timely               advise              Owner,                   using             Contractor's
             professional                    skill          and       judgment,                       of any              missing                   or    incomplete                           aspects              of the                Project
             scope.


                              3.3.5              Assist              Owner                    and/or              Architect                    as         they         may              request                   in         the          bidding
             preparation                     process                   and             solicitation                       and            requests                    for          bids           and             review                   of         bids
             received.


             Section             3.4             Experience                            and           Evaluation                          of        Jobsite.                  Contractor                         represents                               and
             warrants                 to         the         Owner                    that          Contractor                        (a)           is     experienced                               and          skilled                      in        the
             construction                    of buildings,                         structures                     and            improvements                               of the              type          described                         in the
             Contract                Documents,                         and            (b)         has,        by        careful              examination                          and           evaluation,                          satisfied
             itself      as     to     (i)       the         nature,               location,                layout                  and        character                     of     the          Project                 and          Jobsite,
             including,               without                     limitation,                  the         surface                   and            subsurface                         (by           review               of         available
             reports            and          information)                             provided                      to      it      by         Owner                 condition                       of     the          land              and             all
             structures                and             obstructions                           thereon,                   both         natural                  and          man-made,                           and            all        surface
             and       subsurface                       (by         review               of        available                   reports               and         information)                             provided                        to        it    by
             Owner              water                  conditions                        of        the         Jobsite                    and            the         surrounding                                area,                as             more

             specifically                   provided                   in        Section                  4.1.2            of        the           General                  Conditions;                          (ii)        the           nature,
             location            and             character                    of        the         general                    area           in     which             the          Project                   and            Jobsite                     are

             located,            including,                    without                 limitation,                  its climatic                     conditions;                       (iii)     the        quality,                 quantity,

             availability                   and              cost           of         all         materials,                       supplies,                    tools,                 equipment,                             labor                     and
             professional                        services               necessary                         to      complete                         the     Work              in     the           manner                     required                      by
             the        Contract                   Documents;                                 and          (iv)          all        other                matters                  or           things             which,                       in         the
             reasonable                       judgment                           of          the          Contractor,                              could             in           any             manner                       affect                     the
             performance                         of the            Work.


             Section             3.5              Insurance.                            The           Contractor                       shall             furnish             and               pay        for       the         insurance
             required                 in         Exhibit                E          attached                       hereto.                      The             Contractor                            shall,             prior              to             the
             commencement                                    of      Work,                   furnish              to       the            Owner                 a      Certificate                         of       Insurance                              as
             evidence                 of         the         existence                       of      such            coverage,                           and         upon              Owner's                      request,                        shall
             fumish            a copy                  of     the       insurance                         policy               or     policies.                     The           policies                  shall             provide                     for
             written           notice             of        cancellation,                          lapse            or     material                   change                to      the          Owner                  at     least                thirty
             (30)       days          in advance,                       and            the          Certificate                     shall           indicate               that         this         provision                       has            been
             included.                 Contractor's                          insurance                      shall              be     primary                  as      to     any              insurance                     maintained

             by       Owner.




             GMP_10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                        INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 32 of 122 PageID
                                                                     RECEIVED      #: 4101/25/2021
                                                                               NYSCEF:

                                                                                                                                                      Staten         Island          Mall      - Seed                               Macys
                                                                                                                                                                                                                  Money
                                                                                                                                                                                                                 Contract            # 019
                                                                                                                                                                                          Aurora            Contractors,                  Inc.



             Section             3.6              Contractor's                            Covenant.                                 The       Contractor                       recognizes                        and         accepts
             the      relationship                      of      trust         and          confidence                           established                    between                    it and            the        Owner                 by
             this         Agreement.                             Contractor                           covenants                           with         the          Owner                 to      furnish                    its        best
             professional                    skill        and           judgment                      and           to     cooperate                   with         the         Owner's                Representative
             and          the     Architect                       in         promoting                          and                 protecting                the             interests                of        the          Owner.
             Contractor                     further                 agrees                     to         furnish                     efficient              business                     administration                                and
             supervision                    services                and             to     keep                an        adequate                  supply            of        personnel                    and         materials
             at     the     Jobsite                at     all     times,             and             to     execute                    the        Work         in the             best         and           most            efficient

             way,          and         in        the         most            expeditious                            and             economical                     manner                  consistent                    with            the
             interests           of         the        Owner.


             Section             3.7              Contractor's                             Representative.                                         The            Contractor's                         Representative
             shall         be     authorized                            to     represent                            the         Contractor                    in        all      matters                regarding                        this
             Agreement                      and         the       Project                 and          shall              be        a person             acceptable                       to   Owner.                    ff, at          any
             time,        Owner              shall           advise             the           Contractor                        that       the     Contractor's                         Representative                              is not
             acceptable                     to         Owner,                Contractor                         shall                promptly                designate                    a    new               Contractor's
             Representative                             acceptable                       to     Owner.


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             reimbursement-ef--sertain-laber-and-personnel-coste-during-value-engineeringres
             provid                                                                                  t-etherwise-shai‡¬qct                                    be-entitled40-eempensation-er

             reimbursement-ef-eehvith4he-fumishing-ef#atue--Engineering
             servises-



             Section             3.9              Hazardous                         Materials.                           The          Contractor                   is responsible                       for       compliance
             with         the      requirements                                of         the          Contract                        Documents                        regarding                     the         handling                     of
             Hazardous                       Materials.                        If        the          Contractor                          encounters                      a      Hazardous                         Material                  or
             substance                       not          addressed                             in        the             Contract                    Documents,                           and              if     reasonable
             precautions                     will         be        inadequate                            to        prevent                foreseeable                         bodily          injury             or     death               to
             persons             resulting                   from            a Hazardous                            Material                 or substance,                        including                 but        not         limited
             to     asbestos                of      polychlorinated                               biphenyl                     ("PCB"),             encountered                           on   the          Jobsite                by     the

             Contractor,                    the         Contractor                       shall,           upon             recognizing                   the         condition,                  immediately                            stop
             Work          in    the         affected                   area             and          report              the          condition              to     the          Owner               and         Architect                     in
             writing-            When               the         Hazardous                         Material                     or     substance                   has         been          rendered                   harmless,
             Work          in the            affected               area             shan             resume                    upon          written             agreement                      of     the        Owner                 and
             Contractor.                      If applicable,                         the            Contract                    Time          shall          be     extended                   by           Change                  Order




             GMP_10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                     INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 33 of 122 PageID
                                                                     RECEIVED      #: 4201/25/2021
                                                                               NYSCEF:

                                                                                                                                                              Staten             island           Mall     - Seed                                  Macys
                                                                                                                                                                                                                           Money
                                                                                                                                                                                                                          Contract                  # 019
                                                                                                                                                                                                    Aurora           Contractors,                      Inc.

             and          the       Guaranteed                                Maximum                    Price             shall               be      adjusted                       accordingly                    in     the            amount
             of     the         actual              reasonable                           costs          incurred                    due          to    the         shutdown,                        delay           and          start-up                    of
             the      Work.



             Section                    3.10             Contractor's                             Compliance                              with           Contract                       Documents.                              Contractor

             hereby               agrees                    and            acknowledges                            that          Contractor                           has         a duty            to     refer          all        questions
             with         respect                   to    any              doubts           or concerns                          over            the         intent              or appropriate                        interpretation
             of      the         Contract                        Documents                         to        Owner                  for          Owner's                      consideration                          and              decision.
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             Gentracter                       e--so              e -expense-to-eehieve-eemplianee--wit‰the-more                                                                                                                      -stringent
             requiremente-



                                The               failure              of     Owner               to     insist             in       any              one         or        more             instances                    upon                 a    strict
             compliance                            with          any          provision                 of     this        Agreement,                             or        to        exercise               any       option                    herein

             conferred,                       shall              not         be         construed                  as       a waiver                        or     relinquishment                              of     Owner's                        right
             thereafter                      to     require                 compliance                       with          such            provision                     of this             Agreernent,                        or        as       being
             a waiver                   of        Owner's                    right        thereafter                  to       exercise                     such            option,               and        such           provision                        or
             option              will        remain                   in full           force        and           effect.



                                 If there                   is    any             inconsistency                           in     the            Drawings                         or     any         conflict              between                      the
             Drawings                        and          Specifications,                            Contractor                          shall          provide                   the        better          quality                 or    greater

             quantity                   of        Work                or     materials,                  as         applicable,                         unless                   Owner                directs              otherwise                         in
             writing.


             Section                    3.11              Contractor                        Responsible                                  for         Acts          of       Others.                 The         Contractor                          shall
             be       responsible                                to         the         Owner                for      the            acts              and             omissions                      of      the          Contractor's

             employees,                            Vendors,                       Subcontractors                               and         any          of       their           agents             and         employees,                            and

             any          other              persons                   performing                       or     supplying                         any         of       the         labor,     materials         or                         services
                                                    the           Work                                              but             not          limited                 to        architectur-al-engineering-
             constituting                                                               including,
             Subcontractors,                                     suppliers                  and/or             materialmen.


             Section                    3.12             Contractor                         Responsible                                  for         Inspection                         of        Work.             The          Contractor
             shall          be          responsible                           for        visual              inspection                         of     portions                   of     Work             already                performed
             whether                    performed                           by       Contractor,                    or         by        prior          contractors                          of     Owner,                to      determine
             that         such             portions                    are         in    proper              condition                     to        receive              subsequent                         Work.


             Section                    3.13             Establishment                                  of         Reference                           Data,                At        the         earliest            possible                       time
             after         the          commencement                                       of     the        Work              on         the         Jobsite,                   the        Contractor                    shall            (i)      have
             all      property                      corners                       and       benchmarks                               verified                    by      a        surveyor                   approved                          by      the

             Owner;                 (ii)          establish                   necessary                      reference                         marks              from            which              the       Work              accurately



             GMP_10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                               INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 34 of 122 PageID
                                                                     RECEIVED      #: 4301/25/2021
                                                                               NYSCEF:

                                                                                                                                                          Staten            Island        Mall       - Seed                              Macys
                                                                                                                                                                                                                         Money
                                                                                                                                                                                                                        Contract            # 019
                                                                                                                                                                                             Aurora                Contractors,                Inc.

             can        progress;                    (iii)    furnish                 the        Owner                   evidence                    of    such               verification;                       and         (iv)     report
             at       once           any             errors            discovered                              during                  the       process                      of      such              verification.                        The
             Contractor                      shall           preserve                   all            reference                       points,             benchmarks,                             and              other             survey
             points           established                       by         the         Owner                   and,           in       case          of     the             destruction                      of     these             points,
             shall       replace               them.


             Seetion444--Separate-Contrasts-at,Jebsite4entractor-agree&-thet4t-wi#

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             of--such-senf4ict-Owner-eannet-and-will-net-be                                                                                                          seentable4eF-any--actions                                                  by
             tenants--or--their-ag                                                                                                                                                  bh-¬tral--Gentreeter
             acknowledges-fd-responsibi                                                           ty     and-aceountability4e                                                                                                                   he
                                                                                                                                                 -in4his-Agreement-



             Section             3.15           Enforcement                                 of      Discipline.                         The          Contractor                      shall         at all          times             enforce
             strict      discipline                    and          good              order             among                    its     employees                           and       its      Subcontractors                               and
             Vendors              and          their          respective                         employees,                            subcontractors                              and       agents,                    and      shall         not

             employ             or         permit              its         Subcontractors                                   or         Vendors                  to      employ                any             unfit           person             or
             anyone              not           skilled                in     the             performance                                of      their            respective                        assigned                      tasks             in
             connection                       with            the          performance                                of         the          Work.                  Contractor                        shall             enforce                an
             appropriate                     dress            code           for        all        contractors                          and         Subcontractors                              on          this        Project.             The
             Contractor                      acknowledges                                   that          it     is         the             Contractor's                           responsibility                         to         hire       all
             personnel                 for       the          proper              and            diligent                performance                            of     the         Work            and            the         Contractor
             shall       use         its      best           efforts             to     maintain                    labor               peace             for        the       duration                 of        the     Project.                 In
             the      event          of       a labor                dispute,                 the        Contractor                          shall         not         be      entitled                to     any         increase                 in
             the        Guaranteed                           Maximum                         Price             or        an        extension                      of         contract              completion                          dates,
             unless            the           labor           action              is     general                     in      nature               and            not          directed                specifically                      at      the
             Contractor's                      operations.


                                                                                                                ARTICLE                         4
                               PROJECT                          SCHEDULE,                                 COMMENCEMENT                                                  AND            COMPLETION


             Section             4.1            Project                     Schedule.                               Contractor                        has             furnished                    a        detailed                  Project
             Schedule                  for      the          Work,            or       has             acknowledged                              and            agreed               to      the        Project                Schedule
             prepared                by        Owner,                 which                 Project              Schedule                       describes                      the        required                  activities               and
             their       corresponding                                dependency                               relationships                          and              is     incorporated                          by         reference
              herein.           The            Project                 Schedule                         includes                       an      agreed                   upon              construction                          schedule

             setting           forth          interim               milestone                      dates              for        Contractor                      to         achieve             certain                 construction
             completion                      milestones.                         Contractor's                            performance                             will          be        measured                        against               the
              Project          Schedule.                       The           Contractor                         shall            maintain                  copies               of       such           Project                Schedule
             at the          Jobsite            to reflect                  current                conditions.                         The          Project                 Schedule                 (and           any         revisions

             thereto)            shall          be           updated                  and          revised                 at appropriate                             intervals               in writing                  by         Change




             GMP        10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                           INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 35 of 122 PageID
                                                                     RECEIVED      #: 4401/25/2021
                                                                               NYSCEF:

                                                                                                                                                                Staten                Island            Mall        - Seed                                Macys
                                                                                                                                                                                                                                    Money
                                                                                                                                                                                                                                   Contract                # 019
                                                                                                                                                                                                             Aurora           Contractors,                       Inc.

             Order           or       Contract                     Amendment                              as     required                        by       Owner                  or         the         current                and         projected
             conditions                  of the             Work,                shall          designate                     those                   items              on       the            critical            path           of the            Work,
             shall          be          related                 to         the         entire               Project                  to          the          extent                    required                      by          the           Contract
             Documents                           and            shall            provide                  for        expeditious                              and               practicable                          execution                        of         the
             Work.                Notwithstanding                                     the         Project               Schedule,                             Owner                    has             the          right          to      modify                   or
             otherwise                   change                      the         sequence                       of      the          Work,                    and             Contractor                            shall           comply                     with
             such           changes                     and              adjust               schedules                        accordingly.                                      If      Contractor                           believes                     such
             modification                        or        change                    causes                 a    delay               or          acceleration                                in        the          completion                            of     the

             Work,               Contractor                             shall           provide                      written                     notice                  to           Owner                    of          such                delay                  or
             acceleration                        and            shall            be      entitled                to     seek                 reimbursement                                             (if     such            modification
             or      change                 impacts                      the         cost            or    Contract                         Time)               its        additional                              costs            of     the            Work
             and           an         extension                          of       Contract                      Time                 in          accordance                                  with              the            terms                  of        this
             Agreement.                            Any               such              modifications                               or            changes                        in          sequence                          apply              only                 to

             scheduling                     and            shall           not         be       construed                     to          mean                a change                           in the             method                 or        means
             employed                    by       Contractor                          for       the        execution                        of      the         Work.


             Section                  4.2              Project                    Schedule                           Updates.                                Contractor                           shall              submit                a         Project
             Schedule                   Update                    along              with       each            monthly                     Application                            for        Payment                       for     comparison
             to    the       Project               Schedule                       via         Proliance®.                        The              first         Project                     Schedule                       Update                shall            be
                                                                                                                                                                                  1"
             dated          and          identified                      as      "Project                 Schedule                        Update                    No.                     and          shall           identify               the            then
             current              status               of         all      major              Work              activities                       identified                      in         the         Project                Schedule.                          All
             Project              Schedule                         Updates                    shall            include                  a    comprehensive                                             narrative                  setting                  forth:

             (i)   the       actual              activity                completion                        dates;             (ii)        the          effect              on         the         Project                Schedule                     of any
             delays              in any           activities                     in progress                     and/or                 the           impact                  of known                        or     suspected                        delays
             which              are      expected                        to      affect              future           Work;                 (iii)         the         effect                of      Contract                   Amendments
             or      Change                 Orders                   on        the          Project             Schedule;                             (iv)      all        actual                 and          potential                   variances
             between                  the        latest             Project                 Schedule                   Update                    and            probable                      actual                completion                        dates;
             (v)     all    Work              activities                   not         commenced                            or       completed                             in      accordance                              with          the         Project

             Schedule;                      and            (vi)         recommendations                                       of          specific                    Recovery                           Plans                which              may              be

             necessary                      to         achieve                    the           Contract                    Time                  and/or                   relevant                          milestone                    dates.                  All
             subsequent                          revisions                    shall          be       dated             and             numbered                              sequentially.                           In      addition,                    each
             Project              Schedule                        Update                shall             be     clearly                  labeled                   to        state               the         effective                  date             of     the
             current              status              information                           contained                  therein.                     Contractor's                              failure               to      provide                  Project
             Schedule                   Updates                      as        required                   in this        Section                       4.2,           or      as        otherwise                        mutually                    agreed
             in writing,                 shall             be       a material                       breach             of this                  Agreement.


             Section                  4.3         Commencement                                             and          Completion                                    of         the             Work.                    The            Work                  shall
             commence                         upon               August                     26,2016                    or        Owner's                        issuance                          of     a         Notice           to         Proceed,
             which              shall         direct               the         Contractor                       to     commence                                 with            the          construction                           of         the         Work
             or      any         portion              thereof                   as      specified                    in such                 Notice                   to        Proceed,                       each            of        which                 shall
             be       subject               to     receiving                         a work               permit            from                 the          issuing                    government                               agency.                       The
             Work           shall           be         commenced                                in     accordance                            with             the          Project                     Schedule.                          In     addition
             to      any        interim               or        milestone                     dates             included                     in the              Project                     Schedule,                        and          subject                     to

             any           extensions                        of          the          Contract                   Time                 pursuant                           to           the          terms                 of       the           Contract

             Documents,                           Contractor                           shall              achieve                    Substantial                                Completion                               of       the           Work                   in
             accordance                          with             Exhibit                   A        ("Guaranteed                                 Date                of        Substantial                              Completion")                              as




             GMP,_10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                    INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 36 of 122 PageID
                                                                     RECEIVED      #: 4501/25/2021
                                                                               NYSCEF:

                                                                                                                                                              Staten             island        Mall        - Seed                               Macys
                                                                                                                                                                                                                            Money
                                                                                                                                                                                                                           Contract             # 019
                                                                                                                                                                                                    Aurora            Contractors,                 inc.

             evidenced                     by      a Certificate                         of        Substantial                           Completion                        issued             by      the        Architect.                     Final
             Completion                         shall          be         achieved                      within                sixty            (60)       days             after          Substantial                         Completion
             of the        Work,                subject               to     any             extensions                        of time                pursuant                   to     the        terms           of the            Contract
             Documents.                          The           Project              Schedule                           may           not        be      changed                       except           in accordance                              with
             Article            6    herein               and             Section                  4.8.1            of        the          General                  Conditions.                           Contractor                       hereby
             accepts                and           confirms                   that,             subject                   to        the         terms           of         this        Agreement,                           the        Contract
             Time         is reasonable                             for      completing                           the         Work              and        hereby                 agrees              to        dedicate                  all   such
             personnel                     and           other               resources                            as          are          necessary                        to        assure               that            the           Work            is

             continuously                          managed                          and             performed                             in      a       diligent,                   skilled              and             workmanlike
             manner                 in     accordance                           with          the         Project                   Schedule.



             Section                 4.4          Time               of     the          Essence,                             Time             is of      the        essence                    in the            performance                            of
             this       Agreement.                                  By          executing                         this             Agreement,                         Contractor                           confirms                      that      the
             Contract                    Time            is     a         reasonable                          period                  within             which               to         perform                 the           Work.               The
             Contractor                        shall          take          all     necessary                            actions                  required                  to        remedy                any            delay            due         to
             the       fault         of    the          Contractor                        or       anyone                     working                  under              Contractor,                       including,                    without

             limitation,                  providing                   additional                        forces                to      perform                 the         Work,               or    working                    overtime                 at
             the       Contractor's                           expense.                        Contractor's                            failure            to     achieve                    Substantial                        Completion

             by     the         Guaranteed                            Date              of     Substantial                            Completion,                           except-pursuant                                   to-mutually
             agreed-schedule-extensiens-whish-are-deter-mined-and-f4nanzed-by-Gentr-aet
                                                                                                                                                                                         n-84-             except                  pursuant
             Amendment-er-Ghang
             to     schedule                           extensions                             to        which                  Contractor                            is         entitled                  and            approved                       in
             accordance                           with           this             Agreement                              shall             be      a     material                     breach               of     this         Agreement
             and        Contractor                       shall            and           hereby                agrees                  to        indemnify                   Owner                  from          and          against              any
             and         all        costs,              damages,                         expenses,                            losses,                 liabilities                and          obligations                         relating               to
             and/or             arising                out      of        any       such                delay(s).



             Section45-Liquidated-Damages--‡f-Substantial-Gempietion-of--the-Werk-ie-not
             achieved--by-the-Guaranteed-Date-of--Subste                                                                                                                                                                                         -and
             Centractor-agree-that-it-wau%be-impractical-e                                                                                                                                                                                 mages
             fer-centraster'-s-defewt-e                                                                                                                                                                           mp4etion-within
             the          antr                                                                                                                        e49-stipWate4hat-Owner's40ss4n-the
             ease¾agsuch-defa4w                                                                    be        deem
             event-



             Section                     4.6            Supplemental                                       Personnel                                   Owner                    shall           have             the             right          after

             providing                         Contractor                           with                 a        five              (5)         day            written                    notice                 and              providing
             Contractor                         seven                (7)        days               to        cure             after             receipt              of         such            notice                to      supplement
             Contractor's                          personnel,                           without                    termination                           of         this          Agreement,                             in       the           event
             Contractor                    fails         to      take             the         measures                         set        forth         above               for         curing             Contractor's                         delay
             in     performing                         the       Work,                  the         cost           of         which              shall          be         deducted                    from                any       amounts
             otherwise                    due           Contractor                       hereunder.


             Section                 4.7           Protection                                 Against                         the               Elements.                                  Contractor                          shalf            tame

             commercially                              reasonable                        steps               to          keep             the     Work,              Jobsite,                 materials                and          apparatus
             free      from          injury        or damage                       from            rain,          wind,            storms,             frost        or heat.               Contractor                       shall          include
             in the            Project             Schedule                       an         adequate                     number                      of days              to     compensate                           for        customary


             GMP_10082015
     FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                          INDEX NO. 150180/2021
               Case
     NYSCEF DOC. NO.1:24-cv-04939-VMS
                     2                Document 1-1 Filed 07/16/24 Page 37 of 122 PageID
                                                                          RECEIVED      #: 4601/25/2021
                                                                                    NYSCEF:

                                                                                                                                                    Staten     island        Mau - Seed              Money                Macys
                                                                                                                                                                                                    Contract                  # 019
                                                                                                                                                                                Aurora         Contractors,                     Inc.

                  adverse               weather                   conditions                     in      order           to     ensure              completion                of     the      Project                by         the
                  Substantial                     Completion                    Date,             and          no      extensions               of time          will     be       granted              due         to        days
                  lost      to     adverse                  weather                 conditions                         except          as      permitted                by      Section             7.3.3                of     the
                  General              Conditions.


                  Section               4.8          Information,                           Decisions                     and         Approvals.                    The         Owner              or        Architect
                  shall         furnish            the      Contractor                      with         all     information                  reasonably                 requested                 or        necessary
                  for     the      Contractor                     to    efficiently                   and        expeditiously                      perform         the       Work.           Decisions                        and
                  approvals                  required                  of     the      Owner                shall        be        provided            in     a timely             manner               so     as         not        to

                  delay          the        orderly              progression                      of the            Work,           and       Contractor                shall       allow          a reasonable

                  amount               of     time         for     review              of        submittals                   by    the       Owner.


                  Section                   4.9          Completion                          of          Work             Within               Contract                  Time.              Contractor                          has
                  examined                   and         wHI      continue                  to     examine                all      Contract            Documents                    provided                  by     Owner
                  pertaining                  to      the         Work,             Project                 and         the        Jobsite.            Contractor                  represents                      that         the
                  Guaranteed                       Maximum                      Price            Premises                 and         Assumptions                   were            sufficiently                   detailed
                  and            comprehensive                                 to       enable                   Contractor                    to      have             reliably            estimated                           and
                  established                      the      Cost             of the         Work               and       the        Guaranteed                  Maximum                    Price         set        forth            in
                  Article          5 of this              Agreement.                        Subject                  to the        provisions                of this      Agreement,                     Contractor
                  further           agrees                that         all     Work              shall          be      performed                   within       the       Guaranteed                        Maximum
                  Price          and        within           the            Contract               Time.




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                  and-Assumptions-                                     Centraster-represents-th                                                                                                    e-seepe-and
                  quality4f-theseaspects-ef4hear-ejeet-whish-have                                                                                     not-yet4een4uRy4esigned-and
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                  AFehitect                                                                                                   ts-in-the-eempietionef-the-design-preseSs
                  and-win-previde-prempt-w4tten-netise4eowner-in-asserdancewith-the-time-periods
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                  with-the-Guaranteed-Maxmum                                                                   Price          P-rem       ses-and-Assumptionsi-or-(41)-if-eny
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                  in-the-Guaranteed-Mex4mum4)-r49e--Once-the-Drawings-and-Specifications--are
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                  Guaranteed-Maximumh                                                                                                                                                          leatedan-the
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FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                           INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 38 of 122 PageID
                                                                     RECEIVED      #: 4701/25/2021
                                                                               NYSCEF:

                                                                                                                                                           Staten                island          Mall        - Seed                                 Macys
                                                                                                                                                                                                                               Money
                                                                                                                                                                                                                              Contract                  # 019
                                                                                                                                                                                                    Aurora               Contractors,                      Inc.

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             Section                4.11            Recovery                           Plan.                  The             Guaranteed                                 Maximum                         Price                is          based              on
             Contractor                 working                 as         many                hours              as        necessary                       to        properly                   perform                    the           Work           and

             comply             with          the          Project                Schedule                         requirements.                                 In        the         event             the           Work                 has           not
             progressed                       according                          to         the         Project                 Schedule                            due           to       the        Contractor's                                  fault,
             and       it    becomes                       necessary                         for        Contractor                       or        any         Subcontractor                                 to        work               additional
             overtime                  in         order          to        comply                       with            the          Project                     Schedule,                         Contractor                               shall            be
             responsible                     for     all     costs               relating                to       such             overtime.


                                                  4.11.1                   if      Owner                     determines                             at         any             time           based                    on            reasonable
             evidence                 that          Contractor                         is     behind                   schedule                    or      is otherwise                            in jeopardy                              of     failing
             to      complete                 (i)     any          milestone                           by        the         applicable                         milestone                        date,             or         (ii)        the       Work
             within           the           Contract                   Time,                   Owner                    shall             issue                 a         written                notice                  to              Contractor

             identifying                the         areas             of        concern                     and         requiring                    that           Contractor                        provide                      a Recovery
             Plan       to     Owner.


                                                  4.11.2                   Upon                        receipt                  of             Owner's                           notice,                     Contractor                                 shall

             immediately                          undertake                      all         available                   steps                to        overcome                         or       mitigate                     the           adverse
             effects           of       all         delays             identified                           by         Owner.                  Contractor's                              failure                  to        undertake                        all
             available                steps           to      mitigate                      the         effects               of     such                delays                  shall           constitute                          a     waiver               of
             Contractor's                         right       to       claim                  relief             for        any          schedule                          extensions                         and/or                      additional
             compensation                           to the          extent                   that        Contractor's                          failure                to       act       timely              contributed                           to     any
             such           delays.


                                                   4.11.3             Contractor                            shall,           within                seven                 (7)      calendar                   days               after             receipt
             of      Owner's                  notice,              provide                     its       Recovery                        Plan              to         Owner                   regardless                             of      whether
             Contractor                     disputes               responsibility                                for     the         cause(s)                       of      any          such            delays                 or         not.


                                                   4.11.4             After             submission                            of the               Recovery                       Plan           by      Contractor,                              Owner
             shall          advise            Contractor                         in         writing              whether                  to        proceed                      with         the            Recovery                           Plan         as

             submitted,                      or      as         revised                      by        Owner.                   Any                such               Notice                to        Proceed                            with           such

             Recovery                  Plan           shall           be          evidenced                            by      a Contract                           Amendment                                or        Change                     Order.
             Owner             shall              have          the             right             to     require                   Contractor                         to         utilize           its        own              construction
             crews           and            Subcontractors                                  and         other               personnel                     overtime,                        and          to        direct                 Contractor
             to      take        all         other           necessary                             action,                  including,                     without                     limitation,                      increasing                         the
             number              of         personnel                      and               implementing                             double                    shifts.                Such              overtime                         work           and
             other          actions                shall        continue                       until          such            time            as         the        Work               has         progressed                               so      that          it
             complies                 with          the      stage                of         completion                        required                     by        the          then           most                 recently                   Owner
             approved                   Project              Schedule.                            Any            additional                    costs                  incurred                   necessitated                                by         such
             overtime                  work               and          other                  actions                   shall             not             result                 in      any             adjustment                               to       the
             Guaranteed                           Maximum                        Price                 only             to         the             extent                  the           delay                was                  caused                    by
             Contractor.




             GMP_10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                            INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 39 of 122 PageID
                                                                     RECEIVED      #: 4801/25/2021
                                                                               NYSCEF:

                                                                                                                                                        Staten          Island        Mall         - Seed                            Macys
                                                                                                                                                                                                                     Money
                                                                                                                                                                                                                    Contract             # 019
                                                                                                                                                                                            Aurora            Contractors,                     Inc.

                                                  4.11.5               Contractor's                           failure               to     provide               a     Recovery                     Plan            after          written
             notice         within            the         time          requirements                              and          to        the      extent             required                in    this          Section                 4.11,
             or      to     immediately                               implement                         a         Recovery                        Plan           upon            receipt                    of       a       Contract
             Amendment                        or        Change                 Order               to       do       so,        shall            be      considered                     material                    breaches                     of
             this      Agreement.


             Section                  4.12          Acceleration                               for            Owne               r's           Convenience.                             In        the            event             Owner

             desires            to      accelerate                      the        Project                  Schedule                       for        reasons                other           than             delays              caused

             by     or    attributable                     to     the         Contractor,                          Owner                  shall         notify          Contracto                   r in         writing.            Upon
             receipt             of      such              written                 notice,                  Contractor                          shall           require               its         personnel                       and           its
             Subcontractors                             and           Vendors                 to        work          such               overtime                hours           and/or                to      increase                   their
             respective                  work               forces                 as         reasonably                               necessary                       in     order               to          meet               Owner's
             accelerated                     Project              Schedule.                        In the            event                such          acceleration                        is directed                     by     Owner
             which          results               in additional                     costs,               Contractor                        will        be      entitled           to        an      adjustment                       in the
             Guaranteed                       Maximum                         Price            as           determined                           in     accordance                      with             Article              6     of        this
             Agreement.




                                                                                                               ARTICLE                           5
                                        CONTRACTOR                                       FEE             & GUARANTEED                                            MAXIMUM                          PRICE


             Section              5.1             Contractor                        Fee.                    For       Contractor's                             performance                          of        the        Work,                the
             Owner              shall             pay      the          Contractor                          a fee              ("Contractor                          Fee")            equal              to      Ten             percent

             (10%)          of the            Cost            of the           Work.                The            Contractor's                         Fee          shall       be         the        Contractor's                       sole
             and         exclusive                 compensation                              for        all       costs             described                   as      Non-Allowable                               Costs            of the
             Work          in    Section                  5.2         hereof            and          is inclusive                         of     all     overhead                 and             profit          arising            out          of
             or     relating            to        the      Contractor's                        Work.


             Section              5.2             Guaranteed                            Maximum                           Price,                 Subject               to    additions                     and        deductions
             which              may           be         made             only            in         accordance                                with         Section               6.4             herein,                Contractor

             represents,                     warrants                  and          guarantees                            to     Owner                  that      the        total          maximum                         cost         to     be
             paid         by         Owner                for         Contractor's                            complete                         performance                       of         the        Work              under-the

             Gentraet-Deeuments,                                        including,                      without                 limitation,                    Final         Completion                        of     all     Work              as
             described                       in         Exhibit                B        and             all        fees,               compensation                            and            reimbursements                                      to

             Contractor,                     shall              not      exceed                    the            total         amount                   of       Ninety               Three                  Million               Th ree
             Hundred                    Forty                 One             Thousand                             Three                   Hundred                      Two            and               00/100                   Dollars

             ($93,341,302.00)                                 ("Guaranteed                               Maximum                           Price").               Gentraster-wi44etemüneand
             notify-the-Gwner-of-thehmanteed-Meximum-P-F                                                                                                      Ge-W              n-fifteen-(4s)-days-et-its
             receipt-of-the©ra                                                                                                                                                    steighty-percent-(4094
                                                                                                                                                                                ty-of-buMas-systenw
             eqmpmen                                                                                                                                                         Work-        The     Guaranteed
             Maximum                    Price              is     broken                down                  into         the           line          items           and       categories                          set         forth          on
             Exhibit             A attached                       hereto                and         is based                    upon             the        description                     of the            Work            as     of the
             date          hereof                 and           the      Guaranteed                                Maximum                            Price            Premises                    and            Assumptions
             attached                 hereto             as       Exhibit               A.                                                                                                                                   um-P-rise
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             GMP-10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                     INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 40 of 122 PageID
                                                                     RECEIVED      #: 4901/25/2021
                                                                               NYSCEF:

                                                                                                                                                           Staten         Island             Mall        - Seed                               Macys
                                                                                                                                                                                                                           Money
                                                                                                                                                                                                                          Contract             # 019
                                                                                                                                                                                                  Aurora             Contractors,                    Inc.
             the4wner-                         Such              Contractor's                                                                          shall             be         identified                      in         a separate
                                                                                                             Contingency
             line         item         to      the         Guaranteed                            Maximum                         Price                estimate                      delivered                       to     the          Owner.
             The           Contractor's                                 Contingency                                 will             be            reviewed                         six            months                        after              the
             acceptance                        of        the      Guaranteed                                Maximum                         Price.               At      that           time,             the         Contractor's

             Contingency                             rnay          be         reduced                    based                  on         the         mutual                  agreement                             of        the        Owner
             and           Contractor.                                Periodically                            after             the              initial           review                    of         the           Contractor's

             Contingency,                                the       Contractor's                               Contingency                                  can           be          reviewed                        and              reduced
             based                upon               the          mutual                      agreement                              of         the         Owner                      and              Contractor.                            Such

             contingency                       established                         by     the         Contractor                          shall        be       identified                   in a separate                             line        item
             to     the      Guaranteed                           Maximum                       Price              estimate                     delivered                 to        the        Owner.


             5.3      Guaranteed                               Maxirnum                       Price               Components.                               The          Guaranteed                             Maximum                        Price
             is     comprised                       of     the         maximum                        amount                    payable                    by      Owner                  for:          (i)     the            Cost           of     the
             Work           listed            in     Section                 5.2        hereof               for     full       and             complete                  performance                                of        the      Work              in
             strict        accordance                           with          Contract                       Documents;                            and          (ii)     the           Contractor's                             Fee.               The
             Cost          of      the         Work               shall             include                  the         lump                  sum          amount                      identified                        in        Exhibit               D
             for      Contractor's                               costs              and              expenses                         associated                          with               the         specific                      general
             conditions                        items              set         forth             in     Exhibit                  D ("Contractor's                                          General                     Conditions")
             to       be         incurred                      during                   the          contemplated                                     Contract                       Time                of         26          9      months
             pursuant                    to        this          Agreement.                                  Notwithstanding                                           anything                     to        the          contrary                    in
             this         Agreement,                            the          Owner                   shall           pay             the          Contractor                           the         lump               sum              amount
             for      Contractor's                              General                  Conditions                             in        28       9 equal                and             consecutive                                 monthly
             installments,                           without                  any          deduction                          for          retainage.



             6.4                Cost           Overruns.                            Subject                  to     approved                        additions                     or      deductions                           which               may
             be       made               pursuant                      to     Section                  6.4          herein,                    Contractor                      shall              be          solely             liable             and
             responsible                       for         and          shall           pay           any          and          all         costs,              fees           and           other              expenditures                              in
             excess               of     the         Guaranteed                          Maximum                       Price               for        and/or             relating                 to      the        Work,                without
             reimbursement                                 from              Owner.                   Contractor                           is      not          entitled                  to        any             fee,             payment,
             compensation                             or       reimbursement                                 under              this            Agreement                         or      relating                  to     the         Work            or
             Project              other            than          as         expressly                   provided                     in this           Article               5,


             5.5          Inferable                      Work.                Contractor                           agrees                   that            the          scope                     of         the          Guaranteed
             Maximum                     Price             includes                 Work              not         expressly                     indicated                 on        the        Contract                    Documents,
             but      that         is       reasonably                        inferable                  from            or      consistent                       with              the        Contract                    Documents,
             and           such          Work                  shall          be         performed                         by         Contractor                        without                   any           increase                      in     the
             Guaranteed                        Maximum                        Price.



             6.6   Allowances.                                    The           Guaranteed                            Maximum                          Price            includes                    specific                   "Allowance
             Amounts"
                            for                     certain                 items          as        shown                 on        the          Schedule                     of      Values                  and         budgeted                       in
             the      Guaranteed                            Maximum                       Price              ("Allowance                              Items").                 The             only           Allowance                        items
             shall         be      those                 specifically                    identified                  as         such              in the          Schedule                        of     Values                     and       in     the
             Guaranteed                            Maximum                         Price             subject                    to          Section                    5.7          the           Allowance                           Amounts
             represent                  all        Cost          of the            Work              of the          Allowance                         Items,             including,                      without                    limitation,
             costs           of         materials,                      labor,             handling,                       transportation,                               loading                   and              unloading                       and
             installation.                     Allowance                         Items               shall           be         supplied                    for         such              amounts                         and          by          such




             GMP           0082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                     INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 41 of 122 PageID
                                                                     RECEIVED      #: 5001/25/2021
                                                                               NYSCEF:

                                                                                                                                                               Staten           Island       Mall            - Seed                             Macys
                                                                                                                                                                                                                             Money
                                                                                                                                                                                                                            Contract             # 019
                                                                                                                                                                                                   Aurora                 Contractors,                inc.

             persons              as        the          Owner                       may          direct.                  Unless                    otherwise                        provided                      in     the          Contract

             Documents,                     materials                       and            equipment                       under                   an     allowance                       shall          be         selected                by        the
             Owner          so         as     to         avoid              unreasonable                                 delay                in    the           Work.              An      allowance                           shall       cover
             the    cost       to      the         Contractor                          of        materials                    and            equipment                         delivered                 at         the       Jobsite                and
             all    required                 taxes,                     less          applicable                         trade                discounts                         and         Contractor's                             costs             for

             unloading                 and         handling                      at        the        Jobsite.



             5.7           Portions                           of          the          Work;                    Phases                         of          Construction.                                     As-deser-ibed-in
             Section-44-ef4his-Agreementethe©rawings-and45peci#eations-for-the-Werk-and
             P-roject4nay-net-be-ene-hun                                                                                                                                                                      -the-execution-of
             this--Agreement-                             As             Drawings                       and          Specifications                                  are         completed                          for       a     particular
             portion         of     the        Work,                     Contractor                     shall,            in accordance                                   with        Article                9 hereof,                   propose
             and       obtain-sealed                               bids          from             a     minimum                         of     three              Subcontractors                                    and/or              Vendors
             for   that      portion                of        the         Work              and         assist             Owner                    in    selecting                   one          of        the         Subcontractor
             or    Vendor              bids         for         that           Work.


                            5.7.1              If the                   amount                   of     the          bid           selected                     by        Owner                  exceeds                     the          amount
                           budgeted                       in        the         Guaranteed                           Maximum                             Price            for        that        item           or         portion           of       the

                           Work,              including                         the         Allowance                         Amount                      as       to      an         Allowance                           Item,          and-the
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                           substantially-eenfem+~te4he-"Guar-anteed-Maximan-P+ieehses-and
                           Assweptione"
                                                   as-set4erth-en-4ixhiNt-C-attached                                                                                                             hereto,                   Owner                 shall,
                           subject                  to        Section                  5.7.3                below,                 either:                (a)      rework,                  or     have                   reworked,                   the
                           Drawings                           and           Specifications                               to         cause                 the           Work              depicted                        therein            to        fall
                           within             the         budgeted                         amount                  allocated                       in the          Guaranteed                           Maximum                          Price         (or
                           within             the         Allowance                          Amount                      as        to        an      Allowance                        Item),             or         (b)      increase                 the
                            Guaranteed                                  Maximum                        Price             by          an            amount                  equal             to         that              portion            of       the
                           difference                          between                       the             amount                      of         the           selected                   bid             over            the          amount
                           budgeted                       for           such           item            or     portion                of the               Work             in the            Guaranteed                             Maximum
                            Price             (or         over              the            Allowance                          Amount                      as         to        an      Allowance                            Item)           that            is
                           attributable                            to     the        failure            of the             Drawings                        and            Specifications                             to     substantially
                            conform                  to        the         Guaranteed                              Maximum                          Price            Premises                     and          Assumptions.


                            5.7.2             If the                amount                   of        the         bid        recommended                                       by      Contractor                          exceeds                   the
                            amount                  allocated                         or     budgeted                         in        the         Guaranteed                           Maximum                           Price          for        that
                            item             or          portion                      of         the          Work,                     and              the         Drawings                       and                   Specifications

                            substantially                                conform                   to        the         Guaranteed                                Maximum                         Price                  Premises                   and

                           Assumptions,                                   then             Contractor                         may              proceed                     with          such                bid,          provided                  that
                            such              increase                          in     costs                 shall            be             solely               Contractor's                           responsibility                              (but
                           subject                       to             Contractor's                               use             of         the              Contractor's                              contingency                                 and
                            Contractor                          shall            not         be         entitled               to,            and          will         not         seek,           any              increase                   in    the
                            Guaranteed                              Maximum                           Price.


                            5.7.3             Notwithstanding                                         the      provisions                           of     Sections                    5.7.1            and              5.7.2          above,                if
                            Contractor                          fails            to        comply                  with             its        obligations                           under              Section                   3.2       of        this

                           Agreement,                               including                     to        timely            notify                Owner                 in      writing               in     accordance                            with




             GMP_10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                          INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 42 of 122 PageID
                                                                     RECEIVED      #: 5101/25/2021
                                                                               NYSCEF:

                                                                                                                                                    Staten         island         Mall        - Seed                                 Macys
                                                                                                                                                                                                               Money
                                                                                                                                                                                                              Contract                 # 019
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                             and-Aesumptions                                      or-that4edes                                      o           alue-Engineer-ing4s-nesessary49


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                             Maximum-P-rise-with-regar4thereter


                              5.7.4              If the            amount               of     the         bid      selected                    by     Owner                is        less           than         the           amount
                             allocated                      or      budgeted                  in     the         Guaranteed                            Maximum                        Price           for         that           item          or
                             portion              of        the      Work           and            the         portion          of        the        Work           is    an          Allowance                          Item,            then
                             such             savings                    and       difference                       shall            be         a      credit             against                    and           reduce                   the
                             Guaranteed                            Maximum                    Price.



                             5.7.44                   If     the         amount                of         the       bid         selected                      by         Owner                  is      less              than              the
                             amount                        allocated               or        budgeted                     in        the         Guaranteed                             Maximum                            Price             for
                             that          item             or      portion              of        the         Work            and            the       portion                  of     the           Work                is     not         an
                             Allowance                             Item,         then          such              savings                      and       difference                       shall               be           added               to

                             and           increase                      the     Contractor's                            contingency.


                             5.7.5               Notwithstanding                              the         provisions                     of     this     Section                  5.7,          if Owner                      elects             to
                             have             a party                other        than             Contractor,                      or        one      of      Contractor's                           Subcontractors,
                             perform                  the          Work          related             to    an      Allowance                         Item          or    other           portion                  of      the        Work,
                             or      otherwise                      eliminates                 or        reduces               the        scope               of    an      Allowance                         Item              or     other
                             portion                  of     the         Work,          the          Guaranteed                          Maximum                        Price           shall           be         reduced                    by
                             both          (i)     the           Allowance                   Amount                for        any        such          Allowance                       Item           or     the          budgeted
                             amount                    in the            Guaranteed                        Maximum                       Price          for        such           item,              and          (ii)     a portion
                             of      the         Contractor's                      Fee          in        an     amount                  equal           to        2.25          percent                   (2.25%)                   of     the
                             amount                    of        reductions                  specified                in the              preceding                      clause               (i),     and             there              shall
                             not         be       any             corresponding                           increase                  in    the          Guaranteed                            Maximum                           Price         for
                             the         cost          of        such          Allowance                   Item          or     other            portion                of the          Work                not          performed

                             by       Contractor.



             Section               5.8            intentionally                    Omitted.


                                                                                                                                                Work"
             Section                5.9          Cost               of     the     Work.                   "Cost          of        the                             includes                  those               elements                        of
             costs       set         forth            in Article               7 up      to the            Guaranteed                           Maximum                     Price             (subject                   to     change

             only      as         provided                    in    this        Agreement)                        which             are         chargeable                       to      Owner                and              payable
             to     Contractor                        when               reasonably,                      actually              and             necessarily                       incurred                    and              properly
             documented                          by        the      Contractor                 for        the      acceptable                        performance                         of the             Work,                without

             mark-up                or     add-on                  of any         kind.            Such           costs          shall           be     actual             costs              paid           by          Contractor
             less      all     discounts,                         rebates           and            salvages                   taken             by     Contractor.                       All          amounts                    paid             or




             GMP_10082015
     FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                                   INDEX NO. 150180/2021
               Case
     NYSCEF DOC. NO.1:24-cv-04939-VMS
                     2                Document 1-1 Filed 07/16/24 Page 43 of 122 PageID
                                                                          RECEIVED      #: 5201/25/2021
                                                                                    NYSCEF:
                                                                                                                                                                          Staten             island               Mall       - Seed                                  Macys
                                                                                                                                                                                                                                                  Money
                                                                                                                                                                                                                                                 Contract             # 019
                                                                                                                                                                                                                    Aurora                  Contractors,                   inc,

                  payable                 as          Cost              of        the        Work          shall                be         subject                   to        verification                         by         audit              pursuant                    to
                  Article            12         of         this         Agreement.                             Contractor                            covenants                              and              agrees                    to        use          its        best
                  efforts            to     achieve                     the         lowest              price             or        cost         reasonably                             available                        and           consistent                         with
                  the        Contract                      Documents,                           for      all        Cost              of the           Work                    items.                 Cost          of       the            Work              shall          be

                  strictly           limited                to        and           include              only             the         items            set           forth             in Article                    7.



                  Section                 5.10Non-Allowable                                               Costs                      of     the        Work.                         "Non-Allowable                                          Costs               of        the
                  Work"
                                     means                   the             direct           and/or                indirect                costs               described                             in Article                   8 and                all     similar
                  costs             and         all        other              costs            not       included                         within           the            Cost              of        the         Work,                which              are            paid
                  or     incurred                    by      Contractor                        during                performance                                of the                Work.                 All     such                Non-Allowable
                  Costs              of        the         Work                   are        included                     in        Contractor's                               Fee           set         forth               in        Subsection                          5.1

                  above,              regardless                             of     whether                   they              exceed                 the            amount                      of         such              Contractor's                              Fee.
                  Contractor                        shall              not         be        entitled               to         receive                               additional                         reimbursement                                     for            Non-
                                                                                                                                                      any
                  Allowable                     Costs                  of     the        Work.


                  Section                 5.11             Contractor's                               Responsibility                                      for             Taxes.                       Other              than               direct            cost             of
                  amounts                   actually                    paid            by     Contractor                           for     sales              and              use         taxes                 directly                  relating                to     the

                  work              and          for         materials                        and        equipment                              incorporated                                or         consumed                             into        the          Work
                  and/or             directly                    relating                to     rental              equipment                          used                    in the            Work               that             are          imposed                    by
                  governmental                               authorities                        and            paid              by        the         Contractor,                               it     is        expressly                        understood

                  that         no     other                taxes              or duties                 (other             than             customs                       duties                 on      equipment                               and          material
                  brought                      into          the                  United              States                     expressly                            and               solely                    for             incorporation                                 or
                  consumption                               in        the         Work           and           imposed                          by      governmental                                        authorities                          and           paid          by
                  Contractor)                         of         any          nature             whatsoever                                are         considered                                Cost              of     the           Work              and             that
                  Contractor                        will         not          be        separately                        reimbursed                           for,            but          shall            be         responsible                            for        and
                  shall         timely                 pay,                 any         other           such               taxes                or      duties                   whatsoever,                                 including,                        but          not
                  limited             to,        federal,                     state            and        local                taxes,                duties,                   excise                  taxes,                personal                     property
                  taxes              on             construction                               equipment                             and              other                    property                       owned                         or         leased                by
                  Contractor,                         taxes             on         net        income                 of        Contractor,                          filing            fees             on     taxes,                   business                     taxes,
                  and          similar                taxes                 applicable                   to         or     arising                   directly                   or      indirectly                       out           of        performance
                  of     the        Work              or         Contractor's                         property,                       business                       or        operations.



                  Section                   5.12                 Discounts,                           Rebates                             and          Refunds.                                  All         cash                 discounts,                          trade

                  discounts,                        rebates                    and            refunds                obtained                        by        Contractor                              during                  the           course                 of     the

                  Work,              and             all     amounts                         received                     from             sales               of         surplus                  materials                         and             equipment,
                  shall         accrue                 to        Owner.                      Contractor                        shall         take              all        necessary                           steps               to        obtain,             secure
                  and          pass             through                      all        such          credits                  to      Owner                   and              all     such                 discounts,                           rebates                 and
                  refunds                 shall             be          fully           reflected                   in     Contractor's                               monthly                         Applications                               for     Progress
                  Payment                       submitted                          pursuant                    to        Article                10        of         this            Agreement.                              All            right,        title           and
                  interest                in        and           to        all     materials,                      tools,                and         equipment                              paid             for         by           Owner                  shall          be
                  vested              solely                in        Owner.                   Amounts                         which              accrue                    to        the         Owner                   in      accordance                              with
                  the        provisions                          of     Section                 10.1           shall             be         credited                      to     the         Owner                      as        a deduction                            from
                  the        Cost              of      the            Work               and          shall              not          result              in        any           adjustment                              of       the            Guaranteed
                  Maximum                        Price.




                  GMP_10082015




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FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                                 INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 44 of 122 PageID
                                                                     RECEIVED      #: 5301/25/2021
                                                                               NYSCEF:

                                                                                                                                                                    Staten             Island         Mall           - Seed                                Macys
                                                                                                                                                                                                                                        Money
                                                                                                                                                                                                                                       Contract            # 019
                                                                                                                                                                                                           Aurora                    Contractors,               inc.

             Section              5.13                No           Duplication.                                  Notwithstanding                                     the          breakdown                               or     categorization
             of    any       costs               in     this            Article             5 or               elsewhere                         in        the       Contract                   Documents,                                   there           shall
             be     no     duplication                             of    payment                          in    the         event                any             particular                  items               for           which               payment
             is    requested                     can           be            characterized                                 as        falling              into       more               than              one          of        the         categories
             of    compensable                               or         reimbursable                             amounts.




                                                                                                                       ARTICLE                             6
                                                                                                CHANGES                                IN      THE               WORK


                                                                                           "Change"
             Section              6.1             Change.                           A                                           in      the           Work                means                 an          increase,                         decrease,
             variation,                modification,                                 amendment                                   or      change                      in     the          Work                   as          set            forth        in      the
             Contract              Documents,                                      including                     without                       limitation                   a      modification                                  to        the         Project
             Schedule.                  Suspensions                                     and           terminations                                  for        convenience                            shall                be          govemed                     by
             Article         13        of        this         Agreement                               and         shall               not           be         considered                      a Change                               except             to     the
             extent          provided                        herein.                 A          Change                      may              only              be      implemented                                   by         execution                     of      a
             Contract             Amendment                                    or     by         a Change                            Order.                Accordingly,                         no         course                     of     conduct                 or
             dealings             between                          the         parties,                   nor      express                          or     implied                acceptance                              of         modifications,
             variations,                alterations                            or     additions                       to        the         Work,                and        no         claim              that            Owner                  has         been

             unjustly            enriched                          by        any         modification,                                variation,                    alteration                  or        addition                     to     the       Work,
             whether              or        not         there                 is    in      fact           any             such              unjust               enrichment,                             shall             be         the         basis           for

             any       claim            to        an         increase                      in      the           Guaranteed                                 Maximum                          Price              or        extension                      of     the
             Contract                  Time.                  Changes                            in        the             Work                  shall              be          performed                             under                   applicable
             provisions                     of        the          Contract                      Documents,                                  and            Contractor                         shall              proceed                        promptly,
             unless          otherwise                         provided                         in the            Contract                      Amendment                               or      Change                         Order.


                                                                                                                                                                                        Amendment"
             Section               6.2                  Contract                           Amendment.                                        A            "Contract                                                                    is        a     written
             instrument                      electronically                                signed                  by            Owner                     and            Contractor                        through                         the        use            of
             Owner's               computer                             based                   project                management                                    system,                    stating                    their             agreement
             upon          all    of        the          following:                        (i)        a        Change                   in       the           Work             including                    a fulf                  description                      of
             such          Change;                          (ii)        the          amount                       of            the          adjustment,                           if        any,            to            the             Guaranteed

             Maximum                    Price;                 and/or                   (iii)      the           extent                 of          the         adjustment,                          if    any,                 in     the           Contract
             Time.         The          addition                        of     any         new                 Work,             or      any              Change                  to     the         Work                  being              performed

             by     a Subcontractor                                     in excess                         of     twenty-five                             percent                (25%)               of      the            cost            allocated                  to
             such         Work               in         the             Guaranteed                               Maximum                             Price,               shall          require,                      and              shall           not         be
             performed                  without,                        a fully            executed                         Contract                       Amendment                            or        Change                       Order.


                                                                                                                                             Order"
             Section              6.3            Change                       Order.                  A"Change                                                      is a written                     order                signed                 by     Owner
             directing            a Change                              in the            Work                  being                performed                       by      Contractor                           or        a Subcontractor

             pursuant              to        a current                        and          enforceable                                Subcontract.                              A Change                          Order                    shall       state             a
             proposed                   basis                for         adjustments,                                 if    any,               in        the        Guaranteed                             Maximum                             Price           and
             Contract             Time,                 or either                    of them.                    Upon                  receipt                 of a Change                          Order,                     Contractor                     shall

             promptly              proceed                          with            the          Change                     in        the        Work                involved                   (including                            implementing
             any       reductions                       or         accelerations                                in the               Work)                and        advise               Owner                      of        the         Contractor's
             agreement                       (in         which                     case            Contractor                            shall                 electronically                             sign                 and           upload                the




             GMP        10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                         INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 45 of 122 PageID
                                                                     RECEIVED      #: 5401/25/2021
                                                                               NYSCEF:

                                                                                                                                                      Staten          Island           Mall        - Seed                             Macys
                                                                                                                                                                                                                  Money
                                                                                                                                                                                                                 Contract             # 019
                                                                                                                                                                                           Aurora              Contractors,                Inc.

             Change             Order           to         Owner                 through                   Owner's                     computer                    based                 project                management

             system)           or disagreement                                   with        the         method,                  if any,             provided                    in the           Change                 Order             for

             determining                 the         proper                 adjustment,                         if any,                in   the         Guaranteed                            Maximum                         Price          or
             Contract            Time.               Contractor                         agrees                 to         immediately,                            when                directed                  in      writing             by
             Owner,            perform               the             Change                  in     Work                diligently                   and          without                delay.                If the         Change
             Order            provides                for             an         adjustment                             to      the             Guaranteed                             Maximum                         Price,              the
             adjustment                  may              be          based             on          a        mutually                  accepted                       lump               sum,            which                shall         be

             properly            itemized                       and          supported                          by            sufficient                    substantiating                               data            to      permit
             evaluation             by        the         parties.                A Change                      Order                electronically                          signed,                    unmodified,                        and
             uploaded             into        Owner's                     computer                      based                project            management                               system                by     Contractor
             evidences             the         agreement                           of    Contractor,                           including                    the       method,                      if any,            provided                in
             the      Change                  Order                 for      determining                            the         adjustment,                           if     any,             in        the          Guaranteed
             Maximum                Price                 or         Contract                 Time.                  If       Contractor                      fails              to      advise                 Owner                 of     its
             agreement                   or     disagreement                                 with             the            proposed                   adjustment                            in        the         Guaranteed
             Maximum               Price             or         Contract                 Time                within             seven                 (7)     days               after        the             delivery            of       the
             Change             Order           to        Contractor,                        then            the          Change                 Order              shall             be      deemed                     approved,
             and       Contractor                    shall                have          no         right           to        claim          any             adjustment                        to        the          Guaranteed
             Maximum               Price             or        Contract                 Time             in excess                     of       the         adjustments,                           if any,            provided                in
             the     Change              Order.


             Section             6.4            Determination                                      of         Increases                         in      Guaranteed                                 Maximum                        Price.

             Notwithstanding                         any             other         provision                    in the            Contract                    Documents,                            and         regardless                    of
             the     pricing           method                       for     any         Change,                         any       increase                    in      the             Guaranteed                         Maximum
             Price       as     a result              of        net        Changes                      in     the           Work,          shaibnet-exceed-the-sam-of:                                                          (a)4he
             aggregate-additional-amounts                                                                                                                                                                     tracter-to--its
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             including¬all-Nen-AHewable-Gests-ef-th                                                                                                                                                             ded-from-the
             determination-ef4Ae-sest-efany-Ghange49-the-Werk-equal                                                                                                                   no      less            than        the         Cost
             of      the         Work                 (including,                             if         applicable                             and               approved,                             any           additional
             Contractor's                      General                      Conditions)                            to        perform                   the         Changes                         in     the         Work             plus
             Contractor's                      Fee             of     2.25%             on         said             Cost.


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             make-any-adjustm                                                                                                                                              -ri
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             GMP       10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                         INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 46 of 122 PageID
                                                                     RECEIVED      #: 5501/25/2021
                                                                               NYSCEF:

                                                                                                                                                             Staten            Island               MaH - Seed                   Money               Macys
                                                                                                                                                                                                                                Contract               # 019
                                                                                                                                                                                                      Aurora               Contractors,                     Inc.

             Additional                     adjustments                        to       the            Guaranteed                                  Maximum                            Price               attributable                          to      any
             Change                 in        the          Work           shall            be         determined                             as         provided                          in     Section                     11.1.1               of        the
             General                Conditions.




                                                                                                                 ARTICLE                           7
                                                                                  COSTS                         TO         BE          RElMBURSED


             Section                73              Cost           of      the        Work.                          Subject                  to        the         provisions                            of      Section                  52               the
             Owner             agrees                to       reimburse                       the           Contractor                         for           the         Cost              of       the          Work.                   The           term
                                                  Work"
             "Cost        of        the                            means                all      actual                    and         direct               costs              reasonably                            and          necessarily
             incurred                  in      the          proper             performance                                   of        the         Work                  and              paid             or        payable                     by         the
                                              subject-te-the4eneral4endition                                                                       Cocte                cot         fofth-0RENhibit-D-brete-
             Contractor,
             if-app#eable,                            including                      Contractor's                                     General                       Conditions                                  as         set           forth              on
             ExhibitD                    hereto              and          except                as         otherwise                        limited                by        this         Agreement.                             Such             actual
             and       direct               costs           comprising                     the             Cost            of        the      Work                 shall            be         at     rates                no     higher               than
             the       standard                     rate          paid         in     the            locality                   of     the         Work,                     except                 with             the         prior           written
             consent                of        the          Owner           and           shail              only            include                    the         following                        items              set        forth           in    this
             Article         7:


                                                    7A.1             Labor              and            Personnel                             Costs.


                                                                    7AAA                        Actual                     wages                paid               by          Contractor                            for         labor            in        the
             direct          employ                   of    the         Contractor                         in    the            performance                              of         the        Work               under               applicable
             collective                  bargaining                     agreements                              or        under             a salary                    or     wage                 schedule                      approved                    in

             writing          by         the        Owner.


                                                                     7AA.2                      Actual                      wages                      or          salaries                         of           the             Contractor's

             managerial/supervisory                                                  and             administrative                                    personnel                           when                  stationed                       at         the
             Jobsite              or        upon            written               approval                           of     Owner                  with4theownert-agreement                                                                    (but         not

             including                 bonuses                     paid        to     such                 personnel                        unless                 approved                          in        writing             by          Owner).
             Contractor's                           managerial/supervisory                                                       or         administrative                                     personnel                         engaged                      at
             shops           or        on      the          road         in expediting                               the         production                        or        transportation                                of     materials                   or
             equipment                        shall          be         considered                          as            stationed                     at     the             field            office               and          their           actual
             wages             or        salaries                 paid         for      that           portion                    of       their         time                spent              on        the          Work,              provided
             that      Owner                  shall          be     entitled               to        approve                      in advance                            the         numbers                      and            identity               of    all
             Contractor                       supervisory                      and         administrative                                   personnel                          entitled                   to     charge                  their         time
             as      a Cost              of       the       Work.


                                                                     733.3                      Costs                     paid         or      incurred                       by       the           Contractor                          for      taxes,
             insurance,                      contributions,                          assessments                                  and          benefits                       required                    by         law         or      collective

             bargaining                       agreements                          and,               for         personnel                          not            covered                       by            such             agreements,

             customary                        benefits                  such          as         sick                leave,                medical                   and             health                    benefits,                  holidays,
             vacations                      and         pensions                 (net           of     employee                            contributions,                                 experience                            modifications
             and       the        like),            provided               such               costs              are         based                 on        actual                 costs            of        the         Contractor.




             GMP_10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                        INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 47 of 122 PageID
                                                                     RECEIVED      #: 5601/25/2021
                                                                               NYSCEF:

                                                                                                                                                Staten            Island            Mall       - Seed                                  Macys
                                                                                                                                                                                                              Money
                                                                                                                                                                                                             Contract                   # 019
                                                                                                                                                                                       Aurora              Contractors,                    Inc.

                                                                    7.1.1.4                   Reasonable                                   travel                           expenses                                   (including
             transportation                        at     coach               or      economy                     rates,             meals                and           lodging)                of     the            officers                  or
             employees                     of      the         Contractor                      incurred              in        connection                        with         the         performance                               of     the
             Work.          Out            of town              travel             is subject                to the            prior,         written               approval                    of     the       Owner.


                                                                     7.1.1.5                  During              Value               Engineering,                             the           actual                  wage                 and

             salary         cost           and           reasonable                      travel          expenses                       (including                     transportation                           at          coach               or

             economy                    rates,            meals                 and           lodging)               of        all       personnel                          directly                 engaged                      in       the
             performance                        of Value               Engineering                       services,                   regardless                        of    whether                  such            personnel
             are       stationed                 at the             Jobsite             or     elsewhere.                      Out         of town                travel             is subject                  to         the        prior,
             written            approval                 of     the        Owner.


                                                7.1.2               Costs               of       Materials                     and            Equipment                              Incorporated                                 in       the
             Completed                      Construction.


                                                                     7.1.2.1                  Costs,                including                         transportation,                                   of             materials,
             supplies                and           equipment                       incorporated,                          or     to       be         incorporated,                              in     the           completed
             construction                     in    accordance                          with       the       Contract                   Documents.



                                                                     7.1.2.2                  Costs           of     materials                       described                       in      Section                   7.1.2.1                   in
             excess             of those                actually               installed               but        required               to     provide                     reasonable                      allowance                       for
             waste          and            spoilage.                    Unused                  excess               materials,                      if    any,             shall         be         delivered                     to      the
             Owner          at the              completion                      of the           Work          or,        at    the        Owner's                     option,             shall           be        sold          by      the

             Contractor,                    and           any          amounts                   realized                 from          such               sales             shall           be        credited                    to      the
             Owner              as     a deduction                         from         the       Cost            of the         Work.


                                                 7.1.3               Costs               of       Other              Materials                            and            Equipment.                             Temporary
             Facilities                and          Related                  Items.


                                                                     7.1.3.1                  Costs          (including                    transportation                             and            maintenance)                                of
             all    materials,                  supplies,                  equipment,                    temporary                      facilities,                 small             tools,           and            hand               tools
             not       owned             by        Contractor's                       personnel,                   which              are           provided                  by      the         Contractor                           at the
             Jobsite            and         which              are      fully       consumed                       in the            performance                            of the           Work;              and           the         cost
             less        salvage                value           on      such            items           (if not       fully           consumed)                          whether                  sold          to      others              or,
             if    and      to        the          extent             approved                    in     writing                by       the          Owner,                  will         be         retained                    by        the
             Contractor.                        Cost          for      items             previously                  used             by       the             Contractor                    means                   fair         market
             value         of     the       item          used,             as      reasonably                     determined                             by     the        Owner.



                                                                     7.1.3.2                  Rental          charges                   for         equipment                       which             are       provided                     by
             the       Contractor                   at        the      Jobsite,                whether               rented              from              the         Contractor                     or     third            parties,

             including                  installation,                       minor              repairs               and             replacements,                                  dismantling,                            removal,
             transportation                        and          delivery                costs          thereof.                 In      no      event              shall            the      rental             rates              of      any
             piece         of        equipment                      from          the         Contractor's                      own           stock              exceed                seventy-five                           percent

             (75%)          of       the        blue           book           rental            rates         or     such             other               industry               standard,                      or      based                on

             prevailing                market                 rates         in the             local      area            if such             publication                       is     not        available,                      unless
             otherwise                  approved                      by      the        Owner               in     writing.                   in         no     event               shall           the        total             cost           of




             GMP         10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                          INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 48 of 122 PageID
                                                                     RECEIVED      #: 5701/25/2021
                                                                               NYSCEF:

                                                                                                                                                              Staten                 Island          Man          - Seed                             Macys
                                                                                                                                                                                                                                 Money
                                                                                                                                                                                                                                Contract               # 019
                                                                                                                                                                                                           Aurora             Contractors,                inc.

             renting            a piece                     of equipmentexceed                                             seventy-five                          percent                    (75%)              of the            Contractor's
             original              cost              of      the          equipment,                      and            substitution                       of       similar                 or      like         equipment                      on       the
             Jobsite               will         not          be      considered                          as      a change                    in     Equipment                               under              this           provision.



                                                                           As       to     the           cost            charged              for           any            piece              of        equipment,                        the         rates
             charged                 for        rental               shall         reflect            any           reduction                 in rate                 based                   on        the       amount                  of     usage,
             such        that             Contractor                         is charged                       the        lowest             rent         for         the             rental             period             (e.g,           if certain
             equipment                         rents               for      $75/day                  or        $12.50/hour,                         if more                     than              six       (6)        hours           are           need,
             the       daily         rate             will         apply).              Equipment                         and        facilities                  which                 are        job         purchased                        shall       be
             salvaged                     at     the          completion                       of     the           Work            and       such                 salvage                    values                   shall         be        credited
             to    the         Cost             of        the        Work.                The             Owner                shall         accrue                    any             accumulated                              equity               in   the
             rental           of     equipment                              used          at        the         Jobsite              which               is       leased                    under              a purchase                         option
             agreement.


                                                      73.4                  Subcontract                             Costs.


                                                                           7.1.4.1                   Payments                        made               by       the            Contractor                        to     Subcontractors
             in    accordance                               with           the      requirements                               of     the         agreements                                  with            the        Subcontractors
             and        the         Contract                       Documents,                            net        of     any       back-charges                                    to      any           such           Subcontractor.


                                                      7.1.5                 Miscellaneous                                  Costs.


                                                                            73.5A                    Costs                  of       removal                         of          all          debris                   caused                   by        the
             Contractor's                            operations.


                                                                            73.5.2                   Costs                of     long-distance                              telephone                          calls,           postage                   and
             parcel            delivery                       charges,                    telephone                        service                at        the           Jobsite                    and            reasonable                         petty
             cash           expenses                          of     the         Jobsite              office.


                                                                            7.1.5.3                  If        maintenance                             of        a        Jobsite                    office              is      approved                      in
             advance                  by         Owner,                    reasonable                         costs            and        expenses                          of the                operation                    of the           Jobsite

             office,           such             as          stationery,                   supplies,                      document                      reproduction,                                furniture,                   fixtures,                and
             office         equipment                              (all      of which                 are           subject             to        salvage                       by     the         Owner).


                                                                            73.6.4                   Cost             of       premiums                      for          all        bonds               and           insurance                     which
             the       Contractor                            is     required                by       the            Contract                 Documents                                 to     purchase                         and        maintain,
             net       of      all         adjustments                             or      credits                  related            to         the         Work                   for       discounts,                       dividends                      or

             premium                      modifications.                                Premiums                         for     insurance                       which                 covers                 other             operations                     of
             the        Contractor                            in         addition              to         its       operations                      pursuant                           to      this           Agreement                          win       be
             allocated                    to         this          Agreement                        in     the           same             proportion                            which              the         value             of       the        Work
             completed                         during                the         premium                   period                bears            to        the        value                 of      all      work             (including                 the

             Work)             completed                            by       the         Contractor                        during            the        same                    period.                    Any           cost         charged                  to
             the       Owner                   for        Subcontractor                             bond             premiums                      must                be        approved                         in advance                      by      the
             Owner.




             GMP        10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                          INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 49 of 122 PageID
                                                                     RECEIVED      #: 5801/25/2021
                                                                               NYSCEF:

                                                                                                                                                          Staten           Island          Mall      - Seed                           Macys
                                                                                                                                                                                                                      Money
                                                                                                                                                                                                                     Contract          # 019
                                                                                                                                                                                                 Aurora         Contractors,                Inc,

                                                                      7.1.5.5                    Sales,                    use            or         similar                    taxes               imposed                  by            any
             governmental                                authority               which            are         related               to    the          Work            and           for      which            the      Coritractor
             is   liable              or     is obligated                    to    collect.



                                                                      7.1.5.6                    Royalties                       and            license                fees            paid           for       the       use          of         a
             particular                    design,               process               or     product                 required                  by        the         Contract                   Documents;                  the           cost
             of      defending                          suits        or     claims                for         infringement                           of      patent                rights           arising             from           such
             requirement                           by      the     Contract                   Documents;                          payments                        made               in accordance                        with         legal
             judgments                       against              the       Contractor                        resulting                  from          such            suits          or claims                 and      payments
             of   settlements                            made             with     the           Owner's                   consent;                  provided,                     however,                 that        such          costs
             of   legal              defenses,                   judgment                   and          settlements                       shall            not        be       included                 in the         calculation
             of      the        Contractor's                         Fee          or     of       the         Guaranteed                             Maximum                         Price,         and           provided                 that
             such          royalties,                     fees       and          costs            are         not         excluded                    by       the       last         sentence                 of     Subsection
             4.14          of        the         General              Conditions                        or     other          provisions                        of the             Contract                 Documents.


                                                                      7.1.5.7                    Fees               and           assessments                                for        permits,                  licenses                 and
             inspections                          for     which            the     Contractor                        is required                       by     the         Contract                  Documents                    to        pay,

             including                     cost          of     validating                  or     certifying                    Work             in        connection                       with        the         delivery              of     a
             certificate                    of      occupancy.


                                                                      7.1.5.8                     Costs              of obtaining                         utility         services,


                                                                      7.1.5,9                     Deposits                   lost         for        causes                 other            than         the        Contractor's
             fault         or        negligence.


                                                        7.1.6         Other              Costs.



                                                                      7.1.6,1                     Other              costs             incurred                 in the             performance                        of the          Work
             if and             to    the          extent            approved                    in     advance                   in writing                    by        the        Owner.


                                                        7.1.7         Emergency-Related                                                Costs                and           Damaged                        Work.


                                                                      7.1.7.1                     The              Cost           of           the          Work                shall             also          include               costs
             described                       in     Section               8.1      which                are        incurred                by        the         Contractor:


                                                                                                  7.1.7.1.1                       In       taking                   action              to        prevent               threatened

             damage,                       injury          or loss           in case               of        an     emergency                          affecting                 the         safety          of      persons                and

             property,                     as       provided                in Section                       9.3     of     the          General                    Conditions.


                                                                                                  7.1.7.1.2                  In        repairing                  damaged                        Work,          provided               such
             damage                        did          not      result            from               the          fault          or       negligence                           of         the      Contractor                    or        the
              Contractor's                          personnel,                    and            only         to     the         extent              that           the         cost         of     such           repairs            is     not
              recoverable                           by     the       Contractor                       from          others               and         the         Contractor                       is not          compensated
             therefor                 by         insurance                  or otherwise.




             GMP_10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                        INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 50 of 122 PageID
                                                                     RECEIVED      #: 5901/25/2021
                                                                               NYSCEF:

                                                                                                                                                      Staten            island         Mall        - Seed                         Macys
                                                                                                                                                                                                                 Money
                                                                                                                                                                                                                Contract           # 019
                                                                                                                                                                                             Aurora           Contractors,              Inc.

                                                                       7.1.7.2                 The             costs            incurred                    by        the        Contractor                     described                 in
             Section             7.1.7.1.2                     do       not       include                the        cost            of    repairing                   or    replacing                   non-conforming
             or     defective                   Work,                and        such              costs            shall            not       be      included                   in     the        calculation                   of     the
             Contractor's                        Fee          or      the       Cost          of     the          Work.


                                                                                                               ARTICLE                        8
                                                                             COSTS                  NOT             TO         BE          RElMBURSED


             Section                 8.1             Exclusions                       frorn          Cost             of       the         Work.                 The        Cost          of the           Work           shall         not
             include             any            of     the        items          set      forth              below             in     this        Article             8:


                                                     8.1.1             Salaries                    and               other                 compensation                                 of         the           Contractor's
             personnel                      stationed                   at      the       Contractor's                              principal               office           or        offices            other           than          the
             Jobsite                 office,            except                  as      expressly                        provided                     in        Sections                 7.1.1,2,                7.1.1.3               and

             7.1.1.5,                or     approved                    in writing                 by        the      Owner.


                                                     8.1.2             Expenses                      of       the          Contractor's                          principal               branch                 offices           other
             than         the         Jobsite                field          office.


                                                     8.1.3             Any            part          of         the            Contractor's                            capital            expenses,                        including
             interest            on         the        Contractor's                       capital               employed                      for      the        Work.


                                                     8.1.4             Overhead                         or         general                   expenses                       of         any          kind,          except                as

             expressly                    set        forth           in Article              7.


                                                     8.1.5             Except                as     provided                    in        Section                7.1.7           hereof             and         Section                14.4
             of     the     General                     Conditions,                      costs               due         to     the          fault         or     negligence                       of    the      Contractor,
             Subcontractors,                                  anyone                  directly               or      indirectly                      employed                     by         any         of     them,             or     for
             whose              acts            any          of       them            may           be        liable,               including                   but        not        limited            to     costs        for        the
             correction                      of         damaged                        Work,                 disposal                      and             replacement                            of       materials                   and
             equipment                       incorrectly                      ordered               or       supplied,                    and         repairing                   damage                  to     property               not

             forming                 part         of    the        Work,


                                                     8.1.6             Rental                 costs                for          machinenf                         and             equipment,                       except                 as

             expressly                      provided                   in      Section               7.1.3.2,                  including                    repairs               to     such            machinery                     and
             equipment


                                                     8.1.7           The        cost          of    any            item         not        specifically                     and         expressly                 identified                  in
             Article            7.


                                                     818               Costs            which                would             cause                the         Guaranteed                        Maximum                   Price         to
             be      exceeded.


                                                     8.1.9             Costs            and         fees           of attorneys,                       accountants                           or    other         consultants,
             unless             expressly                     authorized                      by     Owner                    in writing               in       advance.




             GMP          10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                               INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 51 of 122 PageID
                                                                     RECEIVED      #: 6001/25/2021
                                                                               NYSCEF:

                                                                                                                                                        Staten         Island         Mall            - Seed                             Macys
                                                                                                                                                                                                                        Money
                                                                                                                                                                                                                       Contract              # 019
                                                                                                                                                                                            Aurora               Contractors,                   inc.



                                                                                                                 ARTICLE                     9
                                                                                                     SUBCONTRACTS


             Section                9.1          Subcontractors                                      and             Vendors.                      Contractor                      shall           be        responsible                        for
             the          performance                        of     Subcontractors                                    and       Vendors                    of     every             tier         to        the        same              extent
             as      if     performed                    by         Contractor                       on          a     direct           basis,             including                     coordination                            of      those
             portions               of     the      Work             performed                           by      Subcontractors                               and       Vendors.


             Section                9.2           Awarding                         of          Subcontracts.                                  Subject                  to     Article                  5     of        the       General

             Conditions,                    and          Section5.7                            of        this          Agreement                          for     each             element                       of    the       Work             to
             be      performed,                     Contractor                       shall               propose                a minimum                         of    three              (3)         qualified                 bidders.
             Contractor                    may          be         included                  among                   the     proposed                     bidders.                  Owner                   shall,            within           five

             (5)     business                    days          after          receipt                thereof,                reply           to        Contractor                   stating                 whether                   Owner
             has          a reasonable                        objection                   to     any            such         proposed                     person              or     entity.                 Owner's                    failure
             to    reply        to         Contractor's                        proposed                         list       within           such            period            shall              constitute                      Owner's
             acceptance                     of     such             list.


             Section                9.3          Award               of        Subcontractor.                                     Those                 portions              of      the         Work                 that       shall           be
             peiformed                     under              Subcontracts                                 shall           be       awarded                     pursuant                    to         the            provisions                  of
             Section                5.2      of         the         General                     Conditions.                           All         Subcontracts                             shall             conform                    to     the
             requirements                          of        the         General                     Conditions.                             Subcontracts                             and              agreements                             with
             suppliers               furnishing                     materials                       or     equipment                        fabricated                  to     Owner's                       design               shall           be
             awarded                solely              on        a lump-sum,                        cost-not-to-exceed                                       basis,          and           shall            not        be       awarded
             on      the       basis               of        cost           plus          a      fee            without               the          prior          written                consent                       of      Owner                 in
             advanceThe-kmp-sum-ef-eash                                                                    subcontraet-shaMe-inebsive4an-SubsentFactGF
             eveFhead-aRd-pfe4t-r-WhiGh-sha#-net-eXGeed-Gight                                                                                                          FGGRt4We)-and4VG-perGGRt
                   e)rreSPeG#Velyref-the-eest-ofmeing-perfefmed-



             Section                 9.4            Form                 of      Subcontracts                                   and          Purchase                        Orders.                       Contractor                        shall
             furnish           Owner               with            a copy               of      Contractor's                        proposed                      forms            for       use            as        subcontracts

             (including                   professional                         services                        agreements)                         and            purchase                       orders                 for      Owner's
             review            and          approval                     prior          to       Contractor's                          use             thereof,              and           Contractor                         shall           only
             enter           into          those              subcontracts                                approved                    by          Owner                in     writing,                     without                material

             modification;                       provided,                    however,                         subcontracts                        and           purchase                    orders                   which             do      not
             subject            Contractor                          to        liability              in         excess                of      Fifty             Thousand                        and              00/100                dollars

             ($50,000)                     individually,                         and             otherwise                        are             in       accordance                            with                 the        Contract

             Documents,                          shall             not        require                    Owner's                  prior            written              approval                           Contractor                        shall

             furnish           to        Owner                a copy               of        each              subcontract                        and         purchase                     order              it enters                 into         in
             connection                     with         the         Work               within                  ten        (10)       calendar                    days             after              execution                    of        such
             subcontract                     or     purchase                       order.                All     subcontracts                           and       purchase                       orders                shall          require
             all     Subcontractors                                 and          Vendors                        to         assume                 toward               Contractor                            the            same             legal
             obligations                    and          responsibilities                                 which             Contractor                        assumes                      toward                  Owner                in     this

             Agreement,                          including                    requiring                        the         indemnities                          provided                   in         Article               14        hereof,
             except            as        specifically                    provided                    otherwise                      in the              Contract              Documents                                or     waived              by
             Owner             in writing.                   All     subcontracts                               and         purchase                     orders             shall           also            provide               that         any




             GMP          10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                  INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 52 of 122 PageID
                                                                     RECEIVED      #: 6101/25/2021
                                                                               NYSCEF:

                                                                                                                                                      Staten          Island            Mall         - Seed                                    Macys
                                                                                                                                                                                                                        Money
                                                                                                                                                                                                                       Contract                 # 019
                                                                                                                                                                                              Aurora              Contractors,                    Inc.

             warranties                    contained                      or         referenced                         therein              shall             run          to         the          benefit                  of      and           be
             enforceable                     by         Owner.                 Contractor                        shall         not         waive           or        fail         to     exercise                      any          material
             or       significant                  right          or      remedy                      under              any            subcontract                         or         waive               any              material                   or
             significant              default                 under             any           subcontract                          without              Owner's                    prior            written                 approval.


             Section            9.5.              Subcontractor                                    Overhead.                              Contractor                       shall             limit             Subcontractor's
             overhead                 (to         include              Subcontractor's                                   general                 conditions,                       insurance                           and          all        other
             corporate                and               Project              specific                     overhead)                       and         profit           mark-up                       to         fifteen              percent
             (15%).


                                                                                                             ARTICLE                       10
                                                                                            PROGRESS                               PAYMENTS


             Section                10.1          Applications                               for      Payment.


                                                 10.1.1            Time                for           Submission;                             Supporting                                Data.              Each               month                the
             Contractor                     shall             furnish                to       the           Owner                  an       electronically                              filed             statement                            using
             Owner's                 computer                          based                  project                  management                               system                       (the              Application                         for

             Payment)                 for         Work             completed                          during                 the     preceding                       calendar                       month                   for      which               it
             claims           it is        entitled              to       be         paid.                Each           Application                     for         Payment                        shall              be         submitted
             through                Proliance®                         and            shall           be          evidenced                      by       payreNs,                          petty              cash               accounts,
             receipted                invoices                    or         invoices                      with          check               vouchers                        attached,                          and           any              other
             evidence                 required                    by           the           Owner,                    the          Owner's                    lender(s)                      or          the           Architect                      to
             demonstrate                         that         cash        disbursements                                  already                made             by         the         Contractor                          on       account
             of    the       Cost           of     the         Work             equal                or     exceed:                 (i)    progress                    payments                           already                   received

             by        the     Contractor,                         less              (ii)      that          portion                of       those              payments                            attributable                          to      the
              Contractor's                       Fee,          plus          (iii)          payreas                for        the         period           covered                       by         the          Application                       for
              Payment                 in         question,                   plus             (iv)         retainage                      provided                   in       Section                      10.2.1.3,                      if     any,
             applicable                to        prior         progress                      payments.


                                                  10,1.2           Schedule                           of     Values.                      Each          Application                          for      Payment                        shall          be
              based          upon            the         most          recent                Schedule                    of Values                    approved                         by     the         Owner.                   For          each

              category               and              portion             of     the           Work               as         shown               on      the          Schedule                            of     Values:                       (i) the
              amount                requested                        on         all          previous                    Applications                          for          Payment,                            (ii)    the           amount
              requested                on         the         current            Application                           for     Payment,                   and             (iii)    the          amount                      allocated                  to
             the       Work          yet         to      be     completed.


                                                  10.1.3             Percentage                             of         Completion.                             Each               Application                          for         Payment
              shall       show         the            actual           Cost            of Work-er                       and         the         percentage                        of completion                               applicable
             to    each        portion                  of the          Work,                as       of the             end        of the            period                covered                   by         the        Application
             for       Payment.


                                                  10.1.4              Retainage.                            Each             Application                   for        Payment                        shall             reflect
              Retainage                in the              amount                    provided                    for     pursuant                  to    Section                       10.2          of        this     Agreement.




              GMP-10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                   INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 53 of 122 PageID
                                                                     RECEIVED      #: 6201/25/2021
                                                                               NYSCEF:

                                                                                                                                                          Staten        island              Mall           - Seed                                 Macys
                                                                                                                                                                                                                          Money
                                                                                                                                                                                                                         Contract                 # 019
                                                                                                                                                                                                   Aurora           Contractors,                        Inc.

                                                   10.1.4                Waivers                  of        Lien.              Each             Application                     for         Payment                      prior          to        Final
             Payment                    shall               be         accompanied                            by         a      sworn                statement                       of        Contractor                          and,                with
             regard              to     Work                  that        was             covered                   by        the          immediately                         preceding                          Application                            for

             Payment,                    unconditional                               waivers                  and              releases                   of     liens,               in       a        form            approved                         by
             Owner               and             executed                     by      the         Contractor,                            each            Subcontractor,                                 sub-subcontractor
             and          supplier                 entitled                 to      assert              a     lien            or     claim               against               the          Project                    and         providing
             more          than             Five            Thousand                      and          00/100                 Dollars               ($5,000)                   worth               of      labor,             services                    or
             materials                 to        the         Project.


                                                       10.1.5            Progress                      Reports.                      If requested                      by        Owner,                      each             Application
             for     Payment                      shall             be    accompanied                               by        a signed                    and         completed                           progress                  report                    in
             accordance                          with             Section            4.8         of     the         General                      Conditions                     for        the            period              covered                     by
             the     Application                            for      Payment.


                                                       10.1.6            Requirements                                    of         Owner's                      Lender.                             In         addition                     to         the

             foregoing                  provisions                        of       this      Section                     10.1,            each            Application                          for         Payment                      shall            be
             accompanied                               by     such            supporting                     data             as     may            be     reasonably                              required                   by     Owner's

             lender(s)                 or        development                          partners.


             Section                  10.2             Payments                      to      Contractor.


                                                       10.2.1            Computation                                of        Amount                      of     Payments.                                   Subject                    to        other
             provisions                     of     the            Contract                Documents,                          the         amount                of each                progress                        payment                     shall
             be     computed                           as     follows:


                                                                         10.2.1.1                There               shall              first       be     determined                           the          Cost            of    the            Work

             actually                 incurred                    by     the        Contractor                       on        account                    of    that           portion                  of       the      Work                which
             has      been              completed,                        as       calculated                      on         a percentage                           cornplete                       basis             in accordance
             with          the         approved                          Schedule                      of     Values,                        less         retainage                       of         ten         percent                     (10%);
             provided,                  however,                       there         shall             be     no         retainage                   on        approved                        amounts                   to        be        paid          to
             Contractor                      for         Contractor's                        direct            Cost                of      the       Work              (exclusive                          of     amounts                         to     be
             paid           to         Subcontractors                                     directh/                  or         through                     Contractor).                                    The            Contractor's
             Application                         for         Payment                  shall             include                    copies            of        any        Subcontractor                                   applications

             forming              the            basis,             in whole                or     in       part,         of the                Contractor's                     Application                            for        Payment.


                                                                         10.2.1.2                There               shall           be         added            to    such                sum            the      earned                    portion
             of     the      Contractor's                              Fee,        less          ten        percent                  (10%)               retainage.


                                                                         10.2.1.3                There               shall              be      subtracted                     from             such              sum:


                                                                                                  10.2.1.3.1                        The              aggregate                         of            previous                      payments
             made            by        the         Owner.


                                                                                                  10.2.1.3.2                        The             amount              by        which                    the         sum          of        (i)       the
             Cost          of     the        Work                  actually               incurred              by            Contractor                       and      (ii)     the            eamed                   portion               of        the




             GMP          10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                        INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 54 of 122 PageID
                                                                     RECEIVED      #: 6301/25/2021
                                                                               NYSCEF:

                                                                                                                                                   Staten             Island            Mall       - Seed                                Macys
                                                                                                                                                                                                                    Money
                                                                                                                                                                                                                   Contract              # 019
                                                                                                                                                                                             Aurora           Contractors,                    Inc,

             Contractor's                     Fee              exceeds                    the         Guaranteed                            Maximum                             Price             as        pro-rated                    on         a
             percentage                    completion                         basis            in accordance                              with     the          Schedule                          of Values


                                                                                               10.2.1.3.3                      The          shortfall,                     if     any,            evidenced                        by         the
             Contractor                 in         the         documentation                            required                    by      Section                   10.2.1                 to    substantiate                           prior
             Applications                    for         Payment,                    or       resulting              from             errors           subsequently                                discovered                       by        the
             Owner             in such              documentation.


                                                                                               10.2.1.3.4                      Arnounts,                   if     any,                for      which               approval                   for
             payment             has          been              withheld                  as        provided              in Section                     8.3.1             of the             General               Conditions.


                                               10.2.3                 Time              Within              Which                   Payments                          Are              To         Be         Made.                  Within

             thirty       (30)       days           after            the       Contractor                    shall         have             furnished                      the         Owner                with      a complete
             and       accurate                Application                         for        Payment                in accordance                              with             the        provisions                  of     Section

             10.1.1,           the      Owner                   shall             make          payment                   to     the         Contractor                          of     the        amount               computed
             in accordance                         with         the          provisions                 of Section                     10.2.1            with          respect                    to such            Application

             for      Payment.                     Owner                    may,         in     its    sole      discretion,                       remit              payments                         to     Contractor                      via

             ACH          electronic                 fund             transfer                by      Owner's              financial                   institution.                         Such             payments                     shall
             be       deemed                   credited                      to     Contractor's                          account                      when                 received                     by        Contractor's
             financial           institution.


             Section             10.3          Payments                            to     Subcontractors.


                                               10.3.1                 Subcontractor                              Payment                           Conditions.                                         Except                with             the
             Owner's                 prior           approval,                          payments                     to         Subcontractors                                    shall                comply                with             the

             following               conditions:


                                                                      10.3.1.1                 Contractor                       shall            not        bill            Owner                  for         sums                due            to

             Subcontractors                              for        which           Contractor                   does                 not        intend               to        pay         such            Subcontractors
             without             adequate                           justification.


                                                                      10.3.1.2                 Retainage                       on         Subcontractor                                payments                     shall           be        ten
              percent            (10%)               unless                  otherwise                  approved                      by         Owner                in        writing.                 Early          release                   of
              retainage               to      a      Subcontractor                                  completing                      its     Work            early                 in    the            Project           Schedule
             shall        be     based               on         the          mutual                agreement                     of       the      Owner                   and              Contractor,                  and             upon
              Final       Completion                           of     all     items            of     the     Subcontractor's                               Work.


              Section            10.4              Material                   or        Equipment                     Not             Delivered                       to        Jobsite.                     Except            with           the
              Owner's            prior             written                  approval,                 the      Contractor                        shall          not             make              advance               payments
             to     suppliers                for     materials                      or        equipment                   which              have           not            been              delivered                and            stored

              at    the    Jobsite.




              Section            10.5              Reliance                        on              Information                             Furnished                             by           Contractor.                                  The
              Contractor                represents,                           warrants                 and      covenants                         to     and           with            the        Owner             that           all    data
              and         information                          contained                        in     each               Application                           for             Payment,                      and            all         other




              GMP 10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                         INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 55 of 122 PageID
                                                                     RECEIVED      #: 6401/25/2021
                                                                               NYSCEF:

                                                                                                                                                            Staten           Island          Mall           - Seed                                  Macys
                                                                                                                                                                                                                                Money
                                                                                                                                                                                                                               Contract              # 019
                                                                                                                                                                                                   Aurora               Contractors,                     Inc.

             information                       furnished                  in        connection                        therewith                        is    and             shall          be         true,              accurate                     and
             complete                  and           that         all     documents                           furnished                      in    connection                          therewith                          are           and           shall
             be       genuine                  and,          if    not          originals,                    are          true,          accurate                       and           complete                           copies                 of     the
             originals             thereof.                   This             representation,                               warranty                        and             covenant                        shall                be       deemed
             reaffirmed                   as         to      each             Application                       for        Payment                          presented                       to         Owner                   as        provided
             herein.              In     taking              action                 on     the          Contractor's                         Applications                             for        Payment,                          the         Owner
             shall          be     entitled                  to         rely         on        the         accuracy                       and               completeness                                of          the           information
             furnished                  by          the       Contractor,                          as         well          as          on        the             genuineness                                of        all        documents
             furnished                 by           Contractor                      in     connection                        therewith,                           and         such               reliance                      shall            not       be
             deemed               to        represent                     that           the         Owner                 has          made                 a detailed                      examination,                                     audit           or
             arithmetic                 verification                      of        such           information                      or         supporting                       data             or     documents                               or     that
             the      Owner               has             made            exhaustive                          or      continuous                            on-site                inspections,                              or        that         it has
             made           examinations                            to     ascertain                     how          or for            what                purposes                  the          Contractor                            has          used
             amounts               previously                       paid            on        account                 of     this         Agreement.



             Section              10.6               Joint          Checks.                        Owner              shall             have            the        right             (but         not         the            obligation)                      to
             issue          in     its         discretion,                     at        any         time             and           frorn              time            to      time,              payrnent                         checks                for
             portions             of      a progress                          payment                    or     the         Final            Payment                         (as      defined                     in      Section                    11.1)
             payable              jointly             to      Contractor                        and           the       person                    or        persons                  owed               (including,                            without

             limitation,                 any              Subcontractor                             or        Vendor).                    Without                      limiting                  the          generality                        of      the

             foregoing,                   if     Contractor                         fails,           neglects,                     or        refuses                    to      pay              for         labor                or       services
             performed                    or         materials                      or        equipment                      supplied                        in      connection                             with             the         Work             as
             payments                     become                    due              and            owing,                  Owner                      shall            have                the             right            (but             not       the

             obligation)                  upon             written              notice             to     Contractor                         to    make                 payments                       directly                   for         any      and
             all     such         labor,             materials,                     or     equipment                        and           to      deduct                 the         amount                    of       such             payment
             from        the       Guaranteed                            Maximum                         Price.



             Section              10.7              Withholding.                               In addition                  to      any           amount                     withheld                  from             an         Application
             for      Payment                   by         Owner               pursuant                   to       Section                   10.2.1               or        Section                8.3.1               of      the            General

             Conditions,                       or     in     the          event               of     any            breach                or       failure               by          Contractor                           to       perforrn               its
             obligations        pursuant       to this   Agreement,           er-any-elaime-afising-out-ef-any-work
             Gentraster4s-pFeViding-te-OWnef-pefGUGRt-to-any-ether-agfeement-                                                                                                                                                  Owner                  shall
             have           the          right,             and          Contractor                           expressly                      authorizes                            Owner,                    to        withhold                       such
             amounts               and              payments                    to       Contractor                    as          Owner                    in good                faith          deems                   necessary:                          (i)
             to      protect             Owner                against,                   or     compensate                              Owner                 for,           any       damage,                          cost,             expense
             and        loss       attributable                          to     the           foregoing;                    (ii)     to        cure            any            breach,                  default                    or     failure              to

             perform;              or       (iii)     to     assure                 the        payment                     of claims                    of third              persons.                        Owner                    shall          have
             the       right       to          apply              such          sums                in     any         manner                      as         Owner                  may               in     good                 faith            deem
             necessary                   or         proper              to secure                  protection                      from           or        to satisfy                 such             claims,                    and          Owner
             shall          not         be          deemed                     in        default               by      reason                     of         withholding                           payment                          under               this
             Agreement                         in accordance                             with        the           foregoing.




             GMPJ0082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                            INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 56 of 122 PageID
                                                                     RECEIVED      #: 6501/25/2021
                                                                               NYSCEF:

                                                                                                                                                      Staten            island        Mall        - Seed                                Macys
                                                                                                                                                                                                                  Money
                                                                                                                                                                                                                 Contract                # 019
                                                                                                                                                                                           Aurora             Contractors,                    inc.

                                                                                                           ARTICLE                       11
                                                                                                  FINAL                   PAYlVIENT


             Section               11.1          Conditions                         Precedent                          to       Final              Payment.                      The            final         payment                    of    all
             amounts                due         and        owing              by     the        Owner                  to     the        Contractor                       under             this          Agreement                          (the
             "Final          Payment")                    shall          be        made               only          after         all        of      the      following                 shall             have            occurred:


                                                11.1.1            All        of     Contractor's                            obligations                      under             this         Agreement                             and         the
             other          Contract                  Documents                       shall             have              been               fully         performed,                       including                      punch               list

             work,          but        excluding                  Contractor's                         subsequent                             responsibility                       to       correct                 defective                   or

             nonconforming                            Work,             as        provided                 in Section                    12.2.2               of the           General                    Conditions,                        and
             to    satisfy          other             requirements,                         if any,                which            necessarily                          survive                Final          Payment.


                                                 11.1.2           A final            Application                          for       Payment                      and        a final               accounting                       for        the
             Cost          of the        Work            shall          have          been             submitted                      to the             Owner             and          Owner's                  accountants
             or    representatives                             shall         have          completed                          such             review              or     audit            thereof               as        they          shall
             deem            appropriate.                       The          Contractor                       shall             submit                the        final         Application                       for         Payment
             within          forty-five                  (45)           days          after                Final            Completion                           of      the       Work,                     along            with            the
             consent              of     Contractor's                        surety             (if    any)            to       Final             Payment.


                                                 11.1.3           The             Contractor                      shall         have              delivered                to the            Owner               final            waivers
             of    lien,      in the            form           approved                    by         Owner,                duly         executed                       and       correctly                    completed                       by
             Contractor                    and           all     Subcontractors,                                    sub-subcontractors,                                          Vendors                      and           suppliers
             entitled          to      file      liens         against               the        Project                or       any          part          thereof,              and        who              have           furnished
             at    least          Five         Thousand                      and      00/100                  Dollars                 ($5,000)                   of     labor,             services                  or     materials
             to    the       Project.


                                                 11.1.4           The             issuance                   of     a permanent                              certificate                   of     occupancy                        for        the
             Project              and           any        other             permits,                  licenses                   or         approvals                     required                     by      the          Contract

             Documents,                         unless            the         issuance                      of      such            permanent                           certificate                     of     occupancy                         or
             other          permit,             license            or        approval                  shall           be       withheld                    or    delayed                  due          to     no         fault         of    the
             Contractor                   or     anyone                 working                 under               Contractor.


                                                 11.1.5                Submittal                      of         any          and             all        as-built                documents,                            training                  or
             operation                   manuals,                  warranties,                         guarantees,                            attic           stock            and              any          other            closeout
             documents                     or     items           required                 by         the         Contract                    Documents.


             Section                11.2          Amount                     of     Final             Payment                          The           amount                of the               Final         Payment                    shall
             be       calculated                 as      follows:


                                                   11.2.1              There            shall               first         be        determined                           the       Cost                 of     the          Work,               as
             substantiated                       by       Contractor's                      final           accounting                            and       adjusted                  to        reflect         the          results             of

             the       review            or      audit          conducted                       by     the          Owner's                    accountants                        or        representatives.


                                                   11.2.2              There           shall            be          added               to        such           amount               the         Contractor's                          Fee.




             GMP_10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                   INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 57 of 122 PageID
                                                                     RECEIVED      #: 6601/25/2021
                                                                               NYSCEF:

                                                                                                                                                            Staten        Island            Man - Seed                    Money                Macys
                                                                                                                                                                                                                         Contract               # 019
                                                                                                                                                                                                Aurora                Contractors,                    Inc.

                                                      11.2.3               If such                sum             exceeds                    the        Guaranteed                          Maximum                          Price,            there
             shall       be       subtracted                    from            such             sum              the      amount                  by        which            it exceeds                        the         Guaranteed
             Maximum                     Price.


                                                      11L2.4          There                 shall            be         subtracted                      from           such           sum            all        amounts,                    if any,
             for      which             the          Owner                has          withheld                     approval                      for        payment                   as        provided                      in       Section
             8.3.2       of       the         General                Conditions.




                                                                                                                  ARTICLE                         12
                                                                                           ACCOUNTING                                       RECORDS


             Section               12.1              Records                    to         be         Maintained                             by         Contractor.                            The              Contractor                      shall

             keep        full      and            detailed                accounts,                         and          exercise                  such              controls               as        may              be      necessary
             for     proper             financial               management                                  under               this        Agreement.                         All        accounting                          and        control
             systems               shall             be       satisfactory                        to        the          Owner.                    Owner,                the          Owner's                     lender                and           the
             Owner's               accountants                        and             representatives                                    shall          be       afforded                 access                 to,         and        shall          be
             permitted                  to        copy          and             audit,                the          Contractor's                             records,                books,                  correspondence,
             instructions,                           drawings,                       receipts,                          subcontracts,                                purchase                        orders,                    vouchers,
             memoranda                          and          other           data               relating                 to        this          Agreement,                        and           the            Contractor                      shall
             preserve                  all     of     the       same                 for        a period                      of    five          (5)        years            after          Final              Payment,                       or      for

             such        longer                period           as         may             be         required                     by     applicable                    law,          rule           or     regulation.


             Section               12.2               Audit          and             Approval                        for           Final          Payment.                         The         Owner's                   accountants
             or      representatives                            may  conduct       such                                            review               and          audit           of      the            Contractor's                            final

             accounting                      as       they      deem   appropriate                                            and          will        report           the        results                of     same               in writing
             within           thirty           (30)          days           after               delivery                 of        the        final           accounting                        to        the         Owner                by         the

             Contractor;                       provided                    however                          that           if       Owner                   is     unable                 to         complete                        the            final

             accounting                      within           such          thirty              (30)         day           period,                Owner                may          close             out         the         Agreement
             and       pay        Contractor                     based                 on        the         proposed                        amount,                   subject              to the              final         accounting
             being         completed.                           In        the         event                 the         subsequent                           final       accounting                             reveals                 that          the
             proposed                   amount                is not            accurate,                         Contractor                      shall           refund             any         amount                      in excess                      of
             the       actual                final         accounting                           amount                   to        Owner                within            fifteen                (15)            days              of      Owner

             notifying             Contractor                        of    such                 deficiency.                        Based                upon           such           Cost             of       the      Work              as         the
              Owner's                   accountants                             report                 to           be             substantiated                              by          the             Contractor's                              final

             accounting,                       and         provided                   the         other             conditions                         of     Section                10.1            have              been             met,          the
             Owner's               Representative                                    shall,            within              fifteen                (15)           days          after            receipt                 of     the         written
              report         of    the          Owner's                   accountants,                             either               approve                  for     Final            Payment                       by     the         Owner
             such        amount                      as      shall          be         due             Contractor                          (in     which               event              the         Owner                   shall            make
             payment                    to      the          Contractor                          of         such              amount                    within           thirty             (30)               days            after            such

             approval),                  or       notify        the         Contractor                            in writing                 of     the          Owner's                  reasons                 for         withholding
             such        approval                     as      provided                     in     Section                  8.3.2             of    the           General                 Conditions.




             GMP._10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                 INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 58 of 122 PageID
                                                                     RECEIVED      #: 6701/25/2021
                                                                               NYSCEF:

                                                                                                                                                       Staten            Island           Mall       - Seed                                Macys
                                                                                                                                                                                                                        Money
                                                                                                                                                                                                                       Contract             # 019
                                                                                                                                                                                               Aurora               Contractors,                Inc.

             Section                12.3             Costs              Incurred                      Subsequent                               to      Final             Application                                for          Payment.
             After          Contractor                    delivers              the         final          Application                        for     Payment                     to the             Owner,                     Contractor
             shall           not         be         entitled             to          make                  any       further                   Applications                            for       Payment                          or       to    be
              reimbursed                      or      paid           any           sum               not         claimed                  in        the         final         Application                            for         Payment;
             provided,                   however,                 that          if,     subsequent                            to        the         delivery                 of     the         final           Application                      for
              Payment                and            at the        Owner's                    written              request,                    the      Contractor                        incurs                costs             described
             in      Article             7         (and          not       excluded                         by       Article                  8),         the          Owner                 shall               reimburse                      the
             Contractor                      for     such            actual                costs            and          the            Contractor's                          Fee            applicable                          thereto           (if

             any)          on      the        same           basis            as       if such               costs            had             been          incurred                    prior         to        Final            Payment,
             but      not         in excess                  of the           Guaranteed                            Maximum                          Price.


                                                                                                             ARTICLE                          13
                                                                                                           TERMINATION


             Section                13d             Termination                            by        the         Contractor.


                                                   13.1A           Grounds                       for         Termination.                             The          Contractor                        may             terminate                  the
             Agreement                        if the          Work              is     stopped                     for        a        period             of      ninety                (90)          consecutive                           days
             through               no        act      or     fault         of        the        Contractor                        or     a Subcontractor,                                    sub-subcontractor                                     or
             their         agents              or     employees                         or       any         other                persons                  performing                        portions                      of     the      Work
             with          the     Contractor,                    for       any            of    the         following                    reasons:


                                                                     13.1.1.1                        issuance                     of      an          order              of        a      court                or         other          public

              authority              having               jurisdiction                     over            the      Project;


                                                                     13.1.1.2                     An          act        of         government,                               such              as         a        declaration                    of
              national               emergency,                          making                       any           material                    progress                      or         performing                              the       Work
              impractical;                    or


                                                                     13.1.1.3                        Failure             of       the         Owner               to     make                payment                        as     provided
              in this            Agreement;                      provided                   such            payment                      is not           subject                 to     a good                 faith            dispute.


                                                    13.1.2              Notice                  of     Termination,                                 Right               of        Recovery.                            if       one        of   the
                                                                                                                                                                                   days'
              above              reasons              exists,            the          Contractor                     may,               upon          seven              (7)                         prior            written            notice
              to     the         Owner,              terminate                  the          Agreement                        and              recover                 from            the       Owner                    payment                for
             Work            completed                       (including                    Contractor's                            Fee          earned                  to     date)            through                     the         date        of

              termination,                     and         any         actual              and         reasonable                         costs            incurred                    in terminating                            the     Work.
              The          Owner              shall          have             no       further               liability              to        the         Contractor                      on         the            Project.                Such
              payment                shall           be      Contractor's                            sole         and         exclusive                    remedy                      under            this          Section               13.1.


              Section               13.2            Termination                            by        the         Owner                  for         Cause.


                                                    13.2.1              Grounds                       for         Termination.                                  The           Owner                  may             terminate                  this
             Agreement                        at    any        time           if the            Contractor:




              GMP 10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                               INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 59 of 122 PageID
                                                                     RECEIVED      #: 6801/25/2021
                                                                               NYSCEF:

                                                                                                                                                   Staten            Island          Mall        - Seed                                 Macys
                                                                                                                                                                                                                      Money
                                                                                                                                                                                                                     Contract               # 019
                                                                                                                                                                                         Aurora                 Contractors,                   Inc.

                                                                         13.2.1.1                  Falls             to        perform              any              of      its        material                          obligations
             under          this          Agreement                        or        any        Contract                  Document;                     or


                                                                         13.2.1.2                  Becomes                       financially                 insolvent                   and              is        unable,                upon
             request                 by        the        Owner,                to     give            the        Owner               reasonable                      assurances                               of       its      ability          to
             meet          its         obligations                       hereunder,                          or      is    the         subject                of      a      voluntary                          or        involuntary
             bankruptcy                         proceeding.


                                                      13.2.2            Notice               of        Termination;                          Owner's                      Rights.                    When                     any      of      the
             above              reasons                       exist,       the          Owner                  may,             without             prejudice                      to     any                 other              rights           or
             rernedies                    of    the         Owner               and        after         giving                the    Contractor                     seven               (7)        days                prior         written
             notice            and             opportunity                       to        cure          not         to        exceed             thirty             (30)          days             from                 the         date         of
             such          notice,                    terminate                 this         Agreement                         and         may:


                                                                         13.2.2.1                  Take             possession                     of        the          Project              and             Jobsite                and         of
             all      materials,                    equipment,                   tools,            and            construction                    equipment                        and         machinery                            thereon
             owned-lay-the4erhacts                                                   or to         which             Owner                 has     any          ownership                        rights                 or      interests;


                                                                         13.2.2.2                  Accept                  assignment                         of          subcontracts                                  pursuant                  to
             Section              5.4           of      the       General               Conditions;                        and


                                                                         13.2.2.3                  Finish             the            Work          by        whatever                     reasonable                                method
             the       Owner                   may          deem           expedient;                        and/or


                                                                         13.2.2.4                  Pursue                  any         other            rights             or      remedies                             provided                for
             under             this            Agreement,                       the         Contract                  Documents                         or     available                    at           law,            in     equity            or
             otherwise.


                                                      13.2.3             Contractor                           Not          Entitled               to         Further                 Payment                             Until          Work
             Finished.                          When              the       Owner                  terminates                        the     Agreement                           for      one                 of        the         reasons
             stated             in        Section                 13.2.1,              the         Contractor                        shall        not         be          entitled                  to         receive                further
             payment                   until          the       Work            is completed                         by         Owner,            and          all        damages                        or     costs               suffered
             or    incurred                    by     the         Owner              have          been            deducted                  from            the      amounts                       otherwise                        due       the
             Contractor.                             In     the        event            of        such            termination,                     the         Contractor                           shall               immediately
             deliver             all           Project,                Jobsite               and             Work              documents                      and            deliverables                                over          to      the

             Owner,                  including                    permit              drawings,                     record             drawings,                     subcontractor                                   and            supplier

             files,       permit                files         and       other          files,           documents                      and         materials                    as      may               be         requested                  by
             Owner.


             Section                  13.3            Suspension                           by      the            Owner              for     Convenience.


                               13.3.1                 Owner's               Right                 to     Suspend                      Work.              Owner                  may            at        any            time,         with        or
             without             cause,                   suspend,               delay,                reduce             or interrupt                  performance                            of all              or     any         portion
             of the        Work                 for       such          period             or     periods                 as     Owner             elects             by        giving              Contractor                        written
             notice            specifying                       which            portion                of     the        Work             is to        be         suspended                         and                the      effective
             date         of      such                suspension.                       Such             suspension,                         delay             or         interruption                          shall            continue




             GMP-10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                                    INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 60 of 122 PageID
                                                                     RECEIVED      #: 6901/25/2021
                                                                               NYSCEF:

                                                                                                                                                                     Staten              island          Mall          - Seed                                   Macys
                                                                                                                                                                                                                                         Money
                                                                                                                                                                                                                                        Contract                # 019
                                                                                                                                                                                                                Aurora               Contractors,                     Inc.

             until          Owner                terminates                           such             suspension,                             delay              or       interruption                          by          written                   notice           to
             Contractor.                         No          such              suspension,                              delay,                interruption                          or        reduction                        by           Owner                shall
             constitute                    a breach                         or default                    by      Owner                 under              the          Contract                     Documents.                               Contractor
             shall           continue                       to         diligently                    perform                  any             remaining                         Work                that             is        not          suspended,
             delayed,                    reduced                        or     interrupted                           and          shall            take           all       actions                   necessary                              to        maintain
             and           safeguard                        all     materials,                       equipment,                          supplies                    and            Work              in progress                            affected                  by
             the       suspension,                                delay,             reduction                       or      interruption.




                                  13.3.2                    Adjustments                                        for            Increased                                Cost                   of          Performance.                                                An
             adjustment                         shall              be         made              for        increases                      in       the          cost           of    and             if applicable,                                    time           for
             performance                               of        the         Agreement                           (per         the            Change                    Order                  provisions                        of      Article                 11       of
             the           General                 Conditions),                             including                       the         Contractor's                            Fee            on         the             increased                       cost           of

             performance,                               caused                       by         Owner's                      suspension,                               delay                  or      interruption;                                provided,
             however,                      no      adjustment                              shall            be         made              to        the         extent:               (i)       that             performance                               is,      was
             or      would                have               been              so         suspended,                              delayed                  or        interrupted                          by          another                     cause               for
             which                the      Contractor                           is responsible                               or     over             which                the        Owner                  had              no        control;                 or     (ii)
             that           an       equitable                          adjustment                          is       made               or      denied                    under                another                       provision                     of        this
             Agreement.


             Section                     13.4               Owner's                       Right             to         Terminate                          for        Convenience.                                         The            Owner                  may,
             at      its     option,              terminate                         this        Agreement                           for        its       convenience                                by     written                   notice               thereof
             to      the          Contractor.                                Upon           receipt                    of     any         such                 notice,               Contractor                            shall,             unless                 the
             notice               directs               otherwise,                          immediately                             discontinue                            the           Work               on          that            date,             and,           to
             the           extent               specified                       in        the          notice,                place                  no         further                  orders                  or        subcontracts                               for

             materials,                     equipment,                                services,                        or      facilities,                      except                   as         may                 be           necessary                        for
             completion                         of such                     portion             of the            Work              as        is not            discontinued;                               promptly                         make               every
             reasonable                          effort                to     procure                     cancellation                         upon               terms                  satisfactory                           to      Owner                   of      all
             orders                 and           subcontracts                                  to         the          extent                 they              relate              to         the             performance                                of        the
             discontinued                              portion                 of     the            Work              and          shall             thereafter                         do        only           such               Work                as        may
             be        necessary                            to      preserve                         and          protect                 work                 already                   in        progress                       and             to      protect
             materials                      and                  equipment                           at          the          Jobsite                     or         in        transit                   thereto.                            Upon                such

             termination,                         the             obligations                         of       the          Agreement                           shall           continue                        as        to      portions                    of     the
             Work                already                performed                           and             as       to      bona              fide            obligations                          assumed                          by       Contractor
             prior           to     the         date               of        termination.                            Upon               termination,                            Contractor                            shall            be         entitled               to
             be       paid           the        full        eest             amount                   of all           Work              performed                         in accordance                                  with              the        Contract
             Documents                           by         Contractor                          to     the           date          of termination                               not           previously                          paid            for,        plus          a
             pro           rata         portion               of the             Contractor's                               Fee         earned                  on        account                   of such                    Work               and           such
             other                costs            incurred                          by     Contractor                              as        a result                    of        the        termination.                                  The          Owner
             shall           have           no          further                 liability              to        the         Contractor,                         including                         consequential                                  damages,
             lost          profits          or          other                damages                       arising                out         of     such              termination.                               If,      as          of     the         date           of
             such            termination,                               Contractor                         has            properly                   prepared                       or        fabricated                          off        the          Jobsite

             any            goods               for         subsequent                               incorporation                             in         the        Work,                    and          if    Contractor                              delivers
             such             goods               to        the             Jobsite              or        to        such           other                place             as        the            Owner                  shall             reasonably
             direct,              then           Contractor                           shali            be         paid            for        such              goods                or        materials.                          in        the         event            of




             GMP-10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                     INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 61 of 122 PageID
                                                                     RECEIVED      #: 7001/25/2021
                                                                               NYSCEF:

                                                                                                                                                               Staten            island         Mall         - Seed                            Macys
                                                                                                                                                                                                                            Money
                                                                                                                                                                                                                           Contract            # 019
                                                                                                                                                                                                      Aurora             Contractors,                 Inc,

             such          termination,                       the        Contractor                         shall             immediately                               deliver               all        Project,              Jobsite            and
             Work           documents                         and         deliverables                            over              to        the         Owner,                     including                 permit                drawings,
             record             drawings,                      Subcontractor                                and               supplier                    files,               permit               files           and         other           files,
             documents                    and           materials                  as       may              be          requested                           by      Owner.



             Section               13.5                Limitations.                             Owner                    shall                have              no            liability             to      Contractor                    or      any
             Subcontractor                             or         Vendor,                  and              neither                      Contractor                            nor         any              Subcontractor                          nor
             Vendor              will      make                and            collectively                        hereby                   waive                   any          claim           for         (a)         compensation,
             expenses,                   additional                      fees         or    anticipated                                 profits              for        unperformed                           Work,              (b)     delays,
             acceleration                       or          disruption                     except                      as           otherwise                             permitted                          by          the         Contract

             Documents,                           (c)        lost          business                         or         other                  opportunities,                                (d)          special,                indirect              or
             consequential                           damages                     or        losses                 or          loss            of        use,            (e)      impaired                    bonding                  capacity,

             (f)     unabsorbed,                        unrealized                         or         other              overheads,                                or         (g)     General                     Condition                 Costs
             attributable                  to        a termination                          for        convenience,                                      suspensions,                               reductions,                      delays            or
             interruptions                      for          convenience                              (except                      to         the         extent                    provided                  in        Section             13.3.2

             hereof)            or breach,                     or    a termination                               for      default                   by       Owner,                  and            in no         event          shall         there
             be      any        increase                    in the         Guaranteed                              Maximum                              Price            (except                as        expressly                    provided
             in    Section               13.3.2               above)               or       Contractor's                                  Fee            as        a result                of        any           of     the        foregoing
             Owner              elections                   under             Sections                  13.2              or        13.3            above                or         due       to      any          other         delays.              All
             amounts               payable                    by     Owner                 shall            be         subject                     to     Owner's                     right          of      audit         and         offset.




                                                                                                              ARTICLE                               14
                                                             GENERAL                            MISCELLANEOUS                                                       PROVlSIONS


             Section               14.1           Entire                 Agreement.                                    This              Agreement,                              which               includes                  the       exhibits
             referenced                    herein                  and         attached                     hereto,                      sets            forth           the          entire               understanding                          and
             agreement                    of     the          parties             with           respect                      to        the        subject                matter                of this             Agreement                     and
             supersedes                    all        prior         agreements,                             representations,                                         warranties,                         understandings                           and
             commitments                          of        the      parties,              whether                       oral             or written,                     with            respect              thereto.


             Section               14.2              Assignment.                                This             Agreement                               may            not         be     assigned,                      in whole               or      in

             part,         by     the          Contractor                       without                 the            prior             written                   consent                 of        Owner.                     Owner            may
             freely         assign              this         Agreement                      to        any          affiliate                    or to          any            other         assignee;                      provided               that

             any       such         assignee                       (or     other           affiliate)                    is        of     sufficient                          financial                   means                 and       agrees
              in writing            to     fulfill           all    obligations                        of        Owner                   under                this        Agreement.


             Section               14.3              Notices.                    Any             notice                required                     by         the        terms               of      this         Agreement,                     and

             any       other            notice,              in order              to      be         effective                         shall           be         in writing                 and           shall         be      personally
             delivered,                 forwarded                        by      registered                         or        certified                      mail             (return               receipt              requested),                     or

              by     overnight                  dehvery                  service                to:




             GMP_10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                   INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 62 of 122 PageID
                                                                     RECEIVED      #: 7101/25/2021
                                                                               NYSCEF:

                                                                                                                                               Staten           Island        Mall        - Seed                              Macys
                                                                                                                                                                                                          Money
                                                                                                                                                                                                         Contract                 # 019
                                                                                                                                                                                   Aurora           Contractors,                     Inc.

                            To the                 Owner:                            GGP               Staten               Island               Mail,           LLC,              a      Delaware                           limited

                                                                                     liability           company
                                                                                     110          N. Wacker                   Drive

                                                                                     Chicago,                      IL 60606
                                                                                     Attn:          Vice            President,                   Development


                            With             a copy             to:                  Legal             Department
                                                                                     Corporate                      Contracts                  and        Securities

                                                                                     110          N.     Wacker               Drive

                                                                                     Chicago,                      1L 60606


                            To         the         Contractor:                       Aurora                 Contractors
                                                                                     100          Raynor              Avenue

                                                                                     Ronkonkoma,                            New           York           11779

                                                                                     Attn:         Attn:            Frank          Vero/Anthony                             Higgins
                                                                                     Ph:         631.981.3785




             Notice         personally                         delivered              shall            be     effective              on        the       date             of delivery.                    Notice               given

             by     mail         or        overnight                   delivery              shall            be      effective                 on       the         date           of        receipt               or,       in     the
             absence                 of     delivery,                 on     the      date          of       mailing.


             Section              14.4               Governing                       Law;           Disputes.                     This         Agreement                         shall         be        governed                    by,
             construed                    and         enforced                  in        accordance                     with            the         laws            of     the          state           in        which             the
             Project             is located                without              regard              to       its    choice           of        law       or     conflicts                of     laws           provisions.
             THE          PARTIES                         HERETO                    SHALL                   AND          THEY                  HEREBY                       DO WAlVE                           TRIAL                 BY
             JURY           IN         ANY            ACTION,                       PROCEEDING                                OR          COUNTERCLAIM                                           BROUGHT                             BY
             EITHER                    OF            THE              PARTIES                       HERETO                        AGAINST                            THE               OTHER                       ON              ANY
             MATTERS                        WHATSOEVER                                    ARISING                     OUT          OF  OR IN ANY                                   WAY CONNECTED
             WITH           THIS              AGREEMENT,                                  OR           FOR           THE           ENFORCEMENT                                         OF        ANY               REMEDY
             UNDER                ANY                STATUTE,                        EMERGENCY                               OR           OTHERWISE.                                   If either               party               shall
             institute           any          action             or    proceeding                      against              the      other             relating             to     the        provisions                      of     this

             Agreement,                       the         prevailing                  party            in the     action     or proceeding        shall                                               be           entitled             to
                                                                                                       attorneys'
             recover             all       reasonable                       costs          and                          fees   from  the   unsuccessful                                                            party.


             Section              14.5               Reformation                           and           Severability.                            If     any          provision                  or        term              of      this
             Agreement                       shall,        to        any      extent,             be         held       invalid,               illegal          or     unenforceable                               by        a court
             of    competent                       jurisdiction,                   that       provision                  shall,           to     the          extent             possible,                    be        modified
             in    such          a        manner                as     to     be      valid,             legal         and         enforceable                         but        so      as        to     most               nearly
             retain        the            intent          of     the        parties            as        expressed                      herein,               and          if such             a modification                              is
             not       possible,                   that         provision                 shall          be         severed              from            this        Agreement,                          and            in    either
             case          the         validity,                legality             and          enforceability                         of      the          remaining                    provisions                        of      this
             Agreement                       shall        not         in any          way          be        affected              or     impaired                   thereby.




             GMP       10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                             INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 63 of 122 PageID
                                                                     RECEIVED      #: 7201/25/2021
                                                                               NYSCEF:

                                                                                                                                                                      Staten          island            Mall        - Seed                                  Macys
                                                                                                                                                                                                                                      Money
                                                                                                                                                                                                                                     Contract                # 019
                                                                                                                                                                                                             Aurora            Contractors,                       inc.

             Section                  14.6              Waivers;                      Modification;                                       Amendment.                                       No         waiver,                 modification                           or
             amendment                           of     any        term             or     condition                           of this           Agreement                            shall            be        valid         or     of any                 force
             or      effect              unless                   made                in       writing,                        signed                  by         the            parties                    hereto               or         their              duly
             authorized                     representatives,                                   and             specifying                        with             particularity                         the            nature           and             extent
             of     such           waiver,                   modification                           or     amendment                                  and             the        Shopping                          Center(s)                     to     which
             it applies.                   The           failure               of     a party                  at         any         time            to     exercise                       any         of       its     rights             or        options
             under           this        Agreement                            shall           not        be         construed                         to     be        a waiver                       of such             rights            or        options
             or      prevent                 such              party            from               subsequently                                  asserting                          or      exercising                         such              rights              or

             options,                 nor             shall            it     be         construed,                             deemed                       or         interpreted                           as          a     waiver                   of,         or
             acquiescence                               in,       any          such            breach                      or        default                 or        of      any              similar                breach               or         default

             occurring                   later.


             Section                  14.7               Independent                                Contractor.                              The             parties                  are        independent                          contractors
             with         respect                to      one            another                and              this           Agreement,                              and           shall             not         be     construed                          to    be
             the      agent                of     the           other               under                any              circumstances,                                       Neither                  party             shall             make                  any
             express                  or         implied                    agreements,                              warranties,                             guarantees                                or        representations,                                    or
             incur          any          debt           in the               name             of     or         on         behalf                of        the        other,               or     be         obligated                  by        or         have

             any          liability             under              any          agreement                                 or        representations                                   made                  by      the         other             that            are
             not      expressly                       authorized                         in writing.


             Section                  14.8              Force                 Majeure.                          Neither                    party             shall             be          liable            for        any          Unavoidable

             Delay              or         failure                to         perform                     its         obligations                            under                   this          Agreement,                            except                     for
             obligations                     arising               under              Section                       14.11             (Indemnification)                                         and          the        obligation                     to      pay,
             if such            delay             or         failure            is caused                           by      a force               beyond                      such              party's                 control.


             Section                  14.9              Counterparts.                                    This              Agreement                             may             be        executed                      in    any          number                    of
             counterparts                             and          by         different                   parties                    on          separate                        counterparts,                                each           of         which,
             when            executed                        and            delivered,                    shall                be     deemed                      to        be        an        original,                and          all        of which,

             when            taken               together,                    shall           constitute                            but      one            and          the             same               Agreement.                            Delivery
             of     an       executed                        counterpart                        of        this            Agreement                              by      electronic                          mail         or     tele-facsimile
             shall         be        equally                 as        effective               as         delivery                    as         a manually                           executed                      counterpart                          of       this
             Agreement.                               An       electronically                              executed                         counterpart                               shall             not         affect            the             validity,

             enforceability                            and         binding                 effect               of this               Agreement


             Section                  14.10                  Compliance                                    with                      Laws                         The                    Contractor                             assumes                              all

             responsibility                            for      complying                       with                all        federal,                state                and            local            statutes,                 ordinances,
             codes,                rules              and          regulations,                           including                        all        local             building                      codes              and          regulations,
             applicable                     to        the       performance                                    of        the         Work.                  The             Contractor                        shall            not      violate                   any
             zoning,                  setback                     or         other             locational                             requirements                                    of        applicable                          laws,              codes,
             ordinances                          and           regulations,                              any              special                site             plan              conditions                          applicable                      to        the

             Work,            or      any          recorded                     covenants                            of which                    the         Contractor                          has          knowledge.                          Without

             limiting              the       foregoing,                        Contractor                           shall             comply                 with             all        statutory                  and/or             contractual

             safety            requirements                                 (including                   ADA,                  OSHA               and             state             equivalents                          thereof)                applying
             to     its    Work              and/or                those              initiated                     by     the            Owner                  of     its      insurance                         carriers,                and          report
             within             twenty-four                            hours             to        the          Owner                     any              injury             to         persons                    or        property                   at       the
             Jobsite.                       Contractor                          shall                ensure                         compliance                                with              all         requirements                                of         the




             GMP_10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                              INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 64 of 122 PageID
                                                                     RECEIVED      #: 7301/25/2021
                                                                               NYSCEF:

                                                                                                                                                                      Staten             Island         Mall        - Seed                              Macys
                                                                                                                                                                                                                                        Money
                                                                                                                                                                                                                                       Contract            # 019
                                                                                                                                                                                                           Aurora               Contractors,                     Inc,

             immigration                         Reform                   and         Control                     Act             of     1986,                 including                  all     substantive                           and          clerical
             I-9         requirements,                               and             shall                 comply                      with              all     such              other                applicable                          statues                or
             regulations                         regarding                          immigration.                                       With               respect                  to         any         construction                               related

             disability                   statutes,                  regulations                                 and             requirements,                               Contractor                        acknowledges                                     and
             agrees               that           all        dimensions,                              slopes,                      grades,                  clearances                           and       similar                 requirements
             are         strictly           enforced                          and         normal                      construction                              tolerances                       shall             not         excuse                 proper
             compliance                         with           such            requirements                                   by         Contractor.


             Section                  14.11                               Indemnification.                                                               The           Contractor                             hereby                     agrees                    to
                                                                                                                                                                        "indemnify"
             indemnify,                     defend                  and         hold            harmless                           (collectively,                                                             or "indemnification")
             the      Owner,                    and           its    direct               and              indirect                 parents                    and          subsidiaries,                          any          of      its     affiliated

             entities,                   successors                            and              assigns                          and           any              current                  or       future                 director,                   officer,
             employee,                          partner               or        member                           of         any          of        them              ("Indemnified                             Parties"),                     from              and
             against                all    claims,      actions,                            suits,                damages,                          losses,                 liabilities                 or expenses                           (including
                                              attomeys'
             reasonable                                                         fees                 and              litigation                   expenses)                           against                any          of          them           to         the
             extent                 arising                    from                 for              (i)         any              negligence,                            willful                misconduct                             or       fraud              of

             Contractor,                         any           Subcontractor                                     or         Vendor                  relating                 in        any       way           to        the           Work            or        the
             preparation                         of         the          Contract                      Documents;                                  (ii)        any          claim               made               by      any               employee,
             Subcontractor,                                  Vendor                   or          agent                     of         Contractor                        arising                  from              or         related                to         the

             employment,                               contractor                     or        agency                       relationship                            with         Contractor;                        or        (iii)        arising              out
             of     or      resulting                   from             the        performance                                    of     the            Work,              except                to     the         extent                  caused               by
             an       Indemnified                            Party's                own               negligence                              or     willful           misconduct;                            or        (iv)      arising              out         of
             injuries               to      persons                      or     darnage                      to            property,                      to    the         extent               caused                  by       the          negligent
             acts          or     omissions                         of        Contractor,                             its     consultants,                            Subcontractors,                                    Vendors,                    agents
             or     employees.                                Contractor                         shall                 deliver                the              Work          to         Owner              free            and              clear          of      all

             liens,             claims               and            encumbrances,                                           and         shall             defend,                 indemnify                        and          hold           harmless
             Owner               from            all        such          liens,           claims                     and          encurnbrances                                  arising               out        of the              Contractor's
             performance                               of     the        Work,                  or         the         work              of        any          of     Contractor's                           employees,                             agents,
             Subcontractors                                   or     consultants,                                including                     reasonable                              attorney's                   fees             and         litigation
             expenses                      incurred                  by        the         Owner                      as          a result                of     such             claims.                Contractor                          shall         bond
             off      or    otherwise                         discharge                     any              lien            or     encumbrance                                  filed          against              the          Project              within
             ten         (10)        days              of written                   demand                        by         Owner,                   whether                     or     not        Contractor                         believes                  the
             claim              is valid.


             Section                     14.12                Confidentiality.                                              The          Contractor                          shall              not       publish,                      permit              to         be

             published,                         or          distribute                    for          public                     consumption                               or         otherwise,                        any            confidential

             information,                         oral         or written                       concerning                              the         Work,              the         Owner,                the         Owner's                    Affiliates,
             the         Contract                    Documents,                            contract                         performance,                               or        any          other           matter               or        information

             relating                to         or      developed                          for             the             Project                 without                  the          prior          written                 consent                    of      the

             Owner,                   except                   to         Contractor's                                     attomeys,                           counsel,                   representatives                                     and           other
             advisors                     and        Subcontractors,                                       all        of     which                 the         Contractor                       shall         ensure                   are     subject                  to
             this        same              confidentiality                            restriction                            as         set        forth          in this              Agreement.



             Section                     14.13                Survival                      All            representations                                      and         warranties                        of     Contractor                        herein
             and           any            provision                      of      this            Agreement                                which                  obligates                       the       Contractor                          after             .the
             termination                          or         expiration                      of            this             Agreement                            shall            be          deemed                      to       survive                  such




             GMP_10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                                  INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 65 of 122 PageID
                                                                     RECEIVED      #: 7401/25/2021
                                                                               NYSCEF:

                                                                                                                                                                 Staten            Island               Mall        - Seed                                 Macys
                                                                                                                                                                                                                                        Money
                                                                                                                                                                                                                                       Contract            # 019
                                                                                                                                                                                                             Aurora             Contractors,                   Inc.

             termination                        or          expiration.                           In         addition                  to        the            foregoing,                             each              of        the            following
             provisions                    shall            survive               termination                             or     expiration                         of this         Agreement:                                  (i)         Section            3.2

             (Warranty);                       (ii)     Section                   3.5        (Insurance);                             Section                   3.9         (Hazardous                                 Materials);                      Article
             5      (Contractor's                              Fee;               Guaranteed                                   Maximum                          Price);                 Article                        12          (        Accounting
             Records;                      Article                  13           (Termination);                                     and              Article                 14             (General                            Miscellaneous
             Provisions.


             Section                 14.14                  Rights                and            Obligations                              Cumulative.                               The                duties                and             obligations
             imposed                      by          the       Contract                         Documents                             and               the          rights                 and              remedies                            available
             thereunder                        shall           be          in     addition                    to      and            not        a        limitation                    of         any          duties,                      obligations,
             rights           and          remedies                        otherwise                        imposed                   or       available                     by        law.


             Section                 14.15                  Corporate                        Status                  and             Qualification                            of        Contractor.                                    The          persons

             executing                    this          Agreement                           on         behalf              of       the        Contractor                          represent                           and             warrant              that:

             (i)      the           Contractor                         duly             organized                              and             is        qualified                     and                  licensed                        to      perform
             construction                        services                       in the            state             in which                   the            Project              is        located;                    (ii)          is    authorized
             to     do      business                     in such                 state;            (iii)       all        of     Contractor's                          franchise                            and         other               taxes          have
             been           paid          to     date;              (iv)        such             persons                   are        duly           authorized                         to        execute                     and            deliver          this

             Agreement;                         and           (v)      the         execution                         and            delivery                  of this          Agreement                                 does                not     conflict
             with        or     otherwise                      violate                 and         other              agreement                            to       which              the             Contractor                           is a party.


             Section                 14.16                  Further                    Documents.                                The           Contractor                          agrees                    to        provide                   from       time
             to     time            such              certificates,                     documents,                               reports                   and          information,                                including                      forms            of
             Contractor                        performance                             letters               and           notices                   for        the         benefit                    of    the            Owner's                     lender,
             as       may            be          reasonably                            requested                          by        such              lender,                 or        any                 escrowee                          under           any
             construction                         loan          escrow                      or     title           insurer,                 and            to       cooperate                           with            any             such            lender,
             escrowee                      or          insurer                   to      the            fullest                 extent                   possible.                           If        requested                             by      Owner,
             Contractor                        shall          subordinate                              its         lien         rights              to        the       rights                of        any             lender                   furnishing
             financing                   for     the          construction                             of     the          Project.


             Section                 14.17                  Joint               and         Several                       Liability.                       If there               be         more                 than             one            person            or

             entity            constituting                         the          Contractor,                          the            liability                of      all     such                 persons                         or        entities             for
             compliance                         with          and           performance                              of the            terms                  of this         Agreement                                 shall               be     joint      and
             several.


             Section                     14.18              Project                    Management                                    System.                          The           Owner                      has            implemented                            a
             web-based                         project                management                                   system                 to        ensure              that            the            Project                  is delivered                      on
             time           and          within              budget.                    Contractor                             acknowledges                                 that             it has               received                        a copy            of
             the         General                  Growth                    /Proliance®                              Communication                                      Specifications,                                       and             Contractor
             agrees                 to     administer                           this        Agreement                               and             perform                 the          Work                  in       accordance                            with
             such           Communication                                       Specifications.



             Section                     14.19              Third               Party              Beneficiary.                                 The             parties                 agree                that             this          Agreement
             shall            not         be      construed,                           in        whole               or        in     part,              to      give          rise               to        any          rights,                  claims            or
             benefits                to        any           person,                   firm            or      entity                other               than           the         parties                       to        this            Agreement.
             There             are         no         third-party                     beneficiaries                            to this              Agreement                           and             no        terms                or        provisions




             GMP_10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                      INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 66 of 122 PageID
                                                                     RECEIVED      #: 7501/25/2021
                                                                               NYSCEF:

                                                                                                                                                  Staten              Island       Mall           - Seed                         Macys
                                                                                                                                                                                                                  Money
                                                                                                                                                                                                                 Contract            # 019
                                                                                                                                                                                         Aurora             Contractors,                 Inc.

             created             by        this        Agreement                        (except                as        set      forth       herein)                  may             be         enforced                 by    or      for

             the      benefit              of     any      person                  or     party             not      a signatory                     to        this     Agreement.


             Section              14.20                              Publicity.                          Contractor                shall          not           use         the         name               of     Owner,               any
             Drawings                  or         Specifications,                             or         any        other          information                          provided                     or      developed                       in
             connection                     with          the         Project                  in        any        award             applications,                              announcements,                                  press

             releases,                on        Contractor's                       company                     website,              Contractor                        sponsored                         websites               of any

             kind,         on         any             social           media                  websites                    or       services                     such             as          Twitter,                Facebook,
             Linkedln,                 Instagram,                       etc.,            or         in      any          advertisements                                or        for         any           other           purpose

             whatsoever,                        without               the         prior            written               consent             of       Owner                  in        its        sole       and        absolute
             discretion.


             Section              14.21               Waiver             of       Consequential                                 Damages.                        Except                 for         liabilities              arising
             under          Section                      14.11,             the         Contractor                          and           Owner                 waive              claims                   against                  each
             other         for        consequential                                damages                        arising            out       of         or     relating                    to     this         Agreement.
             This        mutual                   waiver               includes                      (1)       damages                     incurred                     by         the            Owner              for        rental

             expenses,                          for       losses                   of          use,               incorne,                 profit,                financing,                             business                     and

             reputation,                        and       for         loss          of        management                             or      employee                            productivity                         or        of     the
             services                  of         such               persons;                       and            (2)         damages                     incurred                          by          Contractor                      for
             principal                 office              expenses                           including                     compensation                                    of     personnel                         stationed

             there,         for         losses                  of     financing,                          business                   and            reputation,                             and           loss       of        profit
             This        mutual                       waiver             is        applicable,                           without              limitation,                          to         all         consequential
             damages                        due            to          either                 party's                    termination                             in         accordance                               with             this
             Agreement


                            This                Agreement                     is      hereby                  fully     executed                           electronically                           by          an     authorized
             representative                       of the         Owner              and the                 Contractor.




             GMP       10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                        INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 67 of 122 PageID
                                                                     RECEIVED      #: 7601/25/2021
                                                                               NYSCEF:



                                                                                                                             EXHIBIT              A


                               Northside                           Mall            Expansion                                &      Parking                   Garage:                  Phase                1       Release


                                                   CONTRACTOR:                                      Aurora             Contractors                     Inc.
                                                       PROJECT:                          Staten              Island             Mall       Expansion                   and     Parking                Garage




       SECTION                   I. SCOPE                   OF WORK


       The       Contractor                    shall        fumish               all     scaffolding,                  equipment,                 machiñery,                  labor,          materials,            supervision,                  tools,
       supplies,                services             and           insurance                  and          shall      perform              all other          acts       and     supply           all     other        things          (including,
       but      not         to all light,
                          limited           power,   heat,  water     and sanitary      facilities      for workmen                                                                                        during          the      progress               of
       the      Work) necessary       to build  a two story     (826)    space    precast       parking     garage,                                                                                      one       hundred             and     eighty
       eight   thousand       square    foot expansion      connecting       to the existing         mall,   a new                                                                                      outdoor           piazza          area    that
       will include    a eighty    five hundred     square    foot building,     landscape         and hardscape                                                                                          common               area        and      new
       sitework            including                   paving,              curb            and      gutter,            landscaping                   located           at Staten              Island          Mall       2655           Richmond
       Ave,          Staten     island,                  NY        10314.


       Scooe              of    Work            includes                   but         is     not        limited            to:


       The       Mall           expansion                   will      be     constructed                         in two           phases          and         identified           as    the          Northside              and      Southside.
       The       Northside                 will        be       under            construction                       prior       to the        Southside                of the      expansion.                  The        Northside               of the
       expansion                  will     begin             construction                      August               2016          and       is scheduled                 to    open           April       2018.        The         construction
       of the         Southside                   will      begin           spring/summer                             of 2017            and      schedule              to open           September                   of 2018.


       Phase              1 Release_;.


       Contractor                 will      build            the       Northside                    of      the       expansica                which           includes            approximately      one                        hundred              and

       eighty          eight        thousand                    square                 foot       two        level          expansion             that        also       include       an approximately                             new       twenty
       five     thousand                 food            court         located                on     the         second            floor       to the         expansion                 and      will     connect             to the         existing
       mall    building    as per the                               construction                        drawings                and      specifications.                 The       contractor               will      also       build       an eight
       hundred         and  sixty  two                                space             precast               parking              garage             that      will     include          two           elevator           banks,             egress
       stairwells       and a precast                                 bridge            that        will      connect              the parking                garage           second            level         to the        second           level        of
       the      new            Northside                 mall       expansion                      as      per       the     construction                    drawings           and       specifications.                    The         contractor
       will     also       build         the       piazza             common                   area          patio          and    landscaping       area                    to include        building     pad                  and       core       and
        shell        as    identified               per         the       construction                      drawings               and specifications.                         The      schedule     of values                   for this      release
        does     not       include          the        entire         Phase            I release.            Additional                releases        will     be required              to complete               this      phase.


        ICAP:          Contractor                  will       follow          the           requirements                      outlined          in the         ICAP          Contractors                  Package             dates          4-23-14
        Marcus             & Pollock                LLP.           This          document                    will     be      attached            to the         Exhibit        A.




        SECTION                   II. CONTRACT                              DOCUMENTS


                A.        Plans          entitled             Issued             for        Construction                     Drawings             as prepared                  by S9Architecture,                         containing
                          the     following                 sheets:


          Sheet            No.                    Sheet             Title                                                                                                                             Dated


                A-000.00                          COVER PAGE                                                                                                                                               01/22/2016
                A-001.00                          DRAWING INDEX                                                                                                                                             3/4/2016
                 A-002.00                         DRAWING INDEX                                                                                                                                             3/4/2016



                                                                                                                            Page       1 of     16
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                        INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 68 of 122 PageID
                                                                     RECEIVED      #: 7701/25/2021
                                                                               NYSCEF:



           A-003.00   CODE CHART GENERAL    NOTES                                                3/4/2016
           A-004.00   FEMA MAP                                                                  12/9/2015
          A-011.00    EGRESS PLAN FIRST FLOOR                                                   12/9/2015
          A-012.00    EGRESS   PLAN SECOND  FLOOR                                               12/9/2015
          A-013.00    EXISTING  MALL EGRESS PLAN FIRST FLOOR                                    12/9/2015
          A-014.00    EXISTING  MALL EGRESS PLAN SECOND   FLOOR                                 12/9/2015
          A-050.00    FIRST FLOOR PLAN NORTH - BELOW GRADE WATER                                1/22/2016
                      PROOFING
          A-051.00    FIRST FLOOR      PLAN    SOUTH   - BELOW    GRADE       WATER             1/22/2016
                      PROOFING
           A-052.00   FIRST FLOOR      PLAN    EAST - BELOW      WATER    PROOFING              1/22/2016
           A-053.00   FIRST FLOOR      PLAN    EAST - BELOW      GRADE    WATERPROOFING         12/9/2015
                      DETAILS
           A-054.00   FIRST FLOOR       PLAN   EAST - BELOW      GRADE    WATERPROOFING         12/9/2015
                      DETAILS
          A-101.00    FIRST FLOOR SITE PLAN                                                     1/22/2016
          A-102.00    SECOND   FLOOR SITE PLAN                                                   1/22/2016
          A-107.00    SOUTH ROOF ENLARGED     PLAN PLAN                                         11/11/2015
          A-110.00    NORTH FIRST FLOOR ENLARGED     PLAN                                       11/11/2015
           A-111.00   FIRST FLOOR PLAN NORTH                                                    1/22/2016
           A-112.00   FIRST FLOOR PLAN SOUTH                                                     3/4/2016
           A-113.00   FIRST FLOOR PLAN EAST                                                     1/22/2016
           A-121.00   SECOND   FLOOR PLAN NORTH                                                 1/22/2016
           A-122.00   SECOND   FLOOR PLAN SOUTH                                                 1/22/2016
          A-123.00    SECOND   FLOOR P LAN EAST                                                 1/22/2016
          A-123.01    SECOND   FLOOR PLAN EAST ALTERNATE                                        11/11/2015
          A-131.00    ROOF FLOOR PLAN - NORTH                                                    3/4/2016
          A-133.00    ROOF FLOOR PLAN - EAST                                                     3/4/2016
           A-134.00   ROOF FLOOR PLAN - SOUTH                                                   1/22/2016
           A-141.00   FIRST   FLOOR EOS PLAN NORTH                                              1/22/2016
           A-142.00   FIRST FLOOR EOS PLAN SOUTH                                                1/22/2016
           A-143.00   FIRST FLOOR PLAN EAST                                                     12/9/2015
           A-151.00   SECOND   FLOOR EOS PLAN NORTH                                             1/22/2016
           A-152.00   SECOND   FLOOR EOS PLAN SOUTH                                             1/22/2016
           A-153.00   SECOND   FLOOR EOS PLAN EAST                                              1/22/2016
           A-161.00   ROOF EOS PLAN NORTH                                                       12/9/2015
           A-162.00   ROOF EOS PLAN SOUTH                                                       12/9/2015
           A-163.00   ROOF EOS PLAN EAST                                                        1/22/2016
           A-211.00   FIRST FLOOR REFLECTIVE     CEfLING   PLAN NORTH                           1/22/2016
           A-212.00   FIRST FLOOR REFLECTIVE     CEILING PLAN SOUTH                             1/22/2016
           A-221.00   SECOND   FLOOR REFLECTIVE     CElLING   PLAN NORTH                        1/22/2016
           A-223.00   SECOND   FLOOR REFLECTIVE     CElLING   PLAN EAST                         12/9/2015
           A-301.00   OVERALL   EXTERIOR   ELEVATIONS                                           1/22/2016
           A-321.00   ENLARGED    EXTERIOR   ELEVATIONS    & PLANS NORTH                         3/4/2016
           A-322.00   ENLARGED    EXTERIOR   ELEVATIONS    & PLANS NORTH @ BIG                  1/22/2016
                      BOX
           A-323.00   ENLARGED    EXTERIOR   ELEVATIONS    & PLANS WEST @ BIG                    1/22/2016
                      BOX
           A-324.00   ENLARGED    EXTERIOR   ELEVATIONS    & PLANS SOUTH @ BlG                   1/22/2016
                      BOX
           A-325.00   ENLARGED    EXTERIOR   ELEVATIONS    & PLANS WEST                          1/22/2016
           A-326.00   ENLARGED        EXTERIOR   ELEVATIONS       & PLANS     WEST               1/22/2016
           A-327.00   ENLARGED        EXTERIOR   ELEVATIONS       & PLANS     WEST               1/22/2016
           A-328.00   ENLARGED        EXTERIOR   ELEVATIONS       & PLANS     SOUTH              1/22/2016
           A-329.00   ENLARGED        EXTERIOR
                                             ELEVATIONS           & PLANS     SOUTH              1/22/2016
           A-330.00   ENLARGED  EXTERIOR    ELEVATIONS            & PLANS     GROCER    SOUTH     3/4/2016
           A-331.00   ENLARGED  EXTERIOR    ELEVATIONS            & PLANS     GROCER    EAST     12/9/2015
           A-332.00   ENLARGED   EXTERIOR   ELEVATIONS            & PLANS      GROCER   NORTH     3/4/2016
           A-340.00   BRICK COURSING    DETAILS                                                  12/9/2015
           A-341,00   BRICK COURSING    DETAILS                                                  12/9/2015
           A-342.00   BRICK COURSING    DETAILS                                                  12/9/2015
           A-401.00   BUILDING SECTIONS                                                          12/9/2015
           A-451.00   ENLARGED   STAIR PLANS & SECTIONS             A & B                        12/9/2015
           A-452.00   ENLARGED   STAIR PLANS & SECTIONS             C & K                        12/9/2015
           A-453.00   ENLARGED  STAIR PLANS & SECTIONS              D & E                        12/9/2015


                                                         Page    2 of    16
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                          INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 69 of 122 PageID
                                                                     RECEIVED      #: 7801/25/2021
                                                                               NYSCEF:



           A-454.00    ENLARGED    STAIR PLANS & SECTIONS     F & G                                12/9/2015
           A-455.00    ENLARGED    STAIR PLANS & SECTIONS     H & J                                12/9/2015
           A-461.00    ENLARGED    ESCALATOR   PLANS & SECTIONS.                                   12/9/2015
           A-462.00    ENLARGED    PLANS & SECTIONS   FREIGHT     ELEVATOR    FE-1                 12/9/2015
           A-463.00    ENLARGED    PLANS & ELEVATIONS    - EXISTING   FREIGHT                      12/9/2015
                       ELEVATOR    FE-2
           A-464.00    ENLARGED    PLANS & SECTIONS   - EXISTING    FREIGHT                        12/9/2015
                       ELEVATOR    FE-3
           A-465.00    ENLARGED    PLANS  & SECTIONS FREIGHT  ELEVATOR   FE-4                      12/9/2015
           A-466.00    ENLARGED    PLANS & SECTIONS  PASSENGER    ELEVATOR    PE-1                 12/9/2015
           A-471.00    ENLARGED    SECOND   FLOOR SHAFTS                                           12/9/2015
           A-472.00    ENLARGED    SECOND   FLOOR SHAFT PLAN                                       12/9/2015
           A-501.00    WALL   SECTIONS                                                             1/22/2016
           A-502.00    WALL   SECTIONS                                                             1/22/2016
           A-503.00    WALL   SECTIONS                                                             1/22/2016
           A-504.00    WALL   SECTIONS                                                             1/22/2016
           A-505.00    WALL   SECTIONS                                                             1/22/2016
           A-506.00    WALL   SECTIONS                                                             1/22/2016
           A-507.00    WALL   SECTIONS                                                             1/22/2016
           A-508.00    WALL   SECTIONS     GROCER                                                  1/22/2016·
           A-509.00    WALL   SECTIONS           - NEW CONDITIONS
                                           EXISTING                                                1/22/2016
           A-510.00    WALL   SECTIONS EXISTING  - NEW CONDITIONS                                  1/22/2016
           A-511.00    WALL   SECTIONS EXISTING  - NEW CONDITIONS                                  1/22/2016
           A-512.00    ENLARGED    WEST ELEVATIONS    & PLANS                                      6/26/2014
           A-513.00    ENLARGED    WEST ELEVATIONS    & PLANS                                      6/26/2014
           A-514,00    ENLARGED    WEST ELEVATIONS           & PLANS                               6/26/2014
           A-515.00    ENLARGED    EXTERIOR PLANS          & ELEVATIONS                            6/26/2014
           A-516.00    ENLARGED    EXTERIOR        PLANS   & ENTRANCES                             6/26/2014
           A-517.00    ENLARGED    EXTERIOR        PLANS   & ENTRANCES                             6/26/2014
           A-518.00    ENLARGED    EXTERIOR        PLANS   & ENTRANCES                             6/26/2014
           A-521,00    ENLARGED    EXTERIOR        ELEVATIONS    AND PLANS       - SOUTH           2/12/2015
           A-522.00    ENLARGED    EXTERIOR        ELEVATIONS    AND PLANS       - WEST            2/12/2015
           A-523.00    ENLARGED    EXTERIOR        ELEVATIONS    AND PLANS       - WEST            2/12/2015
           A-524.00    ENLARGED    EXTERIOR        ELEVATIONS    AND PLANS       - WEST            2/12/2015
           A-525.00    ENLARGED    EXTERIOR        ELEVATIONS    AND PLANS       - SOUTH
                                                                                            @      2/12/2015
                       BlG BOX
           A-526.00    ENLARGED                    ELEVATIONS                    - WEST
                                   EXTERIOR                       AND    PLANS             @ BIG   2/12/2015
                       BOX
           A-527.00    ENLARGED    EXTERIOR        ELEVATIONS     AND    PLANS   - NORTH           2/12/2015
                                                                                            @
                       BlG BOX
           A-528.00    ENLARGED    EXTERIOR        ELEVATIONS            PLANS   - SOUTH
                                                                  AND                       @      2/12/2015
                       BlG BOX
           A-530.00    ENLARGED    EXTERIOR        ELEVATIONS     AND    PLANS                     2/12/2015
           A-531.00    ENLARGED    EXTERIOR        ELEVATIONS     AND    PLANS                     2/12/2015
           A-532.00    ENLARGED    EXTERIOR        ELEVATIONS     AND    PLANS                     2/12/2015
           A-550.00    WALL SECTION      DETAILS                                                   1/22/2016
           A-551.00    WALL SECTION      DETAILS                                                   1/22/2016
           A-552.00    WALL SECTION      DETAILS                                                    3/4/2016
           A-553.00    WALL   SECTION    DETAILS                                                   1/22/2016
           A-554.00    WALL   SECTION    DETAILS                                                   1/22/2016
           A-555.00    WALL   SECTION    DETAILS                                                   1/22/2016
           A-556.00    WALL   SECTION    DETAILS                                                   1/22/2016
           A-557.00    WALL   SECTION    DETAILS                                                   1/22/2016
           A-558.00    WALL   SECTION    DETAILS                                                   1/22/2016
           A-559.00    WALL   SECTION    DETAILS                                                   1/22/2016
           A-560.00    WALL   SECTION    DETAILS                                                   1/22/2016
           A-561.00    WALL   SECTION    DETAILS                                                   1/22/2016
           A-562.00    WALL   SECTION    DETAILS                                                   1/22/2016
            A-563.00   WALL   SECTION    DETAILS                                                    1/22/2016
            A-564.00   WALL   SECTION    DETAILS                                                    1/22/2016
           A-565,00    WALL   SECTION    DETAILS                                                   1/22/2016
           A-566.00    WALL   SECTION    DETAILS                                                   1/22/2016
           A-567.00    WALL   SECTION    DETAILS                                                   1/22/2016
           A-568,00    WALL   SECTION    DETAILS                                                   1/22/2016
           A-569.00    WALL   SECTION    DETAILS                                                   1/22/2016


                                                           Page   3 of   16
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                             INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 70 of 122 PageID
                                                                     RECEIVED      #: 7901/25/2021
                                                                               NYSCEF:



           A-570.00   WALL   SECTION   DETAILS                                                        1/22/2016
           A-571.00   WALL   SECTION   DETAILS                                                        1/22/2016
           A-572.00   WALL   SECTION   DETAILS                                                        1/22/2016
           A-573.00   WALL   SECTION   DETAILS                                                        1/22/2016
           A-574.00   WALL   SECTION   DETAILS                                                        1/22/2016
           A-575.00   WALL   SECTION   DETAILS                                                        1/22/2016
           A-576.00   WALL   SECTION   DETAILS                                                        1/22/2016
           A-577.00   WALL   SECTION   DETAILS                                                        1/22/2016
           A-578.00   WALL   SECTION   DETAILS                                                        1/22/2016
           A-579.00   WALL   SECTION   DETAILS                                                        1/22/2016
           A-580.00   WALL   SECTION   DETAILS                                                        1/22/2016
           A-581.00   WALL   SECTION   DETAILS                                                        1/22/2016
           A-582.00   WALL SECTION    DETAILS                                                         1/22/2016
           A-601.00   INTERIOR   ENLARGED    PLANS        1ST FLOOR       ENTRANCES        AND        1/22/2016
                      MALL ARCADES
           A-602.00   INTERIOR ENLARGED       RCP       1ST FLOOR     ENTRANCES          AND MALL     1/22/2016
                      ARCADES
           A-604.00   INTERIOR ENLARGED       PLANS       1ST FLOOR       ENTRANCES        & MALL     1/22/2016
                      ARCADES
           A-605.00   INTERIOR   ENLARGED     PLANS       1ST FLOOR       ENTRANCES        & BIKE     3/4/2016
                      STORAGE
           A-606.00   INTERIOR  ENLARGED      RCP 1ST FLOOR           ENTRANCES          & BiKE       1/22/2016
                      STORAGE
           A-608.00   INTERIOR  ENLARGED      T1LE PATTERN          1ST FLOOR       ENTRANCES         12/9/2015
                      & BlKE STORAGE
           A-609.00   INTERIOR  ENLARGED      PLAN 2ND FLOOR FOOD COURT                               1/22/2016
           A-610.00   INTERIOR   ENLARGED     RCP 2ND FLOOR FOOD COURT                                1/22/2016
           A-611.00   INTERIOR   ENLARGED     PLANS FOOD COURT EXPANSION                               3/4/2016
                      JOINTS
           A-612.00   INTERIOR   ENLARGED     FURNITURE           PLAN 2ND FLOOR          FOOD        1/22/2016
                      COURT
           A-613.00   INTERIOR   ENLARGED     TILE      PATTERN     2ND FLOOR       FOOD              1/22/2016
                      COURT
           A-614.00   INTERIOR  ENLARGED  PLANS 2ND FLOOR NORTH MALL ARCADE                           1/22/2016
                      RESTROOM    & MEP ROOM
           A-615.00   INTERIOR  ENLARGED   RCP 2ND FLOOR NORTH MALL ARCADE                             3/4/2016
                      RESTROOM&     MEPROOMS
           A-617.00   INTERIOR  ENLARGED   TILE PATTERN 2ND FLOOR NORTH MALL                          1/22/2016
                      ARCADE   RESTROOM&     MEP
           A-618.00   INTERIOR  ENLARGED   PLANS 1ST FLOOR NORTH LOADING                              1/22/2016
                      DOCK
           A-619.00   INTERIOR   ENLARGED        RCP 1ST FLOOR NORTH LOADING   DOCK                   1/22/2016
           A-621.00   INTERIOR   ENLARGED        PLANS 1ST FLOOR SOUTH LOADING                        1/22/2016
                      DOCK
           A-622.00   INTERIOR  ENLARGED         RCP    1ST FLOOR SOUTH LOADING  DOCK                 1/22/2016
           A-624.00   INTERIOR  ENLARGED         PLAN    & RCP - 2ND FLOOR FOOD COURT                 1/22/2016
                      CLEARSTORY
           A-630.00   INTERIOR  ELEVATIONS        1ST FLOOR        NORTH       LOADING    DOCK         3/4/2016
           A-631.00   (NTERIOR  ELEVATIONS        1ST FLOOR        SOUTH       LOADING    DOCK         3/4/2016
           A-632.00   INTERIOR  ELEVATIONS        1ST FLOOR   SOUTH            LOADING
                                                                             DOCK                     1/22/2016
           A-633.00   INTERIOR  ELEVATIONS        1ST FLOOR   BlKE & STORAGE ROOM                     1/22/2016
           A-634.00   INTERIOR  ELEVATIONS        1ST FLOOR MAIN ARCADE                               12/9/2015
           A-635.00   INTERIOR  ELEVATIONS        FIRST FLOOR SOUTH ARCADE                            1/22/2016
           A-636.00   INTERIOR   ELEVATIONS       SECOND   FLOOR MALL ARCADE                          1/22/2016
           A-637.00   INTERIOR   ELEVATIONS       2ND FLOOR FOOD COURT SOUTH                          1/22/2016
                      NEUTRAL    PIER SECTION
           A-638.00   INTERIOR   ELEVATIONS   2ND FLOOR            FOOD    COURT     NORTH        &   1/22/2016
                      WEST
           A-639.00   INTERIOR  ELEVATIONS        2ND FLOOR        FOOD    COURT,        NORTH        1/22/2016
                      MALLARCADE     & EAST
           A-640.00   INTERIOR  ELEVATIONS        2ND FLOOR        FOOD    COURT,        NORTH        1/22/2016
                      MALL ARCADE    & WEST
           A-641.00   INTERIOR  ELEVATIONS        2ND FLOOR        RESTROOMS         & LOUNGES        1/22/2016
           A-642.00   INTERIOR   ELEVATIONS       2ND FLOOR        RESTROOMS         & LOUNGES        12/9/2015




                                                          Page     4 of   16
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                         INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 71 of 122 PageID
                                                                     RECEIVED      #: 8001/25/2021
                                                                               NYSCEF:



           A-643.00     INTERIOR ELEVATIONS   2ND FLOOR NURSING  ROOM, FAMILY                     1/22/2016
                        ROOM & LOUNGES
           A-651.00     INTERIOR SECTIONS   1ST FLOOR NORTH LOBBY & MAIN                          12/9/2015
                        ARCADE
           A-652.00     INTERIOR SECTIONS   2ND FLOOR FOOD COURT                                  1/22/2016
           A-660.00     INTERIOR  SECTIONS  WALL DETAILS                                          12/9/2015
           A-661.00     INTERIOR  SECTIONS  WALL DETAILS                                          1/22/2016
           A-670.00     MALL FOOD COURT TRANSITION      PORTAL                                    1/22/2016
           A-671.00     ENLARGED   PLAN, RCP, ELEVATION   & SECTION              - VESTIBULE      1/22/2016
                        140 & 240
           A-672.00     ENLARGED   PLAN, RCP, ELEVATION   & SECTION              - VESTIBULE      1/22/2016
                        147
           A-673.00     ENLARGED     PLAN, RCP, E-LEVATION  - VESTlBULE   144                     1/22/2016
           A-674.00     ENLARGED     SECTIONS  VESTIBULE   140,144 & 147                          1/22/2016
           A-675.00     ENLARGED     PLAN, RCP, ELEVATION   & SECTION   - VESTIBULE               12/9/2015
                        240
           A-680.00     ENLARGED     PLANS   & SECTION   PASSENGER            ELEVATOR    1       1/22/2016
           A-681.00     ENLARGED     PLANS   & ELEVATIONS    FREIGHT          ELEVATOR    1       12/9/2015
           A-682.00     ENLARGED     PLANS   & ELEVATIONS    FREIGHT
                                                                  ELEVATOR   2 ALT.               1/22/2016
           A-683.00     ENLARGED  PLANS      & ELEVATIONS    FREIGHT
                                                                  ELEVATOR   3 ALT.               1/22/2016
           A-684.00     ENLARGED  PLANS & ELEVATIONS    FREIGHT   ELEVATOR   4                    12/9/2015
           A-685.00     DETAILS OF PASSENGER   ELEVATOR    & FREIGHT   ELEVATOR    1              1/22/2016
            A-690.00    INTERIOR ENLARGED   PLANS FIRST FLOOR ENTRANCES        &                   1/22/2016
                        MALL ARCADES
           A-691.00     INTERIOR ENLARGED         PLANS   FIRST   FLOOR       ENTRANCES       &    1/22/2016
                        MALL ARCADES
           A-692.00     INTERIOR ENLARGED         PLANS   FIRST   FLOOR       ENTRANCES       &    1/22/2016
                        MALL ARCADES
            A-693.00    INTERIOR  ENLARGED    TILE PATTERN   1ST FLOOR ENTRANCES                   1/22/2016
                        & BlKE STORAGE
            A-694.00    INTERIOR  ENLARGED    TlLE PATTERN   2ND FLOOR FOOD                       1/22/2016
                        COURT
            A-695.00    INTERIOR  TILE DETAILS 2ND FLOOR FOOD COURT                                1/22/2016
            A-696.00    INTERIOR  TILE DETAILS 2ND FLOOR FOOD COURT                                12/9/2015
            A-697.00    INTERIOR  ENLARGED    TILE DETAILS 2ND FLOOR FOOD COURT                    12/9/2015
            A-698.00    INTERIOR  ENLARGED    TILE DETAILS 2ND FLOOR FOOD COURT                    1/22/2016
            A-699.00    INTERIOR  ENLARGED    TILE PATTERN   2ND FLOOR FOOD                        12/9/2015
                        COURT
            A-700.00    INTERIOR  ENLARGED    TILE PATTERN   2ND FLOOR RESTROOMS                   1/22/2016
            A-704.00    STOREFRONT     SYSTEM   PLAN & SECTION   DETAILS                           12/9/2015
            A-706.00    BI- PART DOOR DETAILS                                                      12/9/2015
            A-709.00    TYPICAL  PIER DETAILS                                                       1/0/1900
            A-710.00    TYPICAL  PIER DETAILS                                                      12/9/2015
            A-711.,00   TYPICAL  PIER DETAILS                                                      12/9/2015
            A-712.00    TYPICAL  PIER DETAILS                                                      12/9/2015
            A-713.00    TYPICAL  PIER DETAILS                                                      12/9/2015
            A-714.00    TYPICAL    PIER DETAILS                                                    1/22/2016
            A-715.00    TYPICAL    PIER DETAILS                                                    12/9/2015
            A-716.00    TYPICAL    PIER DETAILS                                                    12/9/2015
            A-717.00    TYPICAL    PIER DETAILS                                                    1/22/2016
            A-718.00    TYPICAL    PIER DETAILS                                                    12/9/2015
            A-719.00    TYPICAL    PIER DETAILS                                                    12/9/2015
            A-720.00    TYPICAL    PIER DETAILS                                                    12/9/2015
            A-721.00    ROOF DETAILS                                                               1/22/2016
            A-722.00    ROOF DETAILS                                                               12/9/2015
             A-723.00   ROOF DETAILS                                                                12/9/2015
             A-730.00   INTERIOR DETAILS                                                           11/11/2015
             A-731.00   CELLING DETAILS                                                             1/22/2016
             A-732.00   CEILING DETAILS                                                             1/22/2016
             A-733.00   CElLING DETAILS                                                             1/22/2016
             A-740.00   STAIR DETAILS                                                               12/9/2015
             A-741.00   STAIR DETAILS                                                               12/9/2015
             A-742.00   GUARD RAIL DETAILS                                                          12/9/2015
             A-743.00   GUARD RAll DETAILS                                                          12/9/2015
             A-750.00   LOADING DOCK DETAILS                                                        1/22/2016
             A-751.00   LOADING DOCK DETAILS                                                         3/4/2016


                                                          Page    5 of   16
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                          INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 72 of 122 PageID
                                                                     RECEIVED      #: 8101/25/2021
                                                                               NYSCEF:



           A-752.00    LOADING DOCK DETAILS                                         12/9/2015
           A-760.00    FOOD COURT NEUTRAL PIER DETAILS                              1/22/2016
           A-801.00    PARTITION TYPES                                              1/22/2016
            A-802.00   SCHEDULES DOOR & FINISHES                                    1/22/2016
            A-803.00   PARTITION TYPES & MISC. DETAILS                              12/9/2015
            A-804.00   PARTITION TYPES & MISC. DETAILS                              12/9/2015
           A-805.00    FURNITURE   SCHEDULE                                         12/9/2015
           A-806.00    FURNITURE   SCHEDULE                                         12/9/2015
           A-807.00    FINISH SCHEDULE                                              1/22/2016
           A-811.00    EXPANSION   JOINT DETAILS                                     3/4/2016
           A-815.00    TRANSITION   DETAILS                                         1/22/2016
           A-820.00    FOOD COURT CElLING     DETAILS                               1/22/2016
           A-821.00    FOOD COURT CEILING     DETAILS WOOD BOX                      12/9/2015
           A-830.00    PART PLAN & ELEVATIONS     EIFS DETAILS                      1/22/2016
           A-831.00    PART PLAN & ELEVATIONS     ElFS DETAILS                      1/22/2016
           AD-111.00   FIRST FLOOR PLAN DEMOLITION-     NORTH                       1/22/2016
           AD-112.00   FIRST FLOOR PLAN DEMOLIT10N-     SOUTH                       1/22/2016
           AD-113.00   FIRST FLOOR PLAN DEMOLITION-    WEST                         1/22/2016
           AD-121.00   SECOND   FLOOR PLAN DEMOLITION-   NORTH                      1/22/2016
           AD-122.00   SECOND   FLOOR PLAN DEMOLITION-   SOUTH                      1/22/2016
           AD-123.00   SECOND   FLOOR PLAN DEMOLITION-   WEST                       1/22/2016
           AD-131.00   ROOF FLOOR PLAN DEMOLITION      - NORTH                      12/9/2015
           AD-132.00   ROOF FLOOR PLAN DEMOLITION      - SOUTH                      12/9/2015
           AD-133.00   ROOF FLOOR PLAN DEMOLITION      - EAST                       12/9/2015
           AD-134.00   DEMOLITION   WALL SECTION                                    12/9/2015
           AD-135.00   DEMOLITION   WALL SECTION                                    12/9/2015
           AD-136.00   DEMOLITION   WALL SECTION                                    12/9/2015
           EN-001.00   ENERGY   CALCULATIONS   ARCHITECTURE                         12/9/2015
           EN-002.00   ENERGY CALCULATIONS     ARCHITECTURE                         12/9/2015
             Z-1.0     AREA MAP                                                     12/9/2015
             Z-2.0     Zoning Tabulations   First Floor                             12/9/2015
             Z-3.0     Site Sections                                                12/9/2015
             Z-4.0A    interim Site Plan                                            12/9/2015
            C-000.00   COVER SHEET                                                  1/22/2016
            C-001.00   COVER SHEET                                                  1/22/2016
            C-050.00   LIMITS OF WORK PLAN                                          12/9/2015
            C-100.00   OVERALL   SITE PLAN                                          1/22/2016
            C-101.00   SITE   PLAN                                                  1/22/2016
            C-102.00   SITE   PLAN                                                  1/22/2016
            C-103.00   SITE PLAN                                                    12/9/2015
            C-104.00   SITE PLAN                                                    12/9/2015
            C-105.00   PAVING PLAN                                                  12/9/2015
            C-106.00   SIGNAGE   & STRIPING   PLAN                                  12/9/2015
            C-107.00   SIGNAGE   & STRIPING   PLAN                                  12/9/2015
            C-108.00   SIGNAGE   & STRIPING   PLAN                                  12/9/2015
            C-110.00   PARKING   PLAN                                               12/9/2015
            C-200.00   OVERALL   GRADING    & DRAINAGE   PLAN                       1/22/2016
            C-201.00   GRADING   & DRAINAGE    PLAN                                 1/22/2016
            C-202.00   GRADING   & DRAlNAGE    PLAN                                 12/9/2015
            C-203.00   GRADING   & DRAINAGE    PLAN                                 1/22/2016
            C-300.00   OVERALL   SOlL EROSION    & SEDIMENT   CONTROL        PLAN   12/9/2015
            C-301.00   SOIL EROSION    & SEDIMENT   CONTROL    PLAN                 12/9/2015
            C-302.00   SOlL EROSION    & SEDIMENT   CONTROL    PLAN                 12/9/2015
            C-303.00   SOlL EROSION    & SEDIMENT   CONTROL    PLAN                 12/9/2015
            C-304.00   SOlL EROSION    & SEDIMENT   CONTROL    DETAILS              12/9/2015
            C-400.00   OVERALL   UTILITY PLAN                                       1/22/2016
            C-401.00   UTILITY   PLAN                                               1/22/2016
            C-402.00   UTILITY   PLAN                                                1/22/2016
            C-403.00   UTILITY   PLAN                                                1/22/2016
            C-411.00   ELECTRIC   CONDUIT      ROUTING    PLAN                      11/11/2015
            C-600.00   SITE CIVIL DETAILS                                           12/9/2015
            C-601.00   SITE CIVIL DETAILS                                           12/9/2015
            C-602.00   SITE ClVIL DETAILS                                           12/9/2015
             CS-101    SCHEMATIC    S1TE PLAN                                       11/11/2015
             CU-101    SCHEMATIC    UTlLITY PLAN                                    11/11/2015
             CU-301    STORM SEWER RELOCATION             PLAN                      11/11/2015


                                                          Page   6 of   16
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                            INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 73 of 122 PageID
                                                                     RECEIVED      #: 8201/25/2021
                                                                               NYSCEF:



             CU-401         SANITORY   SEWER RELOCATION     PLAN                                     11/11/2015
             CU-501         STORM & SANITORY     SEWER RELOCATION    DETAILS                         11/11/2015
             CG-101         SCHEMATIC    GRADING   AND DRAINAGE  PLAN                                11/11/2015
            L-100.00        OVERALL   LANDSCAPE    PLAN                                               12/9/2015
            L-101.00        LANDSCAPE            PLAN                                                12/9/2015
            L-102.00        LANDSCAPE            PLAN                                                12/9/2015
            L-103.00        LANDSCAPE            PLAN                                                12/9/2015
            L-104.00        LANDSCAPE            PLAN                                                12/9/2015
            L-200.00        OVERALL   LIGHTING            PLAN                                       12/9/2015
            L-201.00        LIGHT1NG PLAN                                                            12/9/2015
            L-202.00        LIGHTING        PLAN                                                     12/9/2015
            L-203.00        LIGHTING        PLAN                                                     12/9/2015
            L-204.00        LIGHTING        PLAN                                                     12/9/2015
            L-210.00        LANDSCAPE    NOTES & DETAILS                                             11/11/2015
            L-300.00        LANDSCAPE    DIMENSIONS    PLAN                                          11/11/2015
            L-400.00        PIAZZA AND  GARAGE     ENTRANCE    PLANTING                       PLAN   11/11/2015
            L-410.00        MALL ENTRANCES      PLANTING   PLAN                                      11/11/2015
            L-500.00        LANDSCAPE    NOTES & DETAILS                                              12/9/2015
            L-501.00        LIGHTING  NOTES & DETAILS                                                 12/9/2015
            L-510.00        MALL ENTRANCE     LIGHTING   PLAN                                        12/20/2013
            L-600.00        LANDSCAPE    DETAILS                                                     12/20/2013
             VB-101         BOUNDARY   AND TOPOGRAPHIC        SURVEY                                  12/9/2015
             VB-102         BOUNDARY   AND TOPOGRAPHIC        SURVEY                                  12/9/2015
             VB-103         BOUNDARY    AND TOPOGRAPHIC       SURVEY                                  12/9/2015
            PAGE 1/9        CURRENT   CONDITIONS                                                     12/13/2014
            PAGE 2/9        A-101.00SITE PLAN                                                        12/13/2014
            PAGE      3/9   A-102.00SECOND   FLOOR                    S1TE PLAN                      12/13/2014
            PAGE      4/9   CONCEPT   1                                                              12/13/2014
            PAGE      5/9   CONCEPT          1                                                       12/13/2014
           PAGE       6/9   CONCEPT          2                                                       12/13/2014
           PAGE       7/9   CONCEPT          2                                                       12/13/2014
           PAGE       8/9   CONCEPT          3                                                       12/13/2014
           PAGE 9/9         CONCEPT          3                                                       12/13/2014
            C-403.00        Overall internal Water Main Plan (STAMPED)                               8/12/2015
           FD-100.00        Fire Department   Access Plan (STAMPED)                                  4/13/2015
         SCR-695/14         Site Plan- Site Connection Proposal (STAMPED)                            8/21/2015
          (MP)
         SCR-695/14         Site Plan- Site Connection            Proposal   (STAMPED)               8/24/2015
         (PH-1)
         SCR-695/14         Site Plan- Site Connection            Proposal   (STAMPED)               8/24/2015
         (PH-2)
         SCR-695/14         Site Plan-      Site Connection       Proposal   (STAMPED)               8/24/2015
         (PH-5)
         SCR-695/14         Site Plan-      Site Connection       Proposal   (STAMPED)               8/24/2015
         (PH-6)
            C-126.00        Overall Street Tree         Plan                                         12/16/2015
            C-127.00        Street Tree Plan                                                         12/16/2015
            C-128.00        Street Tree Plan                                                         12/16/2015
            C-129.00        Street Tree Plan                                                         12/16/2015
            C-130.00        Street   Tree    Plan                                                    12/16/2015
            C-131.00        Street   Tree    Plan                                                    12/16/2015
                            Protective  Fencing & Tree Decompaction                                   7/24/2013
            C-111.00        Overall Sidewalk   Replacement Plan                                      12/10/2015
            C-112.00        Sidewalk   Replacement    Plan                                            6/26/2015
            C-113.00        Sidewalk   Replacement    Plan                                            6/26/2015
            C-114,00        Sidewalk     Replacement           Plan                                  6/26/2015
            C-115.00        Sidewalk     Replacement           Plan                                  6/26/2015
            C-116.00        Sidewalk     Replacement           Plan                                  6/26/2015
            C-117.00        Sidewalk     Replacement           Plan                                  6/26/2015
            C-118.00        Sidewalk     Replacement           Plan                                  6/26/2015
            C-119.00        Sidewalk     Replacement           Plan                                  6/26/2015
            C-120,00        Sidewalk     Replacement           Plan                                  6/26/2015
            C-121.00        Sidewalk     Replacement           Plan                                  6/26/2015
            C-122.00        Sidewalk     Replacement           Plan                                  6/26/2015
            C-123.00        Sidewalk     Replacement           Plan                                   6/26/2015


                                                                          Page    7 of   16
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                 INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 74 of 122 PageID
                                                                     RECEIVED      #: 8301/25/2021
                                                                               NYSCEF:



           C-124.00   Sidewalk   Replacement    Plan                                     6/26/2015
           C-125.00   Sidewalk   Replacement    Plan                                     6/26/2015
           C-126.00   Sidewalk   Replacement    Plan                                     6/26/2015
           C-127.00   Sidewalk Replacement  Plan                                         6/26/2015
           E-000.00   COVER SHEET                                                         1/0/1900
           E-001.00   ELECTRICAL    NOTES, SYMBOLS,  ABBREVATIONS  AND                   1/22/2016
                      DRAWING    LIST
           E-100.00   ELECTRICAL    FIRST FLOOR PART PLAN NORTH                          11/11/2015
           E-101.00   ELECTRICAL    SITE PLAN                                             3/11/2016
           E-102.00   ELECTRICAL    FIRST FLOOR PART PLAN SOUTH                          11/11/2015
           E-103.00   ELECTRICAL    SECOND   FLOOR PART PLAN NORTH                       11/11/2015
           E-104.00   ELECTRICAL    SECOND   FLOOR PART PLAN SOUTH                       11/11/2015
           E-105.00   ELECTRICAL      SITE PLAN                                          11/11/2015
           E-110.00   ELECTRICAL      FIRST FLOOR       PART     PLAN     NORTH          3/11/2016
           E-111.00   ELECTRICAL      FIRST FLOOR       PART     PLAN     SOUTH          3/11/2016
           E-112.00   ELECTRICAL      FIRST FLOOR PART           PLAN     EAST           3/11/2016
          E-112A.00   ELECTRICAL      FIRST FLOOR PART PLAN EAST (ALT.)                  3/11/2016
           E-120.00   ELECTRICAL      SECOND   FLOOR PART PLAN NORTH                     1/22/2016
           E-121.00   ELECTRICAL      SECOND   FLOOR PART PLAN SOUTH                     12/9/2015
          E-121A.00   ELECTRICAL      SECOND   FLOOR PART PLAN SOUTH (ALT.)              12/9/2015
           E-122.00   ELECTRICAL      SECOND   FLOOR PART PLAN EAST                      3/11/2016
           E-130,00   ELECTRICAL      ROOF PART PLAN NORTH AND SOUTH                     3/11/2016
          E-130A.00   ELECTRICAL      ROOF     PART    PLAN NORTH         (ALT.)         3/11/2016
           E-131.00   ELECTRICAL      ROOF     PART    PLAN SOUTH                        1/22/2016
          E-131A.00   ELECTRICAL      ROOF     PART    PLAN SOUTH         (ALT.)         1/22/2016
           E-132.00   ELECTRICAL      ROOF     PART    PLAN    EAST                      3/11/2016
          E-132A.00   ELECTRICAL      ROOF     PART    PLAN    EAST     (ALT.)           3/11/2016
           E-133.00   ELECTRICAL      ROOF     PART
                                                  PLAN                                   1/22/2016
          E-133A.00   ELECTRICAL      ROOF     PART
                                                  PLAN (ALT.)                            1/22/2016
           E-210.00   ELECTRICAL      FIRST FLOOR PART LIGHTING   PLAN - NORTH           1/22/2016
           E-211.00   ELECTRICAL      FIRST FLOOR PART LIGHTING   PLAN - SOUTH           1/22/2016
           E-220.00   ELECTRICAL      SECOND   FLOOR PART LIGHTING   PLAN - NORTH        1/22/2016
           E-221.00   ELECTRICAL      SECOND   FLOOR PART LIGHTING   PLAN - SOUTH        1/22/2016
           E-222.00   ELECTRICAL      SECOND   FLOOR PART LlGHTING   PLAN - EAST         1/22/2016
           E-300.00   ELECTRICAL      PANEL SCHEDULES    SHEET 1                         12/9/2015
           E-301.00   ELECTRICAL      PANEL SCHEDULES    SHEET 2                         3/11/2016
           E-400.00   ELECTRICAL      DETAILS   SHEET                                    12/9/2015
           E-500.00   ELECTRICAL      SINGLE-LINE    DIAGRAM                             1/22/2016
          E-500A.00   ELECTRICAL      SINGLE-LINE    DIAGRAM   (ALT,)                    1/22/2016
           E-501.00   ELECTRICAL      RISER DIAGRAM                                      1/22/2016
          ED-101.00   ELECTRICAL      DEMOLITION     SITE PLAN                           12/9/2015
          ED-110.00   ELECTRICAL      FIRST FLOOR DEMOLITION        PART PLAN NORTH      12/9/2015
          ED-111.00   ELECTRICAL      FIRST FLOOR DEMOLITION        PART PLAN SOUTH      12/9/2015
          ED-121.00   ELECTRICAL      SECOND     FLOOR DEMOLITION      PART PLAN SOUTH   12/9/2015
          ED-122.00   ELECTRICAL      SECOND     FLOOR DEMOLITION      PART PLAN EAST    12/9/2015
          EN-002.00   ENERGY   PROGRESS    INSPECTIONS  & LIGHTlNG  FIXTURE              12/9/2015
                      SCHEDULE
          EN-003.00   ENERGY   MECHANICAL    COMPLIANCE                                  12/9/2015
          EN-004.00   ENERGY   LIGHTING  COMPLIANCE                                      12/9/2015
          EN-101.00   ENERGY   SIE PLAN                                                  12/9/2015
          EN-210.00   ENERGY   FIRST FLOOR PART LIGHTlNG    PLAN - NORTH                 1/22/2016
          EN-211.00   ENERGY   FIRST FLOOR PART LIGHTING    PLAN - SOUTH                 1/22/2016
          EN-220.00   ENERGY   SECOND   FLOOR PART LIGHTING    PLAN - NORTH              1/22/2016
          EN-221.00   ENERGY   SECOND   FLOOR PART LIGHTING    PLAN - SOUTH              1/22/201.6
          EN-222.00   ENERGY   SECOND   FLOOR PART LIGHTING    PLAN - EAST               1/22/2016
                      LIGHTlNG   REPORT                                                   1/0/1900
                      LOT LlGHTING    MAP                                                 1/0/1900
                      IRRIGATION    LOCATION                                              1/0/1900
           G-100.00   GRAPHIC    SIGNAGE   DISPLAYS                                       3/4/2016
          G-101.00A   FIRST FLOOR SITE PLAN                                               3/4/2016
          G-101.00B   FIRST FLOOR SITE PLAN (Detail)                                      3/4/2016
           G-102.00   SECOND   FLOOR SITE PLAN                                            3/4/2016
           G-103.00   GRAPHIC   SIGNAGE DISPLAYS                                          3/4/2016
           G-104.00   GRAPHIC   SIGNAGE DISPLAYS                                          3/4/2016
           G-105.00   GRAPHIC   SIGNAGE DISPLAYS                                          3/4/2016


                                                              Page    8 of   16
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                      INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 75 of 122 PageID
                                                                     RECEIVED      #: 8401/25/2021
                                                                               NYSCEF:



           G-106.00     GRAPHIC   SIGNAGE DISPLAYS                                              3/4/2016
            G-107.00    GRAPHIC   SIGNAGE DISPLAYS                                              3/4/2016
           FA-000.00    COVER SHEET                                                             1/0/1900
           FA-111.00    FIRST FLOOR FIRE ALARM PLAN NORTH                                      12/9/2015
           FA-112.00    FIRST FLOOR FIRE ALARM PLAN SOUTH                                      12/9/2015
           FA-121.00    SECOND   FLOOR FIRE ALARM PLAN NORTH                                   12/9/2015
           FA-122.00    SECOND   FLOOR FIRE ALARM PLAN SOUTH                                   12/9/2015
           FA-123.00    SECOND   FLOOR FIRE ALARM PLAN EAST                                    12/9/2015
           FA-201.00    FIRE ALARM   NOTES AND MATRIX                                          12/9/2015
           FA-202.00    FIRE ALARM   DETAILS & TENANT INTERFACE              DETAILS           12/9/2015
           FA-203.00    FIRE ALARM RISER DIAGRAM                                               12/9/2015
           FA-204.00    FIRE ALARM NOTES AND MATRIX (GROCER)                                    1/0/1900
           FA-205.00    FIRE ALARM RISER DIAGRAM    (GROCER)                                    1/0/1900
           FA-301.00    FIRE ALARM NOTES AND MATRIX                                            11/11/2015
           SP-101.00    NORTH FIRE SPRINKLER   FIRST FLOOR ENLARGED     PLAN                   11/11/2015
           SP-102.00    SOUTH FIRE SPRINKLER   FIRST FLOOR ENLARGED     PLAN                   11/11/2015
           SP-103.00    NORTH FlRE SPRINKLER   SECOND    FLOOR ENLARGED    PLAN                11/11/2015
           SP-104.00    SOUTH FIRE SPRINKLER   SECOND   FLOOR ENLARGED     PLAN                11/11/2015
           SP-011.00    FIRST FLOOR F1RE SPR1NKLER    REMOVAL  PLAN- NORTH                      1/22/2016
           SP-012.00    FIRST FLOOR FIRE SPRINKLER    REMOVAL  PLAN- SOUTH                      12/9/2015
           SP-021.00    SECOND   FLOOR FIRE SPRINKLER    REMOVAL   PLAN-               NORTH   12/9/2015
           SP-022.00    SECOND   FLOOR FIRE SPRINKLER    REMOVAL   PLAN-               SOUTH   12/9/2015
           SP-111.00    FIRST FLOOR FIRE SPRINKLER    PLAN NORTH                               1/22/2016
           SP-112.00    FIRST FLOOR FIRE SPRINKLER    PLAN SOUTH                               1/22/2016
           SP-121.00    SECOND   FLOOR FIRE SPRINKLER    PLAN NORTH                            1/22/2016
           SP-122.00    SECOND   FLOOR FIRE SPRINKLER    PLAN SOUTH                            1/22/2016
           SP-123.00    SECOND   FLOOR FIRE SPRINKLER    PLAN EAST                             1/22/2016
           SP-201.00    FIRE SPRINKLER  NOTES AND DETAILS                                      1/22/2016
           SP-202.00    FIRE SPRINKLER NOTES      AND    DETAILS                               12/9/2015
           SP-601.00    FIRST FLOOR ENLARGED         FIRE SPRINKLER         PLANS              1/22/2016
           SP-602.00    FIRST FLOOR ENLARGED         FIRE SPRINKLER         PLANS              1/22/2016
           SP-603.00    FIRST FLOOR ENLARGED         FIRE SPRINKLER         PLANS              1/22/2016
           SP-604.00    FIRST FLOOR ENLARGED         FIRE SPRINKLER         PLANS              12/9/2015
           SP-605.00    FIRST FLOOR ENLARGED         FIRE SPRINKLER         PLANS              12/9/2015
           SP-606.00    FIRST FLOOR ENLARGED         FIRE SPRINKLER         PLANS              12/9/2015
           SP-607.00    FIRST FLOOR ENLARGED         FIRE SPRINKLER         PLANS               12/9/2015
           SP-608.00    SECOND    FLOOR   ENLARGED      FIRE SPRINKLER        PLAN              1/22/2016
           SP-609.00    SECOND    FLOOR   ENLARGED      FIRE SPRINKLER        PLAN              1/22/2016
           SP-610.00    SECOND    FLOOR   ENLARGED      FIRE SPRINKLER        PLAN              1/22/2016
           SP-611.00    SECOND    FLOOR   ENLARGED      FIRE SPRINKLER        PLAN              12/9/2015
           SP-612.00    SECOND    FLOOR   ENLARGED      FIRE SPRINKLER        PLAN              1/22/2016
           SP-613.00    SECOND    FLOOR  ENLARGED  FIRE SPRINKLER             PLAN              12/9/2015
           SP-614.00    SECOND   FLOOR ENLARGED    FIRE SPRINKLER             PLAN              12/9/2015
           SP-301.00    FIRE SPRINKLER    NOTES AND DETAILS                                     6/26/2014
           A-101.00     FIRST FLOOR SITE PLAN                                                   6/26/2014
           A-102.00     SECOND   FLOOR SITE PLAN                                                6/26/2014
           GD-103.00    GRAPHIC   SIGNAGE                                                       6/26/2014
           6 PAGES      GRAPHIC   SIGNAGE   11X17                                               6/26/2014
           LA-000.00    COVER SHEET                                                             1/22/2016
           LA-010.00    LANDSCAPE     GENERAL    NOTES                                          12/9/2015
           LA-020.00    LANDSCAPE     SITE PLAN                                                 1/22/2016
            LA-030.00   NORTH    & SOUTH ENTRANCE      DEMOLITION        PLANS                  12/9/2015
            LA-100.00   PIAZZA   LANDSCAPE    SITE PLAN                                         1/22/2016
           LA-100A-00   PIAZZA LANDSCAPE    GRADING   PLAN                                      12/9/2015
            LA-110.00   GARAGE   LANDSCAPE   PLAN                                               1/22/2016
            LA-120.00   MAIN ENTRANCE    LANDSCAPE   PLAN                                       1/22/2016
            LA-130.00   NORTH & SOUTH ENTRANCE      LANDSCAPE           PLANS                   12/9/2015
            LA-200.00   PiAZZA DIMENSIONS    PLAN                                               12/9/2015
            LA-210.00   PLAZA DIMENSIONS    PLAN                                                1/22/2016
            LA-220.00   MAIN ENTRANCE    DIMENSIONS       PLAN                                  1/22/2016
            LA-230.00   NORTH  & SOUTH ENTRANCE         DIMENSIONS       PLAN                   12/9/2015
            LA-300.00   PIAZZA PLANTING    PLAN                                                 12/9/2015
            LA-310.00   GARAGE   PLANTING    PLAN                                               1/22/2016
            LA-320.00   MAIN ENTRANCE     PLANTING      PLAN                                    1/22/2016
            LA-330.00   NORTH & SOUTH ENTRANCE          PLANTING       PLAN                     12/9/2015


                                                         Page   9 of   16
      FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                 INDEX NO. 150180/2021
                Case
      NYSCEF DOC. NO.1:24-cv-04939-VMS
                      2                Document 1-1 Filed 07/16/24 Page 76 of 122 PageID
                                                                           RECEIVED      #: 8501/25/2021
                                                                                     NYSCEF:



                 LA-400.00   SITE FURNISHING    SCHEDULE                                        1/22/2016
                 LA-600.00   LANDSCAPE    SITE DETAILS                                          12/9/2015
                 LA-610.DO   LANDSCAPE    SITE DETAILS                                          12/9/2015
                  LT-10.00   LIGHTING  FlXTURE   LEGEND   1 INTERIOR                            11/9/2015
                  LT-10.01   LIGHTING  FlXTURE   LEGEND 2 EXTERIOR                              11/9/2015
                 LA-620.00   LANDSCAPE    SITE DETAILS                                          12/9/2015
                 LA-630.00   LANDSCAPE    PLANTING   DETAILS                                    12/9/2015
                 LT-100.00   LIGHTING  FlXTURE    SCHEDULE    - 1 INTERIOR                       12/9/2015
                 LT-101.00   LIGHTING  F1XTURE    SCHEDULE    -2 INTERIOR                        12/9/2015
                 LT-101.01   LIGHTING  FlXTURE   LEGEND- 2 ENLARGEMENT                          11/13/2015
                 LT-102.00   LIGHTING  FlXTURE    SCHEDULE    - 3 INTERIOR                       12/9/2015
                 LT-103.00   LIGHTING  FIXTURE    SCHEDULE    - 4 INTERIOR                       12/9/2015
                 LT-104.00   FIRST FLOOR LIGHTING   RCP NORTH                                   11/13/2015
                 LT-105.00   FIRST FLOOR LIGHTING   RCP SOUTH                                   11/13/2015
                 LT-106.00   SECOND   FLOOR LIGHTING   RCP SOUTH                                11/13/2015
                 LT-107.00   SECOND   FLOOR L1GHTING RCP NORTH                                  11/13/2015
                 LT-108.00   SECOND   FLOOR LIGHTING   RCP SOUTH                                11/13/2015
                 LT-109.00   SECOND   FLOOR LIGHTlNG   RCP EAST                                 11/13/2015
                 LT-200.00   LIGHTING  FlXTURE ILLUSTRATIONS   1             ·                  12/9/2015
                 LT-201.00   LIGHTING   FlXTURE     ILLUSTRATIONS       2                       12/9/2015
                 LT-202.00   LIGHTING   FlXTURE     ILLUSTRATIONS       3                       12/9/2015
                 LT-203.00   LIGHTlNG   FlXTURE     ILLUSTRATIONS      4                        12/9/2015
                 LT-204.00   LIGHTING   FlXTURE     ILLUSTRATIONS      5                        12/9/2015
                 LT-205.00   LIGHTING   FlXTURE     ILLUSTRATIONS      6                        12/9/2015
                 LT-206.00   LIGHTING   FlXTURE     ILLUSTRATIONS       7                       12/9/2015
                 LT-207.00   LIGHTING   FlXTURE     ILLUSTRATIONS       8                       12/9/2015
                 LT-208.00   LIGHTlNG   FIXTURE     ILLUSTRATIONS       9                       12/9/2015
                 LT-209.00   UGHTING    FlXTURE     ILLUSTRATIONS       10                      12/9/2015
                 LT-210.00   LIGHTING   FlXTURE     ILLUSTRATIONS       11                      11/13/2015
                 LT-211.00   LIGHTING   FIXTURE     ILLUSTRATIONS       12                      11/13/2015
                 LT-212.00   LIGHTING   FIXTURE     ILLUSTRATIONS       13                      11/13/2015
                 44 PAGES    LIGHTING   FlXTURE     ILLUSTRATIONS       14                      11/13/2015
                 LT-210.00   LIGHTING  FlXTURE      ILLUSTRATIONS
                                                               11                                12/9/2015
                 LT-211.00   LIGHTING  FlXTURE   ILLUSTRATIONS  12                              12/9/2015
                 LT-212.00   LlGHTING  FlXTURE   ILLUSTRATIONS  13                              12/9/2015
                 LT-213.00   LIGHTING  FIXTURE   ILLUSTRATIONS 14                               12/9/2015
                 LT-214.00   LlGHTING  FlXTURE  ILLUSTRATIONS   15                              12/9/2015
                 DM-000.00   COVER SHEET                                                         1/0/1900
                 DM-110.00   MECHANICAL    FIRST FLOOR DEMOLITION     PART PLAN NORTH           12/9/2015
                 DM-111.00   MECHANICAL    FIRST FLOOR DEMOLITION     PART PLAN SOUTH           12/9/2015
                 DM-120.00   MECHANICAL    SECOND    FLOOR DEMOLITION    PART PLAN               12/9/2015
                             NORTH
                 DM-121.00   MECHANICAL     SECOND      FLOOR      DEMOLITION     PART   PLAN    12/9/2015
                             SOUTH
                 M-001.00    MECHANICAL     NOTES, SYMBOLES,   ABBREVIATIONS              &      12/9/2015
                             DRAWING   LIST
                 M-101.00    MECHANICAL     FIRST FLOOR PART PLAN NORTH                         6/24/2014
                 M-102.00    MECHANICAL     FIRST FLOOR PART PLAN SOUTH                         6/24/2014
                 M-103.00    MECHANICAL     SECOND   FLOOR PART PLAN NORTH                       6/24/2014
                 M-104.00    MECHANICAL     SECOND   FLOOR PART PLAN SOUTH                       6/24/2014
                 M-105.00    MECHANICAL     SECONF   FLOOR PART PLAN EAST                        6/24/2014
                 M-106.00    MECHANICAL     ROOF     PART   PLAN    NORTH                        6/24/2014
                 M-107.00    MECHANICAL     ROOF  PART PLAN SOUTH                                6/24/2014
                 M-110.00    MECHANICAL     FIRST FLOOR PART PLAN NORTH                          1/22/2016
                 M-111.00    MECHANICAL     FIRST FLOOR PART PLAN SOUTH                          1/22/2016
                 M-120.00    MECHANICAL     SECOND   FLOOR PART PLAN NORTH                       1/22/2016
                 M-121.00    MECHANICAL     SECOND   FLOOR PART PLAN SOUTH                       1/22/2016
                 M-122.00    MECHANICAL     SECOND   FLOOR PART PLAN EAST                        1/22/2016
                 M-130.00    MECHANICAL     ROOF     PART   PLAN    NORTH                        1/22/2016
                 M-131.00    MECHANICAL     ROOF     PART   PLAN    SOUTH                        1/22/2016
                 M-132.00    MECHANICAL     ROOF     PART   PLAN    EAST                         1/22/2016
                 M-133.00    MECHANICAL     ROOF PATY       PLAN EAST                           11/11/2015
                 M-300.00    MECHANICAL     SCHEDULES        I                                   1/22/2016
                 M-400.00    MECHANICAL     DETAILS I                                            12/9/2015
                  M-401.00   MECHANICAL     DETAILS II                                           6/24/2014


                                                                Page    10 of    16



...
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 77 of 122 PageID
                                                                     RECEIVED      #: 8601/25/2021
                                                                               NYSCEF:



           M-401.00    MECHANICAL     DETAILS ll                                         12/9/2015
           P-000,00    COVER SHEET                                                        1/0/1900
           P-001.00    ABBREVAT10NS       NOTES & SYMBOLS     LIST                       12/9/2015
           P-002.00    PLUMBING    UNDERGROUND        PIPING PART PLAN NORTH              3/21/2016
           P-003.00    PLUMBING    UNDERGROUND        PlPING PART PLAN SOUTH              3/21/2016
           P-101.00    UNDERGROUND        FIRST FLOOR PART PLAN NORTH                    11/11/2015
           P-102.00    UNDERGROUND        FIRST FLOOR PART PLAN SOUTH                    11/11/2015
           P-101.00    Grade Level Plumbing Plan                                          3/21/2016
           P-102.00    Second Level Plumbing Plan                                         3/21/2016
           P-103.00    Plumbing First Floor Part Plan                                     3/21/2016
           P-110.00    PLUMBlNG    FIRST FLOOR PART PLAN NORTH                           3/21/2016
           P-111.00    PLUMBING    FIRST FLOOR PART PLAN SOUTH                           3/11/2016
           P-120.00    PLUMBING    SECOND     FLOOR PART PLAN NORTH                      3/21/2016
           P-121.00    PLUMBING    SECOND     FLOOR PART PLAN SOUTH                      12/9/2015
           P-122.00    PLUMBING    SECOND     FLOOR PART PLAN EAST                       12/9/2015
           P-130.00    PLUMBING    ROOF FLOOR PART PLAN NORTH                            1/22/2016
           P-131.00    PLUMBING   ROOF FLOOR PART PLAN SOUTH                             1/22/2016
           P-132.00    PLUMBING   ROOF FLOOR PART PLAN EAST                              12/9/2015
           P-300.00    PLUMBING   SCHEDULE                                               3/11/2016
           P-400.00    PLUMBING   DETAILS  1 OF 4                                        12/9/2015
           P-401.00    PLUMBlNG   DETAILS 2 OF 4                                         12/9/2015
           P-402.00    PLUMBING   DETAILS 3 OF 4                                         1/22/2016
           P-500.00    PLUMBING   SANITARY   RISER DIAGRAM 1 OF 2 (NORTH       & EAST)   12/9/2015
           P-501.00    PLUMBING   SANITARY   RISER DIAGRAM 2 OF 2 (SOUTH       &         12/9/2015
                       PIAZZA PAD)
           P-502.00    PLUMBING   DOMESTIC   WATER RISER DIAGRAM                         1/22/2016
           P-503.00    PLUMBING   GAS RISER DIAGRAM                                      12/9/2015
           P-504,00    PLUMBING   STORM RISER DIAGRAM                                    12/9/2015
           P-201.00    PLUMBING   SECOND   FLOOR PART PLAN NORTH                         6/24/2014
           P-202.00    PLUMBlNG   SECOND   FLOOR PART PLAN SOUTH                         6/24/2014
           P-203.00    PLUMBING  SECOND    FLOOR PART PLAN EAST                          6/24/2014
          SSD-101.00   SUB-SLAB  DEPRESSURIZATION    PIPING                              12/9/2015
          SSD-102.00   SUB-SLAB  DEPRESSURIZATION    PIPING                              1/22/2016
           FO-000.00   COVER SHEET                                                       1/25/2016
           FO-104.00   NORTH GROUND     FLOOR FOUNDATION     PLAN                        3/31/2016
           FO-105.00   SOUTH GROUND     FLOOR FOUNDATION     PLAN                         1/22/2016
           FO-106.00   EAST CELLAR   FLOOR FOUNDATION     PLAN                            1/22/2016
           FO-110.00   EAST CELLAR   FLOOR FOUNDATION     PLAN                           11/19/2015
            S-104.00   NORTH SECOND     FLOOR FRAMING   PLAN                              3/31/2016
            S-105.00   SOUTH SECOND     FLOOR FRAMING   PLAN                             12/9/2015
           S-106.00    EAST ROOF FRAMING     PLAN                                        12/9/2015
           S-107.00    NORTH ROOF FRAMING      PLAN                                      3/31/2016
           S-108.00    SOUTH ROOF FRAMING      PLAN                                       12/9/2015
           S-109.00    SOUTH ROOF FRAMING      PLAN                                      11/19/2015
           S-111.00    EAST ROOF FRAMING     PLAN                                        11/19/2015
           S-111.00    EAST GROUND    FLOOR FRAMING   PLAN                               11/19/2015
           S-200.00    SECTIONS   & DETAILS i                                             3/11/2016
           S-201.00    SECTIONS   & DETAILS ii                                           3/11/2016
           S-202.00    SECTIONS   & DETAILS iii                                           12/9/2015
           S-300.00    COLUMN   SCHEDULE    NORTH & EAST                                  3/31/2016
           S-301.00    COLUMN   SCHEDULE    SOUTH                                         12/9/2015
           S-400.00    FRAMING   ELEVATIONS     I                                         12/9/2015
            S-401.00   FRAMING ELEVATIONS II                                              12/9/2015
            S-402.00   FRAMING ELEVATIONS III                                             12/9/2015
            S-500.00   ELEVATIONS I                                                       3/11/2016
            S-501.00   ELEVATIONS II                                                       3/11/2016
            S-502.00   ELEVATIONS III                                                      12/9/2015
            S-601.00   TYPICAL DETAILS AND SECTIONS I                                     1/22/2016
            S-602.00   TYPICAL DETAILS AND SECTIONS II                                    1/22/2016
            S-604.00   TYPtCAL DETAILS AND SECTIONS IV                                     12/9/2015
           VT-001.00   HATCH PLAN, MACHINE ROOM & SECTION     FOR PE1 & FE1               12/9/2015
           VT-002.00   HATCH PLAN, MACHINE ROOM & SECTION     FOR FE2 & FE3                12/9/2015
           VT-003.00   HATCH PLAN, MACHINE ROOM & SECTION     FOR FE4                      12/9/2015
           VT-004.00   ESCALATORS ESC- 1 & 2 PLAN, SECTIONS   & DETAILS                    12/9/2015
             Page 1    HATCH PLAN, MACHINE ROOM & SECTION     FOR PE1 & FE1                6/26/2014
             Page 2    HATCH PLAN, MACHINE ROOM & SECTION     FOR FE2 & FE3                6/26/2014
             Page 3    HATCH PLAN, MACHINE ROOM & SECTION     FOR FE4                      6/26/2014


                                                    Page   11 of   16
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                  INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 78 of 122 PageID
                                                                     RECEIVED      #: 8701/25/2021
                                                                               NYSCEF:



              Page 4      ESCALATORS ESC- 1 & 2 PLAN, SECTIONS & DETAILS                                     6/26/2014
              SKM-1       MECHANICAL SKETCH FiRST FLOOR PART PLAN                                           12/13/2013
              SKM-2       MECHANICAL SKETCH FIRST FLOOR PART PLAN                                           12/13/2013
              SKM-3       MECHANICAL SKETCH SECOND FLOOR PART PLAN                                          12/13/2013
              SKM-4       MECHANICAL SKETCH SECOND FLOOR PART PLAN                                          12/13/2013
              SKM-5       MECHANICAL SKETCH SECOND FLOOR PART PLAN                                          12/13/2013
              SKM-6       MECHANICAL SKETCH ROOF PART PLAN                                                  12/13/2013
              SKM-7       MECHANICAL SKETCH ROOF PART PLAN                                                  12/13/2013
              SKM-8       MECHANICAL SKETCH ROOF PART PLAN                                                  12/13/2013
              SKE-1       ELECTRICAL FIRST FLOOR PLAN                                                       12/13/2013
              SKE-2       ELECTRICAL FIRST FLOOR PLAN                                                       12/13/2013
            SKA-001       Gas Room Dimensions                                                               6/28/2016
            SKA-002       2nd Fl - Column B and 10.2                                                        7/28/2016
          Outdoor   Gas
         Rig Enclosure
            A-000.00      Cover    Sheet                                                                    5/17/2016
            A-001.00      Drawing Index                                                                     5/17/2016
            A-002.00      Code Chart General         Notes                                                  1/15/2016
            A-100.01      Floor Plans, Sections & Elevations                                                5/17/2016
            A-200.00      Typ. Section Details, Schedules    Etc.                                           1/15/2016
            E-001,00      Electrical Notes, Symbols, Abbreviations              & Drawing     List          1/15/2016
            E-100.00      Electrical
                                   Outdoor Gas Rig Enclosure                 Plan                           1/15/2016
           EN-001.00      Energy Cover Sheet                                                                1/15/2016
           EN -100.00     Energy Outdoor Gas Rig Enclosure    Plan                                          1/15/2016
            P-001.00      Plumbing Abbreviations,   Notes, Symbols, Details & Drawing                List   1/15/2016
            P-100.00      Plumbing First Floor Part Plan South Outdoor Gas Enclosure                        1/15/2016
           S-101G.00      Gas Room Plan & Details                                                           8/28/2015
           S-102G.00      Gas Room         Notes                                                            8/28/2015
           S-105G.00      Gas Room         Plan, Details   & Notes                                          5/17/2016
          GENERATOR
            E-001.00      Energy Compliance   Notes and Generator                 Specifications            3/11/2016
           E-002.00       Generator Part Plan & Details                                                     3/11/2016
           PARKING
           GARAGE
             T-001.0       Title Sheet                                                                       6/5/2015
             T-002.0       Abbreviations,     Symbols,       & Code   Analysis                               6/5/2015
             A-100.0       Site Plan                                                                         6/5/2015
             A-101.0       Grade Level Plan                                                                  6/5/2015
            A-102.0        Second Level Plan                                                                 6/5/2015
            A-103.0        Third Level Plan                                                                  6/5/2015
             A-201.0       Building Elevations                                                               6/5/2015
             A-202.0       Enlarged    Elevations                                                            6/5/2015
             A-203.0       3D Elevations                                                                     6/5/2015
             A-204.0       3D Elevations                                                                     6/5/2015
             A-301.0       Building Sections                                                                 6/5/2015
             A-302.0        Building Sections                                                                6/5/2015
             A-401.0        Stair No. 1 Plans                                                                6/5/2015
             A-402.0        Stair No, 1 Sections & Elevations                                                6/5/2015
             A-402.1        Stair No. 1 Sections & Elevations                                               2/13/2015
             A-403.0        Stair No. 2 Plans                                                                6/5/2015
             A-404.0        Stair No. 2 Sections & Elevations                                                6/5/2015
             A-404.1        Stair No. 2 Sections & Elevations                                               2/13/2015
             A-405.0        Stair No. 4 Plans                                                                6/5/2015
             A-406.0        Stair No. 4 Sections and Elevations                                              6/5/2015
             A-407.0        Stair No. 4 Plans                                                                6/5/2015
             A-408.0        Stair No. 4 Sections and Elevations                                              6/5/2015
            A-409.0         Pedestrian   Bridge Plans & Elevation                                            6/5/2015
             A-410.0        Pedestrian   Bridge Sections                                                     6/5/2015
            A-411.00        Macy's Pedestrian   Bridge Plans                                                1/11/2016
            A-412.00        Macy's Pedestrian   Bridge Elevation             & Details                      1/11/2016
            A-413,00        Macy's Pedestrian   Sections                                                    1/11/2016
            A-414.00        Macy's Pedestrian   Sections                                                    1/11/2016
             A-501.0        Door & Window Details                                                            6/5/2015
             A-601.0        Wall Sections                                                                    6/5/2015
             A-602.0        Wall Sections                                                                    6/5/2015
             A-701.0        Typical Details                                                                  6/5/2015


                                                                      Page      12 of    16
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                            INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 79 of 122 PageID
                                                                     RECEIVED      #: 8801/25/2021
                                                                               NYSCEF:



            A-702.0                 Typical Details                                                                                                  6/5/2015
             A-801                  Grade Level Signage Plan                                                                                         6/5/2015
                A-802               Second Level Signage Plan                                                                                        6/5/2015
                A-803               Third Level Signage Plan                                                                                         6/5/2015
             A-804                  Signage       Details                                                                                            6/5/2015
            S-001.0                 General       Structural      Notes                                                                              6/5/2015
            S-002.0                 Typical Details                                                                                                  6/5/2015
            S-003.0                 Typical Masonry Details                                                                                          6/5/2015
            S-101.0                 Foundation   Plan                                                                                               11/11/2015
           S-101A.0                 Macy's Pedestrian Bridge     Foundations  & Details                                                              1/11/2016
            S-102.0                 Foundation   Elevations                                                                                         11/11/2015
            S-103.0                 Foundation   Sections                                                                                           11/11/2015
            S-104.0                 Stair Foundation    Plans                                                                                       11/11/2015
            S-201.0                 Grade Level Framing Plan                                                                                         6/5/2015
            S-202.0                 Second Level Framing Plan                                                                                        6/5/2015
            S-202.1                 Pedestrian  Bridge Framing Plan                                                                                  6/5/2015
            S-203.0                 Third Level Framing Plan                                                                                         6/5/2015
            S-301.0                 Typical Precast Details                                                                                          6/5/2015
            S-302.0                 Typical Precast Details                                                                                           6/5/2015
            E-001.0                 Electrical Notes, Abbreviations,   Symbol List & Drawing                        List                             1/11/2016
            E-101.0                 Grade Level Electrical Plan & Partial Riser Diagram                                                             12/10/2015
            E-102.0                 Second Level Electrical    Plan                                                                                  1/11/2016
             E-103.0                Third Level Electrical Pian                                                                                      1/11/2016
             E-500.0                Electrical Panel Schedules     & Riser                                                                          12/10/2015
            FP-001.0                Fire Protection  Cover Sheet                                                                                     6/5/2015
            FP-101.0                Grade Level Fire Protection      Plan                                                                            6/5/2015
            FP-102.0                Second Level Fire Protection      Plan                                                                           6/5/2015
            FP-103.0                Third Level Fire Protection    Plan                                                                              6/5/2015
                P-001.0             Plumbing    Cover Sheet                                                                                          6/5/2015
                P-101.0             Grade Level Plumbing Plan                                                                                       3/21/2016
                P-102.0             Second Level Plumbing       Plan                                                                                3/21/2016
                P-103.0             Third  Level      Plumbing Plan                                                                                 3/21/2016
                 SK-01              Loading on        Bridge Spandreis                                                                              12/2/2015
                 SK-02              Steel Beam        to P.C. Column                                                                                 12/2/2015
                SK-03               Steel Beam        to P.C. Column                                                                                 12/2/2015
                SK-04               Foundation        Plan                                                                                          10/21/2015
                SK-05               Pier Details                                                                                                    10/21/2015
                SK-06               Typical Precast Col.Pier Footing Detail                                                                         10/21/2015
                SK-07               Stair B at Grade for Shop Drawing F7.2 & F7.8                                                                    1/12/2016
                SK-08               Section @ Precast Beam per comments     on F10.1, F10.1A                                & F10.2                  1/22/2016
                SK-09               Section @ Steel Framing per comments    on F10.1 & F10.2                                                         1/22/2016




           B.      Specifications           for   Staten         Island    Mall    Expansion           issued      for     bid/permit        date    3-3-2016.
           C.      Specifications           for   Staten         Island    Mall    Parking       Garage          issued       for    bid/permit      date   6-5-2015
           D.      Addendum          No.      1 issued           on   01-22-2015       West        Expansion          by S9Architecture.
           E.      Addendum          No.      2 issued           on   12-09-2015          Structural        by   S9Architecture.
           F.      Addendum          No.      3 issued           on   01-22-2016          Structural        by   S9Architecture.
           G.      Addendum          No.      4 issued           on   03-04-2016          RFI    1-130   by       S9Architecture
           H.      Geotechnical             Reports        for    Staten    Island     Mall     Expansion           & PG        by      Langan      dated       12-02-14.




                                                                                   Page       13 of    16
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                        INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 80 of 122 PageID
                                                                     RECEIVED      #: 8901/25/2021
                                                                               NYSCEF:




       SECTION          III.     SPECIAL                    CONDITIONS


          A.     Contractor                  shall         have          a superintendent                         on the          project              at all times                while        Work              is being           conducted.
           B.    All    hours              of Work           shall          be        coordinated                 with         mall         operations                 staff        in order               to     accommodate                      mall
                 operations,                     shoppers                and          existing           tenants.
           C.    All    mall          utilities          shall        be        maintained                 and        operational                     throughout                the        course               of the         Project         that      is
                 affected              by     the        Work.
           D.    All    life     safety            and       security    systems    shall be                                     maintained                    and      operational                    throughout                     the     course
                 of the         Project             that     is affected     by the Work.
           E.    Contractor                  shall         provide              an      area       for     trash           removal               and         a secure           lay       down/storage                          area.         Both      to
                 be     located              in an         area          pre-approved                      by     Owner's               mall           operations.
           F.    The       Owner's                   authorized                   representative                       shall          be      Anthony                 Gambino.                      Any           matters            involving              a
                 change               of schedule                   or cost             shall      get      approval              from           Anthony              Gambino,                  only,            prior        to initiating           the
                 change.                   The      Contractor's                      authorized                 representative                        shall       be Anthony                       Higgins.
           G.    It is the            Owner's               responsibility                      to contract                the     services                  of an       independent                        testing            company               and
                 to    hire          the     services               of     an         abatement                 company                 should               Hazardous                   Materials               be        encountered                   in
                 the      areas             affected             by      the      Work.
           H.    Geotechnical/materials                                     testing,              National             Pollutant                 Discharge                  Elimination                    System              (NPDES)                and
                 other          special            inspections                    and       testing             services              are        coordinated                   by the          Owner.

           I.    Cost          for     building             permits              is excluded                 from          the     base            bid,       Contract              Sum         or Guaranteed                           Maximum

                 Price,          as        applicable.
           J.    Performance                        and      payment                   bonds         are        excluded               from           the      base         bid,      Contract                  Sum,           or Guaranteed
                 Maximum                     Price,         as      applicable.
           K.    All     impact              fees,  tap fees,       water     meters,   utility                                        fees,          zoning           fees         or        any      other            fees         imposed           by
                 authorities                 having    jurisdiction       over   the Project                                          are        excluded              from         the        base             bid,     Contract             Sum       or
                 Guaranteed                       Maximum                  Price,          as      applicable.
           L.    Contractor                      shall       include                  temporary                 fencing,               barricades,                    canopies,                     dust          control,            pedestrian

                 control,             and        traffic         control          to ensure               proper            traffic         flow        and       public           safety           through              the     active        center
                 of the          Project.
           M.    Contractor                   shall        include              erosion            control            as    shown              on the           bid     documents                     and          in accordance                     with
                 the     jurisdictional                     Storm           Water               Pollution             Prevention                   Program              (SWPPP).
           N.    Contractor                   shall        provide               protection               for     all existing                and           new       affected              materials.
           O.    Contractor                   shall        patch      any fireproofing                             required                to maintain                 the      structure's                     fire     rating.
           P.    All     lifts/scaffolding                       to be left in a safe                           and        secured               manner.

           Q.    Contractor                   to ensure                  that      no tenant                suffers          loss          of business                 due         to any            work              being       performed.
           R.    Contractor                   shall         provide             trade           permits           and        licenses                 as     required.
           S.    Contractor                   shall         submit              Change              Order             Requests                   to     Owner            within            seven         (7) calendar     days    of

                 becoming                    aware           that        a Change                  is necessary                    to Scope                   of Work.                If such          Change     request    is not
                 submitted                   within         twenty-one                     (21)        calendar              days           of Contractor                      becoming                    aware              of the        need       for
                 such           Change,                  Owner             shall         not      be      obligated               to        pay        for     such          Change                 and          the      Contractor               shall
                 perform               the        extra      work           at no          cost        to the         Owner             and           without      affecting     the                    Project                Schedule.
           T.    Contractor                   shall         submit              a cash            flow          projection              for       the        remainder       of the                    Work              to     be      completed
                 with          each         Application                   for     Payment.
           U.    Contractor                   shall         provide               subcontractor                       Applications                     for     Payment                   as     backup                  documentation                    to
                 the  monthly                     Application                   for     Payment                 upon        Owner's                   request.
           V.    Contractor                   shall        provide              Owner            with       a recycle              report             during          the      course           of the             Project.             The     report
                 should              include,              but     is not          limited          to,     the       following



                                                                                                                Page        14 of           16
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                            INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 81 of 122 PageID
                                                                     RECEIVED      #: 9001/25/2021
                                                                               NYSCEF:




                           1)       Contractor             will     provide           a manifest             that      will       include         the      Percentage             of    material         recycled
                                    from      construction                 debris.




       SECTION             IV.     COMPENSATION



           A.       Fees         on       Change          Orders:
                            1.      Contractor             Fee          applied       to self-performed                       work        is 10%.
                           2.       Contractor             Fee          applied       to work            performed                by    subcontractors                is 2.25%.
                           3.       Subcontractor                  Fee       applied           to Change             Orders             is 10%.
                           4.       Contractor's                 General          Liability        insurance                percentage                is 1.6%.
                           5.         Fees       on    Change              Orders       shall       not     compound                   one      another,          they   shall         be   individual       fees
                                      based        on the         direct      work       total.




            B.      Bid     Alternates:


                            1.      Alternate             No.      1:      Altemates              will     be     provided               by     the     contractor         throughout              the     buyout
                                      process.




           C.       Unit         Prices       (cost        to     include            furnish         and        install):


                            1.        Unit    Price       No.      1:      Unit      pricing       will    be     submitted               following         the      completion             of trade      buyout.




        SECTION            V.     PROJECT                SCHEDULE



            Milestones                                                                                                                 9_aate


            Contract             Award         (Notice-to-Proceed):                                                                    07/15/2016


            Construction                  Start:                                                                                       08/29/2016


            Substantial                Completion                Parking          Garage:                                              10/06/2017


            Substantial                Completion                Northside            Expansion:                                       04/06/2018


            Substantial                Completion                Southside             Expansion:                                      09/07/2018


            Final     Completion:                     (Project          Closeout          Complete):                                   10/15/2018




                                                                                                  Page          15 of        16
     FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                      INDEX NO. 150180/2021
               Case
     NYSCEF DOC. NO.1:24-cv-04939-VMS
                     2                Document 1-1 Filed 07/16/24 Page 82 of 122 PageID
                                                                          RECEIVED      #: 9101/25/2021
                                                                                    NYSCEF:




            Bid   Breakdown          (Schedule           of   Values)




                      Cost    Code                                           Code      Description                                     Total

                      A1010005              Concrete                                                                                $7,999,000

                      B0505005              Precast           Parking          Structure                                            $9,050,000

                      B1010070              Miscellaneous                  Metals                                                   $2,808,600

                      B2010027              Structural           Steel       (Northside        Expansion)                           $5,542,417

                      B2010027              Structural           Steel       (Southside        Expañsion)                           $2,866,132

                                                 ter     r Mall       Entrance           (Emergency           Egress     space
                      B2030005                                                                                                        $365,000


                      D1090005              Vertical          Transportation                                                        $2,444,000

                      D2010005              Plumbing                                                                                $5,504,680

                      D3040005              HVAC                                                                                    $3,307,000
                                                                                                                 .

                      D4010005              Fire       Protection                                                                   $4,009,100

                      D5010005              Electric                                                                                $11,794,039

                      D5010010              Electrical          Blockhouse               (Con-Ed       Requ      ed    Scope)       $1,158,850

                      F2010020              Demolition                                                                              $1,575,000

                      G0505005              Sitework           (includes            100%     CD Scope           Increase)           $10,675,067

                      G0505011              Sitework            Pad      100                                                          $108,040

                      G0505012              Sitework            Pad      113                                                          $250,206

                      G4010005              Site       Architectural            Lighting                                              $578,500

                      A0505005              Substructure                 (Acceleration         Cost:     Owners        Allowance)   $1,356,112

                      T1010005              General            Requirements                                                         $14,078,300

                      T1010005               General           Conditions                                                            $4,367,540

                      T1050020               Insurance            (Includes          GGP      Ins    Requirement            $50M)   $1,440,695

                      T1060010               Contractor's              Fee                                                           $2,063,024




                                                                                                                                    $93,341,302
                                            TOTAL             CONTRACT:




                                                                                      Page     16 of     16



..
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                    INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 83 of 122 PageID
                                                                     RECEIVED      #: 9201/25/2021
                                                                               NYSCEF:

                                                                                                                                                           Staten              island          Mail     - Seed                               Macys
                                                                                                                                                                                                                          Money
                                                                                                                                                                                                                         Contract                # 019
                                                                                                                                                                                                  Aurora            Contractors,                   inc.

                                                                                                                  EXHIBIT                       B
                                                                                               GENERAL                         CONDITIONS


                                                                                                                 ARTICLE                         1
                                                                                           CONTRACTDOCUMENTS


                              Section                     1%                   Definitions.


                                                                                                       Agreement"                                                                                                         Agreement"
                           11.1.                         "Construction                                                                            The              term          "Construction
                     "Agreement"
             or                                               means              the           Agreement                       between                         Owner                  and         Contractor                          to     which
             these         General                       Conditions                       are      attached                    as        Exhibit                    B.


                              1.1.2.                       Intentionally                        omitted.


                                                                                                           "day"
                              1.1.3.                     "Day".                 The            term                         as       used                 in the           Contract                    Documents                            means
             a calendar                   day,             unless               otherwise                   expressly                          defined                   in the           Contract                 Documents.


                              1.1.4.                     Other                 Defined                    Terms.                          Unless                    otherwise                      defined                      herein,              all
             capitalized                      terms                  used             herein                have               the             meanings                          ascribed                     to      them                  in     the
             Construction                          Agreement.                                  Unless             otherwise                         stated                in      the           Contract                  Documents,
             words            which                 have             well-known                           technical                   or         construction                              industry                 meanings                       are
             used        in    the            Contract                    Documents                        in     accordance                              with           such             recognized                      meanings.


                              Section                     1.2.                 Execution,                        Integration                             and         intent.


                              1.2.1                      Comprehensive                                     Nature                   of         Contract                        Documents.                             The              intent         of
             the      Contract                     Documents                         is to         include               all     items               necessary                          for      the      proper                    execution
             and       completion                             of    the        Work              by       the          Guaranteed                              Date             of      Substantial                       Completion.
             The        Contract                        Documents                          are         complementary,                                     and            what             is     required                  by         any         one
             shall      be         as         binding                as        if required                  by     all


                              1.2.2.                     Supplemental                                  Design               Information.                                   It is the             intent            of the             Contract
             Documents                        to        provide                for        complete                 installation                          of    all        portions                of    the         Work.                   Except
             where            Work,                 or        a     portion                thereof,               is     specifically                          noted                 as        being           Not             In     Contract

             ("N.I.C."),                 it        is      understood                           that        all        items,                   materials                      and             equipment                        are          to      be
             furnished                  and             installed,               complete,                      ready            for           operation                    or       use.          Where                  additional                  or
             supplemental                               details           or     instructions                      are         required                       to     complete                     an      item            or        items,         the
             Contractor                   shall               request                such          information.                           No Work                        shall        be        instaHed                  or        fabricated
             which            depends                         upon         the            fumishing                    of      such              information                            until          such          information                        is
             furnished.                   The             furnishing                      of    such         data           shall              not        be        the        grounds                  for        a claim                 of extra
             Work             by        the             Contractor                        where                 such             data                is        consistent                          with             the              Contract
             documents.                             The             Contractor                     will     be         deemed                       to        have          based                its     bid        on         a complete

             installation                     of        the        Work              in        accordance                           with             the            Contract                     Documents                                 : where
             additional                 details                or     instructions                        are      required                     to        complete                    the        Work,              the         Contractor
             is deemed                    to        have             made                 an     allowance                     in        its     bid          for        the         completion                     of         such          Work,
             consistent                  with              adjoining                      or     similar           details                 and/or                   the          best           accepted                   practices                  of




             GMP-10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                      INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 84 of 122 PageID
                                                                     RECEIVED      #: 9301/25/2021
                                                                               NYSCEF:

                                                                                                                                                               Staten              Island        Mall        - Seed                             Macys
                                                                                                                                                                                                                              Money
                                                                                                                                                                                                                             Contract              # 019
                                                                                                                                                                                                      Aurora            Contractors,                   inc.

             the          trade,                 whichever                        is         more                   expenswe                               suitable,                         unless               such                additional
             information                      clearly            constitutes                         information                           which              was             not       reasonably                      inferable                  from
             the       Contract                      Documents,                          in which                       case              the         Guaranteed                             Maximum                    Price               may         be
             adjusted                  in accordance                              with            Article               6 of the                 Construction                            Agreement.


                                Section                  1.3.                Ownership                                   and               Use               of         Documents.                                   All           Drawings,
             Specifications                            and       copies                 thereof                furnished                        to Contractor                            by     the        Architect                   or     Owner
             are         and          shall            remain               the         property                    of         the          Owner.                      They             are      to         be      used              only         with
             respect             to        this        Project              and             are      not           to         be     used             on      any            other            project.and                    they            are       not
             to     be       used           by         the      Contractor                         or     any             Subcontractor,                                 Sub-Subcontractor,                                        Vendor               or
             material                 or      equipment                       supplier                        on         other              projects                    or     for           additions               to         this         Project
             outside               the          scope            of     the         Work                 without                    the         express                  written                consent                 of      the          Owner.
             The            Contractor,                        Subcontractors,                                      Sub-subcontractors,                                                 Vendors                   and           material                or
             equipment                      suppliers                 are          granted                    a limited                     license                to        use        and       reproduce                        applicable
             portions                 of      the            Drawings,                       Specifications                                    and          other             documents                           prepared                    by       the
             Architect                 appropriate                      to        and         for        use            in the            execution                      of the              Work          under             the        Contract
              Documents.                              Submittal                   or        distribution                            to     meet              official               regulatory                     requirements                          or
             for       other               purposes                    in         connection                             with             this         Project                     is    not          to      be        construed                       as
             publication                      in      derogation                       of     the        Owner's                          reserved                  rights.



                                                                                                                    ARTICLE                            2

                                                      ADMINISTRATION:                                               ARCHITECT                                     RESPONSJBILIT_Y


                                Section                  2.1.                Administration                                          of        the         Agreement.


                                2.1        1.           Architect                      to      Provide                        Limited                  Administration.                                     The        Architect                     shall
              have          authority                   to     act      on         behalf                of    the             Owner                  only         to        the        extent             expressly                    provided
              in    the         Contract                     Documents.                             The             Owner                      may           direct            the           Architect                to        monitor                the
              Project              and               provide               instructions                            to         the          Contractor                         regarding                      the        Project.                     The
              Owner              has             the         unfettered                       right            to         perform,                     or         assign                to     the         Architect,                       contract
              administration                             responsibilities                                 as             it        deems                   appropriate,                          in        its       sole              direction,
              consistent                   with          applicable                         law,         upon                 notice             to     Contractor.


                                2.1.2.                  Authority                             of              Owner's                                 Representative.                                                The                Owner's
              Representative                                 shall         have              the         general                         responsibility                         for          administering                         the         Work.
             The            Owner                 may          direct             the         Architect                        to         monitor                  and             instruct            the          Contractor                       with
              regard             to         matters                  set          forth             in        the             Drawings                       and             Specifications;                               however,                    the
              Owner's                 Representative                                shall            have                the         authority                    to     make                decisions                  regarding                    any
              and         all    questions                     which              may              arise            as         to        the         progress,                     quality            or      cost         of     the         Work.


                                2.1.3.                  Architect's                           Visits                to         Jobsite.                      The             Architect                 will        visit         the         Jobsite
              at    intervals                   appropriate                        to        the         stage                 of         construction                          of       the         Project               to      familiarize
              itself        with           the         progress                   and             quality                 of        the         Work,              and             to    determine                      if the              Work            is

              proceeding                        in     accordance                           with         the            Drawings                       and             Specifications.                               On         the         basis           of
              his      or       her        on-site              observations                             as         an             architect,                 the            Architect                wili         keep           the         Owner




             GMP-10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                           INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 85 of 122 PageID
                                                                     RECEIVED      #: 9401/25/2021
                                                                               NYSCEF:

                                                                                                                                                                  Staten               Island         Mall        - Seed                               Macys
                                                                                                                                                                                                                                    Money
                                                                                                                                                                                                                                   Contract             # 019
                                                                                                                                                                                                           Aurora            Contractors,                    Inc.

             informed                  of          the            progress                     of      the            Work,                and             wiH          assist            the          Owner                      in     identifying
             potential                defects                     and       deficiencies                              in the          Work                  of     the           Contractor.


                              2.1       _4.                  Matters                for         Which                      Architect                       is     Not             Responsible,                                The          Architect
             will     not        be       responsible                         for,         and              will       not         have          control                    or     be     in charge                     of,        construction

             means,                methods,                        techniques,                             sequences                        or        procedures,                             or     for         safety                precautions
             and       programs                          in connection                          with             the         Work,           and                the        Architect                 will        not        be         responsible
             for     the         Contractor's                             failure              to      carry                out      the         Work                  in     accordance                          with             the         Contract
             Documents.                                 The         Architect                       will         not         be      responsible                              for       or          have          control                 or         charge
             over          the        acts              or        omissions                     of         the         Contractor,                          Subcontractors,                                  Vendors,                      or         any          of
             their         agents                  or     employees,                           or          any         other          persons                         performing                      any          of       the         Work.


                              2.1.5.                      Access                   to      Work.                      The          Owner               (and                Owner's                   lender             or        development

             partners,                 if     applicable)                          and              Architect                      shall         have                 access                  at      all     times                to      the         Work
             regardless                      of         the        stage           it is in terms                            of preparation                                 and         progress.


                              2.1.6.                         Interpretations                                     by         Architect.                           At         the         request                  of     the            Owner,                the
             Architect                 shall                 prepare                graphic                        illustrations                       and              other            documents                            that         clarify              or
             interpret                various                     aspects                 of        the          Drawings                    and                Specifications.                              The             Architect                   shall
             render              interpretations                              with             reasonable                            promptness                              to        Owner                or        Contractor                       so      as
             not       to     delay                the            performance                               and             progress                   of        the         Work.                   Contractor                         shall          make
             written             request                     to     the      Owner                     in     connection                         with             any            request               for        interpretations                              by
             the      Architect.


                              2.1.7.                         Reiection                     of          Work                  and            Special                         Requirements.                                      The              Owner's
             Representative                                   shall         have               the          authority                 to      reject                  Work             which                does            not          conform                   to
             the       Contract                     Documents.                                 The            Owner                  shall             have                the         authority                  to        require                  special
             inspection                     or      testing                of the          Work                    in accordance                                 with         Section                 13.2            of these                  General

             Conditions,                           whether                    or          not              such              Work                is         fabricated,                         installed                     or         completed
             whenever                     the           Owner               considers                         it necessary                            or        advisable                     for     the         implementation                                   of
             the       intent           of         the        Contract                    Documents.


                                 2.1.8.                      Architect's                        Review                       of      Submittals.                                  At     the         request                  of        Owner,               the
             Architect                      will             review                 and               approve                        or      take                     other              appropriate                              action                upon
             Contractor's                           submittals                       such                   as         shop            drawings,                            product                  data              and             samples                     to
             ensure               conformance                                with          the              Contract                      Documents.                                   Such           action                shall           be         taken
             with          reasonable                         promptness                             so       as       to     cause               no            delay            in the             Work           or       in the             activities
             of      the          Owner,                      the          Contractor,                              Subcontractors                                      or        separate                       contractors,                           while

             allowing               sufficient                      time       in the                Architect's                      professional                               judgment,                    to permit                    adequate
             review.               Review                     of such               submittals                             is not          conducted                         for        the         purpose                  of        determining
             the      accuracy                      and            completeness                                  of other             details                   such             as     dimensions                          and          quantities,
             or      for     substantiating                                 instructions                              for      installation                           or      performance                              of     equipment                            or

             systems,                  all         of which                 remain                   the           responsibility                           of the               Contractor                       as        required                  by     the
             Contract                  Documents,                              The              Architect's                          review                 of        the         Contractor's                          submittals                         shall
             not       relieve               the             Contractor                    of         any             of     its     obligations                             under             the          Agreement                           or     these
             General                  Conditions.




             GMP_10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                     INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 86 of 122 PageID
                                                                     RECEIVED      #: 9501/25/2021
                                                                               NYSCEF:

                                                                                                                                                              Staten           island           Mall     - Seed                                  Macys
                                                                                                                                                                                                                            Money
                                                                                                                                                                                                                           Contract                 # 019
                                                                                                                                                                                                   Aurora            Contractors,                       inc



                              2.1.9.                      Architect                       Inspection.                            If requested                          by       Owner,                   the         Architect                      shall
             observe                the        progress                   of the               Work             to determine                            the     dates               of     Substantial                         Completion
             and       Final          Completion,                              and          shall          receive                  and           forward               to      the         Owner                  for        the         Owner's

             review,            approval                     and          records,                  written                warranties,                        guarantees,                         as-builts                    and             related
             closeout                documents                           required                     by        the         Contract                    Documents                           and          assembled                             by       the
             Contractor.                         If requested                             by       the          Owner,                 the         Architect                    will        issue              a     certification                          of
             Substantial                       Completion,                            upon              Substantial                        Completion                           of       the       Work              in        compliance
             with      the          requirements                           of the                Contract                    Documents,                           The           Owner                  will        review                  the        final
             Certificate                   for             Payment                        for         approval                      upon                Contractor's                             compliance                              with           the
             requirements                             of     the          Contract                       Documents.                                if     requested                         by         Owner,                  neither                  the
             Certificate                  of         Substantial                          Completion                          nor         the         final       Certificate                      for         Payment                         will      be
             issued            without                    a complete                            physical                 walk-through                             of     the             Project              and             approval                   by
             the     Owner.                     The          Architect                     and           Owner                will        review               the           Contractor's                          punch-list                      to    be
             attached                to        the         Certificate                     of     Substantial                         Completion.


                              2.1.10.                     Modifications                                       of            Architect's                                Authority.                                        The                   duties,
             responsibilities                              and       limitations                         of        authority                 of       the       Architect                       during              construction                              of
             the     Project               as         set        forth          in the            Contract                    Documents                         will          not        be      modified                     or     extended
             without            the        prior            written              consent                      of     the        Owner                   given            to      the            Contractor.


                                                                                                                     ARTICLE                       3
                                                                                                                         OWNER


                              Section                      3.1.                Information                             and            Services                    Required                        of     the             Owner.


                              3.1.1.                      Information                            as        to       Site         Conditions.                                 The           Owner               shall               furnish,               as

             necessary                         for          the           performance                                 of         the            Work,                  surveys                     describing                             physical

             characteristics,                              legal          limitations                         and           utility         locations                   for          the         Jobsite                 of        the         Project
             and         a    legal             description                          of     the          Jobsite.                     The          Contractor                         warrants                     and             represents
             that        it     has               visually                      inspected                          the          Jobsite                   and            all          conditions                          affecting                     the
             performance                             of     Work                at        the           Jobsite.                    The            Contractor                          shall           use           best                efforts              to
             recommend                           to         the          Owner                   such              further                investigations                               and          studies                    as          may            be

             necessary                     or         useful              to     determine                            the        surface                    and         subsurface                            conditions                         of     the
             Project            and             the         Contractor                          shall         advise                the         Owner                prior           to         commencing                               the       Work
             if    it deems                further                 investigations                               or       studies                are           necessary.                          The          Contractor                             shall
             exercise                 special                     care               in         executing                        subsurface                            work                in     proximity                         of         known
             subsurface                        utilities,            improvements                                   and         easements.                             All      information,                         data            or        reports
             as     to        the         conditions                       at        the          Jobsite                  are         furnished                       by       the             Owner               for            information
             purposes                  only,               and      the          Owner                   makes                no       warranties                       as       to        such          information.


                              3.1.2.                       Owner                to        Obtain_                  and           Pay            for       Approvals.                              Except                  as         otherwise

             expressly                    provided                   in        Section                  4.6.1            of      these                General                  Conditions,                          or        in     any           other
             provision                    of         the          Contract                       Documents,                               the           Owner                  shall              secure                  and               pay          for

             necessary                     site            plan          approvals,                        easements,                           variances,                      assessments                                   and          charges




             GMP _10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                            INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 87 of 122 PageID
                                                                     RECEIVED      #: 9601/25/2021
                                                                               NYSCEF:

                                                                                                                                                                 Staten              Island            Mall           - Seed                           Macys
                                                                                                                                                                                                                                     Money
                                                                                                                                                                                                                                    Contract               # 019
                                                                                                                                                                                                            Aurora             Contractors,                     inc.

             required                   for         the          construction,                               use            or       occupancy                           of        permanent                            structures                     or       for
             permanent                         changes                      in existing                       facilities.


                                3.1.3.                     Information                                 or         Services                       Under                 Owner's                         Control,                           Except                 as
             otherwise                     provided                       in,      and            subject                   to      Section                3.1.1               of        these              General                   Conditions,
             upon            receipt                  of        a      written                request                       therefore                   from              the            Contractor,                          information                         or
             services                 under                the           Owner's                       control               and           reasonably                          required                     for         the         performance
             of     the      Work                  shall            be      fumished                         by      the           Owner               with         reasonable                              prornptness                          so        as     to
             avoid           delay              in the                performance                             and            progress                   of       the          Work.


                                3.1.4.                     Contractor                             to        Receive                   Copies                  of       Drayvings                            and          Specifications.

             Unless                  otherwise                        provided                         in     the            Contract                   Documents,                                the             Contractor                      will           be

             furnished,                    free            of       charge,                 one             (1)      reproducible                          copy               of     the          Drawings,                         as-builts               and
             Specifications                                 and                 six          (6)             compact                           discs              ("CD")                    of             Drawings,                        as-builts,
             Specifications,                               and            other             drawings                         and          documents                           reasonably                              necessary                    for          the

             execution,                       performance                              and             completion                         of     the       Work.


                                Section                     3.2.                 Owner's                          Right              to        Stop           the         Work.



                                3.2.1.                     Stop             Work                  Orders.                        If the         Contractor                         fails         to        carry             out      the        Work               in
             accordance                            with             the         Contract                      Documents,                               including                        failure              to        correct              defective
             Work            as         required                       by        Section                     12.2             of     these              General                         Conditions,                           the         Owner,                 by
             written               order,             may                order              the         Contractor                        to        stop         the          Work,                   or     any             portion             thereof,
             until        the        cause                for       such              order             has          been            eliminated;                         however,                      this           right         of the            Owner
             to     stop          the         Work               shall           not        give             rise       to       any           duty        on       the            part      of the                   Owner            to    exercise
             this         right         for        the          benefit                of     the           Contractor                         or     any          other                person                   or     entity.             This            right
             shall          be        in       addition                   to,         and           not           in        restriction                 of,         any             of     Owner's                       other            rights             and
             remedies                      under                the       Agreement.


                                  3.2.2.                   Suspension                                  of     the            Work.                  Subject               to        the       provisions                           of Article                7 of
             these            General                      Conditions                         concerning                             delay             and          in        accordance                               with         Section                 13.3
             of      the          Construction                              Agreement,                              if the            Owner,                  acting                 in     good                  faith,            believes                 that
             suspension                            of the            Work              is warranted,                               the         Owner               may             suspend                       the       Work             by        written
             notice             to      the         Contractor.


                                Section                     3.3.                  The               Owner's                          Right               to         Carry                   Out              the              Work.                    If       the
             Contractor                        defaults                     or         neglects                        to        carry           out          the         Work                   in        accordance                        with               the
             Contract                   Documents                            and            fails           within            five        (5)       days            after           receipt                 of written                 notice               from
             the       Owner                  to     commence                           and             correct                  such           default              or       neglects                      to        carry         out     the         Work
             with         diligence                   and             promptness,                             the           Owner               may,           without                    affecting                    any         other         remedy
             the       Owner                  may               have,            correct                    any        such              deficiencies.                             In     such              case,             an      appropriate
              Change                  Order                shall          be          issued                deducting                      from            the         payments                        then             or     thereafter                    due
             the          Contractor                        the             cost             of        correcting                         any          such               deficiencies,                                including                  without

             limitation,                      architectural,                            consulting                            and              reasonable                            legal                 fees            required                   by        the

             circumstances,                                      If      the          payments                          then              or        thereafter                      due           the             Contractor                      are           not




             GMP-10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                       INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 88 of 122 PageID
                                                                     RECEIVED      #: 9701/25/2021
                                                                               NYSCEF:

                                                                                                                                                              Staten        island              Mall      - Seed                                Macys
                                                                                                                                                                                                                             Money
                                                                                                                                                                                                                            Contract                # 019
                                                                                                                                                                                                    Aurora             Contractors,                    inc,

            sufficient                   to          cover               such            amount,                      the       Contractor                        shall          pay             the        difference                         to      the
            Owner.


                                                                                                                       ARTICLE                     4
                                                                                                                 CONTRACTOR


                                  Section                    4.1.                Review                     of        Contract                   Documents.


                                  4.1.1.                    Contractor                            to         Review                  Contract                      Documents.                                    The               Contractor
            shall           carefully                    study             and              compare                     the         Contract                   Documents                           with          each               other             and
            with          any            information                         furnished                        by        the          Owner                pursuant                    to          Section                   3.1          of     these
            General                     Conditions                          or         information                           otherwise                    available                       to       the          Contractor,                           and

            immediately                              shall          report             to     the           Owner               and          the        Architect                   all     errors,              inconsistencies
             or     omissions                         discovered.                            If the           Contractor                      performs                    any         construction                             activity               and
             it   knows,                 or          should               have              known,                    that       any          of        the       Contract                      Documents                            contain                 a
             recognized                          error,             inconsistency                                or     omission,                   the           Contractor                       shall          be          responsible
            for     such             performance                             and            shall           bear          the       cost          of correction                       thereof.                   Contractor                         shall
             review               the         Contract                    Documents,                             and          if the        Contractor                    observes                       that        portions                   of the
             Contract                    Documents                           are            at        variance                  with          applicable                       laws,              statutes,                   ordinances,

             building               codes,                   rules         or      regulations,                          the        Contractor                     shall            promptly                    notify             the        Owner
             and          Architect                          in     writing,                     and             necessary                        changes                  shall                be          accomplished                                 by
             appropriate                             Change                Order,


                                  4.1.2.                     Verification                              of        Field              Measurements                                     and               Conditions.                                    The
             Contractor                         shall             take           field            measurements                                    and          verify           field             conditions,                        and             shall

             carefully                  compare                      such           field              measurements                                and          conditions                       and          other               information
             known                 to      the          Contractor                          with            the         Contract                   Documents                          before                  commencing                               the
            Work.                  Errors,                   inconsistencies                                 or        omissions                    discovered                            shall          be       reported                     to      the

             Owner                  and              the          Architect                      at         once;             and           the          Contractor's                             failure              to          verify            field
             measurements                                     and         conditions                         shall            not       serve             as       basis              for         an        adjustment                          in     the
             Guaranteed                               Maximum                      Price.                    To         the         extent,              if     any,        that               Owner               has              heretofore
             caused                 soil             tests          or     test          borings                   to        have           been              made             on         the         Jobsite,                    Owner                has
             made             such              tests             available                  to        Contractor,                     and          the         Contractor                        has       studied                   the       result
             of    such             tests,             test         borings                 and             information                     as     to         subsurface                        conditions                     and            Jobsite
             geology.                    Based                    upon           the        foregoing                       inspections,                       understandings,                                  agreements                            and

             acknowledgments,                                              the              Contractor                          agrees                   and              acknowledges                                      (i)       that             the
             Guaranteed                              Maximum                      Price               is just           and         reasonable                        compensation                               for        all      the        Work,

             including                   all         foreseen                and             foreseeable                         risks,            hazards                 and            difficulties                   in        connection

             therewith,                       (ii)     that         the         Contract                     Time             is adequate                       for       the        performance                              of      the        Work
             and          (iii)      that             the         Work            shall               not        result          in         any         lateral           or     vertical                   movement                           of      any
             structure.                    The             Contractor                       shall            have            no claims                  for     surface                   or subsurface                             conditions
             encountered                              that          could           have                reasonably                      been              foreseen                   by         the       Contractor,                          based
             on     all       of        the          information                       made                 available                  to    the         Contractor                        at     the         time            of     execution
             of the           Construction                               Agreement.




             GMP_10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                      INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 89 of 122 PageID
                                                                     RECEIVED      #: 9801/25/2021
                                                                               NYSCEF:

                                                                                                                                                                 Staten          Island            Mall         - Seed                              Macys
                                                                                                                                                                                                                               Money
                                                                                                                                                                                                                              Contract               # 019
                                                                                                                                                                                                       Aurora             Contractors,                     Inc.

                                4,1.3.                   Work                    to         Be           in      Accordance                                  With               Contract                         Documents                               and
             Approved                        Submittals.                               The          Contractor                           shall        perform                   the       Work              in accordance                                with
             the       Contract                     Documents                                 and             submittals                       approved                       pursuant                     to       Section                4.10              of
             these              General                  Conditions.


                                Section                      4.2.                 Supervision                               and            Construction                               Procedures.


                                4.2.1.                   Supervision                                    and               Direction                         of         Workc                    The               Contractor                         shall
             supervise                   and             direct                 the         Work,              using               its      best        skill           and           attention.                       The          Contractor

             shall           be         solely                 responsible                              for         all       construction                              means,                     methods,                        techniques,
             sequences                        and            procedures                            and         for        coordinating                           all     portions                  of the              Work,           including
             coordination                          of        the       duties                 of        all     Subcontractors,                                   Vendors,                      and          trades,                 unless                the
             Contract                   Documents                                provide                 otherwise.                         The             Contractor                     shall             be         responsible                         for

             properly                 laying             out          the         Work,                 and         for      all         lines,        elevations                      and           measurements                                   for     all
             of the             Work          executed                           in accordance                             with           the        Contract                   Documents.                             The          Contractor
             shall          verify            the        figures                   shown                  on        the          Drawings                    before                 planning                     out         the     Work                 and
             will      be        held             responsible                           for        any          error,              omission                      or     inaccuracies                             resulting                from              its
             failure            to      do        so.


                                 Section                     4.3.                 Labor                 and            Materials,


                                4.3.1.                   Contractor                                to         Pay          for           Labor,              Materials                        and           Services.                          Unless
             otherwise                    provided                         in     the         Contract                     Documents,                             the         Contractor                         shall         provide                    and

             pay       for        all       labor,             materials,                         supervision,                            equipment,                      tools,              construction                          equipment
             and           machinery,                               water,                  heat,              utilities,                  transportation,                               and               other             facilities                   and
             services                   necessary                          for        the      proper                  execution                     and           completion                         of     the         Work,            whether

             temporary                       or     permanent                               and         whether                    or      not        incorporated                            or      to     be         incorporated                            in

             the       Work.


                                 Section                     4.4.                 Taxes.                      The          Contractor                        shall            pay         all        sales,              consumer,                        use
             and        other            similar                taxes                 for     the         Work              or      portions                 thereof                  provided                   by      the         Contractor
             which              are      legally                enacted                     as      of the             later             of the        date             of the            Construction                             Agreement,
             or      the        date          upon             which                  the        Owner                 and          the           Contractor                     agree               upon              the         Guaranteed
             Maximum                      Price               (if     such             Guaranteed                            Maximum                         Price            was          not         determined                         as        of     the
             date          of        such           Construction                              Agreement),                                regardless                      of      whether                    any          such          tax          is     not
             yet       effective                        or          merely                  scheduled                        to           go         into         effect.                  When                   pursuant                     to         any
             government                            program,                           any          grant,                 rebate,                 accelerated                          capital               cost             allowance                         or

             other          form             of     cost             reduction                     is made                   available                  with            respect                 to     a product                     which                is to

             be        incorporated                                 into           the           Work,                 the           Contractor,                          for         itself,              its         Subcontractors,
             Vendors                    and         suppliers,                         acknowledges                                 and           agrees                that        any            such           cost         reduction                    by

             way           of    grant,             rebate,                      accelerated                         capital               cost         allowance                        or     the          like        is the           sole            and
             exclusive                   property                      of        the          Owner.                      Such             grant,                rebate             or     accelerated                             capital                cost
             allowance                       or     the             like         may           include,                   but        is        not     limited                to,        products                   or       apparatus                      for

             the       conservation                             or         regulation                     of energy,                       the       generating                        of electricity,                        solar          heating
             systems                     and             equipment                             used               in        the            fabrication                        and          control                  of         same.                      The
             Contractor                           and               Subcontractors                                     shall               advise                  the           Owner                     of          every              products




             GMP           10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                      INDEX NO. 150180/2021
          Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                2                Document 1-1 Filed 07/16/24 Page 90 of 122 PageID
                                                                     RECEIVED      #: 9901/25/2021
                                                                               NYSCEF:

                                                                                                                                                            Staten         island          Mall          - Seed                                   Macys
                                                                                                                                                                                                                            Money
                                                                                                                                                                                                                           Contract               # 019
                                                                                                                                                                                                 Aurora                  Contractors,                 Inc.

             Contractor                          or        its         Subcontractors                                      obtained                   for         incorporation                            into           the          Work           for
             which           they              believe                 a rebate,                  refund,                exemption,                      grant            or    other               price                reduction                 may
             be      available                      and        shall            cooperate                     with          the          Owner               in     obtaining                  the            same.


                                Section                    4.5.                 Permits,                     Fees               and       Notices.



                                4.5.1.                     Contractor                          to      Obtain                   Permits.                     Unless             otherwise                           provided                  in the
             Contract                     Documents,                            the           Contractor                         shall         secure,                  and          (except                       for         the         building
             permit),                 pay              for             permits                 and             governmental                                 fees,              licenses                       and               inspections

             necessary                         for         the           proper                   execution                       and          completion                           of     the              Work                 which               are

             customarily                            secured                    after           execution                         of      the          Agreement                          and             which                   are         legally
             required                when                 bids          are          received                  or        negotiations                        concluded.                        The                 Contractor                      shall
             procure                all    certificates                         of inspection,                           use,          permits               and         licenses,                   pay            all    charges                  and
             fees           and                give            all           notices                 necessary                         and            incidental                    to         the             due              and           lawful
             prosecution                         and           performance                            of     the         Work.               Owner                shall        pay         all        costs,               charges                  and
             fees          in connection                               with          the      building                   permit           and          the         Certificate                      of     Occupancy,                             each
             at     Contractor's                           actual              cost           and           without               markup.                    Original               copies                    of     the         certificates
             of     inspection                       and         use           and          the       building                  permit           shall            be      delivered                      to the             Owner                 upon
             Final          Completion                           of the             Work.              The             Contractor                     represents,                    warrants                        and             covenants
             to      the        Owner                  that             it     is     fully          licensed,                    certified                 and           authorized                          to         enter             into       the
             Contract                 Documents                               and          that        it and             its     Subcontractors                               and         Vendors                        are          and         shall
             continue                     to         be        fully            licensed,                     certified                   and           authorized                        to          perform                        the          Work
             contemplated                                 by         the            Contract                  Documents                           and              any          other               work                  performed                        in
             connection                         with           the           Project,               and           will      provide               evidence                     of        the        same                  to     the         Owner
             upon            request.


                                4.5.2.                     Contractor                          to      Give              Notices.                 The             Contractor                        shall            give            all    notices
             and          comply                 with            all         laws,          ordinances,                          codes,               rules,            regulations                        and             lawful            orders
             of     any         public               authority                  affecting                   the         performance                          of the         Work..               The               Contractor                      shall
             not           notify              govemmental                                    authorities                        regarding                       environmental                                     matters                  without
             consultation                           with         the          Owner                 prior         to     any           such           notification,


                                4.5.3.                     Tenant                    Certificates.                                Contractor                       acknowledges                                    that          the         Owner
             may           be       required                   to       provide                evidence                     to     tenants                  of    the      Project                  that            the         Project             was
             completed                         in      accordance                             with           the          Contract                    Documents                          and             to         the         best          of      the
             Contractor's                            knowledge                         in      compliance                          with         all      applicable                       laws,               rules,             codes               and
             regulations.                            Upon              request                 by      the         Owner,                 Contractor                      shall           provide                    the         Owner               and

             any           tenants                    of         the           Project                 designated                         by          the          Owner                  with                a      certification                         of
             compliance                         to     such              effect.


                                Section                    4.7.                     Project                Manager                     and        Supervisory                              Personnel.


                                4.7.1.                     Project                    Manager.                             The            Contractor                       shall           employ                         a      competent
             project                manager                          and            necessary-assistants                                          who              shall            be         in        attendance                           at      the
             Jobsite                when               necessary                            during                the       progress                   of        the      Work.                The                project              manager
             shall            represent                          the           Contractor                         and            all      communications                                       given                 to         the          project




             GMP_10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                    INDEX NO. 150180/2021
         Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                 2               Document 1-1 Filed 07/16/24 Page 91 ofRECEIVED
                                                                        122 PageID #: 100
                                                                                NYSCEF: 01/25/2021

                                                                                                                                                             Staten            Island         Mall       - Seed                              Macys
                                                                                                                                                                                                                           Money
                                                                                                                                                                                                                          Contract             # 019
                                                                                                                                                                                                   Aurora            Contractors,                    Inc.

             manager                     shall          be         as          binding                  as          if        given           directly                   to         the       Contractor.                              Material
             communications                                 regarding                      the            Project                   and           the          performance                              or        progress                  of      the
             Work            shall         be      confirmed                         in writing                     to        the        Owner.                     Other             communications                                   shall          be
             so       confirmed                        on         written                 request                        in        each            case.                      The            project                 manager                        and
             superintendent                            shall             be        satisfactory                          to        the       Owner                  in     all        respects,                    and          the       Owner
             shall       have             the      right          to     require                the        Contractor                        to      dismiss                   from          the        Project               any         project
             manager                 or         superintendent                              whose                    performance                               is    not            satisfactory                     to       the       Owner,
             and        to    replace                  such            project              manager                           or     superintendent                                  with      a project                     manager                   or
             superintendent                            satisfactory                        to     the           Owner.



                              4.7.2.                   Supervisory                              Personnel.                                 Prior             to      commencement                                       of      any         of      the
             Work            the         Contracto.r                    shall          submit                  to        the         Owner,               for        the            Owner's                  approval,                  a list         of
             all     supervisory                       personnel,                         including                       (without                 limitation)                       the       project                  manager                     and

             superintendent,                            whom                  the      Contractor                             intends                to      employ                  on      the         Project,                 as      well        as
             a chain-of-command                                          organizational                                  chart            covering                   all       aspects                  of     the           Contractor's
             organization                         related                 to        the           Project                     and           the           performance                              of        the          Work.             w The

             Contractor                    shall            not         employ                  supervisory                              personnel                       not          approved                      by        the       Owner,
             and        shall        not         change                  such          supervisory                             personnel                       without                the      prior           written                approval
             of      Owner.


                              Section                  4.8.                   Project                 Schedule;                            Records                       and          Reports.


                              4.8.1.                   Project                     Schedule.                             The          Contractor                         shall             provide                the         Owner                 and
             Architect               with          timely                reports                as        to        the            current              status                of,      and         deviations                       from,            the
             Project            Schedule,                      the        causes                  of any                 such            deviations,                       and         the      corrective                      action              that
             has        been             taken           or       will         be      taken               to        correct                 such            deviations.                        The               Contractor                     shall
             update                the         Project                 Schedule                      each                month               or         as          requested                      by        Owner                  and          shall

             submit             such             updated                    schedule                    with             each              Application                         for        Payment.                        Such            Project
             Schedule                    updates                  are         not      Contract                      Documents,                              and           any            milestone,                    substantial                      or
             final       completion                         dates              required                   by        the            Contract                   Documents                         may               not        be        modified
             except             by       written             Change                   Order                signed                   by       both            parties.


                              4.8.2.                   Daily             Force               and               Activity                    Report.                       The          Contractor                        shall          on        each
             business                    day       prepare                     a     report               (the           "Daily              Force                and          Activity                 Report")                  on        a form
             approved                    by      the        Owner's                  Representative                                      describing                      the         workforces                      present                on       the
             Jobsite               during               such             day           and            their               respective                         activities.                      The             Daily             Force               and

             Activity              Report              shall           be      delivered                     to the                 Owner's                  Representative                                  on     a weekly                   basis
             submitted                    through                 Proliance®                         or        in    hard             copy.


                              4.8.3.                   Materials                      Status                   Report.                     Within                 thirty            (30)      days                after         the       date           of
             the       Construction                         Agreement,                            the          Contractor                         shall             prepare                 a report                 (the         "Materials
             Status             Report")                 which                 includes                   a complete                          list        of        Vendors,                  suppliers,                      items            to     be
             purchased                        from             the          Vendors,                       suppliers                         or        fabricators,                          the         time                required                 for
             fabrication                   and         the        scheduled                          delivery                      dates          for        each              item.           As        soon             as        available,
             copies             of       purchase                  orders                 shall           be        furnished                     to      the         Owner.




             GMP_10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                         INDEX NO. 150180/2021
         Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                 2               Document 1-1 Filed 07/16/24 Page 92 ofRECEIVED
                                                                        122 PageID #: 101
                                                                                NYSCEF: 01/25/2021

                                                                                                                                                      Staten         Island            Mall         - Seed                            Macys
                                                                                                                                                                                                                   Money
                                                                      ..                                                                                                                                          Contract             # 019
                                                                                                                                                                                          Aurora             Contractors,                   Inc.

                           4.8.4.                   Monthly                       Status                 Report.                    The       Contractor                        shall          prepare                   a monthly

             report        in      a form                and          of     sufficient                   detail            and          character                   as         approved                    by      the         Owner,
             which         report             shall           include               the            following:


                            ,1                 The             current                      Project                Schedule,                      a      statement                       by          the           Contractor's
                                               project                manager                       as     to       the        progress                  of        the     Work                in     accordance                           with
                                               such            Project                  Schedule                     (including                   information                     concerning                        the         work          of
                                               each              of         the          Subcontractors)                                   and         the          Contractor's                            expectation                       of
                                               completion                          in        accordance                       with         such          Project                Schedule;


                            .2                 an        updated                   Materials                       Status            Report;


                             3                 a      listing              of      the         number,                    amount                  and          status             of      Change                    Orders,                   an

                                                outstanding                         design                issues               and/or              Requests                     for      Information                       (RFis),                a
                                                change                 proposal                      status           log,          and       a projected                        final         Cost           of     the         Work;


                            .4                  a     concise                     written                summary,                        prepared                    by         the       Contractor's                           project

                                                manager,                         outlining                significant                      achievements,                               problems,                    and              issues
                                               that           affect             the         progress,                 quality              or        cost         of the             Project;


                            ,5                  progress                    photographs;                             and


                            .6                  such            other             information                        as       the        Owner               may           request                  from          time          to    time.



                            Nothing                  contained                          in     the        Monthly                    Report              shall            be       deemed                     proper                 notice
              under        other             provisions                     of     the             Contract               Documents                          for     changes                    to     the         Guaranteed
              Maximum                   Price            or     Contract                     Time.


                            4.8.5.                  Schedule                           of      Submittals.                           The          Contractor                      shall             prepare               and          keep
             current,              a        schedule                   of        submittals,                        which             shall            be          coordinated                        with          the          Project

              Schedule,                 and         which              allows                the      Architect                 and          the       Owner                reasonable                       time          to        review
              and         approve                   submittals                          in         accordance                         with            Section                   4.10            of         these            General
              Conditions.


                            4.8.6.                  Regular                       Progress                         Meetings.                       The             Contractor                       shall          hold          weekly
              progress                 meetings                  at        the          Jobsite               at     such            time          and         frequency                       as      is     acceptable                      to
              the     Owner's                 Representative.                                         Each            Subcontractor                                whose               work           is     to     be      reported
              on     or   may           be      affected                    by     the         work            of     others              shall         be         required               to        send           a competent

              representative                        to        such          meetings                     to        report           on      the        progress                   of     such              Subcontractor's
              work        and          to     receive                information                         and         instructions.


                            4.8.7.                  Contractor                                Suspension                              of         Work.                     If     the               Contractor,                       in      its
              reasonable                     judgment,                          believes                  that            a     suspension                           is     warranted                         by         reason                   of
              unforeseen                     circumstances                                   which            may             adversely                  affect             the         quality              of     the         Work               if
              the     Work             were              continued,                          the      Contractor                      shall            immediately                         notify             the         Owner                   of

              such        belief            and       describe                     with            particularity                    the       reasons                    therefore.




              GMP 10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                     INDEX NO. 150180/2021
         Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                 2               Document 1-1 Filed 07/16/24 Page 93 ofRECEIVED
                                                                        122 PageID #: 102
                                                                                NYSCEF: 01/25/2021

                                                                                                                                                             Staten          Island            Mall        - Seed                             Macys
                                                                                                                                                                                                                            Money
                                                                                                                                                                                                                           Contract              # 019
                                                                                                                                                                                                    Aurora           Contractors,                     Inc.


                            Section                   4.9.                   Documents                                and          Samples                        at    the         Jobsite.


                            4.9.1.              Copy                   of         Certain                   Contract                           Documents.                                      The             Contractor                        shall
              maintain               at    the         Jobsite                    for     the         Owner                  one          (1)         record                copy          of      all      current                 Drawings,
              Specifications,                          addenda,                          Change                   Orders                  and           other               modifications,                            in        good          order
              and         incorporating                                for         the          record,                     all         changes                        and          selections                           made               during
              construction,                       and,             in        addition,                 approved                          shop                drawings,                     product                  data,             samples
              and        similar               submittals.                          Such              documents                            shall             be        made               available                      to     the        Owner
              and        the       Architect                       at        Substantial                          Completion                             of       the            Work               and,            as         a     condition
              precedent                   to     Final            Payment,                      Contractor                          shall             furnish               to     the         Architect                      as-built             (i.e.,

              "record")              drawings                     showing                      the      effect                of    addenda,                         Change                    Orders,               modifications,

              any        other             changes                          in     the         Work                   not          authorized                          by         such              documents,                            general

              construction,                       mechanical,                             electrical,                       and          all     other             Work,                 and         indicating                      the      Work
              as     actually                   completed                           and           installed.                       Such                as-built                   drawings                     shall               consist               of

              carefully            drawn                   markings                     on      a reproducible                                 set      of the              Drawings                     and         Specifications
              (and        electronically                           when                  available).                         The          final          set           of        record             documents                            shall         be
              furnished               to        the         Owner                  via       Proliance®.


                            4.9.2.                    Approved                           Permit                  Drawings.                             All      approved                        permit              drawings                     shall
             be     maintained                        by     Contractor                         in     an        easily                 accessible                      format                 so       that        such             drawings

             may       be      produced                          for         the         Owner,                  governmental                                 inspectors                        and            other               authorized
             agencies.                     All         approved                           or         permit                 drawings                         shall           be           labeled                   packages                          and
             delivered             to      the         Owner                     within          sixty            (60)            days           of      Final              Completion                         of    the           Work.


                            Section                   4.10.                  Shop               Drawings,                           Product                    Data               and           Samples.


                            4.10.1.                   Shop                   Drawings,                           Product                        Data               and              Samples                         Not              Contract
             Documents.                          Shop              drawings,                      product                    data,             samples                  and             similar            submittals                      are        not
             considered                        Contract                          Documents.                                   The               purpose                      of         these               submittals                           is         to
             demonstrate                        for        those                 portions              of        the          Work              for      which               submittals                        are            required                the

             way         the       Contractor                               proposes                    to            perform                    the          Work                 in      conformance                                with            the
             information                   given             and             the         design              concept                     expressed                          in the          Contract                     Documents.


                            4.10.2.                   Review                      by      Contractor.                                The              Contractor                        shall           review                 and         submit,
             with      reasonable                           promptness                           and             in     such              sequence                          as      to      cause                no           delay           in      the
             Work         or     in       the         work              of       the         Owner                or        any          separate                      contractor,                       all     shop                drawings,
             product           data             and          samples                      required                     by         the          Contract                 Documents.                               By           such          review
             and       submission                          the         Contractor                      represents                              that          it has              determined                         and            verified             all

             materials,               field            measurements                                   and             field         construction                             criteria               related                to       the       Work,
             and     that        it has           verified,                      checked               and             coordinated                            information                       contained                       within           such
             submittals                 with          the         requirements                              of        the         Work            and           of the             Contract                    Documents.




             GMP-10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                             INDEX NO. 150180/2021
         Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                 2               Document 1-1 Filed 07/16/24 Page 94 ofRECEIVED
                                                                        122 PageID #: 103
                                                                                NYSCEF: 01/25/2021

                                                                                                                                                         Staten           Island         Mall        - Seed                              Macys
                                                                                                                                                                                                                     Money
                                                                                                                                                                                                                    Contract             # 019
                                                                                                                                                                                               Aurora            Contractors,                  Inc.

                               4.10.3.                  Approval                      by          Architect.                         The           Contractor                      shall            perform                 no     portion
             of     the         Work                  requiring                 submittal                        and               review              of         shop            drawings,                       product                data,
             samples                 or     similar                submittals                      until         the       respective                         submittals                      have           been           approved

             by     the        Architect.                     Such             Work               shall          be      in accordance                              with          approved                       submittals.


                               4.10.4.                  Deviations                         from                Contract                     Documents.                             The          Contractor                       shall         not
             be     relieved                of        responsibility                       for         any       deviation                   from            the      requirements                              of the           Contract
             Documents                       by        the        Owner's                   or     Architect's                       approval                     of shop               drawings,                   product                  data
             or     samples                  or        similar             submittals                          unless               the          Contractor                      has          specifically                     informed
             the     Architect                    in writing               of    such              deviation                       at the         time            of submission                            and      the        Architect
             has       given              written              approval                     of     the          specific                deviation.                        The        Contractor                        shall           not        be
             relieved                from             responsibility                        for         errors            or        omissions                       in the          shop             drawings,                    product
             data         or    samples                      by     the         Owner's                    or        Architect's                   approval                     thereof.


                               4.10.5.                  Operatin                           . and                Maintenance                                  Data.                      The               Contractor                        shall
                                                                                 g
             assemble                      for         the          approval                      by           the       Architect                      and/or                  Owner                all         operating                    and
             maintenance                              data          from             all         manufacturers                               whose                  equipment                        is      installed                 in      the
             performance                          of     the       Work,              and              shall          submit                such         information                       to the            Owner               via         hard

             copy         to      the           Owner's                Representative                                    and           an        electronic                     copy           via         Proliance®                        as       a
             precondition                        to     Final         Payment.


                               Section                  4.11.               Use             of         Site.


                               4.11.1             .     Confinement                                of        Contractor's                             Operations.                             The           Contractor                       shall
             confine              performance                             of     the          Work               at      the          Jobsite                to      areas              permitted                   by         law,          rule,
             regulation,                        ordinance,                       permits                       and         the              Contract                     Documents,                              and         shall                not

             unreasonably                              encumber                        the              Jobsite                with              any          materials                    or        equipment.                               The
             Contractor                      represents                         that              it      has           considered                           the          need             for            use          of        adjacent
             properties                    during                 construction                          (including                     crane             swings),                  and          that          all      such            needs
             and          costs             have               been             included                        in      the           Guaranteed                           Maximum                          Price,               and          that
             Goatraetor                     Owner                   has          procured                        permission                        or        approval                   for         any          such            adjacent

             property                needs.


                               4.11.2.                  Access                  to         Neighbori                     ng         Properties.                           The        Contractor                        shall          assure

             freer-convenieFA                                  unencumbered                                     and       direct              access                 to     properties                      neighboring                        the
             Jobsite             for        the          owners                 of         such              properties                      and            their         respective                       tenants,                agents,
             invitees                and         guests.


                               4.11.3.                  Storage                  Plan.                   Within            fifteen                (15)            days          after          the         execution                   of      this

             Agreement,                         the      Contractor                        will        prepare                for      the         Owner's                 review              and          the        Contractor's

             use,         a plan             for        efficient               and           effective                  use           of     the           Jobsite              and          for     secure                storage                  of
             materials                     and           equipment                           by           the          Contractor                           and           all       Subcontractors.                                      Once
             approved                      by         the         Owner,                   this          plan           must                be        approved                     by         the          authority                   having
             jurisdiction                   (if        required).                      In         addition,                   it     will        be         the       Contractor's                          responsibility                           to
             assist            the        Owner               in obtaining                        all      necessary                        agreements                           from         adjacent                  landowners




             GMP._10082015
     FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                       INDEX NO. 150180/2021
              Case
     NYSCEF DOC. NO.1:24-cv-04939-VMS
                      2               Document 1-1 Filed 07/16/24 Page 95 ofRECEIVED
                                                                             122 PageID #: 104
                                                                                     NYSCEF: 01/25/2021

                                                                                                                                                                   Staten         island             Mall        - Seed                                 Macys
                                                                                                                                                                                                                                    Money
                                                                                                                                                                                                                                   Contract              # 019
                                                                                                                                                                                                       Aurora               Contractors,                       Inc.

                  for     the        construction                             of the         Project                 (including                        but        not     limited               to     approvals                       necessary
                  for     operation                     of        a tower              crane               if required).


                                 Section                          4.12.              Cutting                 and               Patching                      of       Work.


                                 4.12.1.                         Cutting               and            Patching                             by        Contractor.                            The            Contractor                           shall          be
                  responsible                         for        all     cutting,               fitting            or         patching                    that        may         be        required                  to       complete                       the
                  Work          or        to      make                 its     several               parts              fit    together                    properly.


                                 4.12.2.                         Effect              on          Other                  Work.                       The           Contractor                         shall            not             damage                    or
                  endanger                       any             portion              of    the            Work                 or       other             work           of      the           Owner,                  tenants                   or          any
                  separate                      contractors                       by       cutting,                  patching                        or      otherwise                    altering                 any             .work,               or      by
                  excavation.                          The             Contractor                    shall           not           cut         or     otherwise                   alter          the        work              of      the        Owner,
                  its     tenants                or        any          separate                 contractor                          except                with         the      prior          written               conserit                   of      such
                  affected                parties.                     The        Contractor                         shall             not          unreasonably                           withhold                   from            the         Owner
                  or      a separate                         contractor                    the        Contractor's                               consent                 to      cutting               or     otherwise                          altering
                  the      Work.


                                 Section                         4.13.               Cleaning                      Up.


                                 4.13.1.                         Premises                       to         Be            Kept                 Clean.                    The        Contractor                           shall               keep              the
                  premises                      free             from           accumulation                                  of      waste                 materials                  or        rubbish                   caused                     by        its
                  performance                           of the               Work          at     all times.                         Upon             completion                   of the              Work,               the         Contractor
                  shall         remove                     all     waste             materials                  and                rubbish                from          and       about               the        Jobsite                   as     well          as
                  all      tools,                 construction                             equipment,                                 machinery                         and            surplus                    materials.                                 The
                  Contractor                         shall             rnaintain                streets,                      sidewalks                     and         temporary                      means                     of     access                   or
                  passage                   around                     the      Jobsite               in       a        clean              and            safe          condition.                     The            Contractor                         shall
                  remove                  all        spillage                  and         tracking                  arising                    from            the      performance                             of      the          Work               from
                  such          areas,                 and             shall         establish                  a regular                        maintenance                           program                     of       sweeping                         and

                  hosing             to         minimize                     accumulation                            of        dirt        and            dust        upon         such               areas.


                                 4.13.2.                         Failure              to     CleanjJp,                               If the          Contractor                    fails         to        clean            up        at     any             time

                  during             or         at     the          completion                        of       the            Work,                 the      Owner                may            do         so        after            providing
                  Contractor                          with              twenty-four                            (24)             hours                 written                  notice,                which                 shall               include
                  effective                      notice                  electronic                        notice                     (i.e.          email)              and           the           cost          thereof                      shall           be
                  charged                 to         the         Contractor.


                                     Section                      4.14.              Royalties                           and               Patents.                       The             Contractor                          shall              pay            all
                  royalties                and             license              fees        associated                             with         the        Project.               The           Contractor                         shall          defend
                  suits         or        claims                  for          infringement                          of         patent                 rights            and        shall              hold             the           Owner                   and
                  Architect                    harmless                      from          loss           on       account                      thereof,                 but      shall              not      be         responsible                           for
                  such          defense                      or        loss      when                a particular                          design,                 process                 or        product                of        a particular
                  manufacturer                              or     manufacturers                               is specifically                             required               by       the        Contract                     Documents.

                  However,                       if the             Contractor                       has           any               reason                to      believe               that          the         required                      design,
                  process                 or         product                  is an        infringement                               of       a patent,                 the      Contractor                          shall           furnish                   be




                  GMP       10082015




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FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                          INDEX NO. 150180/2021
         Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                 2               Document 1-1 Filed 07/16/24 Page 96 ofRECEIVED
                                                                        122 PageID #: 105
                                                                                NYSCEF: 01/25/2021

                                                                                                                                                    Staten            Island            Man         - Seed                               Macys
                                                                                                                                                                                                                    Money
                                                                                                                                                                                                                   Contract               # 019
                                                                                                                                                                                             Aurora          Contractors,                   Inc.

             responsible-for-sach-less-wdess                                                                such               information                       is        immediately-4amished-49

             writing          to     the         Architect                and       the         Owner                 by-Contr-aetor                            of     its        belief.


                                                                                                          ARTICLE                        5
                                                                                           SUBCONTRACTORS


                              Section                   5.1.              Definitions.


                                                                                                                 "Subcontractor"
                              5.1.1.                   "Subcontractor".                                    A                                                         shall             have           the         meaning                   set
             forth         in the          Construction                        Agreement                        in     S_ection                1.1.34.


                              5.1.2.                   "Sub-subcontractor".                                                A     Sub-subcontractor                                           is     a person                   or      entity
             at    any       tier      who             has        a direct          or        indirect               contract             with            a Subcontractor                                   to      perform                any
             of    the       Work              at      the        Jobsite.             The           term            Sub-subcontractor                                          is     referred                to    throughout
             the       Contract                  Documents                     as      if singular                    in       number                and             means                   a Sub-subcontractor
             or      an     authorized                       representative                         thereof.


                              Section                   5.2.              Award                of     Subcontracts                              and             Other                  Contracts.


                              5.2,1.                   Award               Procedure.                           Unless                  and         to         the         extent                 otherwise                    required

             by       the        Contract                     Documents,                        Subcontractors                                 and              Sub-subcontractors                                             shall          be
             chosen                and          contracts                 awarded                   to    them              in       accordance                            with            the       provisions                      of    this
             Article          5 of         the          General                Conditions                      and          Article             9 of            the         Construction                            Agreement.
             Contractor                   shall             not        proceed             with          any          proposed                      person                  or         entity          prior         to        Owner's
             approval.                     The              Contractor,                  as          soon              as        practicable                          after             the          execution                      of     this

             Agreement,                        shall         furnish           to the           Owner                 and         the        Architect                     in writing                 the        names                 of the
             persons                or         entities             (including                  those                who          are          to     furnish                    materials                    or      equipment
             fabricated                   to        a special              design)                  proposed                     for     each              of        the         principal                  portions                 of     the
             Work.            The              Owner              will     reply         to     the         Contractor                       in writing                    stating                 whether                or        not     the
             Owner             or      the            Architect,               after          due         investigation,                            has          reasonable                            objection                    to     any
             such           proposed                    person            or     entity.              For        Guaranteed                           Maximum                           Price            Contracts,                       each
             subcontract                       to     be       awarded,                unless              otherwise                     agreed                 by         the         Owner                in writing,                   shall
             be       based            on        the         Contractor                  obtaining                     competitive                        bids             from              not      fewer           than               three

             (3)          prospective                        Subcontractors                              which                 are        qualified                        (such                  qualification                      to       be
             determined                        by      Contractor,                  subject                to        the       approval                    of        Owner                   and         listed        on           Exhibit
             L attached                     to        the         Construction                      Agreement),                           and,             subject                    to      the        approval                    of     the

             Owner,                 the             Contractor                   shall              determine                          which              bids               will            be        accepted.                            For
             Guaranteed                         Maximum                    Price           Contracts,                       copies             of        all     bids             or       other            proposals                     from
             proposed                  Subcontractors                            and          Sub-subcontractors                                         shall             be        submitted                    to the            Owner
             for       review.                  All         Subcontractors                           and             Sub-subcontractors                                              shall          be       subject                 to     the
             approval                of        Owner.


                              5.2.2.                   Objections.                            The           Contractor                         shall             not            contract                    with          any             such
             proposed                     person                  or      entity           to        which                 the          Owner                   or          the            Architect                  has              made
             reasonable                        objection                 under         the          provisions                    of     Section                 5.2.1,                 above.




             GMP-10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                  INDEX NO. 150180/2021
         Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                 2               Document 1-1 Filed 07/16/24 Page 97 ofRECEIVED
                                                                        122 PageID #: 106
                                                                                NYSCEF: 01/25/2021

                                                                                                                                                               Staten            Island          Mall       - Seed                            Macys
                                                                                                                                                                                                                           Money
                                                                                                                                                                                                                          Contract             # 019
                                                                                                                                                                                                      Aurora           Contractors,                 inc.

                              5.2.3.                    Substitutions.                                      As to Guaranteed                                      Maximum                        Price           Contracts,                    if the
             Owner               or     the        Architect                     has            reasonable                         objection                     to       any         such            proposed                   person                  or

             entity         and          the         Owner                    directs                the         acceptance                         of        a Subcontractor's                                  bid      in      excess                 of
             the      bid        recommended                                    by        the         Contractor                        for        the        same               work,            such           excess              shall              be
             treated               as         a      Change                      in        the             Work,                 the          Guaranteed                              Maximum                       Price           shall               be
             increased                  or        decreased                          by     the            difference                    in cost                occasioned                         by       such          substitution,
             and       an         appropriate                           Change                       Order             shall            be         issued.                 However,                      no         increase                 in     the
             Guaranteed                        Maximum                          Price                shall           be         allowed                 for     any            such           substitution                      unless              the
             Contractor                    has           acted                promptly                      and            responsively                         in     submitting                       names               as      required

             by     this         Section                5.


                              5.2.4.                    Objections                               to          Substitutions.                                     The              Contractor                       shall           make                  no
             substitution                      for           any          Subcontractor,                                        person               or        entity                previously                     selected                  if    the
             Owner               makes               reasonable                            objection                       to     such             substitution.


                              Section                    5.3.                  Subcontractual                                         Relations.



                              5.3.1.                    Nature                    of          Subcontractor's                                            Obligations.                                  By         an        appropriate

             agreement,                       written               where                  legally                required                   for        validity,               the        Contractor                     shall         require
             each            Subcontractor,                                     to         the              extent                of          the             Work               to         be          performed                       by          the

             Subcontractor,                                 to     be           bound                      to        the         Contractor                          by         the           terms            of       the         Contract

             Documents,                            and             to          assume                        toward                    the          Contractor                          all       the          obligations                         and
             responsibilities                            which                 the         Contractor,                           by      these                Documents,                           assumes                      toward              the
             Owner               and         the        Architect.                         Said             agreement                         shall            preserve                    and         protect             the       rights              of
             the       Owner                 and            the         Architect                      under                the        Contract                      Documents                          with         respect               to       the
             Work           to     be        performed                         by       the           Subcontractor                                so     that         the           subcontracting                             thereof             will
             not       prejudice                   such             rights.                   Where                   appropriate,                            the         Contractor                     shall           require               each
             Subcontractor                           to          enter           into            similar               agreements                              with            its     Sub-subcontractors.                                          For
             Guaranteed                           Maximum                            Price                 contracts,                    the             Owner                   may             require               Contractor                        to
             fumish              copies              of executed                           subcontracts                                and         purchase                      orders,              including                 fees,          rates
             and       unit           prices.


                              5.3.2.                    Subcontract                                   Requirements.                                           Notwithstanding                                  any         provision                      of
             Section               5.3.1           of these                    General                      Conditions,                        any            part        of     the        Work            performed                     for           the
             Contractor                      by         a        Subcontractor                                  or     its        Sub-subcontractor                                           shall         be         pursuant                    to         a
             written               subcontract                            between                          the             Contractor                         and          such                Subcontractor                            (or         the
             Subcontractor                           and           its        Sub-subcontractor                                         at     any            tier),       which               shall         be        prepared                    on         a
             form          of subcontract                           satisfactory                                to the           Owner,                   Each            such             subcontract                     shall,          where
             the      context                so         requires,                    contain                    provisions                    that:


                              .1                   require                     such                  Work                  to      be          performed                              in       accordance                           with            the
                                                   requirements                                 of     the           Contract                 Documents;


                              .2                   waive                all     rights               the         contracting                       parties              may            have           against              one          another
                                                   or       that         the          Subcontractor                                may             have              against               the        Owner               for     damages




             GMP_10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                      INDEX NO. 150180/2021
         Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                 2               Document 1-1 Filed 07/16/24 Page 98 ofRECEIVED
                                                                        122 PageID #: 107
                                                                                NYSCEF: 01/25/2021

                                                                                                                                                          Staten              island           Mall          - Seed                               Macys
                                                                                                                                                                                                                               Money
                                                                                                                                                                                                                              Contract             # 019
                                                                                                                                                                                                       Aurora             Contractors,                  inc.

                                             caused                  by         fire        or      other               perils           covered                     by       the            insurance                          described                   in
                                             the         Contract                      Documents;


                            .3               require                 the          Subcontractor                                    to      submit                  certificates,                             sworn                 statements
                                             and/or                 waivers                  of      liens,              as        requested                       by        Owner,                    for        Work              completed

                                             by           it        and                by          its             Sub-subcontractors                                               as             a         condition                      to          the
                                             disbursement                               of         the         progress                       payment                     next               due         and             owing,             and          on
                                             the         forms                 referenced                          in the              Contract                   Documents;


                            .4               require                  that              each                  Subcontractor                                   continue                        to         perform                      under                its
                                             subcontract                           in        the         event                the        Contract                       is    terminated                                and         the      Owner
                                             shall             request                 such              Subcontractor                               to       continue                       such            performance;                               and


                            .5               require                  each              Subcontractor                                    to        maintain                       its        records                     in      accordance
                                             with             the     provisions                          of       the           Construction                           Agreement,                                and         to     permit             the
                                             Owner                   to        exercise                       as        to       each              such            Subcontractor                                    the            audit          rights
                                             granted                  under                  the       Construction                                 Agreement,                               and             to         otherwise                  audit
                                                                                                           material"
                                             trade              rates,            "time              and                                           and            overtime                    costs                to     be        charged                to
                                             the          Project                as         permitted                        herein.


                            5,3.3.                 Contract                      with              Affiliates                           The          Contractor                              shall           not          enter            into         any
             subcontract,                    contract,                     agreement,                               purchase                        order,               lease                 or        other                arrangement

             ("Arrangement")                              for        the           furnishing                            of        any             portion                   of         the            materials,                      services,
             insurance,                equipment                          or     Work               with            any            party           or        entity               if such               party              or      entity          is    an
             Affiliated             Contractor                      Entity             (as         defined                    below),               unless                   such            Arrangement                              has          been
             approved                by          the      Owner,                   after             full          disclosure                       in        writing                   by     the            Contractor                      to        the
             Owner             of    such              affiliation                 or        relationship                              and          all details                         relating                   to      the        proposed
                                                                                                                                                     Entity"
             Arrangement.                          The           term            "Affiliated                        Contractor                                               means                     any          entity            related              to
             or     affiliated             with         the         Contractor                       or        with              respect                to        which             the            Contractor                         has         direct
             or     indirect          ownership                       or         control,                 including,                       without                  limitation,                        any              entity         owned                in
             whole         or       part         by      the        Contractor;                          any            holder                of    more                than            ten          percent                    (10%)             of    the
             issued            and         outstanding                         shares                of,           or    the           holder                of    any            interest                   in,        the        Contractor;

             any      entity         in which                  any         officer,                director,                     employee,                        member,                      partner                   or      shareholder
              (or     member                of     the         family            of     any              of    the           foregoing                       persons)                    of        the        Contractor                      or        any
             entity        owned                  by      the         Contractor                              has            a     direct            or           indirect                   interest,                    which             interest

              includes,              but          is     not         limited                 to,         that            of        a     partner,                   member,                            ernployee,                         agent            or
             shareholder.



                            Section                    5.4.               Contingent                                     Assignment                                     of              Subcontracts.                                              Each
             subcontract                     agreement                           for         a       portion                      of     the         Work                    is         hereby                    assigned                   by         the
              Contractor               to        the      Owner                  provided                      that:


                            .1                   such           assignment                          is effective                        only            after           termination                           of the               Contract                by
                                                 the          Owner               pursuant                         to        Article               13,            and         only             for           those               subcontract
                                                 agreements                          which               the            Owner              accepts                    by          notifying                  the          Subcontractor
                                                 in writing;                   and




              GMP      10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                            INDEX NO. 150180/2021
         Case
NYSCEF DOC. NO.1:24-cv-04939-VMS
                 2               Document 1-1 Filed 07/16/24 Page 99 ofRECEIVED
                                                                        122 PageID #: 108
                                                                                NYSCEF: 01/25/2021

                                                                                                                                                  Staten             Island        Mall          - Seed                             Macys
                                                                                                                                                                                                                  Money
                                                                                                                                                                                                                 Contract               # 019
                                                                                                                                                                                       Aurora              Contractors,                   Inc.



                             .2                such          assignment                             is     subject              to     the             prior         rights           of         the       surety,                 if any,
                                               obligated                 under             any             bond            relating               to     the         Agreement;


                             .3                the          Owner              may               further                assign                   such             subcontract                           agreements                           to
                                               another              general                 contractor;                       and
                             .4                Owner               may         assign                     such        subcontract                         agreements                            to      522        Acquisition
                                               Owner               LLC         if required.


                             Section                 5.5.               Union               Issues.                        The         Contractor                          shall            be          responsible                        for

             managing                   and            endeavoring                          to            resolve                all        labor               disputes                   resulting                        from          the
             performance                       of     the      Work.                 To        the          extent            any        labor                 union          disputes                     the        use          of    any
             non-union                   Subcontractors                               or            trade             on         the             Project,                 the         Contractor                            shall           be
             responsible                   for        responding                     to        all        union            demands                      and          actions               in        accordance                         with
             applicable                 laws          and         for     managing                         the       resolution                    of     any           such          disputes.


                                                                                                            ARTICLE                     6
                                        WORK                 BY         OWNER                        OR BY SEPARATE                                             CONTRACTORS


                             Section                 6.1,               Owner's                      Right            to      Perform                    Work              and         to         Award                 Separate
             Contracts.


                             6.1.1.                  Reservation                          by         Owner.                  The         Owner                   reserves                  the          right          to     perform
             construction                   activities                  or     operatioñs                          related             to        the           Project           with             the         Owner's                   own
             workforces,                   and         to     award             separate                         contracts                  in     connection                      with              other            portions               of
             the     Project,            the          Work          or       other          construction                          activities                    or      operations                      on       the         Jobsite.


                             6.1.2.                  Coordination                              of         Activities.                       The           Owner,                 at        its       option,                 either          (i)
             shall         provide             for     coordination                         of        the          activities               of     the          Owner's                own              workforces                       and
             of    each           separate              contractor                    (or           tenant            contractor)                       with         the        Work              of    the        Contractor,
             who       shall          cooperate                    with        them                  or     (ii)     shall           require              that          the        Contractor                         provide              for
             such          coordination,                     which             the         Contractor                        shall          perform                  when             directed                   by         Owner            to
             do      so.          The       Contractor                       shall          participate                      with           other              separate                    contractors                        and         the
             Owner            in reviewing                    their          respective                       construction                         schedules                     when                directed                 to    do      so

             by      the          Owner.                The             Contractor                          shall           make                 any           revisions                   to        the          construction
             schedule               deemed                  necessary                     after            a joint           review              and           mutual            agreement                         with            Owner
             and       Contractor.                          The          construction                            schedules                   shall             then         constitute                      the        schedules
             to      be        used              by         the          Contractor,                           separate                     contractors                          and              the            Owner                   until

             subsequently                           revised.                   This                 Section                  shall           not               affect           milestone,                         Substantial
             Completion                   or        Final         Completion                         dates            required                   by      the         Contract                   Documents,                          which
             can      only         be      modified                 by       written                 Change                 Order            signed                  by    both            parties.




             GMP      10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                  INDEX NO. 150180/2021
        Case
NYSCEF DOC.   1:24-cv-04939-VMS
            NO.  2              Document 1-1 Filed 07/16/24 Page 100 of 122 PageID
                                                                     RECEIVED      #: 109
                                                                               NYSCEF:  01/25/2021

                                                                                                                                                          Staten               Island            Mall     - Seed                              Macys
                                                                                                                                                                                                                         Money
                                                                                                                                                                                                                        Contract                  # 019
                                                                                                                                                                                                    Aurora            Contractors,                   Inc.



             Section                 6.2.                                  Mutual                   Responsibility.


                            6.2.1.                   Coordination                                   with               Owner                   and              Separate                            Contractors.                                   The
             Contractor                     shall         afford           the         Owner                  and          separate                  contractors                            reasonable                       opportunity
             for     introduction                     and              storage                of     their            materials                  and            equipment                             and        performance                              of
             their        activities                  and              shall           connect                   and           coordinate                           the               Contractor's                          construction
             activities               and         operations                         with         theirs             as      required                 by        the            Contract                   Documents.


                            6.2,2.                    Reporting                         of        Discrepancies.                                  lf any              part             of       the       Contractor's                         Work
             depends                   upon               proper                execution                       of        construction                          activities                       or      operations                          by     the
             Owner           or        a separate                        contractor,                      the         Contractor                      shall,               prior            to      proceeding                         with        that
             portion             of         the       Work,                promptly                      report               to      the         Owner                        apparent                       discrepancies                              or
             defects             in     such              other           construction                          that          would              render                   it unsuitable                         for         such             proper
             execution                  and          results.                       Failure           of        the          Contractor                        to     report                    such           discrepancies                             or
             defects             shall   constitute                             an        acknowledgment                                    by       the            Contractor                          that      the            Owner's                  or
                                   contractors'
             separate                                                    completed                         or        partially             completed                            construction                          work             is fit       and
             proper             to         receive                the          Contractor's                           Work,               except                    as          to         latent             defects                  not         then

             reasonably                      discoverable.


                            6.2.3.                    Delay               Cost.                    Costs              caused                by        Unavoidable                                  Delays               in       the         critical
             path          activities                     of       the              Work,                or          by       improperly                            timed                   activities                  or         defective

             construction,                        shall          be       borne               by     the         party              responsible                           for         incurring                 such             costs.


                            6.2.4.                    Disputes                        Regarding                            Damage                    to        Work                   or        Property                    of    Separate
             Contractors.                            If any             separate                    contractor                      claims                or       alleges                  that         the      Contractor                        has
             caused             damage                     to the          work              or     property                  of such                separate                         contractor,                     the        Contractor
             shall        promptly                  attempt                    to     resolve                 such           dispute.                 If any               separate                      contractor                     initiates.
             legal        action             or any              other              proceedings                           against              the        Owner                   on        account               of        any        damage
             alleged              to         have               been                caused                 by          the          Contractor,                            the             Owner                shall             notify             the

             Contractor,                      who              shall           defend                such              proceedings                             at        its          own          expense,                      and          if    any
             judgment                  or     award               against                 the       Owner                  is entered                     against                     the Owner,                      the        Contractor
                                                                                                                                                                                        attorneys'
             shall        pay         or     satisfy             it and              shall         reimburse                       the      Owner                   for         all                                   fees         and            court
             costs         or        other          costs              which              the        Owner                  has          incurred                   over               and         above              those             paid            for

             directly            by        the       Contractor.


                            6.2.5.                    Same                 Responsibilities                                        for         Owner                  and                  Separate                    Contractors

             The        Owner                 and          each           separate                       contractor                      shall        have                the           same              responsibilities                              for

             cutting            and           patching                   as         are       described                       for        the         Contractor                            in     Section               4.12,             hereof.
             in      addition,                    Owner                 will          endeavor                        to      negotiate                        a     provision                           in     its     agreements
             with         other              of     its        contractors                          to        indemnify                        and             name               as         an         additional                      insured
             the       Contractor                         to     the       same                 extent                as      each             contractor                             is     required                  to        indemnify
             and        insure                the         Owner.




             GMP        10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                     INDEX NO. 150180/2021
        Case
NYSCEF DOC.   1:24-cv-04939-VMS
            NO.  2              Document 1-1 Filed 07/16/24 Page 101 of 122 PageID
                                                                     RECEIVED      #: 110
                                                                               NYSCEF:  01/25/2021

                                                                                                                                                Staten            Island          Mall       - Seed                          Macys
                                                                                                                                                                                                            Money
                                                                                                                                                                                                           Contract             # 019
                                                                                                                                                                                       Aurora         Contractors,                  inc.

                            Section                    6.3.               Owner's                      Right             to    Clean            Up.           If a dispute                    arises          among                 the

             Contractor,                 separate                    contractors                        and         the        Owner            as     to      the         responsibility                     under               their
             respective                 contracts                   for      maintaining                           the        Jobsite,              premises                     and     surrounding                         areas
             free         from          waste                materials                     and          rubbish                 as      described                     in         Section              4.13           of      these
             General             Conditions,                     the        Owner                 may           after          providing                    Contractor                        with         twenty-four

             (24)         hour          written                notice,                  which                 shall            include               as       effective                    notice             electronic
             notice           (i.e.         email)              may             clean             up         and         allocate             the       cost          among                  those           responsible
             as     the     Owner                 determines                      to       be         just      and           equitable               in its         sole          discretion.


                                                                                                              ARTICLE                    7
                                                                                                                      TIME


                            Section                    7.1.               Definitions.


                            7.1.1.                     Date         of      Commencement                                         of      Work.                The          date          of       commencement
             of     the      Work                 is    the          date              established                        in     the          Project                Schedule                        and            Notice            to
             Proceed.                 if-there-is-neWetise-to-P-r-eseedrit-shalke-the-execution-of-e#eethmiate
             of4he-Constfuetien-Agreement-or-sueb-ethe                                                                                                                                                                               in-



                             7.1.2.                    Date           of          Substantial                             Completion.                                The              date           of       Substantial
             Completion                      of        the      Work                  or     designated                         portion              thereof                is     the         date          established
             pursuant                 the         provisions                      of        Section                 1.1.35              of     the          Construction                          Agreement                        and
             Section             8.4,        hereof.


                             Section                   7.2.               Progress                       and          Completion.


                             7.2.1.                    Premature                       Commencement.                                          The         Contractor                    shall         not      knowingly,
             except          by       agreement                       or instruction                          of the           Owner            in writing,                 prematurely                       commence
             operations                     on         the      Project,                    Jobsite                 or        elsewhere                     prior          to      the         effective                  date            of
             commencement                                    established                         in     the         Project                  Schedule                      and           Notice              to       Proceed
             issued          by       the         Owner.


                             7.2.2.                    Commencement                                          and          Completion.                             The            Contractor                   shall          begin
             the      Work            on         the         date          of     commencement,                                       shall         thereafter                    proceed                 expeditiously
             with         adequate                     workforces                          and          shall         achieve                 Substantial                        Completion                       within            the
             Contract              Time,               and          shall             achieve                 any         milestone                  dates           or         other         completion                     dates
             referenced                  in the              Contract                  Documents.


                             Section                   7.3,               Delays                  and           Extensions                      of     Time.


                             7.3.1.                    Extensions                           of          Time.                  There                shall           be           no      adjustment                        in       the
             Guaranteed                      Maximum                        Price             for        delays                not       within             the       reasonable                          control            of     the

             Owner,              Contractor,                     or       Architect.


                             7.3.2.                    Claims                   for         Increase                      in      Contract                     Time/Guaranteed                                        Date            of
             Substantial                     Completion.                                   if the            Contractor                 wishes               to      request                 an      increase                in     the




             GMP      10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                   INDEX NO. 150180/2021
        Case
NYSCEF DOC.   1:24-cv-04939-VMS
            NO.  2              Document 1-1 Filed 07/16/24 Page 102 of 122 PageID
                                                                     RECEIVED      #: 111
                                                                               NYSCEF:  01/25/2021

                                                                                                                                                            Staten           Island          Mall         - Seed                             Macys
                                                                                                                                                                                                                           Money
                                                                                                                                                                                                                          Contract             # 019
                                                                                                                                                                                               Aurora                 Contractors,                 Inc.

             Contract                Time             or      Guaranteed                            Date               of     Substantial                              Completion,                         written                notice            as
             provided                herein             shall            be      given              to     Owner                within                 seven               (7)      days                after         occurrence                       of
             the       event              believed                  to        give          rise          to         the       delay.                     Contractor                     shall              submit                 its       claim

             (including                 evidence                   supporting                       such              delay           in the                critical          path           activities                   of the            Work)
             within           twenty-one                      (21)         days          of the                notice          set         forth             above,              and          if such                 notice           or    claim
             is not       provided                    in writing                 within             the          time          required                     in this           Section,                   any           claim           shall        be
             deemed                  waived                   by         the          Contractor.                             The              Contractor's                            claim               shall             include                an
             estimate               of        cost         and           of     probable                       effect          of         delay              on        the       progress                       of     the        Work.                In
             the       case          of       a     continuing                    delay              only             one           (1)        claim              is     necessary.                             Contractor                     shall
             not       rely        on        any       purported                      verbal             waiver                of     this           provision.


                              7.3.3.                  Claim                for         Adverse                         Weather                         Conditions.                                 if      adverse                  weather
             conditions                   are         the       basis            for         a claim                   for     extending                           the        Contract                    Time,                 such         claim
             shall            be        documented                               by         data                substantiating                                  that          weather                       conditions                         were

             abnormal,                    not         customary                      adverse                    conditions                       for         the         Contract                  Time               and         could            not
             have         been                reasonably                       anticipated                           and        that            weather                      conditions                         had          an        adverse
             effect           on     the          critical          path          activities                    of      the         Work.


                                                                                                                 ARTICLE                         8

                                                                               PAYMENTS                                 AND               COMPLETION


                               Section                 8.1.                   Schedule                          of         Values.                           Before               the          first             Application                        for
             Payment                    is made,               the            Contractor                       shall          submit                 to      the         Owner               a proposed                           Schedule
             of       Values                 meeting                 the             requirements                               of         the            Construction                              Agreement.                                 Such
             Schedule                   of     Values,               if approved                          by         the       Owner,                     shall          be      used              solely              as       a basis             for

             evaluating                   the         Contractor's                      Applications                            for        Payment.


                               Section                 8.2.                   Payment                     for         Stored                   Materials                      and        Title.


                               8.2.1.                  Payment                        for           Materials                         and                 Equipment.                                     Unless                   otherwise
             provided                   in      the          Contract                  Documents,                              payments                            shall          be          made                   on         account                of
             materials                    and           equipment                            delivered                        and              suitably                      stored                 at          the          Jobsite                for
             subsequent                       incorporation                           in the             Work,               with         the        approval                    of the             Owner.                   if approved
             in advance                      by      the      Owner,                  in its         sole            discretion,                       payment                    may          similarly                    be     made             for
             materials                  and          equipment                       suitably                   stored              off        the         Jobsite               at     a location                        agreed               upon
             in writing.                     Payment                 for        materials                      and          equipment                           stored            on     or         off         the       Jobsite                shall
             be       conditioned                     upon           Owner               (and             Owner's                    lender,                 if any)             agreeing                   to advance                       funds
             for        such              stored               materials,                          compliance                              by             the           Contractor                         with              procedures

             satisfactory                      to      the         Owner                and              its         lender               to      establish                      the         Owner's                      title        to        such
             materials                   and           equipment                        or         otherwise                        protect                   the          Owner's                      interest,                 and            shall
             include               applicable                      insurance,                       storage                   and          transportation                               to         the          Jobsite             for        such
             materials                  and         equipment                     stored                 off     the         Jobsite.                     The          Contractor                       shall          submit,              within

             thirty       (30)          days           after         the         date          of        commencement                                        of the           Work             and              thereafter                  as     the
             Owner                 requires,                  schedules                        of         materials                       and             equipment                          for          each              category                   or
             subcontract                      for      which              Application                          for      Payment                      will       be       made,               which               schedules                       shall
             include               items,             quantities,                     value               or         unit      prices                  with            extensions,                         and            the      month                 in




             GMP_10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                   INDEX NO. 150180/2021
        Case
NYSCEF DOC.   1:24-cv-04939-VMS
            NO.  2              Document 1-1 Filed 07/16/24 Page 103 of 122 PageID
                                                                     RECEIVED      #: 112
                                                                               NYSCEF:  01/25/2021

                                                                                                                                                               Staten            island         Mall     - Seed                                Macys
                                                                                                                                                                                                                          Money
                                                                                                                                                                                                                         Contract              # 019
                                                                                                                                                                                                  Aurora            Contractors,                   Inc.

             which                Application                             for          Payment                          with             respect                   thereto                is     expected                          to      occur.
             Schedules                        shall             be        updated                   on         a monthly                        basis              and          submitted                as         an        attachment
             to     the       Contractor's                            Application                         for       Payment.




                                  8.2.2.                  Warranties                              Deemedjncluded                                             in      Application                        for         Payment                         By
             submitting                       any        Application                          for        Payment,                    the         Contractor                       shall         be     deemed                      to warrant
             that         title        to     all      Work               covered                   by        such         Application                         for        Payment                passes                  to    the        Owner
             at     the       time            of       the        Application                        for           Payment,                     and          that         all     Work           for     which                Owner              has
             made                  payment                           is      free                and               clear             of          liens,               claims,                  security                   interests                  or
             encumbrances                                    of       any            kind           in        favor            of        the         Contractor,                     Subcontractors,                                    material

             suppliers,                     or      other            persons                   or        entities              making                  a claim              by      reason              of    having                 provided

             labor,           materials                      and           equipment                           relating              to        the         Work.


                                  Section                    8.3.                Progress                          Payments.


                                  8.3.1.                  Owner's                       Right                 to    Refuse                  to        Make            Payment                        Without                  limiting           any
             other            right              or      remedy                      which               it    may             have,                 the       Owner                may           refuse              to           make          any
             payment                     to      the         extent              as         may           be        necessary,                         in     the         Owner's                good          faith           opinion,              to
             protect               the           Owner                from             loss         because                    of:


                                  .1                   defective                     Work            not           remedied;


                                  .2                   third          party             claims                 filed           or        reasonable                        evidence                    indicating                    probable

                                                       filing         of        such          claims                which                 are          not         covered                  by       insurance;


                                  .3                   failure                  of         the            Contractor                            to          make                 payments                     properly                     to       its
                                                       Subcontractors                                  or Vendors                          or        for     labor,             materials               or     equipment;


                                  .4                   failure             of        the         Contractor                         to     submit                  properly               prepared                   and            complete
                                                       Applications                           for        Payment,                        including                  all    required                  supporting                     materials
                                                       and           documentation;                                   or


                                  .5                   persistent                       failures                   to      carry               out          the           Work            in     accordance                             with       the
                                                       Contract                      Documents.


             When                  the           above                    reasons                   for            withholding                             payment                  are          resolved                     to        Owner's

             satisfaction,                            payment                   will        be       made                for        such             amounts                    withheld.


                                  8.3.2.                   Payment                            Does                  Not             Constitute                            Acceptance                           of         Work.                     No
             Application                         for       Payment,                         nor          any         payment                     on          account               thereof              by      the           Owner,               nor

              any         partial             or       entire              use         or     occupancy                         of the                Project              by      the         Owner,           shall              constitute
             an       acceptance                                of        any           Work                  not          performed                          in      accordance                        with             the            Contract
              Documents.




              GMP_10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                        INDEX NO. 150180/2021
        Case
NYSCEF DOC.   1:24-cv-04939-VMS
            NO.  2              Document 1-1 Filed 07/16/24 Page 104 of 122 PageID
                                                                     RECEIVED      #: 113
                                                                               NYSCEF:  01/25/2021

                                                                                                                                                               Staten          1sland             Mall        - Seed                               Macys
                                                                                                                                                                                                                               Money
                                                                                                                                                                                                                              Contract              # 019
                                                                                                                                                                                                       Aurora            Contractors,                     Inc.

                              Section                       8.4.                Substantial                          Completion.


                              8.4.1.                        Substantial                           Completion,                                    Substantial                         Completion                          is the            stage                in

             the        progress                       of      the          Work                  when               the         Work,                   or          designated                            portion                   thereof,                   is

             sufficiently                   complete                       in      accordance                          with               the         Contract                      Documents                          so         Owner                  can

             fully       occupy                   or        utilize             the          Project.                The             Work               will         not           be        considered                          suitable                  for
             Substantial                     Completion                            review                 until:           (i)       all        Project                systems                     included                    in       the        Work
             are        operational                            as         designed                         and             scheduled;                           (ii)          all         designated                           or         required
             governmental                              inspections                          and          certifications                          have            been                issued,                made               and            posted,
             including,                 without                      limitation,                    the          temporary                            certificate                       of        occupancy                             and/or             its

             equivalent;                    (iii)       the         designated                           instruction                       of     Owner                in      the           operation                   of       all     systems
             has         been               completed;                            and             (iv)       all        final               finishes                   set           forth             within               the           Contract
             Documents                       are            completed.                         in    general,                    the            only          remaining                         Work            shall            be       minor                 in

             nature,            so      that            Owner               could              occupy                the         building(s)                         comprising                         the       Project                 and           fully
             utilize           such              building(s)                       on         that          date               (in         the          manner                      described                     above),                     and           all
             elements                 and              utilities            in     and             under             the         Project                 are          fully          functional                    and            operable                      in
             accordance                          with              the      Contract                      Documents,                              and           the           completion                          of        the          Work              by
             Contractor                     would                  not       materially                      interfere                     with          or      hamper                       Owner's                    intended                       use,

             occupancy                      or      enjoyment                          of     the         Project.


                               8.4.2,                       Procedure;                            Punch               List.                When                the          Contractor                      considers                      that           the

             Work,             or       a        portion                  thereof                   which             the             Owner                    agrees                   to        accept                 separately,                            is

             Substantially                          Complete,                          Contractor                     shall                so     notify              Owner                  in       writing.              Upon               receipt
             of      Contractor's                           notice,               Owner                   and         the            Architect                       will       make                  an        inspection                         of     the
              Project           to      determine                         whether                    the        Work,                or         any       designated                              portion              of     the         Work,                 is

             Substantially                          Complete                           in         accordance                           with             the            Contract                       Documents.                              If        such
              inspection                discloses                         any          items             which             are             not        in accordance                                with         the         requirements
             of      the           Contract                        Documents,                             the         Architect                         shall               prepare                     and            submit                  to         the
             Contractor                     a       comprehensive                                   punch               list         of         items           to      be          completed                       or        corrected                    by
              Contractor,                         The              Contractor                       shall            proceed                      promptly                    to        complete                       and             correct              all
              items           on      the           punch                 list.          Failure                to     include                    an         item             on        such            punch                 list       does             not
              relieve          the          Contractor                       of        its     responsibility                              to     complete                     all      Work               in     accordance                             with
             the       Contract                   Documents.                                Upon            receipt              of the                Contractor's                             punch             list      of       completed

              items,           the      Owner                      and          the         Architect                 will           make               an      inspection                         to      determine                       whether
              the       Work                or         designated                            portion                 thereof                     is      Substantially                                 Complete                               If        such
              inspection                discloses                         any           item,            whether                  or        not         included                     on         the        punch               list,       which                is
              not        in        accordance                              with              the           requirements                                 of       the                Contract                     Documents,                               the
              Contractor                    shall,             before                 Architect                  issues                the         Certificate                       of      Substantial                          Completion
              (as      defined               in        Section               8.4.3),                complete                     or correct                     such                item(s)                upon          notification                       by
             the        Owner.                   The           Contractor                         shall          then            submit                 a request                         for       another                   inspection                        at
              Contractor's                        sole             cost           by        the      Owner                   and            the         Architect                     to        determine                      whether                    the
             Work             is considered                              Substantially                          Complete.




              GMP-10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                         INDEX NO. 150180/2021
        Case
NYSCEF DOC.   1:24-cv-04939-VMS
            NO.  2              Document 1-1 Filed 07/16/24 Page 105 of 122 PageID
                                                                     RECEIVED      #: 114
                                                                               NYSCEF:  01/25/2021

                                                                                                                                                      Staten         island            Mall       - Seed                           Macys
                                                                                                                                                                                                                   Money
                                                                                                                                                                                                                  Contract            # 019
                                                                                                                                                                                           Aurora           Contractors,                 Inc.

                            8.4.3.                    Certificate                       of       Substantial                               Completion.                                    When               the           Work              or

             designated                      portion             thereof                 is      Substantially                              Complete,                        Architect                    will         prepare                 a
             Certificate                of     Substantial                   Completion                           which              shall            determine                    the         date          of       Substantial

             Completion,                       shall            establish                     responsibilities                              of         the          Owner                    and           Contractor                       for

             security,             maintenance,                        heat,              utilities,             damage                    to the             Work            and            insurance,                  and          shall
             fix    the    time          within           which            the          Contractor                      shall         finish            all      remaining                     items             on     the      punch
             list   accompanying                              such         Certificate.                         The       Certificate                       of      Substantial                      Completion                       shall
             be      submitted                   to      the         Owner                and             Contractor                       by         the        Architect                    for       their          respective
             written         acceptance                         of    responsibilities                                assigned                   to     them              in such                 Certificate.


                            Section                   8.S.             Partial                  Occupancy                            or     Use.



                            8.5.1.                    Partial               Occupancy.                                    The               Owner                    may               occupy                    or        use          any
             completed                    or      partially             completed                           portion                  of     the         Work               at      any             stage              when            such
             portion          is        designated                    by      separate                      agreement                        with             the         Contractor,                       provided                  such

             occupancy                    or    use           is agreed                 to      by        the        property                insurance                      carrier               and        authorized                     by
             public        authorities                    having             jurisdiction                       over           the        Work.               Such              partial             occupancy                    or     use

             may          commence                      whether               or        not      the        portion                  is Substantially                            Complete,                        provided               the
             Owner           and             Contractor                     have              accepted                    in      writing               the          responsibilities                              assigned                   to
             each         of them               for      payments,                      retainage,                      if any,            security,                 maintenance,                               heat,          utilities,
             damage                to     the          Work           and          insurance,                         and            have             agreed               in      writing               conceming                       the
             period         for     correction                   of the            Work              and         commencement                                       of warranties                         required                by     the
             Contract              Documents.                          Any           consent                    required                   under              this        Section                   8.5.1          shall         not        be

             unreasonably                        withheld,                  conditioned                         or delayed.


                            8.5.2.                    Partial          Occupancy                                Does              Not           Constitute                         Acceptance                            of      Work.
             Unless          otherwise                        agreed             upon             in      writing,               partial              occupancy                         or        use       of        a portion               or
             portions              of     the         Work           shall          not          constitute                     acceptance                           of    Work                not        complying                     with
             the       requirements                       of the            Contract                   Documents.



                            Section                    8.6.            Final              Completion                             and            Final            Payment.


                            8.6.1.                    Final          Completion,                                Final          Completion                         shall          occur              when              (i) all     Work,

             including                  any           items           not          required                     for       Substantial                            Completion                          are          complete                     in
             accordance                      with        the      Contract                    Documents                         and         a Certificate                         of      Final         Completion                      has
             been          issued,               as       provided                  in        Paragraph                         8.6.2,            below                and         (ii)       the         Contractor                     has
             delivered              the         following              to        the         Owner:



                            .1                  an       affidavit            that            payrolls,                 bills        for     materials                     and          equipment,                       and          other
                                                indebtedness                            connected                       with         the        Work             for      which               the       Owner              might            be
                                                responsible                        or         the          Owner's                        property                  may            be          encumbered                              (less
                                                amounts                withheld                      by     Owner)                   have             been             paid        or        otherwise                   satisfied;


                            .2                  a       certificate                 evidencing                           that             insurance                       required                   by          the       Contract
                                                Documents                          is        currently                   in      effect,               will          remain                  in      force             after           Final

                                                Payment,                    and          will       not         be      cancelled,                      substantially                         modified                  or allowed




             GMP_10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                            INDEX NO. 150180/2021
        Case
NYSCEF DOC.   1:24-cv-04939-VMS
            NO.  2              Document 1-1 Filed 07/16/24 Page 106 of 122 PageID
                                                                     RECEIVED      #: 115
                                                                               NYSCEF:  01/25/2021

                                                                                                                                                             Staten           island         Mall       - Seed                             Macys
                                                                                                                                                                                                                    Money
                                                                                                                                                                                                                   Contract                # 019
                                                                                                                                                                                                Aurora           Contractors,                    Inc,
                                                                                                                                                      days'
                                                to         expire              until            at      least            thirty          (30)                             prior        written            notice            has            been
                                                given              to        the          Owner;


                             .3                 consent                      of the                surety,              if required,                   for         Final           Payment;


                             .4                 if         required                       by          the          Owner,                     other                data           establishing                        payment                        or
                                                satisfaction                             of     obligations,                      such            as         receipts,                 releases                and       waivers                     of

                                                liens,             claims,                     security                  interests                or         encumbrances                               arising          out            of      the

                                                Agreement,                                to         the          extent                and           in       such               form          as        required                    by        the
                                                Contract                      Documents.                                If a Subcontractor                                   or Vendor                  refuses             to     furnish
                                                a         release                   or         waiver                required                    by          the          Owner,               the        Contractor                     may
                                                furnish                  a        bond               satisfactory                        to      the           Owner                to       indemnify                  the            Owner
                                                against                      such               lien         or      encumbrance.                                       If    such            lien       or      encumbrance
                                                remains                       unsatisfied                         after           payments                         are        made,             the       Contractor                         shall
                                                refund                  to        the         Owner                all      amounts                    that          the          Owner              may         be      compelled
                                                to        pay       in discharging                            such                    liens      or          encumbrances,                              including                all       costs
                                                                                                      attorneys'
                                                and             reasonable                                                            fees;


                             .5                 all         as-built                     drawings,                       closeout                 documents,                             warranties                    and             similar
                                                documents                                required                 by       the         Contract                    Documents;


                             .6                 all        documents                               and         records                  required                   by        Owner             for       the      release                  of        all
                                                jurisdiction                            bonds,               if any;            and


                             .7                 any             other              requirements                                necessary                      for         Final          Payment                 or     completion
                                                stated              in the                    Construction                        Agreement                            have          been            satisfied.


                             8.6.2.                   Certificate                              of      Final             Completion.                                 Upon              receipt            of      written               notice
             that      the        Work               is     ready                 for      final            inspection                    and          acceptance,                           and         upon          receipt                  of      a
             final     Application                          for      Payment,                            the        Owner's                     Representative                                and        the       Architect                     will

             promptly                make                 the       final               inspection.                         When                the           Owner's                  Representative                             and            the
             Architect             determine                        that            the         Work              has          been           fully          performed                    in accordance                          with            the
             Contract                 Documents,                                  the           Architect                      will       promptly                        issue           a      Certificate                     of          Final
             Completion                    and             Acceptance                               stating             that          (i) to the             best            of the       Architect's                  knowledge,
             information                       and           belief,                    and           on          the          basis            of         the           Architect's                    observations                            and

             inspections,                       the             Work                    has            been               completed                           in        accordance                        with          terms                   and
             conditions                   of         the          Contract                         Documents,                           and           (ii)       the         completed                    Work              has            been
             accepted                by        the          Owner's                      Representative                                 on      behalf               of      the       Owner.


                             8.6.3.                   Delay                  of         Final          Completion.                               If, after               Substantial                    Completion                         of the

             Work,           Final         Completion                               is materially                         delayed                 through                    no      fault         of    the      Contractor                         or

             by       issuance                   of         Change                        Orders                   affecting                    Final               Completion,                         and        the           Owner's
             Representative                               and       Architect                        are       in agreement                            with          such          determination,                        the           Owner
             shall,          upon                application                                  by         the            Contractor                           and             approval                   by        the            Owner's

             Representative,                                and              without                   terminating                        the         Agreement,                          make                payment                   of       the

             balance              due           for          that             portion                  of      the         Work               which                 has           been          fully          completed                        and




             GMP_10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                   INDEX NO. 150180/2021
        Case
NYSCEF DOC.   1:24-cv-04939-VMS
            NO.  2              Document 1-1 Filed 07/16/24 Page 107 of 122 PageID
                                                                     RECEIVED      #: 116
                                                                               NYSCEF:  01/25/2021

                                                                                                                                                      Staten              Island              Mall       - Seed                             Macys
                                                                                                                                                                                                                             Money
                                                                                                                                                                                                                            Contract           # 019
                                                                                                                                                                                                   Aurora              Contractors,               inc.

             accepted.                 If the             remaining                        balance                   for     the        Work                 not        fully            completed                          or    corrected
             is less       than          the         retainage                       stipulated                      in the        Contract                    Documents,                                and            if bonds               have
             been         furnished,                     the     written                      consent                 of     surety              to      payment                          of       the          balance                 due        for
             that      portion            of        the        Work             fully              completed                      and         accepted                          shall              be      submitted                      by     the
             Contractor                  to     the            Owner                     as        a      further             condition                      precedent                           to        its         entitlement                    to
             receive         such              payment.


                           8.64                  Acceptance                                   of        Final         Payment                      Constitutes                                Waiver                   of        Claims            by
             Contractor.                       Acceptance                                of        Final         Payment                     by       the            Contractor,                            a     Subcontractor,
             Vendor          or      material                  supplier                   shall           constitute                 a waiver                      of     claims                by       that           payee             except
             those         previously                     made                  in       writing                in        accordance                         with             the             terms              of      the        Contract

             Documents,                       and           identified                        by        such          payee                as         unsettled                          at     the         time             of     the         final
             Application                 for        Payment.


                                                                                                                ARTICLE                      9
                                                      PROTECTION                                         OF      PERSONS                           AND                  PROPERTY


                           Section                   9.1.                 Safety                   Precautions                          and             Programs.


                           9.1.1.                   Contractor's                                   Responsibility.                                      The               Contractor                             shall            be       solely
             responsible                  for        initiating,                     maintaining                           and       supervising                              all        safety              precautions                         and
             programs                in connection                          with               the        performance                         of      the          Work               and           requirements                           of     the
             Contract             Documents.                              The            Contractor                       shall      submit                  the         Contractor's                             safety            program
             to     the      Owner                  for         review                   and             coordination                        with             the             safety                  programs                      of        other

             contractors,                 if any.



                            9.1.2.                  Discovery                            of        Hazardous                        Materials.                            in        the         event                 the        Contractor
             encounters                  on      the        Jobsite                  material                   reasonably                       believed                     to     be        a Hazardous                             Material

             by     any     federal,                state            or    local               authority,                   which            has         not            been              rendered                      harmless,                 the
             Contractor                  shall              immediately                                 stop          Work              in        the          affected                        area               and            report           the
             condition              to        the         Owner                 orally                  and          in     writing.                  Except                    as            otherwise                      provided                   in
             Paragraph                   9.1.3,                below,                    the            Owner,               at      its         expense,                           shall             be          responsible                      for

             obtaining             the          services                   of        a     properly                   licensed                  laboratory                          to        verify             the        presence                  or
             absence              of     the         Hazardous                             Materials                      reported               by        the           Contractor                         and,             in the        event
             such         material                  or      substance                              is     found              to     be          present,                      to         verify             that            it    has          been
             rendered             harmless.                      The             Work                   in the        affected               area             shall             not           be        resumed                   except            by
             written         agreement                          of        the            Owner                  and         Contractor                        if        the         material                     is     a        Hazardous
             Material            and          has         not        been                rendered                    harmless.                     The             Work              in the              affected                 area         shall
             be      resumed                   immediately                               following                    the         occurrence                            of         any          one              of      the        following
             events:


                            .1                 the          Owner                causes                       remedial               work               to         be         performed                          which             results              in
                                               the        removal                     or       absence                     of the          Hazardous                            Materials;                        or


                            .2                 the          Owner                    and                the      Contractor,                          by           written                    agreement,                          decide                to
                                               resume                 performance                                of the           Work;               or




             GMP_10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                               INDEX NO. 150180/2021
        Case
NYSCEF DOC.   1:24-cv-04939-VMS
            NO.  2              Document 1-1 Filed 07/16/24 Page 108 of 122 PageID
                                                                     RECEIVED      #: 117
                                                                               NYSCEF:  01/25/2021

                                                                                                                                                 Staten              Island          Mall        - Seed                                Macys
                                                                                                                                                                                                                     Money
                                                                                                                                                                                                                    Contract               # 019
                                                                                                                                                                                           Aurora             Contractors,                   Inc.



                           .3                 the        Work             may               safely              and           lawfully                proceed,                       as          determined                           by       an
                                              appropriate                        governmental                                authority                    or         as        evidenced                            by         a     written

                                              report          to        both           the         Owner               and           the         Contractor,                             which               is     prepared                   by
                                              an         environmental                               engineer                       reasonably                            satisfactory                              to         both          the
                                              Owner             and         the             Contractor.



                           9.1.3.                  Hazardous                           Materials                      for           Which                  Contractor                              is         Responsible.

             Notwithstanding                           Section              9.1.2,                 above,              Contractor                         shall           be         solely                responsible                         for
             the      remediation,                     disposal,                  and          transport                     of     all     Hazardous                          Materials                          (1)        brought            to
             or    created               at the        Site        by     the          Contractor                     or      anyone                 working                    under              Contractor,                         or      (2)
             which         were             pre-existing                   at         the         Site      but        require                 remediation,                               disposal                      or     transport
             due      to   the           negligence                  of     Contractor,                         any          Subcontractor                                or    Vendor                       or         Contractor's
             breach           of     this       Agreement.


                           Section                  9.2.             Safety                  of      Persons                      and          Property.



                           9.2.1.                   Reasonable                              Precautions                              to        Prevent                       Loss                to           Persons                       and
             Property.                    The        Contractor                        shall             take         reasonable                          precautions                            to        provide                   for     the

             safety        of,      and        shall        provide               reasonable                          protection                     to    prevent                   damage,                        injury           or     loss
             to:


                              1               employees,                        Subcontractors,                                   and          Vendors                    performing                              the        Work           and
                                              other            persons                        including                      but           not            limited                   to       customers,                               tenant

                                              employees,                        and          delivery                 persons                  who             may           be          affected                   thereby;


                             .2               the        Work             and          materials                     and           equipment                         to        be         incorporated                             therein,
                                              whether                in     storage                  on         or     off        the       Jobsite,                  under                the          care,                custody            or
                                              control           of        the         Contractor,                      its        Subcontractors,                                    Sub-subcontractors                                         or

                                              Vendors;                  and


                             .3               other           property                  at     the        site        or      adjacent                    thereto,                  such              as          trees,           shrubs,
                                              lawns,               walks,                   pavements,                            roadways,                          structures                       and                utilities             not
                                              designated                        for         removal,                  relocation                     or        replacement                              in        the         course              of
                                              construction.


                           9.2.2.                   Compliance                              with           Law.                   The          Contractor                         shall            give                 notices             and

             comply               with       applicable                   laws,              ordinances,                           rules,            regulations                          and            lawful                orders             of
             public        authorities                   bearing                on          safety          of       persons                   or     property                      or     their             protection                    from

             damage,                injury          or     loss,          including,                     without                  limitation,                  all        OSHA               requirements.                                  The
             Contractor                   shall          reimburse                     and           indemnify                      the        Owner                   for          any          fines,                 penalties               or
             assessments                       levied          against                 the         Owner              as      a result               of violations                         of      safety                 regulations

             occurring               at      the       Jobsite             which                   are          caused                    by        Contractor,                            its        Subcontractors
             or    Vendors.




             GMP      10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                  INDEX NO. 150180/2021
        Case
NYSCEF DOC.   1:24-cv-04939-VMS
            NO.  2              Document 1-1 Filed 07/16/24 Page 109 of 122 PageID
                                                                     RECEIVED      #: 118
                                                                               NYSCEF:  01/25/2021

                                                                                                                                                       Staten             island           Mall         - Seed                            Macys
                                                                                                                                                                                                                       Money
                                                                                                                                                                                                                      Contract             # 019
                                                                                                                                                                                                Aurora             Contractors,                    inc.

                                9.2.3.                  Signs               and          Warnings.                           The       Contractor                         shall            erect            and        maintain,                    as
             required                 by         existing                 conditions                       and           performance                          of         the         Agreement,                            reasonable
             safeguards                         for      safety              and           protection,                        including                  posting                    danger                   signs              and       other
             warnings                 against                   hazards,                   promulgating                            safety              regulations,                            and           notifying                owners
             and         users             of    the        building                and             adjacent                 sites          and          utilities.


                                9.2.4.                  Explosives                             and              Other              Hazardous                              Materials.                               When                 use          or
             storage               of           explosives                     or         other             Hazardous                          Materials                       or         equipment                        or      unusual
             methods                  are             necessary                     for         the             perforrnance                      of       the           Work,                  the          Contractor                       shall
             exercise                 the         utmost                   care           and            carry           on        such           activities                    under                 the          supervision                        of

             properly               qualified                    and          licensed                    (if     required)                  personnel,                         and            with          the          prior         written
             approval                 of the            Owner.                 Contractor                         is the           owner            of all          Hazardous                           Materials                     brought
             to      the         Project                Jobsite                    by      the           Contractor,                        and           shall               be          strictly             liable             for      such
             Hazardous                      Materials                     while           they           are           being          stored,              handled,                       used           or     installed                 at the
             Project              Jobsite.                     The           Contractor                          shall         submit               Material                       Safety               Data               Sheets               and
             other            documentation                                 required                  by         the      Owner,                applicable                          governmental                                agencies,
             the        Contract                 Documents                          or     applicable                     law,         rule         or     regulation.                          The           Contractor                      shall

             strictly             comply                    with             all         applicable                          laws,             rules,               and               regulations                           relating                  to
             environmental                             matters                and         the         handling                  of     Hazardous                          Materials                     at     all     times             during
             the        performance                         of       the      Work.


                                9.2.5.                  Contractor                         to        Remedy                        Damage                   or        Loss.                    The           Contractor                       shall

             promptly                  remedy                       damage                 and             loss          (other              than          damage                         or       loss            insured               under

             property               insurance                        required                  by     the         Contract                  Documents),                              to     property                  referred                to      in
             Sections                 9.2.1.2               and            9.2.1.3,                 above,               caused                in whole                  or         in part             by     the          Contractor,

             any         Vendor,                      any           Subcontractor,                                any          Sub-subcontractor,                                          or         anyone                 directly                 or

             indirectly                 employed                       or     supervised                           by        any       of      them,                or        by      anyone                   for         whose               acts

             they          may             be         liable          and           for         which              the         Contractor                      is        responsible                           under              Sections

             9.2.1.2             and            9.2.1.3,              above,               except                 damage                or      loss          solely                attributable                      to     intentional
             acts          or      omissions                          of      the          Owner                   or        Architect                   or         anyone                      directly               or         indirectly
             employed                      or     supervised                        by         either             of     them,            or      by       anyone                    for        whose                acts          either             of
             them           may          be       liable,            and           not      attributable                       to the          fault          or     negligence                          of     the         Contractor.
             The           foregoing                    obligations                        of        the          Contractor                    are           in         addition                  to        the          Contractor's
             obligations                    under              the         Agreement                        or     any         other           obligations                          set     forth            in these              General
             Conditions.


                                9.2.6.                  Overloading                             of       Work.                 The        Contractor                       shall            not         load         or      permit             any
             part        of     the         Work               to     be      loaded                 beyond                  its     designated                          capacity,                    and           will        obtain             the
             approval                 of        the     Architect                   prior           to     storing              any         equipment                          or     materials                      on      any         part         of

             the        Work.


                                9.2.7.                  Protection                        of        Adioining                      Property                   and              Persons.                       Contractor                      shall
             protect              adjoining                         private               or        municipal                      property                   and              shall             provide                    barricades,

             temporary                     fences,                  and       covered                    walkways                     required                to         protect                the       safety             of    persons

             (including                  invitees                   and       passersby),                          as        required                by       prudent                     construction                          practices,
             local            building                  codes,                 ordinances                              and           other             laws,               rules,                regulations,                           and           in




             GMP_10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                             INDEX NO. 150180/2021
        Case
NYSCEF DOC.   1:24-cv-04939-VMS
            NO.  2              Document 1-1 Filed 07/16/24 Page 110 of 122 PageID
                                                                     RECEIVED      #: 119
                                                                               NYSCEF:  01/25/2021

                                                                                                                                                      Staten       1sland          Mall             - Seed                             Macys
                                                                                                                                                                                                                   Money
                                                                                                                                                                                                                  Contract              # 019
                                                                                                                                                                                          Aurora                Contractors,                  Inc.

             accordance                     with             the       Contract                  Documents.                           Contractor                   shall        prepare                         and          submit            to
             the                           for         its                                a Jobsite                 utilization                  plan                                 the            location                  of     its     on-
                       Owner,                                 approval,                                                                                       showing
             site      office,            if any,            all     perimeter                   fencing,                protected                  walkways,                   staging                    areas               and          haul
             roads.              Such             plan,             as        same             may          be      amended                        and         updated                from                time           to     time           by
             Contractor                    in     writing                with         Owner's                 approval,                    shall         be      maintained                           at        the          Jobsite               to
             reflect          the         current                  conditions                   of    the         Jobsite.                  Owner's                right        of        approval                       hereunder
             shall        not       be      deemed                     to      reduce                Contractor's                        responsibility                    under                this            Section               9.2.7.


                              9.2.8.                    Protection                              Against                        Elements.                               Contractor                                     shall                 take

             commercially                              reasonable                         steps             to     maintain                     and      protect            the           Work,                 materials                    and
             apparatus                    free           from            injury           or         damage                   from          rain,         wind,            storms,                   frost             or      heat.                If
             adverse                weather                   makes                  it impossible                       to     continue                 performance                            of        the         Work            safely
             in      spite       of       weather                    precautions,                        the        Contractor                        shall        cease                  Work                 and           notify           the
             Owner              and        the          Architect                    of   such           cessation.                        The         Contractor                    shall                not         permit            open
             fires      on       the        Project                 Jobsite               at     any        time,




                              9.2.9.               Repair                 of         Damage                 Resulting                       from             Work.              In         addition                     to     its      other
             obligations                    pursuant                      to      this         Article             9,         the        Contractor                  shall,               at        its         sole          cost           and

             expense,                    promptly                   repair            any        damage                   or        disturbance                   to   walls,                  utilities,                sidewalks,
             curbs           and          the      property                     of     third         parties              (including,                    without            limitation                         municipalities)
              resulting               from              the          performance                         of        the          Work,              whether                 by        it        or         by      its         Vendors,
             Subcontractors                              or        Sub-subcontractors.                                             The          Contractor                 shall               maintain                      streets               in
             good            repair         and              in a traversable                           condition                    during            the      performance                                of     the         Work.


                              Section                   9.3.                   Emergencies.                                   In     any         emergency                      affecting                        the          safety               of
              persons               or     property,                  the        Contractor                      shall         act,        at its       discretion,                  to prevent                         threatened

             damage,                  injury            or     loss.            Any            additional                 compensation                            or extension                             of     time          claimed

              by       the          Contractor                           on          account                of          emergency                         work             shall               be              determined                          in
              accordance                        with         Article             11,      hereof.


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              GMP-10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                         INDEX NO. 150180/2021
        Case
NYSCEF DOC.   1:24-cv-04939-VMS
            NO.  2              Document 1-1 Filed 07/16/24 Page 111 of 122 PageID
                                                                     RECEIVED      #: 120
                                                                               NYSCEF:  01/25/2021

                                                                                                                                         Staten         Island               Mall        - Seed                      Macys
                                                                                                                                                                                                     Money
                                                                                                                                                                                                    Contract            # 019
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                          10.2.                                                                   Labor                   --and--JMater-la                                                                                der
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             required-under-4hie-Section40r4he-Gentr-acter-an                                                                                                                                                             eter
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                                                                                               ARTICLE                         11
                                                                               CHANGES                          IN        THE        WORK

                          Section              11.1.            Change                   Orders.


                          11.1-1.            Method                  of        Determining                            Cost               or      Credit.                      Any           increase                in     the
             Guaranteed                 Maximum                  Price               resulting                 from           a     Change                   in        the        Work            performed                    by
             Contractor             shall          be      determined                        by       actual,                 incurred                 cost             to        be        determined                    in     a
              manner           agreed            upon           by        the        parties              in    writing.                   The         increase                      or     decrease                 in    the
             Guaranteed                   Maximum                     Price             resulting                    from            a        Change                    in        the        Work            shall             be
             determined              for        work            performed                      by         Subcontractors                                in        one              (1)       or     more           of      the

             following          ways           (the       fee        being              adjusted                 according                      to     the         percentages                         set        forth          in
             the     Agreement):


                          .1              by        mutual                 acceptance                           of        a         lump             sum               properly                   itemized                and
                                          supported                  by         sufficient                substantiating                         data             to     permit              evaluation;


                          .2              by       unit        prices             stated             in        the         Contract                   Documents                             or     subsequently
                                          agreed            upon;               or


                          .3              by     actual,             incurred                cost          to        be       determined                      in        a manner                    agreed               upon

                                          by     the      parties.


                          11.1.2             Use          of         Approved                         Rates.                        Any              labor              rates,               overtime                rates,
             equipment              rental          rates        and             unit     prices                shall          be        approved                      by         the       Owner            in    writing
              in   advance           of      any        Work              to     be     charged                      on       the        basis          of        such              rates         or    prices.                All
             costs       incurred            pursuant                to        a Change                   Order            shall           be        subject                 to     audit         by   the        Owner.




              GMP 10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                            INDEX NO. 150180/2021
        Case
NYSCEF DOC.   1:24-cv-04939-VMS
            NO.  2              Document 1-1 Filed 07/16/24 Page 112 of 122 PageID
                                                                     RECEIVED      #: 121
                                                                               NYSCEF:  01/25/2021

                                                                                                                                                              Staten               island            Mall        - Seed                              Macys
                                                                                                                                                                                                                                   Money
                                                                                                                                                                                                                                  Contract              # 019
                                                                                                                                                                                                          Aurora             Contractors,                   Inc.

                            Section                       11L2.                  Concealed                                Conditions.                                    Subject                     to         the          provisions                         of
             Section              3.4            of        the            Construction                                Agreement,                              should                     concealed                           conditions                      be
             encountered                        in the               performance                               of the            Work          below                 the           surface                 of        the      ground                which
             Contractor                     would                    be          unable                   to      ascertain                        upon              a         reasonable                              investigation                            of
             subsurface                     conditions,                           or        should               concealed                         or        unknown                          conditions                      in       an       existing
             structure                be        at     variance                    with             the         conditions                     indicated                       by            the      Contract                     Documents,
             or       should                unknown                         physical                       conditions                        below                  the             surface                     of         the          ground               or
             concealed                     or        unknown                       conditions                         in        an       existing                   structure                       of      an        unusual                     nature,
             differing            materially                         from          those              ordinarily                      encountered                              and             generally                     recognized                      as
             inherent              in work                     of     the         character                     provided                     for        in this               Agreement,                              be      encountered,
             the       Guaranteed                              Maximum                         Price              shall              be       equitably                        adjusted                     by          Change                     Order,
             subject             to     the           notice                of     claim              and             claim            procedures                             contained                         in     the         Agreement.
             No       adjustment                          in        the      Guaranteed                               Maximum                       Price,                or        in        the         Contract                     Time,            shall
             be       made              for           conditions                            that           could                have           reasonably                                    been           anticipated                           by       the
             Contractor                    based                    on      all        of     the          information                        available                       to        the         Contractor                         at    the          time
             the      Construction                             Agreement                            was          executed.


                            Section                       11L3.                  Notice                of        Claim.                    Notice               of        claims                    for     adjustments                              in    the
             Guaranteed                         Maximum                           Price,              Contract                       Time,              or     Agreement                                 completion                         dates,           by
             the       Contractor                      must               be       made               within                   seven          (7)            days             after            occurrence                          of       the      event

             giving        rise         to       such                Claims.                   Claims                 with           backup                   documentation                                     shall            be      submitted
             within         twenty-one                                (21)             days            of        any              notice                required                        above.                       Claims                  must            be
             submitted                  in       writing,                   even              if     the         Claim                is     allegedly                        based                  on         a     previous                    oral          or
             written             statement                          made               by      the             Owner.                  Any          Claim                  not               made           in        accordance                          with
             the       terms           of       this           Section                  11.3,              hereof                shall         be         deemed                        waived                  by         the         Contractor.
             The         Contractor                            acknowledges                                    and             agrees              that            the          Owner                     may              only          waive              the
             requirements                            of        this         Section                    11.3               in     writing                and          that               it    cannot                  rely         on        any           oral
             statement                  of      the            Owner               to        the       contrary.




                                                                                                                     ARTICLE                       12
                                                               UNCOVERING                                       AND              CORRECTION                                        OF          WORK

                            Section                       12.1.                  Uncovering                               of      Work.


                            12.1.1.                    Where                      Work               Covered                         Contrary                       to        Request.                              If a      portion                of     the
             Work          is     covered                       by        the          Contractor                         contrary                 to        the         request                     of     the         Architect                   or      the
             Owner               or     to           requirements                              specifically                          expressed                           in        the         Contract                      Documents,                            it

             must,          if        required                       in     writing                  by         the            Architect,                     the          Owner                     or         any          governmental

             authority,                be        uncovered                             for         their         observation                            and          be         replaced                        at     the         Contractor's
             expense                   without                       an          extension                           in        the         Contract                       Time,                     or      adjustment                             in       the
             Guaranteed                         Maximum                           Price.


                               12.1.2.                    Where                   Work               Covered                         Not       Contrary                            to         Request.                           If a portion                    of
             the       Work            has            been                covered                    by        the         Contractor                        which                 the         Architect,                        the        Owner                or

             any        govemmental                                  authority                     has          not            specifically                    requested                            to     observe                      prior        to     the




             GMP        10082015
       FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                                   INDEX NO. 150180/2021
               Case
       NYSCEF DOC.   1:24-cv-04939-VMS
                   NO.  2              Document 1-1 Filed 07/16/24 Page 113 of 122 PageID
                                                                            RECEIVED      #: 122
                                                                                      NYSCEF:  01/25/2021

                                                                                                                                                               Staten           island            Mall           - Seed                               Macys
                                                                                                                                                                                                                                    Money
                                                                                                                                                                                                                                   Contract             # 019
                                                                                                                                                                                                       Aurora                Contractors,                    Inc.

                    Work            being                covered,                 the         Architect                  or     the           Owner                 may          request                     to         see             such           Work
                    and          it shall            be         uncovered                      by      the         Contractor.                           If such               Work               is        in     accordance                              with
                    the          Contract                     Documents,                         the          cost             of           uncovering                      and                 replacement                                shall,             by
                    appropriate                          Change                   Order,              be      charged                       to      the         Owner.                      If     such                  Work               is       not          in
                    accordance                          with      the         Contract                    Documents,                          the        Contractor                        shall            pay             such           costs.


                                        Section                 12.2.              Correction                        of        Work.


                                          12.2.1.                            Reiected                     Work.                The            Contractor                       shall             promptly                        correct               Work
                     rejected                 by     the         Architect,                   the         Owner                or      any          govemmental                                  authority,                        or     that          does
                     not      conform                    to      the         requirements                           of      the         Contract                     Documents,                              whether                       observed
                    before              or     after            Substantial                     Completion                            and          whether                or         not        fabricated,                             installed               or
                     completed.                         The       Contractor                        shall         bear            the         costs            of    correcting                        such                 rejected                 Work,

                     including                 additional                    testing             and          inspections                          and          cornpensation                                    for        the          Architect's
                    services                  and         expenses                    made                necessary                     thereby.


                                        12.2.2.                   Repair                 Warranty.                              if,         within             one             (1)         year                  after             the           date           of
                     Substantial                     Completion                         of the         Work               or designated                             portion                thereof,                    or        after         the         date
                    for     commencement                                     of    warranties                      established                          under             Section                  8.5.1,                   with          respect               to
                    the          repair             or        correction                  warranty                     any             of     the            Work           has             not             been                 performed                        in
                    accordance                           with         the         requirements                           of     the           Contract                   Documents                               or         as      may              be      set
                    forth          in     an        applicable                     manufacturer's                               warranty                      or     prescribed                         by             applicable                       laws,
                     ordinances,                         codes,              rules,            regulations,                           statutes                and         permits,                     the             Contractor                         shall

                     correct              it promptly                    after          receipt              of     written                  notice             from           the          Owner                      to     do         so,         unless
                    the          Owner                  has        previously                       given            the              Contractor                     a      written                    acceptance                               of        such
                     condition.                    To the              extent           any          repair            or      correction                     work          performed                             by         the         Contractor
                     is    not      accepted                     by         the     Owner,                  the          Contractor                      shall           continue                      to        repair             and           correct
                     the     Work              until          such          Work           is finally               accepted                       by     the        Owner                 as      complete,                             regardless
                     of    whether                  the         Warranty                  Period              has           run.            This          obligation                   shall                survive                 acceptance
                     of    the      Work                 and      termination                        of     the        Agreement.                             The          Owner                  shall                give         such             notice

                     promptly                 afte,r          discovery                  of     the         condition.                      This          remedy                 is cumulative,                                    and         shall         not
                     preclude                 the         Owner              from          exercising                       any         other            remedy                 for        defective                         work           available
                     to     it under               the         Contract                 Documents                         or      at        law,        or     in equity.


                                        12.2.3.                 Owner               May             Correct                 Nonconforming                                      Work.                   If the               Contractor                     fails
                     to      correct                                                             Work               within                  ten                       days                 of      notice                     of         such              non-
                                                    nonconforming                                                                                       (10)
                     conformity,                     or       within          such             period             as        agreed                 upon             in writing                   by         Owner                   in     the         event
                     such          corrections                        cannot             be         completed                       within              such         ten        (10)-day                         period,                 the         Owner

                     may          correct                such          nonconforming                              Work                in accordance                            with         Section                         3.3,         hereof             and
                     charge              the        cost          of    such            work           to     the         Contractor.


                                        12.2.4,                 No          Limitation.                        Nothing                      contained                     in     this             Section                        12.2           shall         be
                     construed                     to     establish                 a period                  of         limitation                  with           respect                to      any             other                 obligations
                     which              the        Contractor                     may          have           under               the         Contract                   Documents.                                 Establishment                                 of
                     the      time            period             of     one         (1)        year          as        described                        in     Section                 12.2.2                    relates                 only         to     the
                     specific                obligation                 of the           Contractor                       to    correct                 the         Work,             and          has             no         relationship                        to




                     GMP         10082015




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FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                          INDEX NO. 150180/2021
        Case
NYSCEF DOC.   1:24-cv-04939-VMS
            NO.  2              Document 1-1 Filed 07/16/24 Page 114 of 122 PageID
                                                                     RECEIVED      #: 123
                                                                               NYSCEF:  01/25/2021

                                                                                                                                                      Staten            island        Mall      - Seed                            Macys
                                                                                                                                                                                                                Money
                                                                                                                                                                                                               Contract               # 019
                                                                                                                                                                                          Aurora             Contractors,                inc.

             the      time         within             which          the        obligation                     to         comply                    with          the     Contract                 Documents                           may
             be       sought              to         be        enforced,                   nor        to       the          time               within              which              proceedings                           may           be
             commenced                         to     establish                 the        Contractor's                         liability                   with         respect             to        the      Contractor's
             obligations                  other            than       specifically                      to     correct                the            Work.



                                                                                                         ARTICLE                          13
                                                                                                                    TESTS


                             13.1.                   Rights              and          Obligations                           Cumulative.                                  The         duties             and          obligations
             imposed                 by         the         Contract                  Documents                             and                the          rights             and          remedies                      available
             thereunder                   shall           be      in addition                to       and           not     exclusive                        of     any        other         duties,                obligations,
             rights          and               remedies                    otherwise                         conferred                          in          the          Agreement,                          the          Contract

             Documents,                        or otherwise                     available                     at     law        or        in     equity.




                             13.2.                   Arrangements                                 for              Inspection.                             Testing                   or      Approval.                            If     the
             Contract               Documents,                        laws,            ordinances,                          rules,               regulations                     or       orders               of     any        public

             authority              having                jurisdiction                 over           the          Project                require                  any       portion              of     the        Work           to     be

             inspected,                 tested               or     approved,                     the         Contractor                            shall          make          arrangements                              for         such

             inspections,                   tests           and       approvals                       and           shall        give               the       Owner              and         the        Architect                timely
             notice          of     such             inspection,                 testing                or     approval                        so     the          Owner              and         the        Architect                 may
             observe               such             inspection,                 testing               or       approval.                        The              Contractor                  shall            bear         all     costs
             of    such           inspections,                     tests        or       approvals                        conducted                         by      public           authorities                     or    required

             by       the          Contract                       Documents.                               Unless                    otherwise                           provided                  in         the         Contract

             Documents,                        the        Owner            shall           bear         all        costs         of        other             inspections,                     tests            or     approvals.
             In    the       event              the         Work           is      not        ready                 for      inspection                            on     the         date         specified                     by      the

             Contractor,                    the           Contractor                  shall             be         liable            to        the          Owner              for        any          additional                  costs
             incurred              by     the         Owner              for     the        failure                of     such            inspection                      to     be       performed.


                             13.3.                    Avoidance                       of     Delay.                     Tests             or        inspections                      conducted                      pursuant                  to
             the      Contract                  Documents                       shall            be        made             promptly                        to      avoid            unreasonable                           delay             in
             the      Work.




             GMP       10082015
     FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                   INDEX NO. 150180/2021
             Case
     NYSCEF DOC.   1:24-cv-04939-VMS
                 NO.  2              Document 1-1 Filed 07/16/24 Page 115 of 122 PageID
                                                                          RECEIVED      #: 124
                                                                                    NYSCEF:  01/25/2021

                                                                                                                                                     Staten            island           Mall        - Seed                       Macys
                                                                                                                                                                                                                   Money
                                                                                                                                                                                                                  Contract        # 019
                                                                                                                                                                                             Aurora          Contractors,               inc.
                                                                                                                  EXHIBIT                    C


                                                                       Guaranteed                           Maximum                      Price             Premises,
                                                                        Assumptions                               and         Schedule                      of        Values



                   General              Understanding

                   1.     The      Guaranteed                             Maximum                        Price           (GMP)                will        be          based              upon              drawings                and
                   specifications                          generally                       dated               March               11,        2016.                   The              Contractor                   will       obtain
                   competitive                      pricing              from              at       least            three             (3)         subcontractors                                 from            each           trade
                   involved             in     the         Work,               including                  work          that        may             be     able              to        be         self-performed.                            It
                                                                                                                                                                                       Bid"
                   is     anticipated                    that          three           (3)        weeks              after          each             "Issued             for                        design          document
                   is     released,                the          Contractor                       shall        share              the      results                of     the            subcontractor                        bidding
                   with      the      Owner                and           allow             the      Owner               to       participate                   in the             selection                  of    successful
                   subcontractors.                                 At        that           time,            the         Owner                   and         Contractor                           shall            come           to         a
                   Guaranteed                            Maximum                           Price               (GMP)                   Contract                        Agreement                             by            applying
                   Preconstruction                              Services,                    General                    Conditions,                        Contractor                         Fee,           Contingency,
                   General               Liability                     Insurance,                        Owner-elected                               Bonding                      or         Subguard                      and         the
                   selected             Subcontractor                                bid      amounts:



                                             A.       Preconstruction                                 Services                    NA
                                             B.       General                  Conditions                                         NA
                                             C.       Contractor's                         Fee                                    NA
                                             D.       Contingency                                                                 NA
                                             E.       General                  Liability               Rate                        NA
                                             F.       Bonding                    Rate                                              NA
                                             G.       Or        Subguard                     Rate                                 NA




                   2.        Owner                 and           Contractor                       acknowledge                            that            construction                          of      the         Project             will
                   commence                        without               final         Drawings                      and          Specifications.                                 More              specifically                 while
                   Drawings                  and          Specifications                              are      complete                      for       certain               portions                 of     the        Work,          the
                   design          process                      will     continue                     for     other              portions                 during              construction.                         Contractor
                   shall        provide              constructability                             and         cost       estimating                       services                 in a timely                    manner           and
                   method             which                supports                     the           Project                Schedule,                      all         in         accordance                           with          and
                   pursuant                   to         the           Agreement.                            Contractor                      shall          provide                     to        Owner             such           cost

                   estimates,                  and           recommend                            alternate                means                   and      methods,                         as      may           be      required
                   to      meet         the          intended                    design                  within            the         budget               parameters                              and       assumptions
                   provided              in        Exhibit              A,       Contractor's                        Preliminary                       Budget.



                    3.    Schedule                  of     Values                -    To         Be         determined




                   GMP     10082015




..
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                INDEX NO. 150180/2021
        Case
NYSCEF DOC.   1:24-cv-04939-VMS
            NO.  2              Document 1-1 Filed 07/16/24 Page 116 of 122 PageID
                                                                     RECEIVED      #: 125
                                                                               NYSCEF:  01/25/2021

                                                                                                       Staten   island   Mall   - Seed                Macys
                                                                                                                                          Money
                                                                                                                                         Contract     # 019
                                                                                                                           Aurora      Contractors,      Inc.

                                                                                     EXHIBIT       D
                                                                GENERAL                CONDITION        COSTS




              Project         Superintendent                     (Full   time)
              Project         Manager

              Project        Administrator

              Other        Staff        (indicate         job     function)
              Truck/Vehicle/Fuel                         Expenses

              Jobsite         Officer          Trailer

              Jobsite         Office          Supplies/Equipment

              Delivery           Services/Postage

              Telephone                Service

              Jobsite         (Construction)                    Photos

              Miscellaneous                   Tools        (including            rental)

              Temporary                 Power                                                                                   From         Mall
                                                                                                                                    Source

              Temporary                 Toilets

              Job       Layout          and       Supplies

              Blueprinting
              Other        (list)


              General               Conditions:                                                                           $
              A10-10005



              TOTAL            AMOUNT                 OF        CONTRACT




             GMP      10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                   INDEX NO. 150180/2021
        Case
NYSCEF DOC.   1:24-cv-04939-VMS
            NO.  2              Document 1-1 Filed 07/16/24 Page 117 of 122 PageID
                                                                     RECEIVED      #: 126
                                                                               NYSCEF:  01/25/2021

                                                                                                                                                  Staten           island           Mall      - Seed                            Macys
                                                                                                                                                                                                             Money
                                                                                                                                                                                                            Contract            # 019
                                                                                                                                                                                       Aurora            Contractors,                 Inc.
                                                                                                             EXHIBIT                  E
                                                                                       INSURANCE                       REQUIREMENTS


               REQUIRED                     INSURANCE.


               The         Contractor               shall           furnish            and        maintain             in effect             during  the                 term          of this           Agreement                    the
               insurance              coverage                     described                  below,         which             shall         be placed                   with          insurance                  companies
                                                                                                                                                                                                                        Vil"
               authorized              to do          business                 in the          state        in which            the         Project             is located                  and        rated      "A -                  or
               better         by the         most             recent          edition             of Best's            Key       Rating             Guide:


                        Commercial                            General                     Liabliity               insurance.                              Commercial                              General                Liability
                        Insurance                  on         an      occurrence                         basis         which              shall           include                 bodily           injury          (including
                        death),             property                   damage,                     personal                injury,            sickness,                       disease,                    products                 and
                        completed                   operations                      and           broad          form           blanket              contractual                        liability           covering                  the
                        indemnities                     required                  herewith,                  with          a     per          occurrence                            limit         of      not      less          than
                        $50,000,000                           and         gerieral                    aggregate                     limit          of        not         less               than          $50,000,000.
                        Contractor                   may             provide                 the         coverage                   required                 herein                 through                the         use       of         a

                        primary             liability           policy            or       through               a combination                          of      primary                liability           and         umbrella

                        liability        policies.


                        Worker's                    Compensation                                    Insurance.                            Worker's                     Compensation                               or         similar
                        insurance                 in amounts                      and         in form             in accordance                           with         all        statutory              requirements,

                        including                Broad              Form            All       States             and       Voluntary                      Compensation                                 Endorsements,
                        and         Employer's                       Liability               insurance                 with         limits           of      not        less          than             $1,000,000                     per

                        accident,                $1,000,000                       per        disease               and         $1,000,000                        policy              limit        on      disease.


                        Business                   Automobile                             Liability              Insurance.                        Automobile                         Liability             Insurance                   to
                        insure          operations                      of       all      owned,             non-owned,                           leased               and           hired             motor           vehicles.
                        Limits         of        liability            shall            not        be      less         than         $1,000,000                         combined                         single          limit         per
                        occurrence                   for        bodily            injury           and       property                 damage.




               POLICY               REQUIREMENTS.
           .   The         insurance               required               of      the        Contractor                 shall        be      written             for         not      less         than          any      limits        of

               liability       required              by        applicable                  law.


               The         General            Liability              Insurance                 and        Automobile                   Liability                insurance                    required            shall          name,
               as       "Additional                 insureds",                    Owner,                 General               Growth                Properties,                      Inc.,            General            Growth

               Services,             Inc.,        and         GGPLP                REIT            Services,             LLC,.


               The         General            Liability   Insurance      shall                              contain             the         foDowiñg                coverages,                         endorsements                     or
               modifications:                  (i)  Completed      Operations                                     Coverage                  (which           shall           be maintained                       for     three         (3)
               consecutive                  calendar                 years             following            Owner's                 acceptance                     of the            Work);              (ii) Contractor's
               Protective              Liability               to      cover            Contractor's                    liability           arising              out         of     Work               performed       by               its
               Subcontractors;                        (iii)     broad            forrn        blanket              Contractual                    Liability,            including      liability      arising      out
               of the         indemnification                        agreement                     set     forth       in the          Agreement;                       (iv)  Personal         injury     Liability,
               including             liability          arising           out          of the          indemnification                       set        forth       in the            Agreement;                   and          (v)    all
               exclusions               related            to loss             by       explosion,                 collapse               or underground                             damage                (X,     C,     U)      shall
               be    deleted.



               GMP_10082015
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                              INDEX NO. 150180/2021
        Case
NYSCEF DOC.   1:24-cv-04939-VMS
            NO.  2              Document 1-1 Filed 07/16/24 Page 118 of 122 PageID
                                                                     RECEIVED      #: 127
                                                                               NYSCEF:  01/25/2021

                                                                                                                                                          Staten           Island            Mall      - Seed                          Macys
                                                                                                                                                                                                                        Money
                                                                                                                                                                                                                       Contract          # 019
                                                                                                                                                                                                Aurora            Contractors,                   inc.


                                                                      workers'
             The       general                   liability,                                   compensation                              and         employer's                       liability             Insurance               policies
             shall         contain              a waiver                 of the         insurer's                 right        of subrogation                          against            the         Additional                Insureds,
             or      if such             waiver              is unobtainable                           or     unenforceable:                          (a) an express                                 agreement                  that        such

             policy         shall          not          be    invalidated                    if the         insured             waives,              or has waived                             before            the     casualty,                 its
             right         to      recovery      therefor     against    the                                              Additional                  insureds,                      or        (b)      any           other       form             of
             agreement                 or permission      for the release                                               of the         Additional                    Insureds,                 and      shall          contain          either
             a cross-liability                           endorsement                          or severability      of                         interest               provision,                     which          provision                shall
             permit     the                    limits         of      liability              under    Contractor's                                 policies               to         apply             separately                 to        each
             Additional                  Insured.


             All     Insurance                   policies             required                by this             Agreement                       shall         state       that           they        are        primary   and not
             additional                  to,     or      contributing                     with,        any other  insurance                                     carried              by,       or for           the benefit   of the
             Additional                  insureds                   with        respect              to the negligence      of                              Contractor,                        its     employees,                  agents,
             contractors                   and/or              subcontractors.


             Before             any       Work               is performed                     pursuant                  to this         Agreement,                        Owner                shall        be furnished                    valid
             and       original                 certificate(s)                    of      insurance                     evidencing                  that         all      required                   insurance                coverages
             are      in force.                 All      insurance                 policies               required              by this             Agreement                        shall          bear         an    endorsement

             prohibiting                   such        policy               from
                                                                         being                               canceled,                  allowed                 to      lapse             or
                                                                                                                                                                                           substantially                         modified
             without             thirty          (30) days      prior written      notice    to Owner,                                                     except              for     non-payment                         of premium
                                                          days'
             for     which              ten       (10)            notice     shall   be   provided.                                                  Certificates                  evidencing        renewal                                of     all
             such          required                insurance      shall   be delivered        to Owner                                                    at least              ten (10)    business      days                              prior
             to      the        stated                expiration                 dates.                   Compliance                     with             the         insurance                      requirements                      of        this
             Agreement                     shall            not     be relieved                   by      Owner's                receipt             or review                 of any               insurance              certificates.


             OWNER'S                       BUILDER'S                            RISK          INSURANCE.


             Owner              will      self-insure                  or will          purchase                  and          maintain              Builder's                 Risk            Insurance,                covering   the
             entire         Work               at the             Project          site      including     all materials                                   and          equipment                      destined            to become
             a part             of the           Work.               Such              insurance       shall   include                               the        perils           of fire,             extended                 coverage,
                                                                                                                                                                Risk"
             vandalism,                    and           malicious                 mischief,                  and         so     called             "All                        perils              (including             earthquake
             and   flood)                 as       defined               and        limited               in the          policy             or    policies.                Coverage                       is    not     provided                 for
             Contractor's                          or        Subcontractor's                                tools,             apparatus,                        machinery,                          equipment,                   building
             materials,                    scaffolding,                         hoists,             forms     any        or
                                                                                                                     other     property                                                        of      Contractor                  or   any
             Subcontractor                            not     destined                 to become     a   part  of the Work,      and any                                                       loss        or damage               to such

             property                  is the           Contractor's                     sole responsibility.       Contractor       shall                                                     be      responsible                for,           and
             shall         bear          the       cost           of, the         first    fifty          thousand                   dollars          ($50,000)     of the deductible                                           portion             of

             any       covered                  loss         under          the        Builder's                 Risk         policy,             however     caused.     The Contractor                                               should
             purchase                    a rider              to     cover             the        first       Fifty        Thousand                       Dollars              ($50,000)                    of    the         deductible.
             Owner                will          reimburse                   the           Contractor                      for   this               policy            to     fulfill    the                 above              referenced
                                                                                                                         Builders'
             requirements.                              If not       covered                 under           the                                  Risk       Insurance                     or otherwise                       provided              in
             the       Contract                       Documents,                        the         Contractor                       shall          effect              and           maintain                   similar          property
             insurance                    on      portions                 of    the       Work              stored            off      the        site      or        in transit.                Any  loss                covered                 by
             Owner's                   Builder's                  Risk          Insurance                   is     to     be         adjusted               with           Owner                and   made                    payable              to
             Owner              as       trustee              for    the-insur-ede,                         the      Contractor,                      its        Subcontractors                                  and       vendors                 as
             their         interests                  may          appear.                The        Contractor                      shall         pay      each            Subcontractor                             a just      share             of

             any       insurance                      moneys  by           received                         the       Contractor,                    and      by          appropriate                      agreement,                  written
             where        legally   required    for validity,    shall                                                  require              each          Subcontractor                             to make             payments                   to
             its     Subcontractors        in similar   manner.




             GMP_10082015
      FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                            INDEX NO. 150180/2021
              Case
      NYSCEF DOC.   1:24-cv-04939-VMS
                  NO.  2              Document 1-1 Filed 07/16/24 Page 119 of 122 PageID
                                                                           RECEIVED      #: 128
                                                                                     NYSCEF:  01/25/2021

                                                                                                           Staten   island    Mall   - Seed              Macys
                                                                                                                                               Money
                                                                                                                                              Contract   # 019
                                                                                                                                Aurora    Contractors,      Inc.


                                                                                  Additional    insureds


                   GGP       Staten     island        Mall     LLC,          (f/k/a)    Rouse   SI Shopping         Center,      LLC
                   General       Growth          Properties,             Inc.,
                   GGPLP         REIT     Services,            LLC,
                   General       Growth          Services,            Inc.




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     FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                                                 INDEX NO. 150180/2021
             Case
     NYSCEF DOC.   1:24-cv-04939-VMS
                 NO.  2              Document 1-1 Filed 07/16/24 Page 120 of 122 PageID
                                                                          RECEIVED      #: 129
                                                                                    NYSCEF:  01/25/2021

                                                                                                                                                  Staten        Island          Mall         - Seed                             Macys
                                                                                                                                                                                                             Money
                                                                                                                                                                                                            Contract             # 019
                                                                                                                                                                                   Aurora              Contractors,                    Inc.


                                                                                                            EXHIBIT                    F




                                                                                                        PROLIANCE®


                                 Section           1 Introduction                         - The         Owner               has        elected             to use          Proliance®                       as the           project
                  management                 tool        for         this         Project.                   Proliance®                      is     a     web-based                      tool             that         increases

                  productivity         and         improves                 processes                  and      accountability    for                        all stakeholders                             throughout                   the

                  design,         construction                 and          facilities              lifecycle       of the Project.                               The      following                       sections               have
                  been      drafted         in order            to     provide                 an     understanding                          of how             the    system       will                  be      used          in the
                  management                of the        Project.                All     usage             of Proliance®                         is to strictly           adhere               to the            procedures
                  defined         in this    exhibit


                                 Section           2    Technology                         Requirements


                                      2.1      Technology                          Overview.                     Each   company     doing   business                                                      with         Owner              is
                                      required             to        have          access              to      computer    hardware     and  software                                                      that          meet          the
                                      requirernents                     of        the          Proliance®                   project                management                          software.                  Proliance®
                                      software             and         licenses                 to use          the         project               database             will       be         provided                  by Owner
                                      or     its       parent,              for     the         duration               of     the           Project              The            hardware                    and          software
                                      required            to access                     this        system          via      the           Internet         is to be              provided                  by        each        party
                                      accessing                 the         software.                       Licenses              to        Owner's               or      its     parent's                  database                   will
                                      permit            access        only                 to        this       project,               in         accordance                     with          permission                       levels
                                      configured                 by Owner's                      or its        parent's             Proliance®                    administrator.


                                      2.2      System                 Requirements


                                                                 2.21               Pentium                  based          (or   equivalent)                      workstation                       or     laptop.
                                                                 2.22               32-bit            operating               system      such                    as    Windows                      XP,          2000,           98     or
                                                                                    Windows                NT.
                                                                 2.23               Microsoft's                     Internet                  Explorer                 6.0             (or          higher)                browser
                                                                                    software                    that          supports                     HTML                   1.1,              tables,               cookies,
                                                                                    JavaScript,                  and         frames.                   If any     of the          computers                       do      not     have
                                                                                    Internet                 Explorer                  6.0          (or         higher)            installed,                     it      may           be
                                                                                    downloaded                      for      free           by accessing                   www.microsoft.com.
                                                                 2.24               There              is     a one-time                     install  of Java                      Runtime                       Environment

                                                                                    (JRE)     software       utilized                                       by          portions                      of          Proliance®.
                                                                                    Computers      operating       on                                   Windows                 2000            or XP             will     need          to
                                                                                    be          enabled                with            focal            administrator                         rights             in       order          to
                                                                                    facilitate               installation                  of JRE.              When            using           certain               features           of

                                                                                    Proliance®,                     users           will          be     prompted                 to download                          a JRE           file
                                                                                    for        installation               on their                computers,                    This         will     install            Java      JRE
                                                                                    1.4.1_05.
                                                                 2.25               There             is a one-time                     install           of an ActiveX                       upload              component
                                                                                    Computers                    will        need            to     be     enabled               with          local           administrator
                                                                                    or power                 user       rights             in order          to facilitate                   of the           installation               of
                                                                                    this        component.                    When                 using        certain           features                 of Proliance®,
                                                                                    users            will      be      prompted                    to download                    an         ActiveX              file     on      their
                                                                                    computers.



                                                                                                                    - 36 -




..
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                                               INDEX NO. 150180/2021
        Case
NYSCEF DOC.   1:24-cv-04939-VMS
            NO.  2              Document 1-1 Filed 07/16/24 Page 121 of 122 PageID
                                                                     RECEIVED      #: 130
                                                                               NYSCEF:  01/25/2021

                                                                                                                              Staten             island        Mall     - Seed                             Macys
                                                                                                                                                                                          Money
                                                                                                                                                                                         Contract           # 019
                                                                                                                                                                    Aurora          Contractors,                  Inc.


                                                      2.26           A scanner                will        need          to be        provided                 by the         Contractor                 for      use
                                                                      in scanning               in documents                          received                from         subcontractors                        and
                                                                      vendors           too      small             to    be     made               users.            This         scanner              is to       be
                                                                      located          at the             Project           Jobsite                for        use     by     the         Contractor                 or
                                                                      others          needing                to     scan             documents.                       Other              users          will       be
                                                                      required           to     either            purchase                  their         own        scanning                 equipment,
                                                                      if needed,              or utilize            the       scanner                provided                by     the       Contractor.
                                                      2.27            Owner            or      its        parent            owns            the          data         that         is     contained                 in
                                                                      Proliance®.


                        Section          3 Training                 Requirements.                            It is the           responsibility                       of     the         Contractor                 to
             request     access          to     Owner's             Online           Proliance®                    Training.                     Upon            completion                   of     Owner's
             Online     Proliance®              Training,            upon       request,              the         Owner              will        provide            additional                support             via
             online    conference.


                        Section          4      Project            Documentation


                        4·.1      Requests              For         Information                                         - AII        formal              Requests                  For         Information
                                                                                                 (RFI's)
                               requiring            a response               from     the       Contractor                    shall         be      initiated          within             Proliance®.


                        4.2       Submittals.                All    submittals              requiring               the       approval                   of the       Contractor                   shall        flow

                               through          Proliance®              in an        electronic               format             with        exception                 to     product              samples.


                        4.3       Change             Notices          (Change               Order             Requests).                     All     change            order             requests               shall
                               be    submitted              via     email       to     the      Contractor                    on       Owner's                 Change               Order            Request
                               Form          with    all applicable                 supporting                documentation                              attached             as        set    forth       within
                               the    Agreement.


                        4.4    Progress
                                                      4.4.1           Meetina               Minutes               - All                             information                                         but       not
                                                                                                                              meeting                                             including
                                                                      limited          to       agenda,                   minutes,                  attendees,                     and          supporting
                                                                      information                    shall          be        captured                   within            Proliance®                      in     the
                                                                      Meeting's               module.
                                                      4.4.2           Project               Documentation.                                  If      requested                     by          Owner,              the
                                                                      Construction                        Manger                 shall              upload             all          Daily            Reports,
                                                                      Schedules,                 Photos,                 Reports,                  and/or    Tracking                         Logs         to     the
                                                                      corresponding                        folders              in     the          Correspondence                              Module              of
                                                                      Proliance®,                    as    applicable.




                               4,5            Drawin_q             F_illes


                                                      4.5.1           Contractors                will        be     provided                 an      approved                 set        of drawings                    in
                                                                      addition           to     subsequent                       bulletins                 via       Proliance®.                       It is      the

                                                                      responsibility                  of the            contractor                 to download                    the     files      from         the
                                                                      site     and      produce                   printed            copies              as    needed              to timely            deliver
                                                                      the     Project.




                                                                                                     - 37 -
FILED: RICHMOND COUNTY CLERK 01/25/2021 06:19 PM                                                                                                                      INDEX NO. 150180/2021
        Case
NYSCEF DOC.   1:24-cv-04939-VMS
            NO.  2              Document 1-1 Filed 07/16/24 Page 122 of 122 PageID
                                                                     RECEIVED      #: 131
                                                                               NYSCEF:  01/25/2021

                                                                                                      Staten        Island          Mall     - Seed                            Macys
                                                                                                                                                              Money
                                                                                                                                                             Contract           # 019
                                                                                                                                      Aurora            Contractors,                 Inc.


                        4.6                    Project         Close-out


                                       4.6.1       As-Built             Drawings.                 In        addition       to supplying                               hard       copy
                                                   documents              to the          Owner's              site     operations    team;                            electronic
                                                   copies          of          as-built          documents                        shall           be         uploaded                  to
                                                   Proliance®                  within           two        (2)         weeks                of      the           Substantial
                                                   Completion              date         of the         Project.
                                       4.6.2       Warranties.                 Warrañty               paperwork                shall         be        supplied              in hard

                                                   copy     format              to the            Owner's               site          operations                      team           and
                                                   uploaded      to            Proliance®               in electronic                 format.
                                       4.6.3       Manuals.               All       product                 manuals                 shall         be          uploaded                 to
                                                   Proliance®              in addition                to     the      hard         copy          that        is supplied               to
                                                   the      Owner's             mall      operations                team           within         two           (2)     weeks          of
                                                   Substantial             Completion.


                   Section    5 Project        Financials


                        5.1   Contracts         & Change                Orders.           All     contracts                 and       change                 orders           will    be
                              signed       electronically         via     Proliance®                   by    both       Owner               and        the      Contractor.
                        5.2   Invoices.         All Invoices            will      be      created             and       submitted                  electronically                     via
                              Proliance®          by     the    Contractor.                     Invoices              are      to      be        submitted                   with      all
                              applicable         supporting             documentation                        attached               as      set         forth         within         the
                              Agreement.




                                                                               - 38 -
